        APPENDIX IN SUPPORT OF MOTION FOR ORDER OF EXECUTION

         Judgment Creditors file the following materials in support of their Motion for Order of

Execution:

1.      Russia Supports the Taliban, WARSAW INSTITUTE, March 24, 2017.

2.      How Russia Built a Channel to the Taliban, Once an Enemy, NEW YORK TIMES, July 13,

         2020.

3.      US intelligence suspects Russia of supporting the Taliban, UAWIRE, February 14, 2016.

4.      Russia, Taliban share intelligence in fight against ISIS, CNN, December 24, 2015.

5.      Statement For the Record by General John W. Nicholson Commander U.S. Forces –
         Afghanistan Before the Senate Armed Services Committee on the Situation In
         Afghanistan, February 9, 2017.

6.      Russia ‘arming the Afghan Taliban’, says US, BBC NEWS, March 23, 2018.

7.      Russian Bounties on U.S. Troops: Why Hasn’t the Administration Responded?, HOUSE OF
         FOREIGN AFFAIRS, July 9, 2020.

8.      Press Conference by Secretary Mattis in Afghanistan, U.S. DEPARTMENT OF
         DEFENSE, April 24, 2017.

9.      Military Assessment of The Security Challenges in the Greater Middle East,
         COMMITTEE ON ARMED SERVICES: HOUSE OF REPRESENTATIVES, March
         29, 2017.

10.     Hearing to Receive Testimony on United States European Command, COMMITTEE
         ON ARMED SERVICES: UNITED STATES SENATE, March 23, 2017.

11.     Afghan Lawmakers: Russian Support to Taliban No Secret, VOA, June 29, 2020.

12.     Russia accused of supplying Taliban as power shifts create strange bedfellows, THE GUARDIAN,
         October 22, 2017.

13.     Iran allegedly facilitating Taliban-Russian contracts, MIDDLE EAST INSTITUTE, May 2,
         2017.

14.     Videos suggest Russian government may be arming Taliban, CNN, July 25, 2017.

15.     Russia funds Taliban in war against NATO forces, THE TIMES, October 16, 2017.



                                     1
      Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 1 of 400
16.   Russia Defines Its Post-Takeover Role in the Afghan Conflict, RUSI, September 2, 2021.

17.   Russia hands over Afghan embassy in Moscow to the Taliban, Islamic flag is raised,
       JIHADWATCH, April 12, 2022.

18.   Russia latest country to establish diplomatic ties with Taliban, GLOBAL SECURITY, April 9,
       2022.

19.   Taliban officials nearing contract for purchase of gasoline from Russia, REUTERS, August 29,
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20.   Accused Russian Spy’s U.S. legal fees paid by Moscow-owned bank, REUTERS, May 12, 2015.

21.   US deports Russian spy who posed as VEB bank employee, IBT, April 6, 2017.

22.   U.S. Treasury Imposes Immediate Economic Costs in Response to Actions in the Donetsk and Lukansk
       Regions: Blocking Major Russian Financial Institutions, U.S. DEPT. OF THE TREASURY,
       February 22, 2022.

23.   Federal Register/Vol. 87, No. 39 Notice of OFAC Sanctions Actions, U.S. DEPT. OF
       THE TREASURY.

24.   A Taliban-Russia Team-Up Against ISIS?, THE DAILY BEAST, April 13, 2017.

25.   Defense Secretary Expresses Concern Over Russian Support for the Taliban, NPR,
       March 31, 2017.

26.   Statement for the Record by General John W. Nicholson Commander U.S. Forces
       Afghanistan Before the House Committee on Foreign Affairs, July 9, 2020.

27.   Putin to Team Up with the Taliban to Wipe Out Islamic State – And Give Them Weapons, EXPRESS,
       October 26, 2015.

28.   Majlis Podcast: What is Happening in Kunduz, And Why Again?, RADIOFREEEUROPE, October
       8, 2019.

29.   Russia and the Taliban: Prospective Partners, RUSI, September 14, 2021.

30.   Russia Backs Taliban Call to Withdraw Foreign Troops, TOLO NEWS, April 1, 2017.

31.   Russia has been engaging with the Taliban for years. The U.S. withdrawal might give it an opportunity to
       expand its role, CBS NEWS, August 21, 2021.

32.   Russia is sending weapons to Taliban, top U.S. General confirms, THE WASHINGTON POST, April
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                                  2
   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 2 of 400
33.   Russia is sharing information with the Taliban to fight the Islamic State, THE WASHINGTON POST,
       December 23, 2015.

34.   Russia Says Trying to Push Afghan Taliban to Join National Reconciliation, RADIOFREEEUROPE,
       April 1, 2017.

35.   Top U.S. Commander In Afghanistan Accuses Russia of Aiding Taliban, NPR, March 26, 2018.

36.   U.S. Suspects Russia Supplying Small Arms to Taliban in Afghanistan, WSJ, April 24, 2017.

37.   Understanding the Russia-Taliban Connection, THE DIPLOMAT, August 4, 2017.

38.   Why is Russia Helping Anti-U.S. Insurgents In Afghanistan?, NPR, February 13, 2017.

39.   Russia cash goes straight into the hands of Taliban chiefs, THE TIMES, October 16, 2017.

40.   Afghan Contractor Handed Out Russian Cash to Kill Americans, NY TIMES, July 1, 2020.




                                  3
   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 3 of 400
Russia Supports the Taliban | Warsaw Institute                                              9/15/22, 3:05 PM




       Russia Supports the Taliban




                                                 © PAP/EPA (ANJA NIEDRINGHAUS)

       Last month, another US General, John Nicholson, current commander of
       international military force in Afghanistan, testified in the Senate that Russia
       provided supplies as well as diplomatic support to the Taliban. Moscow
       consequently denies any such accusations. Taliban representatives had
       already told Reuters that the group has had contacts with Moscow since at
       least 2007, but Russian involvement did not extend beyond “moral and
       political support”. However, evidence of military cooperation can be seen in
       the very Afghanistan itself. The fighting going on in some southern and
       northern provinces proves that the Taliban receive support not only from
       Pakistan but also from Russian and Iran. In the Kunduz province weapons
https://warsawinstitute.org/russia-supports-taliban/                                             Page 1 of 3

                    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 4 of 400
Russia Supports the Taliban | Warsaw Institute                                              9/15/22, 3:05 PM




       made in Russia have been found. Besides, there have been accusations from
       Kabul that Russian engineers repair Taliban heavy weapons in Tajikistan.
       Afghan Senate has promised to examine military contacts of the Taliban with
       Iran and Russia.

       At the end of December 2016, special presidential envoy of Putin to
       Afghanistan, Zamir Kabulov, admitted that Moscow is in contact with the
       Taliban leaders. “In Afghanistan, the Taliban are fighting against people that
       we fight in Syria, and thus our interests are aligned,” Kabulov said. Following
       the success in Syria, Putin wants to strike the United States at yet another
       front. Russia and the West have no common goals in Afghanistan. On the
       contrary, for the Russian siloviki Afghanistan is yet another front of global
       competition with the US. Going back to Afghanistan, Russia wants to
       strengthen its influence in Central Asia and take part in international
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https://warsawinstitute.org/russia-supports-taliban/                                             Page 2 of 3

                    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 5 of 400
Russia Supports the Taliban | Warsaw Institute                                              9/15/22, 3:05 PM




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https://warsawinstitute.org/russia-supports-taliban/                                             Page 3 of 3

                    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 6 of 400
How Russia Built a Channel to the Taliban, Once an Enemy - The New York Times                                       9/19/22, 3:43 PM




       How Russia Built a Channel to the
       Taliban, Once an Enemy
       The recent assessment that Russia paid bounties to
       the insurgents to attack U.S. troops stunned many, but
       officials said the Kremlin’s outreach began almost a
       decade ago.
       July 13, 2020




       Soldiers at the Bala Hissar military base in the city of Kunduz, in northern Afghanistan, which was overrun by the
       Taliban in 2015.Jim Huylebroek for The New York Times


       KABUL, Afghanistan — During one of the most violent stretches of fighting in
       northern Afghanistan, as the Taliban scored victories that had eluded them

https://www.nytimes.com/2020/07/13/world/asia/russia-taliban-afghanistan.html                                               Page 1 of 9

                   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 7 of 400
How Russia Built a Channel to the Taliban, Once an Enemy - The New York Times                                  9/19/22, 3:43 PM




       since the beginning of the conflict, the top American commander went
       public with a suspicion that had nagged for years: Russia was aiding the
       insurgents.

       In diplomatic circles in Kabul around the time of that accusation, in 2017,
       there were murmurs that the Russian assistance had included night-vision
       goggles and armor-piercing ammunition.

       But Gen. John W. Nicholson, the commander, offered no definitive evidence,
       and that spoke to how confusing the battlefield had become as three
       longtime adversaries — the Taliban, Russia and Iran — agreed on their
       common interest in seeing the Americans leave Afghanistan. In the maze of
       corruption, cash and foreign hands in Afghanistan, it was no easy task to pin
       down who was doing what.

       “We’ve had weapons brought to this headquarters and given to us by Afghan
       leaders and said, ‘This was given by the Russians to the Taliban,’” General
       Nicholson said a year later. “We know that the Russians are involved.”

       The recent revelation of an American intelligence assessment that Russia
       had provided the Taliban with bounties to attack U.S. and coalition troops
       stunned political leaders in Washington and added a potent dose of Cold
       War-style skulduggery to deliberations over Afghanistan’s future. Both
       Russia and the Taliban have rejected the assertion.

       Taliban members in March in the Alingar district of Laghman Province, Afghanistan.Jim Huylebroek for The New
       York Times


       But while that would be a notable escalation of Russian interference in
       Afghanistan, it was clear to many officials that Russia had been working to
       hedge its bets with the Taliban for years. The Russians saw the Afghan
       government as entirely controlled by the United States, and at worst so


https://www.nytimes.com/2020/07/13/world/asia/russia-taliban-afghanistan.html                                         Page 2 of 9

                   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 8 of 400
How Russia Built a Channel to the Taliban, Once an Enemy - The New York Times                                    9/19/22, 3:43 PM




       fragile that it would struggle to survive the U.S. withdrawal.

       In interviews, Afghan and American officials and foreign diplomats with years
       of experience in Kabul say that what began as a diplomatic channel between
       Russia and the Taliban just under a decade ago has more recently
       blossomed into a mutually beneficial alliance that has allowed the Kremlin to
       reassert its influence in the region.

       The shift coincided with increasing hostility between the United States and
       Russia over Syria’s civil war and other conflicts, analysts say, as well as
       Russia’s frustration with rising instability in Afghanistan and the slow pace of
       the U.S. pullout.

       Now, the United States is conducting the troop withdrawal it agreed to with
       the Taliban even without a final peace deal between the insurgents and the
       Afghan government which the Americans have supported for years. But
       Russia’s covert efforts, officials and analysts say, are aimed at harassing and
       embarrassing the United States as the troops leave rather than profoundly
       changing the course of the conflict.

       “It was in modest quantities; it was not designed to be a game-changer on
       the battlefield,” General Nicholson, who has since retired from the military,
       told the House Foreign Affairs Committee on Thursday about Russian arms
       and aid to the Taliban. “For example, the Taliban wanted surface-to-air
       missiles, the Russians didn’t give it to them. So I always concluded that their
       support to the Taliban was calibrated in some sense.”

       American troops, shown in Helmand Province last fall, are withdrawing from Afghanistan after a deal was reached
       with the Taliban.Jim Huylebroek for The New York Times


       Some pointed out the considerably more extensive American efforts to
       support the mujahedeen insurgency against the Soviet Union in the 1980s.


https://www.nytimes.com/2020/07/13/world/asia/russia-taliban-afghanistan.html                                         Page 3 of 9

                   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 9 of 400
How Russia Built a Channel to the Taliban, Once an Enemy - The New York Times                               9/19/22, 3:43 PM




       “We did the same,” said Marc Polymeropoulos, a former C.I.A. field officer in
       Afghanistan who retired last year as the agency’s acting chief of operations
       in Europe and Eurasia. “We turned the heat up as the Russians were leaving
       Afghanistan.”

       “Putin,” he said, “is a student of history.”

       As things began turning on the battlefield in recent years, officials described
       increasing suspicions of a greater Russian role in helping the Taliban. But
       they often struggled to pin down specifics, other than occasional influxes of
       new weapons and munitions that could have had several sources. In addition
       to Pakistan’s well-established support to the Taliban, Iran was taking a
       greater hand in helping the insurgents, and often using similar channels as
       the Russians, Afghan intelligence officials say.

       The dots began connecting more clearly during a stretch of alarming
       violence in northern Afghanistan, when the Taliban twice overran Kunduz
       city, a provincial capital, in 2015 and 2016, sending the U.S. military
       scrambling.

       As Afghan intelligence narrowed in on the ambitious regional Taliban
       commander behind those assaults, they tracked his travel back and forth
       across the nearby border with Tajikistan, a Russian intelligence stronghold,
       according to current and former senior Afghan security officials. Kunduz is
       also the base of operations for two Afghan businessmen who American
       intelligence officials say acted as middlemen in the bounty scheme between
       Russian intelligence officers and Taliban fighters.

       The Amu Darya forms the border between Afghanistan and Tajikistan.Jim Huylebroek for The New York Times


       U.S. officials say they confronted Russia about its aid to the Taliban on
       several occasions, but their public claims lacked detail, and it never

https://www.nytimes.com/2020/07/13/world/asia/russia-taliban-afghanistan.html                                    Page 4 of 9

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 10 of 400
How Russia Built a Channel to the Taliban, Once an Enemy - The New York Times                               9/19/22, 3:43 PM




       amounted to a major issue. Russian officials said they received no
       documented evidence.

       Three decades after the Soviet military withdrawal from Afghanistan,
       Russia’s cultural, economic and personal ties in the country remain deep.
       When Russia has looked to exert influence, whether benign or otherwise, it
       has had a host of friends to call on: Soviet-trained generals who led the
       Afghan forces for years on American pay; businessmen who bragged of
       friendship with President Vladimir V. Putin of Russia; politicians who kept
       homes in Moscow even as they grew rich on American contracts.

       For much of the first decade of the war, the United States did not really have
       to worry about the deep Russian reach into Afghan society, as Mr. Putin’s
       government was aligned with the American mission of defeating Al Qaeda
       and Islamist groups that Moscow also saw as a threat — including the
       Taliban.

       Diplomatic cables released by WikiLeaks show genuine attempts by both
       sides to coordinate efforts in Afghanistan. Russian officials spoke of a
       “collective fist” in the fight against terrorism, and urged unity “with one voice
       — the American voice.”

       Damage caused by a car bomb in Kabul, Afghanistan, last year.Jim Huylebroek for The New York Times


       But as the war in Afghanistan dragged on, and the two powers took
       opposing sides in the crises in Syria and Ukraine, the Russians increasingly
       saw the U.S. mission as failed, and the American presence in the region as a
       threat.

       American intelligence officials now date Russia’s discreet outreach to the
       Taliban as beginning about eight years ago — around the time that Mr. Putin,
       after a four-year hiatus as prime minister, reassumed the presidency with a

https://www.nytimes.com/2020/07/13/world/asia/russia-taliban-afghanistan.html                                    Page 5 of 9

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 11 of 400
How Russia Built a Channel to the Taliban, Once an Enemy - The New York Times                                         9/19/22, 3:43 PM




       more confrontational posture with the West.

       The mistrust soon became intense enough that Russian officials accused the
       United States of playing a hand in the rise of an Islamic State chapter in
       Afghanistan around 2015, with many of its earliest fighters being extremist
       militants from Central Asia who yearned to bring a holy war against Russia.

       At a meeting of the Russian Security Council in 2013, Mr. Putin said his
       country could no longer stand by in the face of failures by the United States
       and its partners.

       “We need a clear action strategy, which will take into account different
       possible developments,” Mr. Putin said at the meeting. “The task is to reliably
       protect the interests of Russia under any circumstances.”

       Leading the portfolio on the diplomatic front was Zamir Kabulov, a veteran of
       the Soviet war in Afghanistan and reportedly a former Russian intelligence
       operative.

       Russia’s president, Vladimir V. Putin, during a memorial ceremony in Dagestan, Russia, last year for soldiers killed in
       conflicts.Pool photo by Alexey Nikolsky


       Mr. Kabulov began publicly criticizing the United States for weaknesses in
       the Afghan government and for failing to rein in Islamist militancy there —
       and increasingly describing the Afghan Taliban as a national entity that
       posed no threat beyond the country’s borders and could be worked with.

       Reports increased about Taliban figures making trips to Russia. And just as
       the United States and Taliban were finalizing details of the American
       withdrawal, Russia brought the same Taliban leaders into Moscow meetings
       with a large number of Afghan political figures for discussions over the
       political future of the country.


https://www.nytimes.com/2020/07/13/world/asia/russia-taliban-afghanistan.html                                              Page 6 of 9

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 12 of 400
How Russia Built a Channel to the Taliban, Once an Enemy - The New York Times              9/19/22, 3:43 PM




       As the United States has drawn down its military presence, it has
       increasingly relied on Afghan partners for intelligence and
       counterintelligence. What Afghan security officials were seeing in recent
       years, particularly in the north, was a deeply messy reality.

       Around the time they began focusing more on Russian activities, the
       Afghans also unraveled an Iranian scheme of distributing arms to
       discontented warlords and militia commanders — the weapons were
       Russian, and the route was through Tajikistan, officials said. The Iranian
       scheme was short-lived, one senior Afghan official said, after Iran realized
       the weapons it was providing were turning up in the saturated black market.

       The Russians often used the hundreds of millions of dollars in fuel imports
       for NATO and Afghan forces as a way to inject cash into Afghanistan to
       ensure influence and keep intelligence assets on their side. One former
       senior Afghan official said that instead of direct cash transfers, the Russians
       would mostly arrange for the convoys of oil tankers snaking into Afghanistan
       to be topped with extra fuel that would be cashed for circulation inside the
       country.

       Though the countries of Central Asia gained their independence after the
       Soviet collapse, Russia has never let go of its foothold in the region. In one
       cable, a Russian diplomat described the borders of countries like Tajikistan,
       where the Russian Air Force still has about 7,000 troops, as “an extension of
       its own border.”

       When the Taliban were in power in Afghanistan in 1990s, Tajikistan was a hub
       for the resistance commanders who received aid from Russia and Iran. In the
       20 years since the U.S. invasion, the country has become a center of
       criminal traffic and vice, a kind of adult playground for many of the Afghan
       elite who frequently travel back and forth to Tajikistan and often have family

https://www.nytimes.com/2020/07/13/world/asia/russia-taliban-afghanistan.html                   Page 7 of 9

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 13 of 400
How Russia Built a Channel to the Taliban, Once an Enemy - The New York Times                                     9/19/22, 3:43 PM




       there.

       Old Soviet tanks litter the grounds of Bala Hissar, outside Kunduz.Jim Huylebroek for The New York Times


       In that mix of spies, money and mafia, the Taliban, too, found a foothold. The
       insurgents made a point of taking and maintaining control of some of the
       border crossings from Kunduz Province into Tajikistan. From the south of the
       country all the way to the north, they had border access to evade military
       pressure, maintain ties with friendly foreigners and keep a channel for the
       opium trade that partly finances the insurgency.

       Several Afghan officials, including Asadullah Omarkhel, who was the
       governor of Kunduz at the time, said they shared with the Americans
       intelligence that Mullah Abdul Salam, the Taliban commander who led the
       assaults on Kunduz, repeatedly crossed into Tajikistan for what they
       suspected were discussions with Russian agents. A Tajik news outlet
       reported meetings between Russian officials and Taliban commanders at a
       Russian air base in Tajikistan as early as 2015. And it was these border
       crossings that the Taliban used to bring weapons in, officials say.

       Mr. Omarkhel said Americans initially were not confident about claims of
       Taliban ties to Russia, but then they started striking the Taliban bases along
       the border, including a strike that killed Mullah Salam.

       At Thursday’s congressional hearing, General Nicholson repeated his
       accusation of Russia arming the Taliban, noting that even though the aid was
       not extensive, it still had effect.

       “In the northern part of Afghanistan, in particular in Kunduz, the Russian
       assistance did help the Taliban inflict higher casualties on the Afghan
       security forces and more hardship on the Afghan people,” he said.

       Najim Rahim, Eric Schmitt and Taimoor Shah contributed reporting.
https://www.nytimes.com/2020/07/13/world/asia/russia-taliban-afghanistan.html                                          Page 8 of 9

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 14 of 400
UAWire - US intelligence suspects Russia of supporting the Taliban                         9/19/22, 3:44 PM




       US intelligence suspects Russia of
       supporting the Taliban




       Anonymous sources within US intelligence services suggest that Russia
       provides weapons and military training to the Taliban in Afghanistan. The
       West also suspects that Moscow’s support of the Taliban is guided by the
       Russia’s desire to undermine the pro-American government in Kabul, as
       reported by Rosbalt.

       According to information obtained by the Associated Press from US
       intelligence sources, evidence was found that Moscow supplied weapons to
       the Taliban in 2015, during the Islamic group’s campaign to capture the city

https://uawire.org/news/us-intelligence-suspects-russia-of-supporting-the-taliban#              Page 1 of 3

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 15 of 400
UAWire - US intelligence suspects Russia of supporting the Taliban                         9/19/22, 3:44 PM




       of Kunduz in northern Afghanistan.

       Russia allegedly provided the Taliban with Kalashnikovs automatic rifles with
       plastic butts, a model that is only manufactured in Russia. In addition,
       Moscow is thought to have supplied the militants with anti-tank grenade
       launchers.

       "Russia also gave money and weapons to the Taliban so that they would
       fight against the Islamic State,” the intelligence officials were quoted as
       saying.

       "We are 100 percent confident that Russia supports certain elements among
       the Taliban and encourages them to operate near Afghanistan's northern
       border, where they can easily get reinforcements from Tajikistan and act as a
       buffer against ISIS," the sources added.

       In December, an unnamed Taliban field commander told the British Sunday
       Times that Russian President Vladimir Putin held a meeting in September
       with the leader of the Taliban, Mullah Akhtar Mansour. The meeting allegedly
       took place at a military base in Tajikistan. According to the Sunday Time’s
       source, Putin promised to supply the Taliban with modern weapons and
       financial support in exchange for cooperation which would “meet the
       interests of Moscow”.

       In September of last year, Putin participated in the Collective Security Treaty
       Organization (CSTO) summit in Dushanbe, where he affirmed his dedication
       to the fight against international terrorism. An unnamed Kremlin official said
       that the allegations of Putin's meeting with Mansour are groundless.

        Russia, Afghanistan, Taliban

       Comments
https://uawire.org/news/us-intelligence-suspects-russia-of-supporting-the-taliban#              Page 2 of 3

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 16 of 400
Russia, Taliban share intelligence in ISIS fight | CNN                                      9/19/22, 3:45 PM




        Russia, Taliban share intelligence in
        fight against ISIS
        ISIS leader seemingly breaks silence

        02:10

        Putin vows to share ISIS intelligence with Taliban

        02:00

        Man convicted after threat to Prince George

        01:54

        Fears of a new frontier in terror

        04:32

        Mosul survivors search for loved ones

        02:52

        Inside former ISIS jails in Raqqa

        02:06

        Hunting for Abu Bakr al-Baghdadi

        01:46

        ISIS used stadium as prison

        02:31
https://edition.cnn.com/2015/12/24/europe/putin-taliban-isis/                                    Page 1 of 6

                   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 17 of 400
Russia, Taliban share intelligence in ISIS fight | CNN                                      9/19/22, 3:45 PM




        Walking through the ruins of Raqqa

        03:06

        Kidnapped Yazidi boy raised by American ISIS mother

        01:48

        Exclusive GoPro footage inside Raqqa conflict

        02:40

        CNN inside Raqqa, former ISIS stronghold

        01:25

        Why Raqqa matters

        01:13

        How ISIS is evolving

        01:42

        Raqqa drone video shows ISIS execution square

        02:38

        ISIS leader seemingly breaks silence

        02:10

        Putin vows to share ISIS intelligence with Taliban

        02:00


https://edition.cnn.com/2015/12/24/europe/putin-taliban-isis/                                    Page 2 of 6

                   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 18 of 400
Russia, Taliban share intelligence in ISIS fight | CNN                                                 9/19/22, 3:45 PM




        Man convicted after threat to Prince George

        01:54

        Fears of a new frontier in terror

        Story highlights                           Washington CNN — none
        A U.S. commander has told
        Congress ISIS may have    Russian President Vladimir Putin is turning to an old
        3,000 fighters in         enemy – the Taliban – to share intelligence as the
        Afghanistan
                                                   number of ISIS fighters grow in regional neighbor
        Vladimir Putin has long
        worried about jihadists
                                                   Afghanistan.
        from Russia's Caucasus
        region going to Syria Russian Foreign Ministry spokeswoman Maria
                              Zakharova said the contact between Moscow and the
        Afghan Taliban only involves intelligence-sharing and information exchange
        regarding the fight against ISIS.

        Why would Putin put himself in a risky spot by working with the Taliban He’s
        aligning himself with the enemy of his enemy.

        A U.S. commander last month told Congress that ISIS has gained strength in
        Afghanistan in recent months, with as many as 3,000 fighters there.

        Putin has long worried about thousands of jihadists from Russia’s Caucasus
        region and the former Soviet republics going to fight with ISIS in Syria.

        Afghan forces on offensive against Taliban in Sangin

        He may be trying to cut off the pipeline of fighters closer to home, in
        Afghanistan, one expert told CNN.

        “The ties between ISIS and the insurgency in the north Caucasus, the fact
        that there are people from the north Caucasus fighting in Syria – maybe not
https://edition.cnn.com/2015/12/24/europe/putin-taliban-isis/                                               Page 3 of 6

                   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 19 of 400
Russia, Taliban share intelligence in ISIS fight | CNN                                      9/19/22, 3:45 PM




        as many as the Russian government says, but certainly a good number,
        including in leadership roles – means that Russia does see ISIS and a lot of
        the other Islamist groups as a particular threat, in a way that maybe the
        Taliban isn’t,” said Olga Oliker of the Center for Strategic and International
        Studies in Washington. “So the Russians may think they (the Taliban) are the
        lesser of the available evils.”

        Lt. Gen. Mark Hertling, a CNN military analyst, said a map shows the
        situation, with Afghanistan bordered on the north by former Soviet republics
        Turkmenistan, Uzbekistan and Tajikistan and Kazakhstan between those
        nations and Russia.

        Blair: We live with the ‘pain’ of Iraq, Afghanistan wars

        “Russia and Mr. Putin are very concerned about the passage of terrorists,
        insurgents, Islamists between those borders,” Hertling said.

        Working with the Taliban presents some risk for Putin, who has been boldly
        extending his reach with aggressive moves in Syria, Ukraine and with North
        Korea.

        For their part, the Taliban issued a statement Friday denying any contact
        with the Russian government. The Taliban denied needing any help in the
        fight against ISIS but maintained they had the right to request assistance
        from other nations.

        Analysts said Putin’s moves are all about projecting relevance and strength.

        “He wants to go back to the 1970s, when the Soviet Union and the United
        States were equals as geopolitical leaders, as Cold War rivals, but they still
        sat down and they did deals,” said Matthew Rojansky of the Woodrow Wilson
        Center.

https://edition.cnn.com/2015/12/24/europe/putin-taliban-isis/                                    Page 4 of 6

                   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 20 of 400
Russia, Taliban share intelligence in ISIS fight | CNN                                      9/19/22, 3:45 PM




        Former CIA counterterrorism official Philip Mudd concurs, calling Putin’s a
        “pretty serious power grab.” Putin is seeking to enhance his relationships
        with those former Soviet republics.

        “What Putin is doing now is telling those states, ‘I will work with the Taliban
        to ensure that we have an agreement to collect intelligence about ISIS before
        they come across the border,’ ” Mudd said. ” ‘When I collect that intelligence,
        I will pass it back to you.’ This is as much about restoring those relationships
        and trust with the central Asian republics and competing with the United
        States as it is about countering ISIS in Afghanistan.”

        The emergence of ISIS in Afghanistan is another major worry – not only to
        Russia but also to the United States. Much of the violence in the country
        wracked by war and an insurgency has involved the Taliban. But al Qaeda –
        which, led by the late Osama bin Laden, called Afghanistan home before the
        September 11, 2001, terrorist attacks – continues to be a threat.

        A U.S. State Department official told CNN when asked for comment on the
        Russian-Taliban agreement: “Russia and other regional actors all have a
        shared interest in supporting the continued security and increased stability
        of Afghanistan. We hope that we can continue to find ways to work with
        Russia to promote Afghanistan’s security and stability.”

        Another U.S. official told CNN that Washington doesn’t see this action as
        undermining the stability it is working with the Afghan government to
        achieve. But what would be destabilizing, the official said, is any contact with
        the Taliban that would legitimize the group with international recognition.

        Moscow addressed Russian media reports about Russia supplying weapons
        to fighters in Afghanistan.

        The only weapons that would be transferred on a commercial basis would go

https://edition.cnn.com/2015/12/24/europe/putin-taliban-isis/                                    Page 5 of 6

                   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 21 of 400
Russia, Taliban share intelligence in ISIS fight | CNN                                      9/19/22, 3:45 PM




        directly to the Afghan government and would not involve the Taliban
        because of sanctions against the group, said Zakharova, the Russian Foreign
        Ministry spokeswoman. Russia “strictly follows the sanctions regime against
        the Taliban,” she said.

        CNN’s Matthew Chance in Moscow, Masoud Popalzai in Kabul, Afghanistan,
        and Laura Koran contributed to this report.




https://edition.cnn.com/2015/12/24/europe/putin-taliban-isis/                                    Page 6 of 6

                   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 22 of 400
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NLOOHG2IQRWH$IJKDQLVWDQLVDXQLTXHSDUWQHUZLWKDKRVWQDWLRQMXGLFLDOV\VWHPDEOHWR

WDNHFXVWRG\RIWHUURULVWVSURVHFXWHWKHPDQGHQWHUWKHPLQWRWKHLUSHQDOV\VWHPLI

FRQYLFWHG:RUNLQJLQDSDUWQHUHGUDLGZLWK$IJKDQFRPPDQGRVRXU86

FRXQWHUWHUURULVPIRUFHVDOVRUHVFXHG+DLGHU*DLODQLWKHNLGQDSSHGVRQRIWKHIRUPHU

3DNLVWDQL3ULPH0LQLVWHULQDUDLGDJDLQVW$4LQ(DVWHUQ$IJKDQLVWDQ


:RUNLQJFORVHO\ZLWKRXU$IJKDQSDUWQHUV86FRXQWHUWHUURULVPIRUFHVDOVRFRQGXFWHG

VSHFLILFFRXQWHU,6,/.RSHUDWLRQVQDPHG*5((16:25'GXULQJ7KHVH

RSHUDWLRQVNLOOHGDSSUR[LPDWHO\RQHWKLUGRIWKHLUILJKWHUVLQFOXGLQJ(PLU+DIL]6D\HG

.KDQDQGUHGXFHGWKHWHUULWRU\WKH\KROGE\WZRWKLUGV86IRUFHVGHVWUR\HGWZR

GR]HQFRPPDQGDQGFRQWURODQGWUDLQLQJVWUXFWXUHVGLVUXSWHGILQDQFLDOVXSSRUW

QHWZRUNVDQGVLJQLILFDQWO\UHGXFHGDQ,6,/.VDQFWXDU\WKDWH[LVWHGLQ1DQJDUKDU

3URYLQFHVLQFHHDUO\IURPQLQHWRWKUHHGLVWULFWV


%HVLGHV0XOODK0DQVRXU)DUXTDO4DWDULDQG+DIL]6D\HG.KDQWKHUHZDVDOVRWKH

VWULNHDJDLQVW+DPLGXOODKWKHHPLURIWKH,VODPLF-LKDG8QLRQDQGWKHVWULNHDJDLQVW

2PDU.KDOLIDHPLURIWKH7DULT*LGDU*URXS2PDU.KDOLIDZDVWKHPDVWHUPLQGRI

PXOWLSOHDWWDFNVLQ3DNLVWDQLQFOXGLQJWKHKRUUHQGRXVDWWDFNRQWKH3HVKDZDU$UP\

3XEOLF6FKRROWKDWNLOOHGFLYLOLDQVLQFOXGLQJFKLOGUHQWKHDWWDFNRQWKH%DFKD

.KDQ8QLYHUVLW\WKDWNLOOHGGR]HQVRISURIHVVRUVDQGVWXGHQWVDQGDQDWWDFNRQ

%DGDEHU$LU)RUFH%DVHNLOOLQJ0XVOLPVDWPRUQLQJSUD\HU




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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 29 of 400
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:LWKRXWDGRXEWZHDUHDWWDLQLQJRXUSULPDU\REMHFWLYHLQ$IJKDQLVWDQ2XUSUHVHQFHLQ

$IJKDQLVWDQLQPDLQWDLQHGFULWLFDOSUHVVXUHRQWHUURUQHWZRUNVWRSURWHFWWKH

KRPHODQG86FRXQWHUWHUURULVPIRUFHVZLOOFRQWLQXHWRWDUJHW$O4DL¶GDDQGFRQGXFWD

VHULHVRIRSHUDWLRQVGHVLJQHGWRGHIHDW,6,/.LQDQGSUHFOXGHWKHPLJUDWLRQRI

WHUURULVWVIURP,UDTDQG6\ULDLQWR$IJKDQLVWDQ


$1'6)3ODQQLQJIRU'HYHORSLQJD6XVWDLQDEOH6HFXULW\6WUDWHJ\


,QWKH$1'6)GHYHORSHGWKHLUILUVWSRVW,6$)VWUDWHJ\1HVWHGZLWKLQDILYH\HDU

1DWLRQDO&DPSDLJQ3ODQGHVLJQHGWRLQFHQWLYL]HUHFRQFLOLDWLRQWKH6XVWDLQDEOH6HFXULW\

6WUDWHJ\SULRULWL]HGHIIRUWVEDVHGXSRQD³KROGILJKWGLVUXSW´PHWKRGRORJ\7KLV

PHWKRGRORJ\GHVLJQDWHGDUHDVZKLFKWKH$1'6)ZRXOG+ROGWRSUHYHQWWKHORVVRI

PDMRUSRSXODWLRQFHQWHUVDQGRWKHUVWUDWHJLFDUHDVWRWKHHQHP\WKRVHIRUZKLFKWKH

$1'6)ZRXOGLPPHGLDWHO\)LJKWWRUHWDLQDQGWKRVHDUHDVZKHUHWKH\ZRXOGDVVXPH

ULVNE\RQO\'LVUXSWLQJWKHHQHP\LIWKH\DSSHDUHG7KH$1'6)GHVLJQHGWKHLUSKDVHG

RSHUDWLRQDOFDPSDLJQSODQFDOOHG2SHUDWLRQ6+$)$4WRDQWLFLSDWHDQGFRXQWHUWKH

HQHP\¶VPDLQDQGVXSSRUWLQJHIIRUWV7KLVSULRULWL]DWLRQFDXVHGWKHPWRFRQFHQWUDWH

IRUFHVLQPRUHSRSXORXVDUHDVDQGUHPRYHIRUFHVIURPPRUHUHPRWHVSDUVHO\LQKDELWHG

DUHDV


$1'6)2SHUDWLRQV7HVWHGDQG3UHYDLOHG


7ZRG\QDPLFVFKDUDFWHUL]HGWKHHDUO\PRQWKVRI)LUVWWKHH[WHUQDOO\HQDEOHG

7DOLEDQIRXJKWWKURXJKWKHZLQWHUPRQWKVLQDQDWWHPSWWRH[KDXVWWKH$1'6)

+RZHYHUWKLVHIIRUWDOVRGHSOHWHGWKHLURZQPDQSRZHUDQGILQDQFHV6HFRQG

$IJKDQLVWDQMRLQHG3DNLVWDQWKH86DQG&KLQDWRGLVFXVVSHDFHDQGUHFRQFLOLDWLRQDV



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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 30 of 400
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WKH4XDGULODWHUDO&RRUGLQDWLRQ*URXS 4&* +RZHYHULQPLG0DUFK7DOLEDQ(PLU

0XOODK0DQVRXUSXEOLFDOO\UHMHFWHGSDUWLFLSDWLRQLQWKHSURFHVV2Q$SULOWKH\

DQQRXQFHGWKHVWDUWRIWKHLURIIHQVLYH2SHUDWLRQ2PDUL


7KH$1'6)ODUJHO\VWD\HGRQWKHLUFDPSDLJQSODQIRUWKHILUVWKDOIRIVXFFHVVIXOO\

H[HFXWLQJWKHILUVWWKUHHSKDVHVRI2SHUDWLRQ6+$)$4IURP)HEUXDU\WKURXJKODWH-XO\

,Q3KDVH,WKH\GHIHQGHG.XQGX]LQIOLFWLQJKHDY\FDVXDOWLHVRQORFDO7DOLEDQZKR

GHVLUHGDUHSHDWRIWKHLU2FWREHUVHL]XUHRIWKDWSURYLQFLDOFDSLWDO7KH$1'6)

WUDQVLWLRQHGWR3KDVH,,RI2SHUDWLRQ6+$)$4LQ-XQHDQGVKLIWHGWKHLUPDLQHIIRUWWR

+HOPDQGDQG8UX]JDQ:KLOHVXIIHULQJKLJKFDVXDOWLHVWKH$1'6)VXFFHVVIXOO\

FRQVROLGDWHGFRQWURORYHUWKHPRVWSRSXORXVDUHDVDQGGHIHDWHGDWWHPSWVDWLVRODWLQJ

SURYLQFLDOFDSLWDOV%\PLG-XO\WKH$1'6)H[HFXWHG3KDVH,,,LQZKLFKWKH\VKLIWHGWKH

PDLQHIIRUWWRVRXWKHUQ1DQJDUKDU3URYLQFHIRUFRXQWHU,6,/.RSHUDWLRQV


,QHDUO\$XJXVWWKH7DOLEDQLQLWLDWHGPXOWLSOHHIIRUWVWRVHL]HWKHSURYLQFLDOFDSLWDOVRI

/DVKNDU*DKLQ+HOPDQGDQG.XQGX]&LW\LQ.XQGX]3URYLQFH7KURXJKWKHHQGRI

6HSWHPEHUWKH7DOLEDQWULHGDJDLQWRLVRODWHDQGVHL]HWKHVHWZRFLWLHVDVZHOODV7DULQ

.RWWKHSURYLQFLDOFDSLWDORI8UX]JDQ3URYLQFH:LWKWKHKHOSRI86([SHGLWLRQDU\

$GYLVLQJ3DFNDJHV ($3V XVLQJ86DXWKRULWLHVDQGFRPEDWHQDEOHUVWKH$1'6)

SUHYHQWHGWKHFDSWXUHRIDQ\RIWKHVHSURYLQFLDOFDSLWDOVDVLJQLILFDQWVXFFHVVLQMXVW

WKHLUVHFRQG\HDUDWWKHKHOPRIWKHILJKW$GGLWLRQDOO\$IJKDQ1DWLRQDO$UP\ $1$ 

XQLWVH[HFXWHGFOHDULQJRSHUDWLRQVWRUHRSHQKLJKZD\VDQGPDLQWDLQOLQHVRI

FRPPXQLFDWLRQEHWZHHQNH\UHJLRQDOSRSXODWLRQFHQWHUVWKURXJKRXWWKLVSHULRG




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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 31 of 400
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2IWKHSURYLQFLDOFDSLWDOV.XQGX]ZDVWKHSULPDU\WDUJHWRIWKH7DOLEDQ7KHLUWKLUG

DWWDFNRQWKLVFLW\LQHDUO\2FWREHUZDVWLPHGWRFRUUHODWHWRWKH%UXVVHOV

&RQIHUHQFHRQ$IJKDQLVWDQDQGWKHRQH\HDUDQQLYHUVDU\RIWKHIDOORIWKHFLW\LQ

2Q2FWREHUWKH$1'6)IRXJKWIRXUVLPXOWDQHRXVFRRUGLQDWHGDWWDFNVRQ/DVKNDU

*DK.XQGX]7DULQ.RWDQG)DUDK&LW\LQ)DUDK3URYLQFHDQGUHSHOOHGWKHPDOO

%HWZHHQ$XJXVWDQG2FWREHUWKH$1'6)SUHYDLOHGDJDLQVWDWRWDORIVHYHQ7DOLEDQ

DWWDFNVRQPDMRU$IJKDQFLWLHV


6LQFHWKHVWDUWRIWKH7DOLEDQ¶VFDPSDLJQLQ$SULOWKH$1'6)SUHYHQWHGWKHPIURP

DFFRPSOLVKLQJWKHLUVWDWHGVWUDWHJLFREMHFWLYHRIRYHUWDNLQJSURYLQFLDOFDSLWDOV7KH\

ZHUHRIWHQXQDEOHWRPDVVLQODUJHQXPEHUVEHFDXVHRI$IJKDQDQG86DLUSRZHU

LQVWHDGUHVRUWLQJIUHTXHQWO\WRQXPHURXVVPDOOVFDOHDWWDFNVRQFKHFNSRLQWVLQWKHLU

DWWHPSWVWRLVRODWHFLWLHVDQGFUHDWHSDQLF7KH\H[SORLWHGORFDOL]HGDQGWHPSRUDU\

VXFFHVVHVE\GHSLFWLQJWKHVHHYHQWVDVPDMRUVWUDWHJLFVKLIWVWKURXJKWKHXVHRIVRFLDO

PHGLDDQGSURSDJDQGD7KH$1'6)FRQVLVWHQWO\UHWRRNGLVWULFWFHQWHUVDQGSRSXODWLRQ

DUHDVZLWKLQGD\VRIDORVVZKHUHDVLQLWVRPHWLPHVWRRNWKHPZHHNVWRUHFRYHU

:KLOHWKHQXPEHURIKLJKSURILOHDWWDFNVLQ.DEXOZDVORZHUWKDQGXULQJWKHVDPH

WLPHSHULRGODVW\HDUWKHVHWHUURUDWWDFNVUHVXOWHGLQODUJHQXPEHUVRIFLYLOLDQ

FDVXDOWLHV'HVSLWHSURPLVHVWRVDIHJXDUGFLYLOLDQVWKH7DOLEDQFDXVHGDSSUR[LPDWHO\

WZRWKLUGVRIFLYLOLDQFDVXDOWLHVDFFRUGLQJWRVWDWLVWLFVSURYLGHGE\LQWHUQDWLRQDO

RUJDQL]DWLRQVVXFKDVWKH8QLWHG1DWLRQV+LJK&RPPLVVLRQHUIRU5HIXJHHV


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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 32 of 400
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&ULWLFDO)DFWRUV$IIHFWLQJWKH0LVVLRQDQG(TXLOLEULXP)DYRULQJWKH*RYHUQPHQW


7KHFULWLFDOIDFWRUVWKDWFDQDIIHFWRXUPLVVLRQDUHWKHVWDELOLW\RIWKH$IJKDQ

JRYHUQPHQW$1'6)FDVXDOWLHVFRQYHUJHQFHRIWHUURULVWVDQGYLROHQWH[WUHPLVW

RUJDQL]DWLRQVLQ$IJKDQLVWDQDQGWKHLQIOXHQFHRIH[WHUQDODFWRUVRQ$IJKDQLVWDQ

5HLQIRUFLQJWKHVWDELOLW\RIWKH$IJKDQJRYHUQPHQWLVDZRUNLQSURJUHVVSULPDULO\OHGE\

WKHGLSORPDWLFFRPPXQLW\7KH86)25$VXSSRUWLQJHIIRUWKDVEHHQWRXUJHDOOSROLWLFDO

DFWRUVWRQRWDOORZWKHLUSROLWLFDOSURFHVVWRXQGHUPLQHWKHVHFXULW\JDLQVPDGHDWVXFK

KLJKFRVW$WWKHVWUDWHJLFOHYHO$IJKDQLVWDQLVDPRGHUDWH,VODPLFUHSXEOLFDQGDUJXDEO\

RQHRIWKHPRVWGHPRFUDWLFQDWLRQVLQWKHUHJLRQ7KH*RYHUQPHQWUHWDLQVEURDG

LQWHUQDWLRQDOFRPPXQLW\VXSSRUWUHSUHVHQWHGE\WKHILQDQFLDODQGVHFXULW\FRPPLWPHQWV

WKURXJKWKHWLPHIUDPHRIWKH:DUVDZ6XPPLWDQGWKH%UXVVHOV&RQIHUHQFH


+LJK$1'6)FDVXDOWLHVUHPDLQDPDMRUFRQFHUQEXWWKXVIDUUHFUXLWPHQWKDVJHQHUDOO\

NHSWSDFHZLWKORVVHVDQGDWWULWLRQ7KHKLJKORVVHVKDYHSULPDULO\UHVXOWHGIURPSRRU

OHDGHUVKLSWDFWLFVDQGWUDLQLQJDVZHOODVFRUUXSWLRQZKLFKXQGHUPLQHVFRPEDW

HIIHFWLYHQHVV


7KHFRQYHUJHQFHRILQGLYLGXDOVDQGJURXSVDPRQJWKHGHVLJQDWHGWHUURULVW

RUJDQL]DWLRQVDQGWKUHH9(2VLVDQRQJRLQJWKUHDW,6,/.LVLOOXVWUDWLYHRIWKLVDVLWV

FRPSRVLWLRQLQFOXGHVIRUPHU7HKULNH7DOLEDQ3DNLVWDQDQG$IJKDQ7DOLEDQOHDGHUVDV

ZHOODVPHPEHUVRIWKH,VODPLF0RYHPHQWRI8]EHNLVWDQ7KHVHJURXSVEHQHILWIURP

FRPSOHPHQWDU\FDSDELOLWLHVDQGQHWZRUNVDQGUHTXLUHFRQWLQXRXVSUHVVXUHWRSUHYHQW

WKHHPHUJHQFHRIDQHZPRUHYLUXOHQWRUJDQL]DWLRQLQZKLFKWKHQHZZKROHLVPRUH

GDQJHURXVWKDQWKHVXPRIWKHSUHYLRXVSDUWV




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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 33 of 400
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$IJKDQLVWDQ¶VJHRVWUDWHJLFORFDWLRQLQYLWHVWKHRIWHQPDOLJQLQWHUHVWDQGLQIOXHQFHRI

VHYHUDOH[WHUQDODFWRUV,WVLWVDWWKHJHRJUDSKLFSROLWLFDODQGFXOWXUDOFURVVURDGVRI

WUDQVQDWLRQDOWHUURULVPWKHYRODWLOH3DNLVWDQ,QGLDERUGHUWKHIRUPHU6RYLHWUHSXEOLFVRI

&HQWUDO$VLD,UDQDQG&KLQD¶V2QH%HOW2QH5RDGLQLWLDWLYH7KH7DOLEDQDQG+DTTDQL

QHWZRUNDUHWKHJUHDWHVWWKUHDWVWRVHFXULW\LQ$IJKDQLVWDQ7KHLUVHQLRUOHDGHUVUHPDLQ

LQVXODWHGIURPSUHVVXUHDQGHQMR\IUHHGRPRIDFWLRQZLWKLQ3DNLVWDQVDIHKDYHQV$V

ORQJDVWKH\HQMR\H[WHUQDOHQDEOHPHQWWKH\KDYHQRLQFHQWLYHWRUHFRQFLOH7KH

SULPDU\IDFWRUWKDWZLOOHQDEOHRXUVXFFHVVLVWKHHOLPLQDWLRQRIH[WHUQDOVDQFWXDU\DQG

VXSSRUWWRWKHLQVXUJHQWV5XVVLDKDVEHFRPHPRUHDVVHUWLYHRYHUWKHSDVW\HDURYHUWO\

OHQGLQJOHJLWLPDF\WRWKH7DOLEDQWRXQGHUPLQH1$72HIIRUWVDQGEROVWHUEHOOLJHUHQWV

XVLQJWKHIDOVHQDUUDWLYHWKDWRQO\WKH7DOLEDQDUHILJKWLQJ,6,/.6LPLODUO\QHLJKERULQJ

,UDQLVSURYLGLQJVXSSRUWWRWKH7DOLEDQZKLOHDOVRHQJDJLQJWKH$IJKDQJRYHUQPHQWRYHU

LVVXHVRIZDWHUULJKWVWUDGHDQGVHFXULW\


$IJKDQLVWDQGHVLUHVWKDWRXWVLGHDFWRUVZLOOFRRSHUDWHZLWKUDWKHUWKDQXQGHUPLQHWKH

$IJKDQJRYHUQPHQWWREROVWHULWVFDSDELOLW\DQGOHJLWLPDF\DQGQRWWKHLQVXUJHQWV

,UDQLDQ±,QGLDQ±$IJKDQFRRSHUDWLRQRYHUWKH&KDEDKDU3RUWSUHVHQWVJUHDWHFRQRPLF

SRWHQWLDO:LWKRYHU%GHYHORSPHQWDLGH[HFXWHGVLQFHDQGDQRWKHU%

SOHGJHGLQ,QGLD¶VVLJQLILFDQWLQYHVWPHQWVLQ$IJKDQLQIUDVWUXFWXUHHQJLQHHULQJ

WUDLQLQJDQGKXPDQLWDULDQLVVXHVZLOOKHOSGHYHORS$IJKDQKXPDQFDSLWDODQGORQJWHUP

VWDELOLW\&KLQDLVDPRGHUDWHLQIOXHQFHUIRFXVHGPDLQO\RQUHJLRQDOHFRQRPLFLQWHUHVWV


0XOWLSOHZLWQHVVHVKDYHDSSHDUHGEHIRUHWKLVERG\DQGWHVWLILHGWKDWLQVXUJHQWVFDQQRW

EHGHIHDWHGZKLOHWKH\HQMR\H[WHUQDOVDQFWXDU\DQGVXSSRUWIURPRXWVLGHRIWKH




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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 34 of 400
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QDWLRQDOERXQGDULHVRIWKHFRQIOLFWDUHD ([WHUQDOVDIHKDYHQDQGVXSSRUWLQ3DNLVWDQ

LQFUHDVHVWKHFRVWWRWKH8QLWHG6WDWHVLQWHUPVRIOLYHVWLPHDQGPRQH\DQGLW

DGYDQWDJHVWKHHQHP\ZLWKWKHVWUDWHJLFLQLWLDWLYHDOORZLQJWKHPWRGHWHUPLQHWKHSDFH

DQGYHQXHRIFRQIOLFWIURPVDQFWXDU\(YHQZLWKLQWKLVG\QDPLFWKHVLWXDWLRQLQ

$IJKDQLVWDQKDVUHDFKHGDVWDWHRIHTXLOLEULXPWKDWIDYRUVWKH*RYHUQPHQW1HLWKHUWKH

7DOLEDQQRUWKH$1'6)LVFXUUHQWO\FDSDEOHRIIXQGDPHQWDOO\DOWHULQJWKHRSHUDWLRQDO

HQYLURQPHQWZKLFKOHDYHVWKHJRYHUQPHQWLQFRQWURORIURXJKO\WZRWKLUGVRIWKH

SRSXODWLRQWKH7DOLEDQLQFRQWURORIDSSUR[LPDWHO\WHQSHUFHQWDQGWKHUHVWFRQWHVWHG


7KH³+ROG)LJKW'LVUXSW´PHWKRGRORJ\RIWKH6XVWDLQDEOH6HFXULW\6WUDWHJ\VKLIWHG

$IJKDQIRFXVIURPFRQWURORIWHUUDLQWRSRSXODWLRQVHFXULW\WKLV\HDU$QRWKHUZD\WR

DIIHFWFKDQJHLQHTXLOLEULXPLVWRHQFRXUDJHUHFRQFLOLDWLRQRILQVXUJHQWV7KH$IJKDQ

JRYHUQPHQWQHJRWLDWHGSHDFHDJUHHPHQWZLWKWKH+H]EH,VODPL*XOEXGGLQ +L* KDV

WKHSRWHQWLDOWRVHUYHDVDFDWDO\VWIRUVLPLODUVHWWOHPHQWVZLWKWKH7DOLEDQRUSRUWLRQVRI

WKHP3UHVLGHQW*KDQLLVIRFXVHGRQWKHFRPSOH[FRRUGLQDWLRQUHTXLUHGWRVXFFHVVIXOO\

GHPRELOL]HDQGUHLQWHJUDWHWKH+L*LQ


,PSRUWDQFHRI/HDGHUVKLS'HYHORSPHQWDQG2WKHU/HVVRQV/HDUQHG


RSHUDWLRQVKLJKOLJKWHGWKHJUHDWHVWZHDNQHVVRIWKH$IJKDQVHFXULW\IRUFHVSRRU

OHDGHUVKLS3RRUOHDGHUVKLSRFFXUVSULPDULO\EHFDXVHRISDWURQDJHYLFHPHULWEDVHG

DSSRLQWPHQWZKLFKLVSUHYDOHQWLQWKH3ROLFHEXWLPSURYLQJLQWKH$UP\7KHKLJK

TXDOLW\RIOHDGHUVKLSZLWKLQWKH6SHFLDO)RUFHVDQGWRDQLQFUHDVLQJH[WHQWWKH$LU

)RUFHGHPRQVWUDWHVWKHDUWRIWKHSRVVLEOHLQEXLOGLQJHIIHFWLYH$IJKDQOHDGHUVIURP
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 6WDWHPHQWRI$'00LFKDHO0XOOHQ³866WUDWHJ\LQ$IJKDQLVWDQDQG,UDT´6HSWHPEHU
7HVWLPRQ\RI*(1-RKQ0.HDQH86$ 5HW ³(PHUJLQJ86'HIHQVH&KDOOHQJHVDQG:RUOGZLGH
7KUHDWV´'HFHPEHU


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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 35 of 400
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WKHLUVL]HDEOH\RXWKSRSXODWLRQ5HIRUPVWRWKHDSSRLQWPHQWV\VWHPVDQGOHDGHU

GHYHORSPHQWSURJUDPVDUHEHJLQQLQJWRQRZDGGUHVVWKHVHGHILFLHQFLHV


%HVLGHVSRRUOHDGHUVKLSWKHZLGHVSUHDG$1'6)XVHRIVWDWLFFKHFNSRLQWVLVVWLOOWKH

JUHDWHVWFRQWULEXWLQJIDFWRUWRLQFUHDVHGFDVXDOWLHV7KHUHLVVLJQLILFDQWVRFLDODQG

SROLWLFDOSUHVVXUHWRPDLQWDLQWKHVHFKHFNSRLQWVDURXQGYLOODJHVDQGDORQJKLJKZD\V

+RZHYHUWKH$1'6)DUHQRWWUDLQHGLQKRZWRGHIHQGWKHVHVPDOORXWSRVWVFRQGXFW

ORFDOVHFXULW\SDWUROVRUDPEXVKZRXOGEHDWWDFNHUV:HFRQWLQXHWRVWUHVVFKHFNSRLQW

UHGXFWLRQDQGDUHVHHLQJWKLVEHJLQZLWKLQWKH$IJKDQ$UP\


2WKHUZHDNQHVVHVLQFOXGHSRRUVXVWDLQPHQWRIVROGLHUVDQGSROLFHLQWKHILHOGWKHODFN

RIDQRSHUDWLRQDOUHDGLQHVVF\FOHQRFROOHFWLYHWUDLQLQJDQGFRUUXSWLRQWKDWGLYHUWV

QHHGHGVXSSRUWIURPILJKWLQJXQLWV$WWKHWDFWLFDOOHYHOWKH$1$QHHGVWRLPSURYHLWV

LQWHJUDWLRQRIILUHVDQGDLUSRZHUDVZHOODVFURVVSLOODULQWHJUDWLRQEHWZHHQWKH$1$

DQG$IJKDQ1DWLRQDO3ROLFH $13 WRLPSURYHXQLW\RIHIIRUWDQGPD[LPL]HDYDLODEOH

FRPEDWSRZHUXVHHVWDEOLVKHGFKDLQVRIFRPPDQGDQGLQWHJUDWHLQWHOOLJHQFHLQWR

RSHUDWLRQV:LWKVRPDQ\$IJKDQWURRSVWLHGXSRQVWDWLFFKHFNSRLQWVWKLV\HDUXQLWVGLG

QRWH[HFXWHDQ2SHUDWLRQDO5HDGLQHVV&\FOH 25& LQZKLFKWKH\URWDWHWURRSVWKURXJK

ILHOGGXW\WUDLQLQJDQGUHILWF\FOHV'XULQJWKHFXUUHQW:LQWHU&DPSDLJQXQLWVDUH

HVWDEOLVKLQJWKHVHF\FOHVDQGZHKDYHREVHUYHGDQLQFUHDVHGIRFXVRQFRPSDQ\OHYHO

FROOHFWLYHWUDLQLQJDQGOHDGHUVKLSGHYHORSPHQWRYHUWKHSDVWPRQWKV86)25$LV

ZRUNLQJZLWKWKH0LQLVWU\RI'HIHQVH 0R' WRFRXQWHUFRUUXSWLRQZLWKLQWKHSHUVRQQHO

V\VWHPWKURXJKWKHELRPHWULFHQUROOPHQWDQGLPSURYHGDFFRXQWDELOLW\SURFHGXUHV$VRI

-DQXDU\86)25$LVOLPLWLQJGLVSHUVDORIIXQGVIRUVDODULHVWRFRYHURQO\WKH

QXPEHURILQGLYLGXDOVZKRDUHELRPHWULFDOO\HQUROOHG


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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 36 of 400
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'HVSLWHWKHVHVKRUWFRPLQJVWKHUHDUHVRPHDUHDVRIVXFFHVVZLWKLQWKH0LQLVWU\RI

,QWHULRU 0R, 7KHQXPEHURIIHPDOHRIILFHUVKDVLQFUHDVHGWRQHDUO\DQGJHQGHU

LQWHJUDWLRQLQWKH0R,RXWSDFHVWKH0R'7KHLQHIIHFWLYHQHVVDWWKHPLQLVWHULDOOHYHO

VKRXOGQRWGHWUDFWIURPWKHEUDYHU\DQGVNLOOGHPRQVWUDWHGE\WKHVSHFLDOSROLFHXQLWV

&ULVLV5HVSRQVH8QLWUHVSRQGVWRDOOKLJKSURILOHDWWDFNVLQ.DEXO,WVXFFHVVIXOO\

FRQWDLQHGWKHWHUURUDWWDFNDJDLQVWWKH$PHULFDQ8QLYHUVLW\LQ.DEXORQ$XJXVW

VDYLQJWKHOLYHVRIRYHUKRVWDJHVDQGKXQGUHGVPRUHZKRZHUHWUDSSHGRQWKH

XQLYHUVLW\JURXQGV7KLVVDPHXQLWDOVRUHVSRQGHGWRWKH2FWREHUWZLQDWWDFNV

DJDLQVW6KLDPRVTXHVUHVFXLQJKRVWDJHV


2IIHQVLYH&DSDELOLW\7KH$IJKDQ6SHFLDO)RUFHVDQG$LU)RUFH


:KLOHWKH0R'KDVPDQ\FKDOOHQJHVDVZHOOSULPDULO\LQWKHDUHDVRISURFXUHPHQW

ORJLVWLFVDQGOHDGHUVKLSWKHUHDUHQXPHURXVVXFFHVVHV7KHSURIHVVLRQDOLVPDQG

FRPSHWHQFHRIWKH$IJKDQ1DWLRQDO$UP\6SHFLDO2SHUDWLRQV&RPPDQGLVWKHPRVW

QRWHZRUWK\7KHVHVSHFLDORSHUDWRUVFRQGXFWRI$1$RIIHQVLYHRSHUDWLRQV

DQGDUHWKHEHVWH[DPSOHRIVXFFHVVLQ7KHUHJHQHUDWLRQRIWKLVIRUFHDQGWKHLU

UROHDVDFDWDO\VWIRULPSURYHPHQWRIWKH$UP\DUHFULWLFDOREMHFWLYHVIRUWKHZLQWHU

FDPSDLJQ7KHSURILFLHQF\RIWKH$66)LVGLUHFWO\DWWULEXWDEOHWRWKHLUORQJVWDQGLQJDQG

FRQVLVWHQWSDUWQHUVKLSZLWK86DQGFRDOLWLRQDGYLVRUVZKRWUDLQDGYLVHDVVLVWDQG

SDUWQHUIRUVSHFLILFRSHUDWLRQVGRZQWRWKHWDFWLFDOOHYHO FRPSDQ\DQGEDWWDOLRQ DQGXS

WRWKHRSHUDWLRQDOOHYHO GLYLVLRQDQGFRUSV &RPSHWHQW$66)DUHWKHUHVXOWRI

H[WHQVLYHLQWHUQDWLRQDOLQYHVWPHQWLQWLPHIXQGLQJDQGSHUVRQQHO7KHFDSDELOLW\DQG

FDSDFLW\RIWKH$66)ZLOOHQVXUH$IJKDQLVWDQFDQQRWDJDLQEHXVHGDVDVDIHKDYHQ

IURPZKLFKWUDQVUHJLRQDOWHUURULVWVFDQWKUHDWHQWKH86DQGLQWHUQDWLRQDOSDUWQHUV


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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 37 of 400
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&RDOLWLRQDGYLVRUVDQWLFLSDWHWKH$66)ZLOOPDNHVWULGHVLQWKHFRPLQJ\HDUVLQFULWLFDO

ZDUILJKWLQJIXQFWLRQVEXWWKLVZLOOUHTXLUHWKHFRQWLQXDWLRQRISHUVLVWHQWFRDOLWLRQWUDLQLQJ

DQGDGYLVLQJDVZHOODVWKHVHFXULW\DVVLVWDQFHIXQGLQJZHSURYLGHWKHP


$QRWKHUNH\WRIXWXUHVXFFHVVLVWKH$IJKDQ$LU)RUFH $$) $OWKRXJKVWLOOOLPLWHGLQ

QXPEHURIDLUFUDIWDQGFUHZVVLQFHWKHEHJLQQLQJRIWKHWKH$$)KDVDGGHG

VWULNHDLUFUDIWFRQVLVWLQJRI0'DWWDFNKHOLFRSWHUVDQGHLJKW$DWWDFNDLUFUDIW

&RPSDULQJWRWKH$$)KDVLQFUHDVHGRUJDQLFVWULNHPLVVLRQVE\

%HIRUH0DUFKWKH$$)KDGQRGHGLFDWHGIL[HGZLQJDWWDFNDLUFUDIW±LQWKH$LU

)RUFHDGGHGHLJKW$VDQGQHDUO\$IJKDQ7DFWLFDO$LU&RQWUROOHUVWRLPSURYHWKH

FRPEDWFDSDELOLW\RIWKH$1'6)7KHILUVW$VWULNHPLVVLRQZDVIORZQRQ$SULO

,QWKHUHPDLQGHURIWKH$$)GURSSHGRYHUERPEV1HDUO\DLUFUHZV

ZHUHDGGHGWRWKHIRUFHWKLV\HDUDQGWKHLUWUDLQLQJDQGHGXFDWLRQLQ86VFKRROV

KHOSHGIXUWKHUSURIHVVLRQDOL]HWKHLUIRUFH7KHVH$IJKDQSLORWVGHPRQVWUDWHGVRXQG

MXGJPHQWJRRGIO\LQJVNLOOVDQGWKHFRXUDJHWRGLVVHQWZKHQWKHUHZDVULVNRIFLYLOLDQ

FDVXDOWLHV7KH$$)DOVRGHPRQVWUDWHGWKHDELOLW\WRLQWHJUDWHWKHQHZQDWLRQDOWDUJHWLQJ

SURFHVVZLWK$V0'VDQG6FDQ(DJOH,65SODWIRUPVWRDWWDFNLQVXUJHQWWDUJHWV

$IJKDQ6SHFLDO6HFXULW\)RUFHVUHO\RQWKH$IJKDQ6SHFLDO0LVVLRQ:LQJZKLFKLVIXOO\

QLJKWYLVLRQJRJJOHTXDOLILHGDQGHQDEOHVWKHPWRFRQGXFWQLJKWWLPHRSHUDWLRQV

DQ\ZKHUHLQWKHFRXQWU\EROVWHULQJQDWLRQDOFRXQWHUWHUURULVPHIIRUWV


7KHH[WUHPHO\UXJJHGDQGPRXQWDLQRXVWHUUDLQLQ$IJKDQLVWDQUHTXLUHVWKH$1'6)WR

KDYHDQRUJDQLFDHULDOPRELOLW\DQGILUHVFDSDELOLW\$HULDOPRELOLW\HQDEOHVRIIHQVLYH

DFWLRQWKURXJKWKHUDSLGPRYHPHQWRIWURRSVLQDGYDQFHRIHQHP\PDQHXYHUSURYLGHV

FULWLFDOUHVXSSO\RYHULPSDVVLEOHWHUUDLQDQGSHUPLWVWKHUDSLGPHGLFDOHYDFXDWLRQRI


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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 38 of 400
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ZRXQGHG6ROGLHUV$HULDOILUHVSURYLGHSURPSWRYHUPDWFKILUHVXSSRUWWRIULHQGO\WURRSV

LQFRQWDFWZLWKWKHHQHP\$LUVXSSRUWDIIHFWVWKHHQWLUHUDQJHRIWKHFDPSDLJQIURP

RSHUDWLRQDOPDQHXYHUWR6ROGLHUPRUDOHDQGLVWKHPRVWFULWLFDOHQDEOHUIRURXUSDUWQHUV


7KH86JRYHUQPHQWLVFRQVLGHULQJDFULWLFDO$$)LQLWLDWLYHWRUHSODFHWKHXQVXVWDLQDEOH

5XVVLDQPDQXIDFWXUHGDLUFUDIWIOHHWDQGPDNHXSIRUFRPEDWORVVHVLQ$IJKDQWUDQVSRUW

KHOLFRSWHUVE\SURYLGLQJ86$UP\8+V7KH'HSDUWPHQWRI'HIHQVHVXEPLWWHGD

IXQGLQJUHTXHVWLQ1RYHPEHUWREHJLQWKLVWUDQVLWLRQ:KLOHPDNLQJVWHDG\

SURJUHVVDIXOO\RSHUDWLRQDO$$)LVVWLOOVRPH\HDUVDZD\2IQRWHLWZLOOWDNH

DSSUR[LPDWHO\PRQWKVIURPWKHLQLWLDODSSURYDOGHFLVLRQWRILHOGWKHILUVWUHIXUELVKHG

DQGXSJUDGHG8+'HIHUULQJIXQGLQJGHFLVLRQVDQ\IXUWKHUZLGHQVWKHFULWLFDO$IJKDQ

DHULDOFDSDELOLW\JDSDVWKH5XVVLDQPDGH0LKHOLFRSWHUVDWWULWHDQG8+VDUHQRW

DYDLODEOHXQWLOWKHFDPSDLJQ7KLVZLOOUHTXLUH86DYLDWLRQDQGDXWKRULWLHVWR

EULGJHWKHJDSDQGSXVKHVWKHDUULYDORIWKHVHFULWLFDO$$)KHOLFRSWHUVDQGDGGLWLRQDO

VWULNHDLUFUDIWXQWLOODWHULQWKH:DUVDZ6XPPLWWLPHIUDPHZKLFKSXWVDWWDLQPHQWRIRXU

FDPSDLJQREMHFWLYHDWVHULRXVULVN


,QWKH86)25$UHFRPPHQGHGDZDUJDPHWR³SURYLGHDSURMHFWLRQRIWKH

$1'6)¶VOHYHORIVXFFHVVDVLWFRQWLQXHVWRKDYHUHVSRQVLELOLW\IRUWKHVHFXULW\RI

$IJKDQLVWDQ´)URP0DUFKWR$XJXVWWKH86)25$VWDIILQSDUWQHUVKLSZLWKWKH

&HQWHUIRU$UP\$QDO\VLV &$$ FRQGXFWHGDVWXG\RIYDULRXVFRPELQDWLRQVRIJURXQG

IRUFHVWUXFWXUHVDQG$$)DHULDOPRELOLW\DQGILUHVRSWLRQV7KHVWXG\WHDP

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ZLWKIXOOLPSOHPHQWDWLRQRIDQ$$)LQLWLDWLYHDQGOLIHF\FOHUHSODFHPHQWRIDUPRUHG

+00:9V ³+XPYHHV´ LQWKH$1'6)WRHQKDQFHDLUDQGJURXQGPRELOLW\RIIRUFHVRQ


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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 39 of 400
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WKHEDWWOHILHOG7KLVRSWLRQZKLFKVXVWDLQVDQHIIHFWLYH$1'6)LVWKHPRVWOLNHO\WR

VXFFHHGJLYHQWKHH[SHFWHGWKUHDWHQYLURQPHQWDQGSURMHFWHG$1'6)FDSDELOLWLHV


&RPELQHG6HFXULW\7UDQVLWLRQ&RPPDQG±$IJKDQLVWDQ &67&$ FRQGXFWHGD7DFWLFDO

:KHHOHG9HKLFOH2SWLPL]DWLRQVWXG\LQLQVXSSRUWRIWKH0R'DQG0R,7DVKNLO LH

RIILFLDOPDQQLQJGRFXPHQW ZLWKDIRFXVRQFUHDWLQJDVXVWDLQDEOHDIIRUGDEOHDQG

HIIHFWLYHIOHHWWKDWLQFUHDVHVFRPEDWFDSDELOLW\DQGIRUFHSURWHFWLRQIRURFFXSDQWV,Q

FRQFHUWZLWKWKHUHVXOWVRIWKHVXEVHTXHQWZDUJDPH&67&$ZLOORQO\VXVWDLQ

SHUFHQWRIWKHFXUUHQWYHKLFOHV7KRVHYHKLFOHVVSHFLILFDOO\LGHQWLILHGIRUWHUPLQDWLRQRI

&67&$UHVRXUFHGVXVWDLQPHQWDUHSUHGRPLQDWHO\SLFNXSWUXFNVDQGRWKHUXQDUPRUHG

YHKLFOHVQRWGHVLJQHGIRUFRPEDWDQGPLOLWDU\YHKLFOHVWKDWDUHXQHFRQRPLFDOIRU

FRQWLQXHG&RDOLWLRQVXVWDLQPHQW7KLVUHGXFHGIOHHWPDLQWDLQV+00:9VDQG0RELOH

6WULNH)RUFH9HKLFOHVLQRUGHUWRPDLQWDLQSURWHFWHGPRELOLW\DQGIRUFHSURWHFWLRQ


&RXQWHULQJ&RUUXSWLRQZLWK$IJKDQ3DUWQHUV


0RUHWKDQDQ\RWKHUIDFWRUFRUUXSWLRQGUDLQVFULWLFDOUHVRXUFHVDQGXQGHUPLQHVFRPEDW

HIIHFWLYHQHVV'XULQJWKHODVWVHYHUDOPRQWKVZHKDYHSXVKHGERWKWKH$1$DQG$13

WRFRQGXFW3HUVRQQHO$VVHW,QYHQWRULHV 3$,V WRDFFRXQWIRUHYHU\HPSOR\HHE\

HQVXULQJWKH\DUHSURSHUO\HQUROOHGLQWKH$IJKDQ+XPDQ5HVRXUFHV,QIRUPDWLRQ

0DQDJHPHQW6\VWHP $+5,06 86)25$QRWLILHGERWK0R'DQG0R,0LQLVWHUVWKDW

EHJLQQLQJRQ-DQXDU\ZHZLOORQO\IXQGWKHDFWXDOPRQWKO\$IJKDQ/RFDO3ROLFH 

DQG$1$SD\UROOGLVEXUVHPHQWVUHIOHFWLQJWKHQXPEHURIYDOLGDWHGSHUVRQQHO&67&$

ZLOOILHOGWKH$IJKDQ3HUVRQQHODQG3D\6\VWHP $336 LQWRDXWRPDWHPXFKRI
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 7KH$13LVIXQGHGE\WKH/DZDQG2UGHU7UXVW)XQGIRU$IJKDQLVWDQ /27)$ XVLQJWKH:HEEDVHG
(OHFWURQLF3D\UROO6\VWHP :(36 :HKDYHEHJXQQHJRWLDWLRQVZLWK/27)$WRLPSOHPHQWWKHVDPH
VWDQGDUGVLQWKH0R,


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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 40 of 400
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WKHSD\SURFHVVDQGGUDPDWLFDOO\UHGXFHKXPDQHUURUDQGUHPRYHRSSRUWXQLWLHVIRU

IUDXGXOHQWDQGFRUUXSWEHKDYLRUZLWKLQWKHSD\UROOV\VWHP


3UHVLGHQW*KDQLLVVWURQJO\FRPPLWWHGWRUHIRUPVZLWKLQERWKVHFXULW\PLQLVWULHVDQGLV

FRPPLWWHGWRILJKWLQJFRUUXSWLRQ7KHUHFHQWDUUHVWRUVXVSHQVLRQRIVHQLRU0RORIILFLDOV

DVDFRQVHTXHQFHRIFRUUXSWLRQLQYHVWLJDWLRQVLVDVWDUW:LWKWKHKHOSRIWKH

LQWHUQDWLRQDOFRPPXQLW\WKH*RYHUQPHQWHVWDEOLVKHGWKH$QWL&RUUXSWLRQ-XVWLFH&HQWHU

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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 41 of 400
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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 42 of 400
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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 44 of 400
Russia 'arming the Afghan Taliban', says US - BBC News                                     9/19/22, 3:47 PM




       Russia 'arming the Afghan Taliban',
       says US
       23 March 2018




       Justin Rowlatt
       Chief environment correspondent
       @BBCJustinR

       Gen John Nicholson: "We know that the Russians are involved"


       Russia is supporting and even supplying arms to the Taliban, the head
       of US forces in Afghanistan has told the BBC.

       In an exclusive interview, Gen John Nicholson said he'd seen "destabilising
       activity by the Russians."

       He said Russian weapons were smuggled across the Tajik border to the
       Taliban, but could not say in what quantity. Russia has denied such US
       allegations in the past, citing a lack of evidence.

       But the new claims come at a sensitive time in Russia's ties with Nato
       powers.

       Britain and Russia are locked in a dispute over claims that Russia was behind
       an attack on a former Russian spy and his daughter on UK soil using a
       deadly nerve agent.

       Meanwhile a US Congressional Intelligence Committee has just published a

https://www.bbc.com/news/world-asia-43500299                                                    Page 1 of 5

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 45 of 400
Russia 'arming the Afghan Taliban', says US - BBC News                                     9/19/22, 3:47 PM




       report concluding that Russian provocateurs meddled in the 2016 election.

                Russian spy: What we know so far
                US punishes Russians over vote meddling
                Russia denies supplying the Taliban

       "We see a narrative that's being used that grossly exaggerates the number
       of Isis [Islamic State group] fighters here," Gen Nicholson told BBC News.
       "This narrative then is used as a justification for the Russians to legitimise
       the actions of the Taliban and provide some degree of support to the
       Taliban."

       "We've had stories written by the Taliban that have appeared in the media
       about financial support provided by the enemy. We've had weapons brought
       to this headquarters and given to us by Afghan leaders and said, this was
       given by the Russians to the Taliban," he continued. "We know that the
       Russians are involved."

       Much of Gen Nicholson's career has been spent in the conflict in
       Afghanistan. He narrowly escaped death when his office in the Pentagon
       was destroyed by one of the 9/11 planes and the US campaign in
       Afghanistan has shaped his career ever since.

       He believes this direct Russian involvement with the Taliban is relatively new.
       He says Russia has conducted a series of exercises on the Afghan border
       with Tajikistan. "These are counter terrorism exercises," says Gen Nicholson,
       "but we've seen the Russian patterns before: they bring in large amounts of
       equipment and then they leave some of it behind."

       The implication is that these weapons and other equipment are then
       smuggled across the border and supplied to the Taliban.


https://www.bbc.com/news/world-asia-43500299                                                    Page 2 of 5

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 46 of 400
Russia 'arming the Afghan Taliban', says US - BBC News                                     9/19/22, 3:47 PM



       Gen Nicholson meets an Afghan commando




       Gen Nicholson's military career has been shaped by the conflict in Afghanistan


       The general admits it is hard to quantify how much support Russia is actually
       giving the Taliban, but senior Afghan police officers and military figures have
       told the BBC that it includes night vision goggles, medium and heavy
       machine guns as well as small arms.

       Afghan sources say these weapons are likely to have been used against
       Afghan forces and the Nato advisers who support them on some combat
       missions.

       However, Russia is not an obvious ally of the Taliban. The Soviet Union
       fought a bitter war against the US-backed mujahedin after it invaded
       Afghanistan in 1979. Many of those same mujahedin fighters joined the
       Taliban when it was formed during the civil war that followed the humiliating
       Russian withdrawal in 1989.

       The Taliban's enmity towards Russia was enduring, says Kate Clark of the

https://www.bbc.com/news/world-asia-43500299                                                    Page 3 of 5

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 47 of 400
Russia 'arming the Afghan Taliban', says US - BBC News                                     9/19/22, 3:47 PM




       Afghanistan Analysts Network: "The Taliban always castigated the Northern
       Alliance for dealing with Russia," she says.

       It may be that now Russian and Taliban interests are becoming more closely
       aligned, she speculates.

       US military plane over Afghanistan




       US combat operations against the Taliban officially ended in 2014


       President Trump has been pressuring Pakistan to sever its links with the
       Taliban. In January he suspended hundreds of millions of dollars of security
       aid after complaining on Twitter that Pakistan had "given us nothing but lies
       & deceit" and accusing it of providing "safe haven to the terrorists we hunt in
       Afghanistan".

       The Taliban is also keen to distance itself from Pakistan and demonstrate
       that it is an independent force. That makes finding new funding lines and
       international backers important.



https://www.bbc.com/news/world-asia-43500299                                                    Page 4 of 5

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 48 of 400
Russia 'arming the Afghan Taliban', says US - BBC News                                     9/19/22, 3:47 PM




       Russia, meanwhile, denies providing weapons or funds to the Taliban but has
       admitted that it has had talks with the insurgent group. It justified that on the
       basis of the shared opposition to the Islamic State group, which has been
       trying to establish a base in the north-east of Afghanistan.

       However Russia may well believe there are wider geo-political benefits to be
       had from supporting the Taliban.

       When I asked Gen Nicholson whether he thought that Russia was fighting a
       proxy war against America in Afghanistan he didn't address the question
       directly.

       "This activity really picked up in the last 18 to 24 months," he replied. "Prior
       to that we had not seen this kind of destabilising activity by Russia here.
       When you look at the timing it roughly correlates to when things started to
       heat up in Syria. So it's interesting to note the timing of the whole thing."




https://www.bbc.com/news/world-asia-43500299                                                    Page 5 of 5

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 49 of 400
[House Hearing, 116 Congress]
[From the U.S. Government Publishing Office]




   RUSSIAN BOUNTIES ON U.S. TROOPS: WHY HASN'T THE ADMINISTRATION
                              RESPONDED?

=======================================================================

                                  HEARING

                                 BEFORE THE

                       COMMITTEE ON FOREIGN AFFAIRS
                         HOUSE OF REPRESENTATIVES

                      ONE HUNDRED SIXTEENTH CONGRESS

                               SECOND SESSION

                                 __________

                                JULY 9, 2020

                                 __________

                             Serial No. 116-119

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                             docs.house.gov,
                        or http://www.govinfo.gov



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        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 50 of 400
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                            C O N T E N T S

                              ----------
                                                                     Page

                                 WITNESSES

Morell, Michael, Former Acting Director and Deputy Director,
  Central Intelligence Agency.................................... 5, 7
Wallander, Dr. Celeste, Former Special Assistant to the President
  and Senior Director for Russia/Central Asia, National Security
  Council........................................................ 9, 11
Nicholson, General John W., (Retired), Former Commander of U.S.
  Forces--Afghanistan and NATO's Resolute Support Mission........23, 25
Brzezinski, Ian, Former Deputy Assistant Secretary of Defense for
  Europe and NATO, U.S. Department of Defense....................28, 30

                                  APPENDIX

Hearing Notice...................................................        74
Hearing Minutes..................................................        75
Hearing Attendance...............................................        76

                        STATEMENT FOR THE RECORD

Statement for the record submitted from Representative Connelly..        77

            RESPONSES TO QUESTIONS SUBMITTED FOR THE RECORD

Responses to questions submitted for the record from Chairman
  Engel..........................................................        79
Responses to questions submitted for the record from
  Representative Wagner..........................................        81


   RUSSIAN BOUNTIES ON U.S. TROOPS: WHY HASN'T THE ADMINISTRATION
                              RESPONDED?
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 51 of 400
                         Thursday, July 9, 2020

                          House of Representatives,
                      Committee on Foreign Affairs,
                                                      Washington, DC

    The committee met, pursuant to notice, at 1:03 p.m., via
WebEx, Hon. Joaquin Castro [acting chairman of the committee],
presiding.
    Mr. Castro [presiding]. The Committee on Foreign Affairs
will come to order.
    Without objection, the chair is authorized to declare a
recess of the committee at any point, and all members will have
5 days to submit statements, extraneous material, and questions
for the record, subject to the length limitation in the rules.
To insert something into the record, please have your staff
email the previously mentioned address or contact full
committee staff.
    Please keep your video function on at all times, even when
you are not recognized by the chair. Members are responsible
for muting and unmuting themselves, and please remember to mute
yourself after you finish speaking. Consistent with House
Resolution 965 and the accompanying regulations, staff will
only mute members and witnesses as appropriate when they are
not under recognition to eliminate background noise.
     I see that we have a quorum.
     And I will now recognize myself for opening remarks.
     We meet today to discuss reporting that Russia put bounties
on the heads of American and allied troops, Russian cash
pouring into the Taliban's coffers in exchange for American
lives. While we are going to steer clear of discussing any
classified information in this hearing, I think I am on safe
ground to say that these allegations and claims were never
denied by the White House. Russia's actions, if true, are
unacceptable. The American people are demanding answers and
they are demanding accountability.
     This hearing is also a reminder that America's longest war,
now approaching nearly two decades of continued conflict, still
wages on in Afghanistan. Bringing the 9/11 terrorists to
justice was an imperative, but few would argue today that U.S.
national security interests are being served by this endless
war.
    Just this past week, a young soldier from my hometown of
San Antonio died in a vehicle rollover accident, Vincent
Sebastian Ibarria. He was 21 years old and dreamed of becoming
a nurse after serving in the Army. I express my condolences to
his family and to the more than 2,000 American families who
lost a loved one during this conflict. We need to bring this
endless war to a close.
    Today, this committee looks to answer an important foreign
policy question: why has Russia faced no consequences, not even
a public rebuke, from the Trump administration? We invited
Secretary Pompeo to testify today. He refused, which is what we
have come to expect from this Secretary of State. While he
makes plenty of time for interviews on Fox News and seems to
relish bullying fact-based journalists from the State
Department press room, he rarely, if ever, summons the courage
to answer questions from his former colleagues in the House of
Representatives, as every other Secretary of State before him
has done.
    Russia is not our friend. Vladimir Putin is not a partner
of the United States. He is a dictator who just last week
extended his tenure to 2036. He has robbed his people of their
rights. He has trampled on the sovereignty of his neighbors. He
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 52 of 400
has used the resources of the Russian government to undermine
democracy, splinter NATO and the EU, and bolster other despots
like Assad. His tools are disinformation, violent suppression,
and assassination. All of that is contemptible enough, but
putting a price on American heads is a serious escalation.
    Exactly how the intelligence on this matter was presented
to the President is still unclear. The Trump administration's
excuses keep changing. Perhaps it was within his briefing, but
that does not necessarily mean the briefers briefed him on it,
because it is widely known that President Trump does not read
the Presidential Daily Briefing. Or maybe they did not brief
him because the intelligence was, quote-unquote, ``disputed,''
even though only intelligence that is of major significance
makes it into the Presidential Daily Briefing. Per usual with
President Trump, we are a long, long way from the buck stops
here.
    Even if the administration's explanations are true, it
paints a picture of incompetence at the highest levels of our
national security apparatus. But what troubles me the most from
a foreign policy perspective is what this White House did and
did not do once it received this information. Was there a
public condemnation of Russia and Vladimir Putin from the Trump
administration? Did the State and Treasury Departments slap
sanctions on Russian officials involved in the plot? Did the
Taliban, with whom we have been at war for nearly two decades,
pay a price? What are the State and Defense Departments doing
to protect our service members and how are they working with
our NATO allies who are contributing to the Resolute Support
Mission in Afghanistan with us to address this threat? None of
that. As a matter of fact, this President kept doing what he
has been doing since even before he was elected, cozying up to
Vladimir Putin.
    Since the United States reportedly obtained this
intelligence, President Trump has released a joint statement
with Vladimir Putin, directed the purchase of faulty Russian
ventilators, and withdrew from the Open Skies Treaty, a
critical part of monitoring Russian military activity. He also
ordered the reduction of America's troop presence in Germany,
an act that was met with bipartisan rebuke and criticism from
our allies, but with praise from the Russians. He even wanted
to expand the G-7 to include Russia again, which was expelled
from the group in 2014 following Putin's illegal annexation of
Crimea. It is almost as if President Trump is on a mission to
make Russia great again.
    This issue is also not without precedent. In 2011, the
Obama Administration discovered that Pakistani intelligence
officers urged Taliban-affiliated militants to attack the U.S.
embassy and a NATO headquarters in Kabul. How did the Obama
Administration respond? Secretary Clinton and the Chairman of
the Joint Chiefs, Mike Mullen, confronted Pakistani officials
and publicly shamed them for these actions, even though we were
relying on Pakistan for certain access into Afghanistan.
Admiral Mullen called the Haqqani Network a ``veritable arm of
Pakistani's intelligence agency.'' White House officials stood
up for Americans and the troops who were in harm's way.
    The way this administration tries to distort reality and
gaslight the American people is, frankly, a page right out of
Vladimir Putin's playbook. But the facts are clear. The Trump
administration failed in its most sacred duty, to keep
Americans safe.
    I hope that our witnesses can help us navigate all of this
today and provide some ideas and insight about what our policy
should look like under these circumstances. But, before I turn
to the witnesses, I want to recognize Ranking Member Mike
McCaul of Texas for his opening remarks.
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 53 of 400
    Mr. McCaul. Thank you, Mr. Chairman. I hope everybody can
hear me okay. Thank you for calling this important hearing.
    As I have said time and time again--and I agree with the
chairman that Vladimir Putin is not our friend, not a friend to
the United States or our allies. In the past few years, we have
witnessed his regime invade and occupy parts of Ukraine and
Georgia, unleash devastating cyber attacks against our allies,
use a banned nerve agent to try to kill a former Russian spy in
the UK, prop up corrupt regimes in Syria and Venezuela. They
meddled in our elections. They undermine American interests
around the world. He has proven he just cannot be trusted and
he certainly is not our friend.
    And now, we are faced with widely reported allegations that
a Russian military intelligence unit, the GRU, has paid
Taliban-linked militants to kill Americans and coalition forces
in Afghanistan. While it is not news that Moscow has provided
the Taliban with weapons and other support--and they have been
there since 1979--now Russia paying bounties for the murder of
American service members would be an unacceptable escalation.
If true, the administration, in my judgment, must take swift
and serious action to hold the Putin regime accountable, and
that should include not inviting Russia to rejoin the G-7.
    We have passed, Mr. Chairman, as you know, sanctions that
the administration can enact today on these Russian entities.
Ultimately, there is nothing more important than protecting our
American troops serving overseas. I think we can all agree we
must take any threat to their safety seriously, especially from
someone with a track record like Putin.
    I hope we use our time today to discuss how to more
effectively deal with the dangerous autocrat in the Kremlin
rather than descending into a partisan blame game. The only
person who benefits from American infighting over this issue is
Vladimir Putin. He loves chaos. And after last week's sham
nationwide vote in Russia that allows Putin to remain in power
through 2036, essentially, making him the emperor of Russia, it
is even more critical for Americans to work together with our
allies, especially through NATO, to counter Putin's nefarious
activities around the world.
    While the topic of this hearing will certainly center
around Russia and Vladimir Putin, the backdrop is Afghanistan.
I urge my colleagues to continue supporting our partners in
Afghanistan to help bring peace and stability to their country.
    My friend, Ambassador Rahmani, has devoted herself to
helping secure that future for Afghanistan, and I want to take
this opportunity to thank her for her unwavering dedication to
that mission. And I think it is very commendable that
Afghanistan appoint a female Ambassador to the United States,
and I hope that she will be made a part of the negotiating team
when they meet with the Taliban.
    I would also like to note that I appreciate the White House
quickly providing briefings on today's topic on both sides of
the aisle, including myself, the chairman, and other members of
the committee. And further, I know my colleagues want to get
the full story. So, I would encourage them to read all the
classified materials provided on this important matter to get
the entire picture.
    And so, finally, I would like to thank you, Mr. Chairman,
and our witnesses for their testimony. And with that, I yield
back.
    Mr. Castro. Thank you, Ranking Member McCaul.
    I am now going to introduce the witnesses who will testify
to us.
    Our first witness is Mr. Michael Morell, former Acting
Director and Deputy Director of the Central Intelligence
Agency. He is one of our Nation's leading national security
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 54 of 400
professionals and has been at the center of the Nation's fight
against terrorism. He has worked to prevent the proliferation
of weapons of mass destruction and efforts to counter U.S.
adversaries like Russia and China. He also was previously in
charge of organizing the President's Daily Briefing under
President George W. Bush.
    Our next witness is Dr. Celeste Wallander, former Special
Assistant to the President and Senior Director for Russia/
Central Asia on the National Security Council. She is a leading
expert on Russian foreign policy, security, defense, and
military affairs, and is the current president and CEO of the
U.S. Russia Foundation. Previously, Dr. Wallander also served
as Deputy Assistant Secretary of Defense for Russia, Ukraine,
and Eurasia at the Department of Defense, and was a professor
at American University.
    After her will be our witness General John Nicholson, a
retired U.S. Army general and the former commander of the
Afghan war effort, having led the 41-nation, NATO-led Resolute
Support Mission and the United States Forces Afghanistan for
more than two and a half years. His total U.S. Army career
spanned over 36 years, with more than 12 of those years being
spent at various NATO commands. He also serves as an adjunct
faculty member on leadership with Harvard University's John F.
Kennedy School of Government, and is a member of Harvard's
Belfer Center Elbe Group, which sustains Track 2 dialog between
retired American and Russian senior officials for military and
intelligence background.
    And last, but not least, we have Mr. Ian Brzezinski, former
Deputy Assistant Secretary of Defense for Europe and NATO and
national security affairs staffer in the Senate. Mr. Brzezinski
is a leading expert on Europe and NATO with more than three
decades of experience and government service. He is a senior
fellow at the Atlantic Council's Brent Scowcroft Center on
Strategy and Security and the Council's Future Europe
Initiative.
    Thank you all for being here. I will now recognize each
witness for 5 minutes. And without objection, your prepared
written statements will be made part of the record.
    Mr. Morell.

STATEMENT OF MICHAEL MORELL, FORMER ACTING DIRECTOR AND DEPUTY
             DIRECTOR, CENTRAL INTELLIGENCE AGENCY

    Mr. Morell. Chairman Castro, Ranking Member McCaul, and
members of this distinguished committee, good afternoon. It is
an honor for me to be here with you today, and it is also an
honor for me to testify alongside my distinguished panelists.
    Chairman, for the sake of time, I am going to summarize the
written testimony that I submitted to the committee. What I
want to focus on is what I know, which is how the collection,
dissemination, and analytic processes of the intelligence
community work; how the PDB process works; how the policy
process on something like this would have worked at senior
levels of the Bush and the Obama Administrations in which I
spent much time in the Situation Room. So, with that in mind, I
want to make eight points.
    One, there is a misperception about who receives raw
intelligence. Many assume that it only goes to intelligence
community analysts who decide what to share, and in what
context, with intelligence consumers. That perception is not
accurate. Raw intelligence gets disseminated widely--to
intelligence analysts, yes, but also to warfighters in the
field and at the Pentagon, the policymakers at the State
Department and the Defense Department, as well as to senior
White House officials via the White House Situation Room. The
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 55 of 400
important point here is that many people would have already
seen the raw intelligence as the analysts were just beginning
their work on it.
    Two, a key question with regard to the raw intelligence is
whether it was clear to a reader what might be happening--that
is, what the Russians might be doing with these bounties--or if
it was possible to only see that by connecting a number of
dots. I do not know what the case was here. But, even if it was
only vaguely clear from the raw intelligence that the Russians
might be paying bounties for the killing of American soldiers,
that information would have made its way to the highest levels
of the U.S. Government, including the President, before the
analysts concluded their work.
    Three, the lead IC agencies in assessing the information
would have been the Central Intelligence Agency, the Defense
Intelligence Agency, and the National Counterterrorism Center,
for reasons that I outlined in my written testimony. The
analysts would assess the information and they would come to
two separate judgments. One, whether or not they believed
Moscow was offering the bounties, and if they believed that,
No. 2, their level of confidence in that judgment--low, medium,
or high.
    Four, if the analysts believed at any level of confidence
that the Russians were providing the bounties, that judgment
would be presented in the PDB. If the President does not read
the PDB--and not all Presidents have--then it would have been
briefed to him, if not by the President's briefer, then by the
Director of National Intelligence or the Director of CIA, or
even those senior administration officials who were aware of
it, such as the National Security Advisor, the White House
Chief of Staff, or the Vice President.
    Five, contrary to what has been said by some, a dissent
within the intelligence community on either the judgment itself
or on the confidence level would not keep the piece out of the
PDB. Rather, the dissent would be noted in the PDB piece.
    Six, once the piece was in the PDB, the IC leadership on
something of this significance would brief Congress as early as
the same day as the piece ran in the PDB and certainly no later
than the next day.
    Seven, if the intelligence community assessed that the
Russians were providing the bounties at any level of
confidence, that would kick off a policy process inside the NSC
staff on how the U.S. should respond. The analysts' level of
confidence would make a difference to that process. A medium to
high level of confidence would lead to a policy decision, I
believe, on how to respond, while a low level of confidence
would result in a decision that more intelligence was necessary
before a policy decision could be made. I will leave it to
General Nicholson to explain how the warfighters in Afghanistan
would have reacted to the information and to the analysis at
any level of confidence.
    Eight, and finally, a medium-to-high-level confidence
judgment that the Russians were offering the bounties would in
every administration that I worked in--and I worked in six--
have resulted in some sort of policy action designed to deter
the Russians going forward. The safety of our troops would have
required it.
    Mr. Chairman, let me stop there, and I look forward to
answering the committee's questions.
    [The prepared statement of Mr. Morell follows:]

[GRAPHIC(S) NOT AVAILABLE IN TIFF FORMAT]

    Mr. Castro. Thank you, Mr. Morell.
    I will now go to Dr. Wallander.
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 56 of 400
STATEMENT OF CELESTE WALLANDER FORMER SPECIAL ASSISTANT TO THE
PRESIDENT AND SENIOR DIRECTOR FOR RUSSIA/CENTRAL ASIA, NATIONAL
                        SECURITY COUNCIL

    Dr. Wallander. Thank you. I thank the committee members for
the invitation to contribute to your work. Today, I will
summarize my written testimony, and for purposes of today's
discussion, I will assume that the publicly reported details of
the intelligence assessment are accurate.
    These operations are embedded in a nearly decade-long
Russian campaign of strategic competition that aims to weaken
the United States and advance Russian power and influence. The
Russian leadership recognizes that, while it is a peer to the
United States in strategic nuclear capabilities, it does not
match the United States in global power projection and in
conventional military capabilities.
    Russia seeks to compete where it has advantages in the
asymmetric terrain and to avoid competition that could lead to
its failure. Russia has invested in tools and methods to
asymmetrically counter American advantages, whether those lie
in extremist lies and social media, limited military
interventions in Ukraine and Syria, cyber intrusions in
networks and infrastructure abroad, or interfering in American
and European politics.
    Russia also deploys asymmetric tools to deny
responsibility, however implausible that deniability has
proven, in order to be able to operate with impunity and
exploit ambiguities. This takes place in the phase zero end of
the conflict spectrum, the sub-military conflict strategic
environment in which diplomatic, informational, political, and
economic conditions shape a country's capacity to secure its
interests, short of active military confrontation.
    The concept is not unique to Russian security doctrine, but
its centrality and asymmetric nature is distinctive in Russian
doctrine and operations. Russian asymmetric phase zero
operations are conducted not only by political, but also
Russian military actors, primarily Russian military
intelligence, the GRU, and quasi-private actors such as the
Wagner Group.
    The earliest stages of operations in Ukraine in March 2014,
political protests, were managed by GRU agents. The Russian
operation to influence the U.S. 2016 Presidential election was
a classic phase zero shaping operation, a mix of friendly
foreign (WikiLeaks); quasi-private (Internet Research Agency);
non-military; (the FSB), and Russian military actors.
    The asymmetric phase zero framework helps to explain why
the GRU has surfaced in a number of operations in Europe, the
U.S., and now in Afghanistan. Across all of these cases, GRU
operations are ambitious and sloppy. It is unlikely that
President Putin personally approves every GRU operation. Yet,
the GRU continues to operate, despite being exposed. This means
that there is no question that it operates with political cover
and approval at the highest levels of the Russian leadership,
which is, therefore, responsible for these operations.
    Why would the Russian leadership allow the GRU to play such
a dangerous game? Because Russia has for years successfully
managed asymmetric operations to keep the competition in
spheres where it has operational advantages. It has exploited
implausible deniability to operate in the asymmetric phase zero
spectrum with impunity. Russia is succeeding.
    In this specific case, it may be that Russia assessed that
the Taliban was insufficiently active in striking coalition
forces and needed incentives in order to hasten U.S. failure
and withdrawal. It might be that Russia sought to complicate
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 57 of 400
the U.S.-Taliban relationship. Whatever the strange reasoning
may have been, this crosses a threshold. Russia is seeking to
exploit implausibly deniable asymmetric operations now directly
against U.S. military forces.
    The Russian government has gotten away with its phase zero
operations because we are not well equipped to compete in the
asymmetric space, because we tend to view these operations as
political, not security competition, and because we have all
allowed the implausibly deniable to be denied and explained
away.
    The result has been a creeping escalation and exploitation
of asymmetric operations that thwart effective U.S. response.
Caution is warranted. The other end of the conflict spectrum is
mutually assured destruction. But caution does not require
paralysis. The United States should build defenses against
these operations, it should disrupt these operations, and it
should directly hold the Russian leadership accountable at the
military, political, and top level of leadership. If we do not
defend ourselves, if we do not disrupt these Russian
operations, and we do not hold the Russian leadership
accountable, it will continue and they may continue to
escalate.
    Thank you for your time, and I look forward to your
questions.
    [The prepared statement of Dr. Wallander follows:]

[GRAPHIC(S) NOT AVAILABLE IN TIFF FORMAT]

    Mr. Castro. Thank you, Dr. Wallander.
    We will next go to General Nicholson. General.

  STATEMENT OF GENERAL JOHN W. NICHOLSON (RETIRED), FORMER
  COMMANDER OF U.S. FORCES--AFGHANISTAN AND NATO'S RESOLUTE
                       SUPPORT MISSION

    General Nicholson. Thank you, Chairman, and thank you,
Ranking Member, for the honor to appear before this committee.
And it is also a pleasure to be alongside such distinguished
colleagues. I will summarize some of the major points from my
written submission.
    History tells us that miscalculations and mistakes are what
leads to war. And, of course, they are especially dangerous
with respect to the United States and Russia because of our
substantial nuclear arsenals. And if, indeed, they did this,
this will be a serious miscalculation and a serious mistake.
    As we know, there were periods of shared interest and some
cooperation in Afghanistan. Up through 2012, logistical
cooperation through the Northern Distribution Network was a
positive aspect of our relationship with Russia. But, after
2014, that changed with the annexation of Crimea, the invasion
of Ukraine, the threats to the eastern States of the NATO
alliance. Within NATO where I was the Allied Land Commander at
the time, we began drawing up defensive plans for the first
time in the 25 years since the end of the cold war. When I
moved from Turkey to Afghanistan in 2016, by that time, the
Russians had intervened in Syria and, of course, we saw a major
focus by the United States on ISIS and Syria.
    But, at that time also, we saw a modest increase in
capabilities by the Russians in Central Asia. And, of course,
we discussed this up our chain of command and through
intelligence and military channels. Myself, General Votel,
General Scaparrotti, Secretary Mattis, all addressed this
publicly. And let me go a little bit into that because it ties
into what the other witnesses are referring to.
    What we saw was a pattern that they had used in Crimea,
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 58 of 400
Ukraine, the Baltics, and Syria of using military exercises as
a way to move capabilities and people into an area and, then,
leave some behind. This would desensitize us to their presence.
It would generate options for them. And obviously, it would
reduce our warning times, should they choose to use these
capabilities. This slow, gradual buildup, while we were focused
primarily on Syria, was of concern enough to me as commander
that we highlighted this and, eventually, called them out.
    At this same time, they were arming and equipping and
giving money to the Taliban. Now it was in modest quantities.
It was not designed to be a game changer on the battlefield.
For example, the Taliban wanted surface-to-air missiles; the
Russians did not give them to them. So, I always concluded that
their support to the Taliban was calibrated in some sense. But
just because it was calibrated does not mean that it was not
important and it did not cause us difficulties. In the northern
part of Afghanistan, in particular, in Kunduz, this Russian
assistance did help the Taliban to inflict higher casualties on
the Afghan Security Forces and more hardship on the Afghan
people.
    Despite all of this, I was somewhat surprised to read the
reports of Russian involvement in bounties because this is so
risky and irresponsible that it would mark a departure from
this previously calibrated approach. And, of course, the layers
of complexity inside the Russian decisionmaking process and
inside Afghanistan are baffling even to those who know these
areas deeply. But, if this is validated, regardless of who made
this decision and whether it was made in Moscow or made in the
field, regardless of whether Russian leaders were complicit
directly or they were merely incompetent in their failure to
control operations, they are still responsible. It is also
important to note that there were two sides of this
transaction: the Russians offered and the Taliban accepted. And
this is in direct contradiction to the spirit and the letter of
the Afghan peace agreement.
    So, if we assess that Russia put bounties on Americans and
coalition members, then what should we do about it?
    No. 1, we need to condemn this action from the highest
levels of the U.S. Government and NATO, so that the Russians
understand it is unacceptable.
    Two, with respect to Russia, we should suspend any troop
withdrawals from Germany. These troop withdrawals play into
Russian desires to undermine and weaken NATO. If carried out
despite these bounties, this will be viewed as a sign of
American weakness in the face of Russian threats.
    Three, with respect to the Taliban, we should hold on our
troop drawdown in Afghanistan at the present level until the
Taliban have met the conditions that they agreed to in the
peace agreement. We have delivered on our part by drawing down
to 8600 ahead of schedule. The Taliban needs to deliver on
theirs. And this includes severing ties with Al Qaeda,
reentering Afghan peace negotiations, and a sustained reduction
in violence.
    Our long war in Afghanistan is only going to end at the
peace table, and as leaders, we all have a moral responsibility
to do everything in our power to protect our service members
who are fighting for an enduring peace in Afghanistan and to
deliver on the sacrifice of the Americans, the coalition
members, and the Afghans who came before them.
    Thank you very much, Mr. Chairman. I look forward to your
questions.
    [The prepared statement of General Nicholson follows:]

[GRAPHIC(S) NOT AVAILABLE IN TIFF FORMAT]
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 59 of 400
    Mr. Castro. Thank you, General.
    Mr. Brzezinski.
    I think you may be on mute. There you go.

STATEMENT OF IAN BRZEZINSKI, FORMER DEPUTY ASSISTANT SECRETARY
   OF DEFENSE FOR EUROPE AND NATO, U.S. DEPARTMENT OF DEFENSE

    Mr. Brzezinski. Mr. Chairman, can you hear me now?
    Mr. Castro. Yes.
    Mr. Brzezinski. Thank you.
    Chairman Castro, Ranking Member McCaul, distinguished
members of the committee, Americans are rightly outraged by
reports of Russia placing bounties on U.S. military personnel
in Afghanistan. These reports, as heinous as they are,
underscore a broader challenge confronting the West: Russia's
pattern of escalating aggressive international conduct.
    Over the last decade and a half, Moscow has applied the
full suite of Russian power to dominate its neighbors, create
division in the West, and position Russia as a global power.
The suite of tools has included military and paramilitary
forces, economic and energy embargoes, assassination and
political subterfuge, information and cyber warfare, separatist
groups, and frozen conflicts. That campaign history includes a
2007 cyber attack on Estonia, the 2008 invasion of Georgia, the
2014 invasion of Ukraine, the 2016 coup attempt in Montenegro,
assassinations in the United Kingdom, Germany, just last week
in Austria, and elsewhere.
    As the committee has documented, Russia has meddled not
only in the elections of our allies, but even in our own
elections. This willingness to directly attack the United
States took a kinetic dimension in Syria in 2018. There,
Russian paramilitary units attacked outposts known to be manned
by U.S. Special Operations Forces. In light of all this, recent
reports of Russia's bounties on American soldiers are
disturbingly consistent with what has been a steady escalation
of Russian international interference and aggression.
    Now, over the past decade and a half of this, the West's
response, including that of the United States, to Russia's
assertiveness has consisted of limited incremental escalations
of economic sanctions and military deployments, complemented by
half-hearted and short-lived diplomatic isolation. This
incrementalism conveys hesitancy and a lack of unity and
determination on behalf of the United States and the Western
alliance. It has failed to convince Putin to reverse course and
it may have actually emboldened him. Continued incrementalism
not only promises continued confrontation with Russia, it
increases the risk of conflict, both intentional and
unintentional.
    U.S. strategy regarding Putin's Russia needs to be
calibrated to this reality. Properly calibrated engagement
entails exploring avenues through which to modulate tension and
foster collaboration. But it also requires more immediate and
stronger measures to deter and counter Russian aggression and
provocation. Toward those ends, U.S. strategy should include
the following priorities:
    First, we need to increase NATO's readiness for high-
intensity conflict. Russia's military modernization efforts and
its concentration of forces on its western frontier have
increased the risk of conflict in Europe. This reality, of
course, underscores the need for our NATO allies to continue
increasing their military capability and readiness. But there
is more the U.S. can and should do. We should transition the
U.S. Armored Brigade Combat Team in Poland and related elements
to a permanent presence. The U.S. should also permanently
station in the Baltics a Special Forces contingent. President
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 60 of 400
Trump should reconsider his decision to withdraw U.S. forces in
Germany. Removing forces from Europe weakens our deterrent
posture in. Europe at a time when the threat from Russia is
increasing. It signals a lack of commitment to European
security that President Putin will surely relish.
    Second, we need to more robustly support the transatlantic
aspirations of Georgia and Ukraine. NATO enlargement expanded
the zone of peace and security in Europe and strengthened the
alliance's military capability. Both Ukraine and Georgia should
be provided a clear path to NATO membership. Perpetuating their
position in a zone of geopolitical ambiguity only animates
Putin's appetite and sense of opportunity to reassert dominion
over these two democracies.
    Third, we need to more effectively counter Russia's
dissemination of false information. In this realm, the United
States essentially disarmed itself when it closed the doors in
1999 of the United States Information Agency. This multibillion
agency was our frontline force on the information front.
Congress should reestablish or establish a modernized version
of USIA, so that the United States can return to the offense in
this dynamic and fast-paced dimension of international affairs.
    Fourth, we should increase economic sanctions on Russia.
Today's sanctions may impair the Russian economy, but if their
intended outcome has been to deter Russian aggression, they
have failed by that measure. Sanctions should be escalated from
measures primarily aimed against specific Russian individuals
and firms to more comprehensive sectoral sanctions against
Russian financial and energy sectors.
    Finally, we need to strengthen Western cohesion and unity.
These aforementioned actions will only be fully effective if
they are complemented by unity and purpose in action within the
transatlantic community.
    So, Mr. Chairman, Ranking Member McCaul, as you and the
committee address the intelligence regarding Russian bounties,
I urge you to also assess the effectiveness of U.S. policy in
terms of deterring, countering, and containing the full
spectrum of Moscow's malign ambitions and actions. When it
comes to Russia, time is long overdue for an unequivocal U.S.
policy.
    Thank you, sir.
    [The prepared statement of Mr. Brzezinski follows:]

[GRAPHIC(S) NOT AVAILABLE IN TIFF FORMAT]

    Mr. Castro. Thank you, Mr. Brzezinski, and thank you to all
the witnesses for your testimoneys.
    I will now recognize members for 5 minutes each. And
pursuant to House rules, all time yielded is for the purposes
of questioning our witnesses. Because of the virtual format of
this hearing, I will recognize members by committee seniority,
alternating between Democrats and Republicans. If you miss your
turn, please let our staff know and we will come back to you.
If you seek recognition, you must unmute your microphone and
address the chair verbally. And as we start questioning, I will
start by recognizing myself.
    I want to ask a question of Mr. Morell first. In instances
where the Russians paid to have American service members
killed, and it appears from press accounts, at least some press
accounts, that the Russian plot results in American deaths, in
your experience as somebody who carried out the Presidential
Daily Briefing, is this something that intelligent briefers
would make the President aware of?
    Mr. Morell. Yes, sir, without a doubt.
    Mr. Castro. Is there anyone on the panel, based on your own
expertise, who believes that the President would not have been
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 61 of 400
made aware of this information? Anyone?
    [No response.]
    No one? Thank you.
    In the event that the President's advisors really withheld
such alarming intelligence from him, even as he made continuous
concessions to Russia, who would ultimately be responsible for
such process failures, mid-level career civil servants or
administration leadership? And I ask that of anyone on the
panel. If, for example, the intelligence was somehow not
provided to him, then where does the failure lie?
    Mr. Morell. Congressman, maybe I can jump in here, having
been in the Oval Office every morning with President Bush for a
year and, then, many times with President Obama. If the
President's briefer did not raise something of such importance,
then I believe it falls on whoever else is there from the
intelligence community, the DNI or the Director of CIA. And
barring their failure to raise such information, I think it
falls on the responsibility of the National Security Advisor to
make absolutely certain the President knows.
    Mr. Castro. Okay.
    Dr. Wallander. Could I add to Mike's point?
    Mr. Castro. Sure.
    Dr. Wallander. Which is that every morning in the Obama
White House, among the duties of the senior directors was to
read the PDBs in advance of the presentation of the PDB to the
President by the briefers, and to provide for the National
Security Advisor--in our case, Susan Rice--advice and context,
because she would go in and be part of that briefing and be
ready to make sure that, as Mike pointed out, the briefing had
been received and correctly understood by the White House
leadership.
    Mr. Castro. Okay. And we have about 2 minutes left on my
questioning.
    Some of you in your remarks, your testimony, suggested
different courses of action, different responses that the
United States could take. I want to ask you this question: so
far, as I mentioned in my remarks, there has been not even a
public condemnation by the President or the White House against
Russia for these reported actions. Let me ask you this--and we
only have about a minute and 45 seconds--what is the cost of
the United States not even saying a word to Russia about these
reported actions?
    Mr. Morell. Congressman, let me jump in here again. I did
not make any recommendations about what steps the U.S. should
take, but I think it is really important that we all recognize
something about Vladimir Putin's personality. He is a risk-
taker. And when he takes a risk and he succeeds in his mind, he
is often willing to take even larger risks in the future. So,
the failure for him to face any cost here I think significantly
increases the chances of him doing something else to undermine
the United States, possibly even larger than what we have seen
in this case.
    Mr. Brzezinski. Mr. Chairman?
    Mr. Castro. Yes, Mr. Brzezinski?
    Mr. Brzezinski. Allow me to complement Director Morell's
point. When we do push back on Putin and push back firmly, he
does respond. He is ultimately a pragmatist. And as Dr.
Wallander pointed out, he picks his battles carefully.
    When looking back to Russia's invasion on Georgia in 2008,
the turning point of that conflict occurred when the United
States demonstrated some military muscle. The United States
flew back Georgian soldiers to their capital, Tbilisi via a
military cargo plane right in the middle of that conflict,
demonstrating, readiness to take sacrifices, basically Putin
with the risk of a direct military confrontation with the
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 62 of 400
United States. And that was basically the turning point of that
invasion. That action convinced Putin to end that invasion.
    So, if we are more forceful, if we are more firm, we do
have very good prospects of actually restraining Putin's
actions and ambitions.
    Mr. Castro. Thank you, Mr. Brzezinski.
    And I am going to keep myself on time on the questioning.
So, I will go over to Ranking Member Mike McCaul.
    Mr. McCaul. Thank you, Mr. Chairman.
    Let me just, without commenting on the specifics of the
intelligence, there was a very strong dissent. The briefer was
a career intelligence officer that made this decision not to
brief. And I guess the question is whether it is actionable
intelligence.
    Having said that, I think the nature of this intelligence
being targeted at U.S. troops would be a significant departure
for Russia in its dealings with the Taliban. Now I personally
think that the President deserved to at least know about this.
I think, if true--and I know that the intelligence community is
going back and doing a deep dive--I do think Russia should be
condemned and the GRU should be sanctioned, as we have
authorized by Congress.
    My first question is to General Nicholson. You have been in
Afghanistan for quite some time. And let me say, all the
panelists are very, very impressive with your testimony. I
think this calls into question the good faith of the Taliban. I
do think, though, since the peace plan has been entered into,
there have been no Americans targeted, although they are
targeting Afghan nationals.
    Can you tell me, No. 1, how significant of a departure this
would be? Because we know they are arming and giving cash to
the Taliban to kill ISIS, but this would be a different policy
change to target American troops. And second, does it call into
question the good-faith negotiating of the Taliban?
    General Nicholson. Thank you, Ranking Member McCaul.
    I do think it calls into question the good faith of the
Taliban. There are two parts to this transaction, again, if
validated. But we do know that the Russians have provided small
arms, ammunition, money to the Taliban, and have been doing it
for some time. And frankly, the ability to direct that and
control it, and where it is used and where it is not used, is
extremely limited. Once it is turned over to them, they will
use it as they see fit.
    And I have no doubt that some of that was used in the
northern part of Afghanistan against Afghan units with American
advisors, especially in the Kunduz area. And so, I think that,
in this sense, now specifically offering bounties is a small
step from what they were already doing. Their justification for
this action was the fight against ISIS, but part of this was,
as the other witnesses have mentioned, a false narrative and
misinformation on the part of Russia that the United States was
supporting ISIS.
    So, I think that this does call into question the Taliban's
commitment to the agreement. As I mentioned in my statement,
they need to sever ties with Al Qaeda; there should be a
sustained reduction in violence, and they need to begin the
peace talks that they are committed to do on----
    Mr. McCaul. If I could reclaim my limited time, I note that
Ambassador Rahmani, Afghanistan, our Special Envoy, they are
having discussions this week about a humanitarian cease-fire.
My concern is all the good work that you have done over there,
if the Taliban overruns Afghanistan and takes over, then we
have a safe haven for many years to come.
    How do you view the peace plan moving forward? I always
believe, whether it is Syria or Iraq, we need a residual force,
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 63 of 400
if anything, to protect the homeland. What are your thoughts on
force reduction?
    General Nicholson. I think that this level of 8600, we
should hold there until the Taliban delivers on their portion
of the peace agreement and we move to the next stage. So, I do
think that is important. I do think there is a threat from the
region in terms of the multitude of terrorist groups that are
over there. We have over 20 designated groups, U.S.-designated
groups, in the region. And I think that, with the government in
Afghanistan, we should consider, if they ask us to stay and
request our help to keep pressure on these groups, it is
definitely something we should consider.
    Mr. McCaul. I can tell you from the Ambassador they do.
    Let me ask real quickly, Secretary Brzezinski, the
President's decision in Germany, I sent a letter with Adam
Kinzinger saying this sends a bad message to NATO forces, to
Putin, CENTCOM, AFRICOM. However, if they move some of these
forces as they talked about, the National Security Advisor, to
Poland and the Baltic nations, describe to me how that would
work, and would that be an even better strategy?
    Mr. Brzezinski. It would be better than pulling the forces
back from Germany to the United States. But I do not think we
ought to be punishing Germany to the benefit of Poland. We need
a robust presence in Poland and we have one now, which I think
is an appropriate level. I would make it more permanent. But
that is a frontline presence. You want your rearguard, your
rear echelons, to also be robust. We need a robust presence in
Germany, so not only we can reinforce the Baltics, we can also
reinforce southern Europe. And then, of course, we need a
robust presence in Germany if we want to have a robust military
relationship with the Germans and other militaries of the NATO
alliance.
    So, this decision by the President is undercutting not only
our relationship with Germany, it is undercutting our
operational efficiency to reinforce our frontline forces in
Poland and frontline operations in the Baltics. So, this is a
potential, if it gets executed, a real setback, a weakening of
our deterrent posture in Europe.
    Mr. McCaul. I have talked to the Ambassadors in the Baltic
States and Poland, and they would, obviously, very much welcome
our presence there.
    And I know, Mr. Chairman, my time has expired. You have
been very generous.
    I want to thank the witnesses for their testimony.
    Mr. Castro. Thank you, Ranking Member McCaul.
    We will go to Congressman Brad Sherman.
    Mr. Sherman. Thank you.
    I want to thank our witnesses for coming before us, but the
loudest testimony is being given by the witness who did not
show up. Secretary Pompeo was invited and strongly urged to
come before us, and his refusal to do so shouts loudly that the
process for decisionmaking on foreign policy and the outcome of
the decisionmaking in this White House is indefensible.
    We have a situation where Russia attacks Georgia, the
Ukraine, interferes in Syria, interferes in elections in the
United States, interferes in Montenegro, occupies eastern
Ukraine and the Crimea, and according to Secretary Pompeo, when
he speaks, but, of course, not to our committee, has been
arming the Taliban for years. So, we have all those facts;
plus, good reason to believe that they are providing bounty on
our soldiers. And the response from the White House is, let's
invite them to the G-8.
    There has been another response, recently a Department of
Treasury decision, basically--and I will get to this later--
that they should have prevented Americans from buying Russian
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 64 of 400
sovereign debt, and they went as light on that as they possibly
could under the law.
    General Nicholson, in March 2018, you said that you have
had weapons brought into your headquarters that you know were
given to the Taliban by the Russians. As recently as last week,
Russia claims it only supplies weapons to, quote, ``legitimate
government of Afghanistan.'' For how long, and in what
quantity, or what estimated quantity, have the Russians
provided weapons to the Taliban?
    General Nicholson. Thank you for the question, sir.
    We believe there was a modest amount of support. It was
designed to gain influence with the Taliban. And to be fair,
our intentions were uncertain at that point. When would the
U.S. withdraw? When would NATO withdraw? What would be left
behind? There would be instability in the region. So, we saw
this as an attempt by the Russians to gain influence with the
Taliban as part of potentially a post-withdrawal scenario.
    However, that should not be misconstrued. These weapons
made a difference on the battlefield. They weren't game-
changing in a sense, but they did make a difference and they
did help inflict higher casualties, and against units that had
U.S. advisors.
    Mr. Sherman. So, we know that Americans have died as a
result of Russia providing those weapons. They have just now,
apparently, added the additional obscenity of not just giving
the weapons to people who want to kill us, but giving them
extra money if they actually do.
    I would like to focus on Russian sovereign debt and other
targeted sanctions. Under existing statute, the Secretary of
the Treasury was supposed to choose from a menu of sanctions
for other Russian wrongdoing dealing with their sovereign debt.
If we completely shut off American involvement in their
sovereign debt, we could probably drive up their borrowing cost
by half a percentage point. But the Secretary of the Treasury,
in the midst of all this, decided to say, well, it is fine for
Americans to buy this debt in the secondary market and to buy
the debt directly from State-owned enterprises.
    Would a ban on any American involvement in Russian
sovereign debt be the kind of pain that Putin would feel, and
what other economic sanctions do you think are appropriate? I
will ask whichever witness wants to respond.
    Dr. Wallander. I can take that one, sir. One of the most
important targets to impose costs on political decisionmakers
in Russia is, indeed, the financial sector in general, and
sovereign debt is certainly part of the menu where you could
increase those costs.
    I think that, as an instrument of overall U.S. policy, or
U.S. policy up to this instance, that is constructive and
smart. I would say, in this instance, though, I would target
sanctions in two areas. One, more on the security services, on
defense sales, on the kinds of money that Russia makes from
sales of defense capabilities abroad, and on financing that
supports many of these asymmetric operations; that would target
it more directly on those who are responsible for these
decisions.
    Mr. Sherman. If I could interrupt you, obviously, we would
like to prevent Russia from selling weapons to India, Turkey,
and others, but that is not something we have the sovereign
right to do. And as long as the Russian government can borrow
money, the fact that particular military complexes cannot
borrow the money is fairly irrelevant, in that the money is
fungible. Once you lend it to the Russian sovereign, they can
certainly lend it or invest it in military operations.
    I will point out that we had an amendment in last year's
NDAA, which I wrote, to prohibit U.S. purchase of sovereign
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 65 of 400
debt of Russia and its enterprises until they could go a full
election cycle without interfering in our elections. That
passed the House, but, of course, was stripped out by the
Senate. I am hoping that Senators realize that now is the time
to impose some real sanctions on Russia for all of its
behaviors, and beginning with this bounty.
    And I yield back.
    Mr. Castro. Thank you.
    All right. Mr. Chabot of Ohio.
    Mr. Chabot. Thank you very much. I appreciate it.
    First of all, there ought to be no question in anybody's
mind that Russia and Putin, in particular, are no friend of the
United States, and anybody who thinks otherwise is on the wrong
path and does not know what they are thinking about or talking
about, or anything else. They are not our friend.
    General Nicholson, let me go to you with the first
question. The reason we went to Afghanistan in the first place
was to root out terrorists there and to ensure that they could
never use that country to stage attacks against the United
States again. Could you give us your current assessment of the
strength of the Taliban-Al Qaeda ties, the relationship
currently? And then, is there any reason to believe that the
Taliban would ever, or will ever, live up to any commitments
that they might make?
    General Nicholson. Thank you for the question, sir.
    And I have to caveat this by saying I do not have access to
the classified intelligence that I did when I was commander in
the time since I have left. However, you have hit the nail on
the head. This is why we went there, the idea that it would
never be used as a launching pad for attacks against the U.S.
That has not happened. So, we have been successful in that
sense.
    But I am concerned that they have not renounced their ties
to Al Qaeda. This is one of the conditions in the agreement.
And not only a public renunciation, but a real severing of ties
with Al Qaeda. And this was the original reason that brought us
there, and, of course, this condition has to be met to have an
enduring peace that secures our interests.
    Mr. Chabot. Thank you very much.
    Mr. Brzezinski, I will go to you next, if I can. What does
Russia hope to achieve in Afghanistan, especially with respect
to us? It would seem that, if they want us to leave, that they
should be working to stabilize the country and decrease, not
increase, U.S. deaths. Could you talk about Russia's goals,
their security interests in Afghanistan currently?
    Mr. Brzezinski. Thank you, sir. Can you hear me?
    Mr. Chabot. Yes, I can hear you fine.
    Mr. Brzezinski. Great.
    I think Russian objectives in Afghanistan are the
following:
    One, there is a bit of a revenge component because,
particularly when it comes to the team led by President Putin
in Moscow, they are bitter over the Soviet loss in that country
that they see was catalyzed by U.S. support to the mujahideen
at that time.
    Second, I think they want to impose pain to help tie us
down, to impose cost, to psychologically break our mental
fortitude as an international actor.
    And then, three, ultimately, they would like to see us
leave, and leave in a way that enables them to develop a
relationship with whatever regime or government that would
succeed in Afghanistan, so they can establish a relationship to
further their influence in that region.
    So, three things: revenge, imposing pain; and tying us
down, and, ultimately, getting us out, so that they can enhance
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 66 of 400
their influence over the region.
    Mr. Chabot. Thank you.
    Mr. Brzezinski, I will stick with you, if I can. It seems
like we have been playing defense vis-a-vis the Russians, and
the Chinese, for that matter, relative to disinformation and
propaganda for way too long, for some time. What would you
suggest in terms of a more proactive U.S. policy in this area?
And, of course, we are not interested in propaganda. We are
interested in getting the truth out there. But how can the U.S.
do a better job vis-a-vis both Russia and the Chinese in that
sphere?
    Mr. Brzezinski. Information operations have been long a
part of U.S. policy. It was our effective management of
information operations and engagement, so to speak, public
diplomacy, in the cold war that was probably one of the keys to
our success . We won economically, we won militarily, but we
also won in the information engagement sphere, the public
diplomacy sphere.
    The cornerstone, the driver of that dimension of our
strategy was the United States Information Agency, an agency
that we shut down in 1999, at the time when it had, roughly, a
$2 to $3 billion budget. And at the high point, the USIA I
think had over 10,000 people working to get the U.S.
perspective out, working to deepen ties, working to support
dissidents around the world.
    When we shut down the USIA in 1999, we basically disarmed
ourselves in the information space and have never really kind
of been able to recover from that. So, that is why I believe we
ought to reanimate this institution, give it Cabinet-level
rank, bring back its bureaucracy, to use that terrible word,
and enable us to get back into the game of information
operations on the offensive. That is going to be critical
because right now we have handicapped ourselves.
    Mr. Chabot. Thank you. My time has expired, Mr. Chairman.
    Mr. Castro. Thank you, Mr. Chabot.
    Gregory Meeks of New York.
    Mr. Meeks. Thank you, Mr. Chairman.
    Former Secretary of State George Schultz, I am told, would
ask outgoing Ambassadors, he would take them to the side and
point to the map and ask them, ``Where is your country?'' And
naturally, these outgoing Ambassadors would point to their new
host countries. And here, Secretary Schultz would correct them
and tell them their country is the United States of America.
    So, I am often confounded by the President's actions that
directly undermine the interest and security of the American
people. This latest intelligence revelation is an alarming
pattern by this President. The fact that the Secretary of State
Pompeo is not testifying today is yet another alarming pattern
of this administration. Congress has an oversight
responsibility and duty, and the Secretary of State should be
here to answer our questions. And I am glad that our esteemed
witnesses are here today.
    But it is unfathomable to me that the Russian government
continues to be unchecked as it engages in a systemic and
aggressive policy to undermine, dismantle, and disrupt American
alliances, threaten our democracy, and allegedly go after our
troops. Time and time again, this committee asks, where is the
President's loyalty and why does he fail to act? It is
outrageous to me that we ask our service men and women to put
their lives in danger for our peace and security, and yet, the
administration won't believe a credible piece of intelligence
putting bounties on their heads.
    How was Congress never briefed until the claim was relayed
to the press, at great risk to whistleblowers? This failure to
act, this unwillingness to brief this committee and others,
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 67 of 400
reflects a continued antagonism and disdain for this body as a
coequal branch of government.
    The Russian government continues to operate adversarially,
and the President continues to show deference to Putin. By the
administration's actions and inactions, it is unclear to me how
President Trump would answer Secretary Schultz' question today,
``Where is your country?''
    Let me ask, and I think that I want to ask General
Nicholson, Mr. Morell referenced that warfighters often also
have access to raw intelligence. Can you describe in your
experience how you and warfighters at the tactical level would
have handled and acted upon raw intelligence that suggested
Russia had put bounties on American troops?
    General Nicholson. Thank you, sir.
    Yes, we do have access to that intelligence, and there is a
vigorous dialog that goes on at all levels, between commanders,
intel officers at different agencies. Multiple times, if I had
a question, I would call back to Washington, talk to the heads
of the various agencies, and we would compare our perceptions
and fill in the blanks. And so, this dialog, very active, is
extremely important, and it helped inform me as a commander in
the field, so that I could make the best decisions to
accomplish the mission and protect my troops.
    For example, if there were a threat out there that was
identified, even if it was raw intelligence, then you would see
commanders in the field, warfighters, take immediate steps to
protect their service members, regardless of kind of the
validation. Typically, the default would be to act on that
intelligence, especially with protective measures. Now, before
you might go offensively, you would want more precise,
actionable intelligence.
    The other thing we would do is immediately elevate it and
let people know. So, in the case of the Russian army and
funding that went to the Taliban in 2018, one of the ways that
we acted on this was to go public. And I did an interview with
the British Broadcasting Company in which we talked about what
the Russians were doing, the fact that Governors of northern
provinces had brought me weapons and said, ``These came from
Russia,'' were given by the Russians to the Taliban.
    Getting it into the public domain elicits a response. It
may just be a denial, but you have got it on the radar screen.
They know they are being watched and they know you are pushing
back. And so, these kinds of actions are extremely important.
    Now, of course, the higher up you go, the more powerful the
response is. And so, this is why in my opening comments I said
pushing back on this kind of behavior at the highest levels is
extremely important.
    And so, thank you for holding this hearing, because this is
one of the ways we make the Russians aware that we are
watching.
    Mr. Meeks. I couldn't agree with you more. I see I have
only got a few seconds. I wish at the highest level our
President of the United States would push back on this Russian
aggression, and particularly in regards to the bounties that
may have been put on the heads of our men and women in the
service.
    And I see I am out of time. So, I yield back, Mr. Chair.
    Mr. Castro. Thank you, Mr. Meeks.
    We will go to Mr. Perry of Pennsylvania.
    Mr. Perry. Thank you, Mr. Chairman, and thank you for the
witnesses.
    I will start out with Mr. Morell. Mr. Morell, have you seen
the intelligence regarding the bounty story?
    Mr. Morell. No, sir.
    Mr. Perry. Okay. How about Mr. Nicholson? Have you seen the
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 68 of 400
intelligence?
    General Nicholson. No, sir, I have not.
    Mr. Perry. Okay. Thank you.
    How about Dr. Wallander? Have you seen the intelligence
regarding the statements?
    Dr. Wallander. No, sir, I have not.
    Mr. Perry. Dr. Wallander, in particular, as I read here
from your notes, you have assumed that the published stories
are true, is that--I do not want to put words in your mouth,
but that is what my notes show me. Is that correct or
incorrect?
    Dr. Wallander. I said that, for the purposes of this
hearing, to be able to address and explain what Russia is up to
in general, that I would assume that they were true. I would
not address the falsity or truths of the public reports.
    Mr. Perry. I mean, I understand for the purposes of the
hearing, but you understand there is a bigger story here, and
just making the presumption or assumption that they are true
(a) not having seen any of the intelligence personally, and (b)
understanding that the GRU is, as I am sure you all know, is
daily engaged in misinformation; and finally, as you probably
know, this is based on very specious reports of human
intelligence by individuals that have a motive to provide
misinformation to the United States. I just think that that is
breathtakingly irresponsible.
    But, that having been said, do you think it is appropriate,
based on this conjecture, based on just reports from The New
York Times that are based on yet even more specious human
intelligence by people that aren't very friendly to the United
States of America, that this President take action against a
strategic adversary? Do any of you think that that would be
appropriate?
    Dr. Wallander. Thank you, sir, for your question. To answer
it, I would say that, if this were reported in a PDB, that it
is certainly appropriate for the leadership of the U.S.
Government to decide on a messaging strategy, which is short of
what you asked about a broader action strategy. Certainly, a
messaging strategy. I would personally start with the Secretary
of Defense and the Chairman of the Joint Chiefs of Staff
speaking to their counterparts. Because if the reports are
true, the GRU reports to the Russian Minister of Defense. So, I
hope that addresses your question. I think that would be the
first step. You are absolutely right, actual action would not
be warranted based on this sort of report.
    Mr. Perry. Right. I mean, where does, in your mind--and,
ladies and gentlemen, the three that I have asked the questions
of--where does verification of the intelligence lie in relation
to the timeline of when you either take actions or make
statements? Where does verification of intelligence lie? Is it
as soon as you hear the report, the rumor, the supposition, the
claim? Is action required then? Or does verification fall
anywhere inside, in between, the time you hear it and the time
you take action or make statements?
    Mr. Morell. Congressman, maybe I can answer that question.
I think that an administration is required to take action--
whatever that action is is obviously part of the policy
process--but is required to take action when the intelligence
community judges with medium to high confidence that something
has happened. And that is why, for me, knowing what that level
of confidence is on this judgment is so very important. Because
I think if it is low----
    Mr. Perry. Are you saying, Mr. Morell, are you saying that
you have information that you can verify or justify that we had
medium to high confidence that this is true, this story is
true?
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 69 of 400
    Mr. Morell. No, sir. No, sir. The point I am trying to make
is, I do not know what the level of confidence was. But if it
was low, then I would be perfectly comfortable with senior
policymakers going back to the intelligence community and
saying, ``We need more information. We need to take a harder
look at this. You have got to collect more and figure out
whether this is right or not.''
    Mr. Perry. Well, I would agree with you. I would agree with
you, Mr. Morell. And before the President or anyone takes
actions, I think it is important to verify that. I am just
going to quote the chairman of the committee on the death of
Soleimani where he said, ``The decision to kill Soleimani
escalated tensions with Iran and risked plunging us into war.''
And I remind everybody on the panel that Soleimani is a target
that we had complete and verified intelligence on for many,
many years of the deaths of thousands of American service
members and maiming of thousands of others of my friends who
served in uniform. And the criticism was robust for the
President regarding that decision where there was verified,
actionable intelligence over a long period of time, and there
is none----
    Mr. Castro. The gentleman's time is up.
    Mr. Perry [continuing]. There is none with this.
    And with that, I yield back. Thank you, Mr. Chairman.
    Mr. Morell. Mr. Chairman, may I just add one point?
    Mr. Castro. Sure, please.
    Mr. Morell. So, I do not want to leave anyone with the
impression that I know that the confidence level was low or the
confidence level was medium or the confidence level was high.
So, I think that is just very important. If it was medium to
high, then I think that required action on the part of the
President.
    Mr. Castro. Thank you.
    We will now go to Albio Sires of New Jersey. I think you
are on mute there. There you go.
    Mr. Sires. Yes, I do not have any questions at this moment.
I am just listening. Thank you.
    Mr. Castro. Okay. We will go to Mr. Kinzinger of Illinois.
    Mr. Kinzinger. All right. Thank you. Let me get on the
video here. There we go.
    First off, thank you all for being here. I very much
appreciate it, all your good work, everything you are doing for
the country. This is a really important issue.
    I need to say a couple of things upfront. First off, I
think it is too much to call this a hoax. Second, though, I
think it is too much to say that we absolutely know this
happened, and therefore, here should be the penalties. I have
read every piece of intelligence, at least offered to me, and
in terms of what level of confidence, that is not my expertise;
that is up to the intelligence agencies.
    And I think the question of whether the President should or
shouldn't be briefed, it is really, in my mind, an art and not
a science. It is a matter, when do you feel, whether it is the
brief or the intelligence experts, that you should brief a
President on this? If it is not actionable, is it worth going
to him? Well, if I was President, I would want to know, but not
every President would or should.
    So, I think a lot of the so-called scandal that we have
been seeing here is not a scandal at all. I think it is just an
art form. And unfortunately, look, this goes to--the prior
questioner, Mr. Perry, mentioned about Soleimani. That was a
confirmed bad guy that took confirmed action that killed
Americans. I operated against him in Iraq, or against his
people at least. And there was opposition to that.
    And I think with something like this it comes down to
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 70 of 400
political stripes, unfortunately. If you are a Republican, you
are going to say this was nothing. If you are a Democrat, you
are going to say this is everything. And I just want to get to
the bottom of this, because when we jump to conclusions, I do
not think we are doing any good for our folks in the field.
    But it seems to me that the only thing that Putin responds
to is strength. Whenever Putin attempts a new maneuver, he
waits to see the international community's response, and
particularly the United States. And when nothing happens, he
escalates. We have seen it time and again. We have seen it, for
instance, in Syria multiple times and everywhere else.
    As I have said before, if the intelligence proved that the
Russian officials approved of this bounty scheme, the United
States and our international partners would need to respond
forcefully. But had the administration responded back in
February when the intelligence was even less certain, I fully
believe my colleagues on the other side of the aisle would be
holding a hearing bashing the administration on this.
    Mr. Morell, let me just ask you, during your time as CIA
Director, would you have recommended--you touched on it--but
would you have recommended retaliatory actions against Russia
with anything other than high probability? You talked using
maybe medium probability. But, when you are discussing the fact
that this is Russia, would you on a medium or anything short of
high probability?
    Mr. Morell. Yes, I would--so high probability, high
confidence to an intelligence analyst is not certainty that
something has happened, but you are getting pretty close.
Medium to high confidence is pretty good as well.
    So, CIA Directors do not make recommendations to Presidents
about what they should do. They characterize the intelligence
and our confidence in it. So, if it was medium to high, I would
tell the President that there is a very good chance that this
happened and it is up to you on how you want to respond.
    Mr. Kinzinger. Yes, I think this is the key to this. We
know that Russia has been meddling in Afghanistan. That is not
a question. And I actually would have advocated for action,
whatever that looks like, back in 2013 or 2014. It is a
bipartisan issue, right? I mean it really is. The issue we are
discussing is, was there particularly a bounty, not is Russia
involved, not is Russia doing things that could kill Americans,
because they have been. And I have been advocating to push back
against that for a long time.
    Mr. Brzezinski, let me ask you, what other States are
supportive of the Taliban and have any of them placed bounties
on the U.S. or coalition soldiers?
    Mr. Brzezinski. Sir, let me just add one point on the
bounty issue. The fact that it is plausible that these bounties
were placed on American soldiers in Afghanistan by Russia is
testimony in itself that our policy toward Russia is inadequate
in terms of deterring aggression. And so, I want to make that
important point. The fact that we are even saying this----
    Mr. Kinzinger. Fully agree.
    Mr. Brzezinski [continuing]. Underscores the point that we
need to recalibrate our posture toward Russia across the whole
spectrum.
    Mr. Kinzinger. Let me just say I fully agree with you 100
percent and I would echo those comments. But, then,
specifically, are there any other States that are doing things
like this that we know about?
    Mr. Brzezinski. I do not have statistics on that, sir.
    Mr. Kinzinger. Okay. So, you do not know if Iran or
anything is involved in the same kind of situation? Okay.
    Let me ask just another question of General Nicholson.
During your time commanding U.S.----
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 71 of 400
    Mr. Castro. Your time has expired.
    Mr. Kinzinger. I'm sorry?
    Mr. Castro. Your time has expired. Do you have a quick
question?
    Mr. Kinzinger. Oh, I'm sorry, I did not see a clock up
there. I will yield back. Thank you.
    Mr. Castro. Okay. Thank you.
    We will go to Mr. Connolly of Virginia.
    Mr. Connolly. Thank you. Can you hear me, Mr. Chairman?
    Mr. Castro. Yes, I can hear you.
    Mr. Connolly. Thank you.
    And thank you to the panel.
    Mr. Morell, on June 30th, the National Security Advisor,
Mr. O'Brien, and the White House Press Secretary, Ms. McEnany,
said the President had not been briefed on this intelligence
due to disagreements among the intelligence community. Is that
how intelligence shifts up to the President, that it has got to
be in agreement or he does not hear about it?
    Mr. Morell. Yes, sir, there are often pieces in the
President's Daily Brief where one or two or three agencies
believe something and another agency has questions about it.
And those dissents are expressed in the piece. The reason for
the dissents are expressed in the piece, and the reason why
those dissents are important to the President are often
expressed in the piece. So, they do not need a unanimous view
to move forward.
    Mr. Connolly. So, the explanation they gave does not really
pass any kind of real test, based on your own experience?
    Mr. Morell. Yes, sir.
    Mr. Connolly. That is not how it works?
    Mr. Morell. That is not how it works, sir.
    Mr. Connolly. Right. So, there is reason to question the
credibility coming out of the White House as to whether the
President, in fact, got briefed. We know that the President
does not like to read things, but that does not mean that it
was not available to him. And it is not clear, from my
understanding, that he was not briefed. Certainly, the
rationale given for why he was not briefed, as you just pointed
out, Mr. Morell, does not have credibility. It is just not how
the process works.
    But I would just say, even from a common-sense point of
view, if I were an intelligence person and I saw any kind of
intelligence that seemed halfway credible that the Russians had
ramped up what they were doing in Afghanistan and were now
paying a bounty on American lives to kill them, I am sure as
hell I would want to make sure the Commander in Chief knew
about that. I would take the risk that he know about that,
whether it was small, medium, or high credible, actionable
intelligence.
    Mr. Brzezinski, I really appreciate what you had to say
about Russia. The word that comes to my mind, because Dr.
Wallander just said we have to ask the question why would
Russia do this, I think that is the pertinent question. And for
me--and I want you to react--you said Putin is a risk-taker. I
would also say he loves to push, probe, and expand boundaries.
He is always checking what the boundaries are.
    And when you have a President who says, ``I believe Putin
over my own intelligence community about Russian interference
in the 2016 election,'' ``I am willing to pull out 8,000 troops
from Germany because I am angry at Merkel for not coming to the
G7 meeting,'' ``In fact, I want to invite Putin to that G7
meeting,'' and, of course, having withdrawn from critical arms
control agreements, and the like, and now calling this
intelligence a hoax, it seems to me that, if I were Putin, I
would tally all that up and say, ``I can operate with impunity
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 72 of 400
with this administration. There are going to be very few
consequences for pushing that envelope as far as I can push
it.'' Do you think that is a fair appraisal of where we are in
the current relationship with Vladimir Putin's Russia?
    Mr. Brzezinski. Sir, I am on track with you on this. I
would just characterize Putin not so much as a risk-taker, but
someone who has got very clear objectives, is willing to
assertively pursue those objectives, but who is also a
pragmatist. As Celeste pointed out, as Dr. Wallander pointed
out, he picks his battles carefully. And as you pointed out, he
will probe, and if he does not see pushback, he will push
further. If he sees forcibly pushback, he will back off.
    And that is what is a concern about this immediate issue at
hand, which is the bounties issues. Now that it is out in the
public domain, now that it is an issue that has gotten the
attention it has, it is now incumbent upon the administration
to clearly articulate to the Russians this is completely
unacceptable.
    Mr. Connolly. Yes, and I would----
    Mr. Brzezinski. We need a forceful response, at least
rhetorically. And as for more specific elements of a more
aggressive or substantive response, that has to be determined
based on the intelligence.
    Mr. Connolly. And I would add to what you just said, Mr.
Brzezinski, conversely, there are consequences for not doing
what you just said. When Putin hears equivocation and, well, we
did not know and it is not clear, and we did not have
actionable intelligence such that we could react at all, I
think that gives him a flashing green light to do more of it
and to look at other areas where he can do damage to the United
States. And I think that is a very dangerous situation our
President and this administration have put themselves in.
    With that, I yield back, Mr. Chairman.
    Mr. Castro. Thank you.
    We will go to Mr. Zeldin of New York. We cannot hear your
audio there, Mr. Zeldin. For some reason, I am not hearing you.
Can we come back to you? Okay.
    What I am going to do is go to the next Republican, and
then, go to a Democrat. All right? So, Mr. Mast of Florida. Mr.
Mast, are you there?
    [No response.]
    Okay. Will the administrator tell me who the next
Republican is that we can call on?
    Ms. Stiles. Mr. Fitzpatrick.
    Mr. Castro. Mr. Fitzpatrick? Okay.
    Mr. Fitzpatrick. Can you hear me?
    Mr. Castro. Yes, Mr. Fitzpatrick.
    Mr. Fitzpatrick. Okay. Thank you. Thank you, Mr. Chairman,
Mr. Ranking Member.
    Thank you to the panelists.
    And just to echo what my friend Adam Kinzinger had said, I
hope that our focus can be on, No. 1, fixing the problem,
getting our arms around this intelligence and fixing it. And we
always can have time to go back and do an after-action report
on what did or did not happen after the fact, after we fix the
problem.
    So, for the panelists, thank you for being here.
    And I just wanted to get your updated sense. I served in
Ukraine as an FBI agent. That was my last international
assignment. And we were, obviously, very well aware of Mr.
Putin's sinister motives when it comes to that region. We all
knew that Mr. Putin has geographic dominance aspirations to
reconstitute the USSR. Iran has religious dominance
aspirations. China has economic dominance aspirations. And in
many ways, they were operating--in some ways, I should say--in
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 73 of 400
collaboration with one another.
    So, if the panelists could just shed light and maybe
provide us with an update on your assessment or your sense for
the collaboration going on between Vladimir Putin and Syria,
Iran, China, North Korea, and any other actors in the region?
    Dr. Wallander. I can speak to that, sir. Russia and Iran
collaborate militarily in Syria and have for years. The Russian
military is not a ground presence in Syria and it relies on, as
I suggested earlier, quasi-private military mercenary groups
and, also, coordination with other actors, including Iran, in
Syria.
    Russia strategically coordinates with China in areas where
they have common interests in challenging American leadership,
whether that is in the U.N. Security Council in trying to
prevent U.N. Security Council resolutions, for example,
condemning the Assad regime in Syria or many others. They share
an interest in trying to revise the global liberal order in
order to undermine American leadership.
    So, you can find instances in which Russia cooperates with
countries in areas that really affect in a negative way
American leadership and American allies and our interests.
    Mr. Fitzpatrick. Do any of the other panelists have
anything to add to that?
    [No response.]
    Okay. I yield back, Mr. Chairman.
    Mr. Castro. Thank you.
    Mr. Deutch of Florida.
    Mr. Deutch. Thank you, Mr. Chairman, and to the ranking
member. Thanks for holding this hearing.
    And thanks to the extraordinary testimony of our witnesses.
    Mr. Morell, I am going to ask you about the reports that
there was information in the President's Daily Briefing that
the Russians were putting a bounty on the heads of American
troops. And we have heard lots of reasons why there was no
reason the President should have been concerned about this,
should have wanted to be concerned about this. But I just want
to ask you, I want to take a step back and have you explain how
the President's Daily Brief is assembled. Can you do that for
us?
    Mr. Morell. Yes, sir. So, there is a meeting every morning
with the briefers there who just briefed that morning and they
provide their feedback on what happened. The most important
part of that feedback, are there any additional questions that
customers need answers to that would result in a piece the next
day? And then, the various parts of the intelligence community
propose pieces for the next day and the out days and decisions
are made about what is going to be in the book the next day and
what is going to be in the book the day after that.
    Once those pieces are drafted and approved within the
agency that writes them, they are coordinated across the
intelligence community. And that is where you can get
agreement. So, you can get all agencies agreeing or you can get
dissents. You can get DIA and CIA think one thing and NSA
thinks something else.
    So, that is pretty much how the process works. I would add
that within each agency the process for getting a piece
approved to be even sent out for coordination is
extraordinarily rigorous, because at the end of the day these
views are not views of a Michael Morell; they are the views of
the Central Intelligence Agency and the views of the United
States intelligence community.
    Mr. Deutch. How do you react, Mr. Morell, to some of my
colleagues coming back now to assert that this information
shouldn't have been in there? One of my colleagues said it was
not verifiable. One of them said it was biased human
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 74 of 400
intelligence and that, as a result, it should have been clear
back in February that this is nothing to be concerned about.
    Mr. Morell. So, if it was in the PDB--and I do not know
that it was--but if it was in the PDB, it means at least one
agency--one important agency, right?--believed the information
to be true at some level of confidence. So, that is the
response, right, is that someone in the intelligence community
believed that information to be true. And that is why it was in
the PDB. It would not be there otherwise.
    Mr. Deutch. And so, before we even get to the question of
low, medium, or high, which we discussed earlier, let's talk
about the kind of information that it is. If there were
information in the PDB that said that there was a threat
against one of our Ambassadors in Europe, and it did not come
up in the Daily Brief, at the morning meeting with the
President, what would happen then? Would someone raise it with
the President?
    Mr. Morell. So, sure. If it is not in the PDB, but the
President needs to know it, then the briefer can raise it on
their own, right? ``This is something else you need to know,
Mr. President.'' Or the DNI, who is sitting there as well, the
Director of National Intelligence can raise it and say, ``Mr.
President, there is something else you need to know.'' Or the
Director of CIA, or anybody else in the room.
    I mean, one of the things that people forget here is that
the President's briefer is the most junior person in the room.
I was once that person. I was the most junior person in the
room. Right? So, the National Security Advisor, the White House
Chief of Staff, the Vice President, the Director of National
Intelligence, Director of CIA are all in the room. Any one of
them are capable of saying, ``Mr. President, in addition to
what is in your book, you also need to know this,'' or that.
    Mr. Deutch. Who decides? Does the junior briefer decide
what to report to the President?
    Mr. Morell. So, in general, yes. In my case, I went in
there every morning with the Director of Central Intelligence,
George Tenet. So, he wanted to know what additional materials I
was going to give to the President or share with the President.
So, he said yes or no to that. But, in general, the briefers
decide.
    Mr. Deutch. Mr. Morell, I would just close by pointing out
that, when one of the agencies says that the Russians are
putting a bounty on the heads of American soldiers, that
someone in that room, one would think, would care to share that
information with the President of the United States. And when
this information comes out months later, the response from the
President of the United States, out of respect for the families
who lost loved ones in Afghanistan, should not immediately come
to his own defense, but should try to get to the bottom of what
happened. Fixing the problem is not about the PDB; fixing the
problem is making sure that the President is looking out for
the protection of our troops and potential Russian efforts,
first and foremost. That is what I think needs to be about.
    And I yield back.
    Mr. Castro. Thank you.
    We are going to go to Mrs. Wagner.
    Mrs. Wagner. Thank you very, very much, Mr. Chairman, for
hosting this very important hearing on the absolutely shocking
allegations that Russia is paying Taliban-linked militants to
attack our service men and women. If these reports are, indeed,
true, we must take strong and swift action to show Russia that
attacking Americans is never acceptable and will be met with a
swift and strong response by the United States of America.
    Russia has proven that it will exploit any opportunity to
undermine and roll back American influence, even at the cost of
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 75 of 400
destabilizing regions and prolonging bloody conflict. This is
evident in its malign involvement in civil wars, unrest, and
conflicts in places like Ukraine, Syria, and Venezuela.
Russia's actions are reprehensible, and I am proud to have
supported robust sanctions against the Putin regime.
    Dr. Wallander, you noted that reports of an alleged Russian
bounty program with the Taliban indicate an escalation in
Russia's long-running asymmetric competition with the United
States. Does this illuminate any vulnerabilities in our
deterrence against Russian asymmetric operations and how can we
restore the credibility of our deterrence?
    Dr. Wallander. Thank you very much for your question.
    I think that the vulnerability lays in our failure to track
Russian activities closely enough and with enough confidence to
be able to take counteractions. What do I mean by that? It is
exactly by operating in this gray zone that Russia hopes to
have the advantages of these operations without suffering the
kinds of consequences we have talked about--their exposure,
American military commanders taking countermeasures, being
called to account by political leadership, potential financial
sanctions. I would look at disruptive activities that the
United States could undertake to complicate these kinds of
operations.
    So, we have to get serious about this, not only because of
this incident, which I do think, if it is true, is an
escalation because it exhibits a willingness to take risk for a
direct connection between Russian action and American military
fatalities. And it suggests that the constraints of risk
aversion that we have referred to earlier might be being lost.
    Mrs. Wagner. Russian military intelligence, or GRU, is
behind a string of attempted assassination and coups, frankly,
across Europe, including in the Balkans where Russia is seeking
to exploit existing divisions to slow or prevent regional
countries from integrating into the European Union or NATO. I
am deeply concerned that Russia is fueling ethnic divides in
the interest of weakening Balkan States. Mr. Brzezinski, how
can we work with our NATO partners to prevent the GRU from
undermining progress in the Balkans?
    Mr. Brzezinski. Thank you, ma'am.
    I would just add on Celeste's point that, if you look back
at 2008, how quickly President Putin backed off when he was
confronted with the possibility of a direct red-on-blue
engagement--that is, when he was confronted with the
possibility he might have to shoot at American soldiers--
compared to 2018 in Syria and today with the allegations of
putting bounties on American soldiers, and in 2018 where
Russian paramilitaries actually attacked a U.S. outpost, this
shows how Russian aggression, assertiveness, and provocations
have escalated. And if we are really going to curb, deter,
contain, push back Russia's actions in this area, I think we
have to have a much firmer posture across the board. We cannot
be willing to invite him or initiating invitations to the G7s.
The political isolation has got to be real and sustained. Our
economic pressure has to be much harder.
    In addition to some of the sanctions that Celeste was
talking about, I would seriously consider pulling Russia from
SWIFT. Really hammer its financial sector. Yes, this will cause
pain and a lot of collateral economic damage on people who
shouldn't be held responsible for Putin's actions in Russia,
but that is a geopolitical reality. If we really want to shake
up Putin, we have to shake his political base, his political
stability.
    And militarily, we need to be more prepared to push back
against Russia. And I am very concerned about our posture in
Europe. Although we have made progress in recent years, it is
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 76 of 400
still an inadequate posture to competently deter Russian
aggression, particularly in North Central and Eastern Europe.
    Mr. Castro. Time is up----
    Mrs. Wagner. Thank you, Mr. Brzezinski. I believe my time
has expired and I will yield back.
    I have several other questions, Mr. Chairman, and I will
put them into the record.
    Mr. Castro. Sure. Yes.
    Mrs. Wagner. Thank you.
    Mr. Castro. Thank you, Mrs. Wagner.
    And just for everybody, please, so that we can get to all
the members on the committee, as you are asking questions, if
you can glance on the grid at the time as it is coming down.
    For the witnesses, I know that you all have a lot to say,
and we appreciate your expertise, but if you all can also be
mindful of the time, so that we can get to everybody and help
everybody ask all questions. All right?
    We are going to go to David Cicilline, and then, I am going
to try to go back to Mr. Zeldin of New York right after that.
David?
    Mr. Cicilline. Thank you, Mr. Chairman, and thank you,
Ranking Member McCaul, for calling this really important
hearing.
    I want to begin by saying I disagree with my friend, Mr.
Kinzinger, who said, if you are a Republican, this is nothing;
if you are a Democrat, this is serious. If you are an American,
the idea that there is intelligence that the Russians may have,
in fact, been paying a bounty on the heads of our American
soldiers is outrageous and demands a whole-of-government
response.
    But I want to get, first, to this Presidential Daily Brief
because some people have suggested that, oh, you know, it can
be an innuendo; it could be a rumor. And so, Mr. Morell, I want
to ask you, in order to get into the President's Daily Brief,
isn't it a fact that there has to be a sufficient amount of
evidence that it is a credible statement of fact? It is sort of
the gold standard among the intelligence community? Rumors and
innuendos do not make it into the President's Daily Briefing?
    Mr. Morell. So, I would agree with you. I would just change
one word. I would change ``fact'' to ``assessment,'' right? It
is an assessment that Putin is providing these bounties, and it
may not be a fact, but it has to be credible in order to get in
there, yes, sir.
    Mr. Cicilline. Right. So, this idea of just rumors,
unsubstantiated rumors do not make it into the Presidential
Daily Brief. And I think the President has acknowledged that it
was in the President's Daily Brief, or at least he said he did
not read, he was not briefed on it, and he did not read it,
which presents its own problem. Kind of the consequences of a
President who does not read the Daily Brief is, in and of
itself, alarming.
    But, in addition to that, the National Security Advisor,
Mr. O'Brien, acknowledged publicly that he had begun to
develop, along with the other appropriate officials, a set of
responses to this activity by the Russians, a set of options to
present to the President. And is it fair to say that you do not
go through the arduous process of developing a set of responses
without having some confidence that the intelligence that you
have collected is accurate, credible, and worthy of action?
    Mr. Morell. In my experience, yes, sir.
    Mr. Cicilline. Mr. Morell?
    Mr. Morell. I was just going to say, in my experience, sir,
yes, you would need credible intelligence in order to start
that process.
    Mr. Cicilline. And so, in this context, we have President
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 77 of 400
Trump who has fawned over President Putin. On the campaign
trail, he repeatedly complimented Vladimir Putin. He denied
that Russia interfered with U.S. elections. In 2017, in an
interview with Bill O'Reilly, when he was asked about Putin
being a killer, he said, you know, there are a lot of killers;
do you think this country is so innocent? And then, in 2018, at
the Helsinki Summit, Trump incredibly sided with Putin over our
own intelligence community about Russia interfering with our
elections. He has withdrawn from the Open Skies Treaty, which
benefits Russia. He has proposed reducing U.S. forces in
Europe. So, it is in all of that context. Putin has annexed
Crimea, remains steadfastly hostile to Ukrainian democracy in
violation of international law, and just last week we saw him
again, as a dictator, extend his term in office until 2036. So,
it is in this context that reporting that the President failed
to act or even condemn this action by the Russians is so
outrageous.
    And so, my first question is to you, Mr. Brzezinski. This,
it seems to me, suggests the absence of
    [audio malfunction]. The President is not really interested
in doing it. But would it, in fact, be helpful if we actually
had a strategy to contain Russia when we needed to and to
engage with them when we needed to, and what should that look
like?
    Mr. Brzezinski. Sir, I missed part of your question, but I
understood it is, basically, do we have a strategy for dealing
with Russian assertiveness?
    Mr. Cicilline. And should we? Do we have one, should we,
and what should it look like?
    Mr. Brzezinski. I think right now, and unfortunately, I
think this is true across the last several Republican and
Democratic administrations, we have really had kind of an ad
hoc strategy. It has been reactive and it has been incremental.
What we really need to be doing is leveraging the full spectrum
of power that we have to deal with Russia. And that power
includes our economic might. I think we ought to be leveraging
more economic sanctions. And think about it, we are a $17
trillion economy; Russia is somewhere between 1 and 2. We have,
with the Europeans, a 34-to-1 advantage in GDP comparison. We
ought to be hammering the Russian economy on this if we really
want to be serious about convincing Russia to take a different
course of action.
    On the political side, we can impose more aggressive
political sanctions on Russia. And then, also, as I have
pointed out, we need to adjust our military posture.
    Mr. Cicilline. Thank you.
    And, General Nicholson, my last question, if the
allegations that are reported in The New York Times are true
and Russians placed bounties on the heads of American soldiers,
what should the President of the United States do to ensure
that service members' families and the American people gain
some comfort in knowing that we are doing everything we can to
protect the men and women in uniform and to ensure that the
Russians know that we will not tolerate this and we take this
action very seriously?
    General Nicholson. Yes, what you just said, sir. We should
let the American people know that we will do it, and then, that
would be visible by, as I mention in my recommendations, very
highest levels of our government, drawing a clear line that
this is unacceptable.
    Mr. Cicilline. Thank you.
    Mr. Castro. All right.
    Mr. Cicilline. Thank you, Mr. Chairman.
    Mr. Castro. Thank you, Mr. Cicilline.
    Mr. Zeldin, hopefully, we have got you now. I still cannot
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 78 of 400
hear you. Yes, now it says you are on mute there. Yes, it is
not coming through. Yes, sorry about that.
    I will go to the next Republican, Mr. Curtis. Mr. Curtis?
    [No response.]
    How about Burchett? Okay.
    Mr. Burchett. Can you now hear me?
    Mr. Castro. Yes. Oh, yes, we can hear you.
    Mr. Burchett. I hate cutting in front of everybody,
especially my colleague Lee Zeldin, who I make him look good on
the baseball diamond. I am a consensus fourth stringer on our
baseball team, in case you all did not know that.
    And it is a pleasure being here with you all, and thank you
all. I am very interested in this topic. I have talked about it
on the news. I have gotten busted from both sides on it.
    And I think it is pretty much known that Putin is a thug. I
mean, I am sure he quakes in his Gucci loafers when he hears
that the 435th most powerful person in Congress isn't a fan of
his, but I think he is a thug. I do not know why there is any
fascination with either side on him.
    We know that Russia has been helping the Taliban through
political, maybe even material means since 2016. The Russians
justify this because of the rise of the Islamic State.
    Now the--I am not sure if I say it right--but the Khorasan
Province and the ISKP and their view that the Taliban is less
of a threat to their security, and my question is this: what do
the Russians gain by paying the Taliban to kill our troops if
we have a shared enemy in the ISKP? And you all just jump in.
Ma'am, why do not you go? Ladies first. I am in the South, so
that is--go ahead.
    Dr. Wallander. Thank you, sir. I am happy to address that.
    I think the goal of Russian policy now--and General
Nicholson pointed to this as well--is to get the United States
out. There was a shift about half a decade ago where Russia was
ambivalent. It saw some common interests in fighting
fundamentalists and extremists, but, after it invaded Ukraine,
and the United States took firm action to lead especially
Europe in sanctions and isolation, the Russian leadership
evaluated that the threat of the United States being nearby
militarily, not just NATO in Europe, but in the Middle East and
in Central Asia--remember, Russia worked to kick the U.S. out
of the air base in Manas, Kyrgyzstan as well. That was the
goal, to get us out and to benefit from our departure, plain
and simple, I think by the period of this incident.
    Mr. Burchett. For the rest of you all, I would be curious
what you have to say.
    General Nicholson. Yes, I will jump in, sir. General
Nicholson here.
    I agree with Dr. Wallander. There was a lot of hedging
activity, we would call it, I would say, as it was unclear what
the United States' intentions were near the end of the Obama
Administration. And we had a Stated intention to leave. We did
see Pakistanis, Iranians, as well as Russians, all getting
involved, I think to gain some influence in what was going to
be the environment after we left, after the U.S. and NATO left.
    So, I think a part of it was motivated by a desire to gain
leverage, and then, another part is their legitimate concern
about the spillover of terrorism into Central Asia and Russia.
However, this was overStated and this was called their
misinformation campaign, suggesting that the United States was
supporting ISIS, and, in fact, it was deliberately promoting
it.
    So, I think there is a combination lens, as with many
things, with truth and fiction, as they pursued their overall
goal, which is to undermine us, to undermine NATO. They did not
want to see us be successful there and they wanted us out of
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 79 of 400
the region.
    Mr. Burchett. Thank you.
    Mr. Morell. Congressman, if I could add just one thing, I
agree with everything that Dr. Wallander and General Nicholson
said. I would just add that this is about Afghanistan, but it
is also about outside of Afghanistan. This is about reminding
Americans that, wherever you go in the world, it might not be
safe. And they want us to think twice about sending troops
anywhere. So, this is a pretty broad policy as well as
Afghanistan-specific.
    Mr. Burchett. All right. Real quick, I am running out of
time, but what can we do to make sure this does not happen
again? We can talk all these broad statements, but bottom-line
me. I am in east Tennessee; we need to cut to the chase. Ma'am,
what do you think bottom line? I have got 40 seconds, so 10
seconds apiece.
    Dr. Wallander. A political message, but also disruption
operations. The GRU can operate like this because it can travel
to Europe. It can use international financial institutions. And
if it did not have access to those resources, it would not be
able to engage in these operations.
    Mr. Burchett. General?
    General Nicholson. Sir, I would say, No. 1, strongly and
clearly and unequivocally State this is unacceptable. And then,
second, the other things that they are interested in, and this
is why I suggest suspending any talk of withdrawing troops from
Germany.
    Mr. Burchett. Mr. Morell, I have got 1 second.
    Mr. Morell. Sir, I would say you have to play to Putin's
fears. And what he fears is his middle class coming out into
the streets of Moscow and saying they want change and they want
him to go away. And that is why I agree fully with Mr.
Brzezinski that the sanctions need to be broad-based and should
not be targeted. They should be broad-based.
    Mr. Burchett. Great. Thank you all.
    Thank you, Mr. Chairman.
    I appreciate all you all.
    Mr. Castro. Thank you.
    Mr. Burchett. And I actually miss you guys in person. I
know it is not the same without me being there live. So, thank
you, Mr. Chairman. And, Ranking Member, as always, it is good
seeing you, Brother.
    Mr. Castro. Ms. Titus?
    Ms. Titus. Thank you, Mr. Chairman.
    I want to thank my colleagues and the panel for giving us
very detailed discussion about the issue of bounties. But I
want to look at this from a bigger picture, as we have started
to do. I think Mr. Brzezinski said that our policy over several
administrations has been ad hoc and reactive, and we know that.
You just go back to Obama. We had the reset with the red
button. That was pretty optimistic. People thought we were
going to accomplish a lot, but it fizzled pretty fast, and
then, ended up with Crimea and sanctions and adoptions being
denied and interference in elections.
    So now, we have got a new President and a new policy, if
you can call it a policy. Nobody has come up with a name for it
because it is so confusing. The President talked about Putin in
his campaign and praised him, but, then, on the other hand, he
said, ``I've been more aggressive against Russia than any other
President.'' And then, I think you, Mr. Chairman, laid out all
the things that have happened in recent days that show how the
President feels about Mr. Putin.
    We have heard some grand strategies now for what our policy
should be, but I do not see any of those being put into effect
by this administration, judging from his recent behavior. But I
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 80 of 400
am optimistic. I think we are going to have a new President
here in a few months. So, I would like to talk about what
difference that will make. Will that cause Putin to change his
policy, as he deals with the new President? The fact that he is
going to be there until 2036, he thinks, will that affect his
behavior? How can we now get back into multilateral
relationships to change the new reset or a new policy? And how
can we more effectively deal with his plausible deniability,
like the Wagner Group that he often hides behind? So, given
those major changes that I anticipate will come in November,
could you kind of address how you think that will affect what
our policy toward Russia will be?
    Mr. Brzezinski. If I could, I will take a stab.
    Ms. Titus. Thank you.
    Mr. Brzezinski. Whether it is a Trump administration or a
Biden administration, there are four kind of elements I would
have for effecting Russia's strategy.
    One is to ratchet up political isolation of the Putin
regime, so he does not get legitimacy, political legitimacy,
and stature through fora like the G7.
    Second, I would enhance our military readiness in key
frontiers. I focus most on Central Europe, but that is one area
we ought to be continuing to enhance our military readiness,
particularly for high-intensity conflict.
    Third, as I mentioned several times, we ought to enhance
our economic pressure, really impose economic pain on Russia.
    And then, fourth, kind of following the point that was
inferred by Director Morell and Dr. Wallander, we ought to
really think about our own strategy disruption against Russia.
In the same way that Putin has been mucking around in our
politics and the politics of our allies and partners, we ought
to be leveraging his own political weaknesses by leveraging our
asymmetric advantages and asymmetric tools like cyber warfare
and information operations.
    His political stature isn't as strong as he would like it
to be. And the more we could create a certain amount of
uncertainty within Russia about his own political well-being,
the more likely he is going to be focused inward.
    So, the combination of this external pressure and a
strategy of disruption that affects his internal stability I
think is in order for more effective Russia policy.
    Ms. Titus. Dr. Wallander?
    Dr. Wallander. I would agree with what Mr. Brzezinski said
in terms of the focus of the strategy. And I would just
observe, also, that if you are going to focus on isolation,
greater defense spending, and better planning, especially in
Europe, and not only in Europe, and economic pressure, the
United States needs to do it in coordination with allies and
partners, because, otherwise, it is not effective.
    Sanctions escape, it is easier for Russia to do if the
United States isn't coordinated with Japan, the other members
of the G7, and certainly with Europe, given the importance of
the European economy to Russia. So, we need to rebuild those
alliances and partnerships, both because they are good for
America, but if we want to have an effective strategy for
coping with Putin's Russia, we have to do it with those strong
allies and partners.
    Ms. Titus. Thank you.
    And, Director Morell, any addition?
    Mr. Morell. Ma'am, just to answer your direct question
about Vice President Biden, I think the important thing is that
Putin will test him immediately. And the Vice President will
need to respond along the lines that all four of us are
suggesting in order for Putin to be constrained. And if the
Vice President does not respond that way, then Putin will see
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 81 of 400
an open field ahead of him. So, he will test within the first
few months a new President.
    Ms. Titus. Thank you. I yield back.
    Mr. Castro. Thank you, Ms. Titus.
    We are now going to try one more time Mr. Zeldin. I think
he has fixed his computer and it may be working for him now.
    Mr. Zeldin. Mr. Chairman, do you have me?
    Mr. Castro. I do.
    Mr. Zeldin. All right. So, thank you. Thank you, Chairman.
    First of all, I would like to State that I view Russia in
many ways as an adversary of the United States. Vladimir Putin
thinks he is 7 feet tall. If he could have his way, he would
put the USSR back together again. That is where I come from.
    But, first, I am approaching this from a position of facts.
I have been trying over the course of the hearing to follow a
bunch of bad assumptions to take the story into different
directions and it is unfortunate.
    But, first off, before I get into some of that, to followup
on the exchange just now, as the question was presented
conclusively that Joe Biden was going to get elected in
November, and how would that impact his relationship with
Vladimir Putin, if we are going to go there, to complete the
record, yesterday he released a 110-page agenda, and nowhere in
those 110 pages does it mention Russia or terrorism once. It
does mention other nations and, obviously, a lot of other
priorities. So, to help answer that question of my colleague.
    To also help cleanup one thing that Mr. Morell said about
declaring the briefer in the room as a junior briefer, this is
a 30-year CIA briefer. The woman who briefed the President is a
30-year career staffer.
    Next----
    Mr. Morell. Sir?
    Mr. Zeldin. No, thank you. Please, it is my time now. You
had your opportunity. So, we will cleanup a few things.
    Next, we are following what really was the Susan Rice
version in her op-ed in The New York Times. That is that there
was compelling evidence, there was a conclusion based on
compelling evidence that Russia placed a bounty on U.S. service
members and that the President was briefed. Now I do not know,
Ms. Wallander, if your assumption that you come into this
hearing is following the Susan Rice assumption. I do not know
what you might disagree with of what Susan Rice wrote in her
op-ed, but having known the rest of the facts and not playing
along with story time here at this hearing, there are important
facts that should be understood, so we could have a productive
conversation.
    So, there was a PDB that was given in written form to the
President of the United States. In that PDB, there was a
concern expressed that is an appropriate topic of this
discussion today and this hearing. In it was also a dissent.
That 30-year career CIA briefer shows up at the briefing and
chooses not to brief that information because she disagrees
with it. So, the President was never told that in the briefing.
    Now I am having trouble playing along with ignoring the
facts, to call it ``a junior briefer'' and ignore 30 years of
service in the CIA. I have trouble playing along with the
reality that there was some kind of a conclusion on this based
on compelling evidence that there was not a dissent and the
President was told this.
    So, with all that being said, with a couple of minutes I
have left, first off, General Nicholson, I have a tremendous
amount of respect for you. Thank you for your service to our
country. We have spent multiple Christmas days in Afghanistan.
You have sacrificed a ton for your country, and as you know, I
have a tremendous amount of respect for you.
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 82 of 400
    And actually, it has been on those trips with you and your
team where I learned a lot about Russian interests in
Afghanistan and the way that they meddle with the Taliban, and
otherwise. So, I know that you are a subject matter expert on
it.
    I just want to hear your thoughts on the fact that there
was classified information that was leaked to The New York
Times and how that impacts the process.
    General Nicholson. [Audio malfunction.] Having said that,
as you know from our conversations there--and thank you for
your many visits to the theater and for checking on the troops
and the dialog with us--we have been watching the Russians for
some time and we are concerned about their behavior. And so,
having this hearing, having this conversation, getting this up
on the radar screen, I think is a form of pushback on Russian
behavior.
    And this opportunism that the Russians have demonstrated in
Afghanistan and elsewhere, in my experience militarily when we
respond and we identify they are trying to exploit an
opportunity and we respond effectively, that is one of the ways
that we can cause him to look elsewhere, if nothing else, and
to dial down on what they are doing.
    So, I thank the members for having this hearing and getting
this on the screen. They will be watching this and they will
know that we are watching them.
    Mr. Castro. Okay. Thank you, Mr. Zeldin.
    Mr. Zeldin. I guess
    [audio malfunction] does not want to answer the question.
    I appreciate it. Thank you.
    Mr. Castro. Thank you.
    And, Mr. Morell, I know you wanted to say something. Your
words were directly addressed. If you want to make a quick
response, that would be fine.
    Mr. Morell. Thank you, Mr. Chairman.
    Mr. Zeldin misrepresented my statement. I did not say she
was a junior officer. I said she was the most junior officer in
the room. That is a very significant difference.
    Mr. Castro. Okay. Thank you.
    All right. We are going to go to Mr. Lieu.
    Mr. Lieu. Thank you, Mr. Chair.
    And I want to thank all the panelists for being here today.
    I think it is very instructive to note what the White House
has not denied. The White House has not denied that the CIA
assessed that Russia paid bounties to the Taliban to kill U.S.
troops. The White House has not denied that the CIA made this
assessment with a medium level of confidence. The White House
has not denied that this information was included in the
President's Daily Brief in February.
    The main excuse from the White House is that Donald Trump
was not orally briefed on this issue, but that excuse has now
gone away because, for at least nearly 2 weeks, the President
has seen the news coverage on this issue, first, coming out of
The New York Times, and then, being confirmed by The Washington
Post, by NBC, by The Wall Street Journal, and multiple other
press outlets. And the President has yet to utter a single word
condemning Vladimir Putin.
    But the President has found time to criticize NASCAR driver
Bubba Wallace. The President has found time to play golf on
numerous outings. What kind of message does that send to
Vladimir Putin?
    And I have heard some of the strong comments from my
Republican colleagues and I appreciate them, that Russia is not
our friend. But those are just empty words if you cannot even
condemn Donald Trump for not saying a single thing about Russia
placing bounties to kill our troops.
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 83 of 400
    And so, Mr. Morell, I have some questions for you. You had
said that, if intelligence had a medium level of confidence or
higher that this was happening, you would expect the U.S. in a
normal administration would have taken action right now, is
that right?
    Mr. Morell. Yes, sir.
    Mr. Lieu. Okay. And I heard some of my Republican
colleagues use a word, you know, ``verify'' or ``validate.''
That is not how intelligence works at all, right? You just have
confidence levels. It is nearly impossible to verify or
validate a fact. For example, when Obama sent in a strike to
kill Osama bin Laden, no one was 100 percent sure that Osama
bin Laden was there, isn't that right? You just have confidence
levels in intelligence?
    Mr. Morell. Yes, sir, you never have certainty in
intelligence.
    Mr. Lieu. And based on numerous non-denials from the White
House, it is very clear this is not a hoax. And so, what I want
to understand is--and this is for any of the panelists--what
kind of message is this sending to Russia and Vladimir Putin
when the President of the United States cannot still utter a
single word condemning Russia, not just for the bounty program,
but just for generally arming the Taliban, right? No one
disputes that. And the President cannot even condemn that. So,
what kind of message do you think, Panelists, that sends to
Russia?
    Mr. Morell. So, I will jump in first here, Congressman.
Vladimir Putin, one of his strategic tactics, or one of his
tactics, is to divide us as a people, is to have us at each
other's throat. So, he must be very pleased with the arguments
we are having politically about this issue.
    Mr. Lieu. So, let me followup on that. I find it
fascinating that so many Republicans are bending over backward
to give Russia the benefit of the doubt. I do not understand
that. I personally served on active duty in the United States
military. It is very clear that Russia is not our friend and
Putin is not our buddy. We should not be giving Russia the
benefit of the doubt. We should be giving the CIA the benefit
of the doubt.
    I also wanted to make another point, which is the
Republicans are bringing up, for example, Soleimani and how
there is also intelligence about him. Well, yes, and Democrats
agreed there was a lot of intelligence on him and that he was a
bad guy. That was never the dispute. Intelligence was never the
dispute. The dispute was, was there appropriate use-of-force
authorization to take him out? I believe there was not. And
second, what was going to be the consequences if we did that?
    In this case, this is an issue regarding intelligence. The
CIA has made this assessment, and the President of the United
States still has not been able to condemn Vladimir Putin. I
cannot understand that, and for Republicans to remain silent on
this, you are rewarding Putin.
    And with that, I yield back.
    Mr. Castro. Thank you, Mr. Lieu.
    I will now go to Mr. Keating from Massachusetts.
    Mr. Keating. Thank you.
    I have a question for Dr. Wallander, but for the rest of
the panel as well. When we look at what we do in response to
Russia, we are always, first, looking at sanctions, and
certainly sanctions, including individual sanctions, should be
explored, particularly with some of the oligarchs, I believe.
But the question is this: I would like your comments on how
much more effective it is to work in concert with these
responses, particularly with our European allies. And just this
go-it-alone strategy, when we do get around and the President
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 84 of 400
does get onboard, sometimes reluctantly, to these sanctions--I
mean strengthening NATO, working harder and more visibly for
Ukraine independence reform, working on energy issues.
Financial transparency issues and money laundering issues are
important as well. These are the things, we should take an
across-the-board approach in terms of reacting to Russia's
malign activities. And how important it is to work in concert,
I believe. But can you reflect on your experience in the go-it-
alone versus an allied approach?
    Dr. Wallander. Well, thank you very much, sir.
    In order to be effective with economic or financial
sanctions in the case of Russia, you, the United States, have
to coordinate with Europe to be effective for a couple of
reasons. One is the volume of trade between Russia and Europe
far exceeds that of the United States. U.S. trade with Russia
is something like 2 percent of our global trade. So, to have
impact, you have to look at Europe.
    Second, a lot of Russian financial transactions end or go
through Europe. So, if you do not coordinate with Europe on
financial, banking, financial institution transactions, there
are workarounds that the Russians are very clever. You know, I
sometimes say, if they put as much energy into running a real
market economy, their economy would be a lot more successful.
They are really good at workarounds. And so, to get to do those
workarounds without the United States coordinating with Europe,
you are just not going to be effective.
    And the last point I would like to make is I agree with Mr.
Brzezinski that we should be looking at, if you want impactful
economic sanctions, that you should be looking at sectoral
sanctions. You can only sanction the oligarchs so many times.
Many of the oligarchs are actually not politically influential
or even close to the Kremlin. So, for impact, sectoral
sanctions are important and targeted sanctions on the defense
and security elite that is so core to the Putin leadership. If
you want to be effective, you need to think in terms of
targeting those areas.
    Mr. Keating. And in terms of the Wagner Group, and you look
at their activities in Crimea, Syria, now in Libya and parts of
Africa, what theaters that we may not be looking at where you
would be keeping a watchful eye on the Russians going forward?
    Dr. Wallander. Going forward, I think we need to look at
Central Asia, for many of the reasons General Nicholson pointed
to. I think that I am concerned also about that the Russian
government can use the Wagner Group for deniable training of
some countries in Europe or in the Middle East. And once they
are there, they tend to have influence, and then, they tend not
to play by the international rules of the game. So, I think
beginning to treat the Wagner Group as more quasi than private
would strengthen the ability of the United States to counter
these kinds of destructive asymmetric operations.
    Mr. Keating. Last, in the hearings we had this week in our
subcommittee, they stressed the importance, our witnesses, of
not moving away from the option of dealing directly with the
Russian people, giving them information. Many of Putin's
activities are not well received in Russia. In fact, if they
did know the truth, instead of what they are getting, it would
become a domestic problem for him. Do you believe that is a
very important approach we should take, too?
    Dr. Wallander. Well, Putin's disapproval ratings have been
growing. His approval ratings have been falling as a
combination of economic challenges and, also, the challenges of
the COVID crisis in Russia. So, there is evidence that Russians
do pay attention and do have views of their leadership. And
there is also evidence that Russians have, although official
media sources inside of Russia are constrained, Russians
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 85 of 400
actually get their information from a wide variety of platforms
that are available to them.
    Mr. Keating. My time has elapsed. I am sorry, Doctor. I
yield back. But thank you so much for being here with us
today----
    Dr. Wallander. Sure.
    Mr. Keating [continuing]. And to all our witnesses.
    I yield back.
    Ms. Stiles. Congressman Malinowski, we can turn to you,
sir, if you want to begin chairing.
    Mr. Malinowski [presiding]. So, it is Mr. Phillips next.
    Mr. Phillips. Thank you, Mr. Chairman.
    And thank you to our witnesses.
    I will start with a few obvious truths. One of which is I
am terribly disappointed that Secretary Pompeo once again
chooses not to be with us, stonewalls our efforts to provide
important oversight on some terribly important issues that we
and the rest of the world face.
    I am terribly disturbed by Vladimir Putin's ongoing
provocations and aggression, all with impunity. I am
particularly disturbed and disgusted by the possibility that
Russians provided bounties to the Taliban to kill American
service men and women. I will not try to continue the
litigation of whether it is true or not. We have done so.
    But I want to turn to a couple of questions. One of which
is--perhaps, General Nicholson, if you might begin--is it even
possible that the GRU operates independently of Vladimir Putin?
    General Nicholson. I will give you my perspective, with
great respect for Director Morell and Dr. Wallander and Dr.
Brzezinski. They understand the Russians extremely well.
    My perception, there is an almost feudal set of
relationships inside Russia. On one level, you could view it
that way. People like to deliver outcomes to the center, to the
czar, if you will, or to Putin, that they think he will like,
that will curry favor. So, there is a dimension to this where
people will act independently on what they think the boss wants
and deliver that to him. And so, I think that it is possible
that there can be independent actors within this system doing
things that others in the system might view as reckless or
irresponsible.
    Mr. Phillips. Thank you, sir.
    Do any of our witnesses see it differently?
    Dr. Wallander. I agree exactly with General Nicholson's
analysis. I would point out that the GRU has engaged in
multiple operations that have been exposed and they have not
been pulled back. And so, from that, I take it that, while
those operations may not have been ordered, they may have been
about pleasing the boss and about creative implementation of
general directives, we, nonetheless, should hold the Russian
leadership accountable because, if they did not like it, they
did not stop it. So, therefore, they own it.
    Mr. Phillips. Well said. I couldn't agree more.
    Some of you have spoken, Director Morell, you spoke about
Putin's greatest fear is his middle class in Russia turning
against him. Mr. Brzezinski, you talked about the need for a
strategy of disruption and creating uncertainty. I think we
would all agree that, if we intend to do so--and we should--it
must be in conjunction with our allies. And I would welcome
perspectives from each of you in my remaining time relative to
the State of affairs with our allies. Are we in a position
right now with our relationships to do so? Do our allies trust
us or are those relationships compromised and perhaps
presenting a challenge to some cooperation in that respect?
    General Nicholson. I will jump in here, sir. Having led a
41-nation coalition that was built around the core of NATO, I
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 86 of 400
will tell you, having served in NATO multiple times, it is one
of our most important sources of strength in the national
security arena. And the protection, if you will, of that
cohesion and that strength of the alliance is paramount for our
national security. And I know we in uniform took that very
seriously. Indeed, the whole is greater than the sum of the
parts, if you will, especially when it comes to the legitimacy
of our actions. It is not just adding up GDPs, adding up
military capability, which is significant and gives us enormous
strategic advantage over Russia. It is the legitimacy that
comes with having 41 nations together in Afghanistan. That is
an important source of strength.
    Mr. Phillips. But, sir, if I might ask, would you say that
those relationships are less strong than they perhaps were as
short as a few years ago?
    General Nicholson. Well, candidly, as a leader within NATO,
I was concerned that some of the comments that we saw and some
of the pressure being put on key allies within NATO risks our
cohesion. Having said that, it is true that many of our allies
have not met their obligation to spend 2 percent of the GDP on
their defense, and their readiness has suffered because of it.
So, it is not a black-or-white issue. I mean, the allies, given
the threat posed by Russia, do need to invest more in their
readiness and in their modernization. The way we go about it,
though, I think needs to reinforce our cohesion, not
    [audio malfunction].
    Mr. Phillips. Thank you, sir.
    Director Morell, I would welcome your perspective on our
allies, our relationships, and whether that has been eroded
over the last few years.
    Mr. Morell. Sir, I have had many conversations with foreign
officials who I used to deal with, and almost to a person,
whether in Europe, the Middle East, or Asia, they are concerned
about their relationship with the United States. And they tell
me that, because of that, they need to hedge, and that that
hedging includes increased conversations with both China and
Russia. So, I hear that. I hear that almost constantly.
    Mr. Malinowski. Thank you.
    Mr. Phillips. Thank you, Mr. Chairman. I yield back.
    Mr. Malinowski. Thank you, Mr. Phillips.
    I am going to recognize myself at this point. And I wanted
to start with, to go back to a pretty basic question to you,
Mr. Morell. And that is, what is the standard for including a
piece of information in the President's Daily Brief? It is more
than just that the information is true or likely true; it has
to be important, isn't that the case?
    Mr. Morell. Yes, sir, it has to be important to the
national security of the United States of America.
    Mr. Malinowski. Right. So, if this information was included
in the President's Daily Brief, that would mean that the
intelligence community made a judgment that it was important
enough for the President.
    Mr. Morell. Yes, sir.
    Mr. Malinowski. Is that a fair assessment?
    Mr. Morell. Yes, sir.
    Mr. Malinowski. And we do not actually know why the
intelligence briefer chose not to orally brief. So, any of that
is speculative at this point.
    Mr. Morell. Yes, sir.
    Mr. Malinowski. Okay. Now, when something is important and
it comes to the White House, but there are gaps in the analysis
or potentially differences of opinion about the level of
confidence, then one of the things the White House can do is to
go back to the intelligence community and ask for a deeper
dive. And we know that in this case that did happen, that Mr.
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 87 of 400
Ratcliffe produced a sense-of-the-community memorandum upon
being asked by the White House. But what strikes me as odd
about that is that it seems as if a White House, if a National
Security Advisor felt a real desire to get to the bottom of a
piece of information like this, would not he have asked for
that deeper dive immediately, in this case several months ago
when it was first brought to the attention of the White House?
    Mr. Morell. Sir, I would think so. I do not understand the
timing in this case, but, yes, I would think so.
    Mr. Malinowski. Okay. And are you concerned that the timing
might have been related to the media reports rather than to a
sense of urgency to get to the bottom of the intelligence?
    Mr. Morell. Sir, I just do not know the timing. So, I
cannot answer that.
    Mr. Malinowski. Understood.
    And let's get back to the more important question of the
response here. Now we have heard from Secretary Pompeo--and we
wish he were here to tell us in person--but we have heard from
him that he has raised Russian support for the Taliban on
several occasions with his counterpart--I assume Mr. Lavrov--in
the Russian government. Ms. Wallander, knowing that, would you
say that President Putin would take such expressions of concern
seriously if they are only coming from the Secretary of State
and they are never coming directly to him from the President of
the United States?
    Dr. Wallander. One of the things that is clear is that the
Russian leadership pays close attention to what it is hearing
from different senior levels in the U.S. Government, and when
they get mixed messages, they use that to their advantage and
cherry-pick the messages they want to hear from the messages
they do not want to hear. So, I think it does matter that if it
is the case--and I do not know if it is the case--that they
have not heard a consistent, clear, strong message on concern
in this area from several senior leaders of the U.S.
Government, they would read into that that they do not need to
worry about it and it is not a strong U.S. expression of
concern.
    Mr. Malinowski. And they do recognize the President speaks
for the United States above all others. I mean, we do know--we
do not know exactly what was discussed--but we do know, because
it has been publicly reported, that President Trump has spoken
to President Putin on the phone something like a half dozen
times in the last couple of months. That, in and of itself, is
a little bit odd or out of the ordinary, would not you say from
your experience?
    Dr. Wallander. The frequency of calls isn't necessarily
unusual. President Obama spoke frequently with Vladimir Putin
during the escalation in the Ukraine crisis in order to be able
to let him know we knew what was happening and what we were
planning to do to counter Russian actions. So, the frequency
itself might not be. It would depend on what the content of the
message was.
    Mr. Malinowski. Right. But if Pompeo is saying, ``I am
concerned about what you are doing in Afghanistan,'' and the
President is saying, ``I would love to share intelligence with
you on counterterrorism. I want to invite you to the G7. I want
to have a good relationship with you, and can you believe this
Russia hoax?'' and all of that stuff, how seriously do you
think Mr. Putin would take any expressions of concern from the
State Department?
    Dr. Wallander. If that were the content of the messages,
that would be a very mixed message, and the expressions of
concern from the State Department would not rise to the level
of serious.
    Mr. Malinowski. Okay. Thank you so much.
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 88 of 400
    My time is up, and I would like to recognize Mr. Allred.
Thank you.
    Mr. Allred. Well, thank you, Mr. Chairman.
    And I really want to thank our panel for their excellent
testimony and your excellent written testimony.
    I think that many of my colleagues have covered very ably a
lot of the ground that I wanted to discuss, but I want to begin
by noting that I have not been privy to the intelligence around
this incident. But I agree with Mr. Brzezinski that the fact
that bounties are even plausibly in place on American service
men and women shows that our policy toward Russia is, at the
very least, completely ineffective at deterring their
aggression. And we know, as General Nicholson has noted, that
the Russians have provided arms and support to the Taliban that
have been used against American service members. So, whether we
accept this intelligence or not, or whether the President was
briefed on this particular instance or not, the President and
this administration are clearly on notice as to Russian
intentions against us in Afghanistan and certainly may have
American blood directly on their hands.
    Last November over Thanksgiving, I was in Afghanistan
visiting our embassy, Bagram, went to some of our forward-
operating bases where our Rangers are training and working with
the next generation of Afghani officers. And when I think about
those young service members who are working with those young
Afghans, and I think of our President repeatedly praising
Vladimir Putin, offering ventilators, saying he believes Putin
over our intelligence agencies, and, of course, trying to get
them readmitted to the G7, among many other things that we
could list, it is incomprehensible. And I can find no strategic
goal in it. I have no rationale behind it. And so, I am left
wondering, what could possibly be motivating these actions?
    But my role, and I think our role on this committee, is to
try and inform policy and inform our constituents and inform
the American people as to what we can do. And while this
President may not act, we know that Congress has acted several
times during this term to try to take steps, and we were
willing to do more.
    And so, I do want to ask, what has worked for us in a
multilateral and multinational approach in the past to check
Russian aggression? What steps have worked, and are those
mechanisms still effective? Is it necessary for us to find some
other mechanisms? I will ask that to the entire panel, perhaps
beginning with Dr. Wallander.
    Dr. Wallander. Thank you for your question.
    We do have some evidence of what is effective. In the
summer of 2014, when Russia provided surface-to-air missiles to
the so-called separatists in Ukraine and that missile was used
to shoot down the Malaysian airliner No. 17, it was very
quickly exposed publicly and the Europeans, in coordination
with the United States, imposed significant sanctions on the
Russian economy. And the Russians both withdrew those
capabilities and stopped--they did not stop their intervention,
but they stopped the escalation of delivery of equipment that
they had been engaged in and pulled it back and went more
covert and more deniable. And that affected their operational
effectiveness.
    And so, they are sensitive to what we do and the costs we
impose. Those costs vary by circumstance. I cannot tell you, I
cannot lay out a map of what it would be in every circumstance.
My colleagues have suggested some. We have talked about some.
But I think the important answer for you is that we know that
the Kremlin is cost-sensitive and does respond when we are
clear and firm in our policies.
    Mr. Allred. Mr. Morell, do you want to add anything to
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 89 of 400
that?
    Mr. Morell. No, I agree 100 percent.
    Mr. Allred. Mr. Brzezinski.
    Mr. Brzezinski. Sir, I would reiterate it this way: when we
are committed to our values, that denies opportunity to
autocrats like Putin trying to undercut political cohesion, to
undercut the cohesion among our allies. It reduces his
motivation to kind of push against liberal democracy and
replace it with authoritarian nationalism. When we are
steadfast in our military resolve, Putin will be more cautious.
We have demonstrated that repeatedly. When we are committed to
our allies and partners, when we do not abandon them in the
field or withdraw our forces from their territories, Putin is
less likely to push against them. And if we are steadfast in
leveraging our economic power, Putin does not have any
capability to match that, but we have to exercise it.
    Mr. Allred. Well, my time is up, but, General, thank you
for your service and I am sorry we did not get a chance for you
to weigh in. If you have anything you want to add, perhaps the
chairman will allow you a few seconds.
    Mr. Malinowski. It is fine, if short. Do you have anything
to add, sir?
    General Nicholson. Thank you, Chairman.
    I wanted to add that, you know, war is more like a
wrestling match than a chess game. And so, while discussions of
confidence levels and assessments are going on on the ground,
leaders are taking actions immediately to protect our service
members and to respond, and to fill in any gaps. If we do not
know with confidence, why not? Well, let's try to cover that
gap. So, I would say our teammates, our colleagues that are out
there on the front lines right now, they are doing everything
they can to protect our service members and they are adapting
to this.
    The one thing I would add on responding is back to the
power of the alliance. So, the legitimacy that comes with 41
nations saying, hey, this is unacceptable; you do not threaten
the U.S. and its coalition partners on the ground, that does
have power and it shouldn't be underestimated.
    Thank you for the question, sir.
    Mr. Allred. Thank you.
    Mr. Malinowski. Thank you. Well said.
    I now recognize Mr. Levin of Michigan.
    Mr. Levin. Thank you so much, Mr. Chairman. And I want to
thank the ranking member as well for this really important
hearing.
    And I want to thank all the panelists. We go through a lot
of hearings. You all are really outstanding witnesses and I
appreciate it.
    I want to start with you, Mr. Morell. You said in your
testimony that, in your experience, quote, ``Even if it was
only vaguely clear that the Russians might be paying bounties
to Taliban-associated militants for killing American soldiers,
that information would have made its way to the highest levels
of the U.S. Government, including the President, before the
analysts concluded their work.'' Would you tell us why
information like this would have been run up the chains so
quickly, even if it was only vaguely clear?
    Mr. Morell. Because of its significance, sir. We are
talking about bounties on the heads of American soldiers, and
the significant strategic step forward that would suggest for
Putin's activities against us.
    Mr. Levin. Thank you.
    Mr. Morell. I worked with a number of National Security
Advisors in my time. I do not think a single one of them would
not have told the President this information when the National
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 90 of 400
Security Advisor first heard it, when they first read the raw
intelligence.
    Mr. Levin. And regardless of politics, obviously. We are
all patriots, right? I mean, it is just about our country's
interests?
    Mr. Morell. Yes, sir.
    Mr. Levin. And protecting her? Okay.
    So, Secretary of Defense Esper is actually testifying
before another committee right now, and I understand that he
said, and I am quoting, ``To the best of my recollection, I
have not received a briefing that included the word bounty,''
end quote. He, then, said that he was briefed on intelligence
reports that Russia made, quote, ``payments,'' end quote, to
militants.
    If this happened during your tenure, is there any chance
that this would not have been brought to the Secretary of
Defense's attention? And what would the Secretary likely to
have done, knowing this, that payments were made in this way to
the militants to attack our soldiers?
    Mr. Morell. Two thoughts, sir. One is the Secretary of
Defense is a recipient of the PDB. So, if it was in the PDB,
the Secretary of Defense should have read it or should have
been briefed on it.
    Second is the Secretary of Defense has, of all the Cabinet
members, the most interest here in making sure that this is run
to ground, in making sure that his or her soldiers are well
cared for and protected. So, I think they would speak the
loudest for something to be done here.
    Mr. Levin. Thank you.
    General Nicholson, I want to ask you a question, sir,
about--and I do not mean to be naive, but I really do not
know--you have led our troops at every level and our coalition
partners. When news like this happens, do our troops find out
about it, that this idea that there may have been bounties on
them and that the President isn't doing anything about it? I
mean, do they hear about this?
    Mr. Brzezinski. Thank you. Thank you, sir, for asking.
    Information that has to do with what we would call force
protection is extremely important. It comes right to the top of
the list, because casualties, friendly casualties, be they
coalition or Americans, are going to affect the political will
to sustain the effort. So, there is a military reason you do
that. And then, of course, there is the moral obligation you
have to all the members of your team to protect them. So, this
is critically important.
    I think our service members understand that their chain of
command, I mean starting with their leaders on the ground, are
committed to their protection. And to be honest, studies of
military units, and all that, it is usually your nuclear group
that is the most important and your immediate. And I think
there is no question in the minds of those service members that
their immediate group and their leadership, General Miller in
Afghanistan, are going to be doing everything they can to
ensure their protection.
    Mr. Levin. Everything they can. And then, if they have a
question, if it seems in publicly available information that
way up the chain that someone may not be looking out for them,
I mean, I just worry about the morale of our troops. It just
concerns me. Again, not to do with politics, but just, I mean,
they are out there defending our country, for God's sake.
    General Nicholson. Well, I couldn't agree with you more,
sir, in terms of our internal strength and cohesion is one of
our greatest sources of strength and effectiveness on the
battlefield, and the unwavering commitment. And all of the
members, I know all of you have been enormous supporters of our
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 91 of 400
troops in the field. We deeply appreciate that.
    So, sure, it does cause some head scratching from time to
time when you see things like this happen.
    Mr. Malinowski. Thank you, sir. Thank you, Mr. Levin.
    Mr. Levin. And thanks for your service.
    Thank you. I yield, Mr. Chairman.
    Mr. Malinowski. Thank you, Congressman Levin.
    And I would now like to recognize the member of our
committee who in a past life might have been the person
analyzing and briefing this information, Congresswoman
Spanberger.
    Ms. Spanberger. Not to make light--thank you, Mr.
Malinowski--of a prior comment, but at the time that I left the
agency I was far too junior to have the role of briefing the
President of the United States, not to mention I was on the
operations side of the house.
    [Laughter.]
    But I am grateful to all of our witnesses for being here
today, for the breadth of information, knowledge, and
commitment to service and our Nation that you have demonstrated
throughout your careers and continue to demonstrate.
    As a Member of Congress, one of my very top priorities is
keeping our service members safe. I am personally furious over
the allegations that Russia seems to have further endangered
our men and women in uniform serving in Afghanistan by putting
bounties on their heads with Taliban-linked militants, asking
them to target them.
    I have been grateful to hear strong denunciations among
many of my colleagues during this hearing, but I would urge
many of them to go one step further. I would love to hear them
call upon the White House to do the same, to stand up to
Russia.
    And this gets me to my first question, which I will direct
at you, General Nicholson. You have raised concerns about
Russia and its support for the Taliban for a number of years.
And then, separately, we have seen that President Trump has
held off in condemning Putin in a whole variety of ways. He has
offered him intelligence. He has publicly sided with him over
the intelligence community. He has advocated for Russia to join
the G8. He has repeatedly given him praise. And then, most
notably, he hasn't issued what I think is an important and
necessary step, which is, if this is true, Russia will see the
full force and strength of the United States across the board
politically, economically, and wherever else that may take us
for us to protect our U.S. service members. That is what I
would like to see.
    But my question for you, General, is, when we see these
patterns, and patterns of nefarious behavior by Putin and
Russian, but, then, also, patterns in the administration that
isn't standing up to escalatory behavior, either directed at
our country or other Western allies, what do you think that
that portrays to Russia? And what sort of calculation do you
anticipate or do you assess that they might be making, given
the pattern of behavior that they are put up against?
    General Nicholson. Thank you, ma'am. Thanks for your
service and thanks for your focus on this issue.
    I do think, clearly, Putin and Russia are targeting the
cohesion of NATO. And so, many of the actions they have taken,
not just in this regard, are targeted at that. And if they can
erode the cohesion of NATO, if they can convince just one
member, one voting member, to not invoke Article 5 if they were
to threaten an ally, clearly, these are the kinds of scenarios
we have spent a lot of time looking at during my multiple
assignments in NATO as a flag officer.
    So, I do think they are trying to erode the cohesion, and
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 92 of 400
they are doing it in multiple ways, as the other witnesses have
spoken about eloquently in terms of the information operations,
in particular, and we have seen this in America. So, I do think
this is something we need to be concerned about.
    And the ways we can reinforce cohesion in NATO are
leveraging the system. I will give you a quick example. I do
not mean to take up too much time. But when you look at the
threats initially to the eastern States of the alliance after
the invasion of Ukraine, and the actions that NATO has taken
then, it took a little while. It is a large alliance. But we
now have alliance troops stationed in the East. We have large
exercises in the East. We have a regular rotation of forces to
the East. Those nations in the East have improved their
readiness and posture, new weapon systems, et cetera.
    It tends to take longer in an alliance. Everything is
harder in an alliance. But the alliance, at the end of the day,
is, in my view, the effective mechanism to respond, if that
helps.
    Ms. Spanberger. Thank you.
    And in your testimony, you have noted that mistakes and
miscalculations can, in fact, lead to war and they can be
particularly dangerous when it comes to our relationship with
Russia. What does it tell you, looking at these allegations,
that Russia is willing to risk potentially? And I am going to
caveat it heavily like a former intelligence officer would. If
these things are true, what would that demonstrate to you that
they might be willing to risk, given what some of their goals
are, among them, disrupting the cohesion of NATO?
    General Nicholson. And I will throw in the same caveat on
``if this is true,'' but I would say, one, it is a
miscalculation and a mistake. And so, No. 1, that we would not
find out about it. I mean it is clumsy execution. It is poor
execution. Their tradecraft was pretty bad if we have received
these reports. If they trusted criminal proxies, and those
criminal proxies dealt with Taliban criminal proxies, well,
they have essentially entrusted the foreign policy of Russia to
criminal proxies in Afghanistan. And that was a real
miscalculation and very sloppy on their part.
    What it would say, though, is that they made a mistake, in
my view. So, there was a miscalculation that they could pull
this off and a mistake in that they have risked that there are
strategic consequences for this essentially tactical action.
    And the final point I would make is, when Vladimir Putin's
approval ratings are the lowest they have been in 20 years, do
you really want to risk economic sanctions against Russia over
something like this? What is the cost-benefit analysis? And
that leads me to believe, again, poorly conceived, sloppily
executed, if it turns out to be true.
    Ms. Spanberger. Thank you very much, General Nicholson. I
appreciate your comments.
    And I think reflecting back on the patterns of behavior, I
think there is an element here that is unfortunate, in that
they might have also made the judgment that they would not
taste the level of wrath or retaliation that they would face
under any other administration that learned of allegations of
bounties being put on the heads of U.S. service members.
    I yield back. Thank you, Mr. Chairman.
    Mr. Malinowski. Thank you so much.
    And then, finally, I would like to recognize Representative
Houlahan for what I believe will be our last round of
questions.
    Ms. Houlahan. Thanks, and I do apologize for being late. I
was at the hearing that Representative Levin was referring to
where Secretary Esper mentioned that he had not heard of
bounties, but had heard of payments for the lives of soldiers
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 93 of 400
and sailors.
    And I just wanted, for the record, to read the definition
of a bounty, which is ``a sum paid for killing or capturing a
person.'' And so, I do not think that we should be getting
ourselves caught up in semantics.
    I also really want to make sure that I say for the record
that, were this intelligence, uncertain as it appears to be,
about another malign actor such as North Korea or Iran, we
would not be having this conversation about trying to fall over
ourselves to explain why this is either not real or actionable
intelligence or not something to worry about.
    And so, I would love to know, also, from Dr. Wallander or
Mr. Morell, if you would not mind just telling me a little bit
about what is in it for Russia to offer a bounty on lives of
soldiers and sailors? Why would they want to potentially
escalate tensions between the U.S. and Russia? Did they expect
to be caught or found out? If you could kind of try and
characterize for me, and for others, why would this happen and
why is this, in fact, an escalation?
    Dr. Wallander. Well, thank you for your question. It is a
great question, and it cuts to the heart of the discussions
about Russia and what it is doing and why it is a threat to the
United States.
    It is an escalation because it is an act of the Russian, if
true, it is an act and a policy of the Russian Ministry of
Defense and political leadership to have American soldiers
killed. Normally, the United States and Russia seek to
deconflict in theaters, like in Syria. Even during the cold
war, the Soviet Union and the United States, when they were
involved in conflicts in the same region, took great care to
not kill one another's soldiers because of the potential
escalatory implications. So, that is why it is significant.
    Why Russia would want to have American soldiers killed in
Afghanistan I still think comes back to wanting to help drive
us out, to complicate things. They do not want us there. They
do not want NATO there. I know it is more than NATO, General
Nicholson, but in the Russian frame it is NATO.
    And then, why do it this way? Because they want to exploit
the deniability, the asymmetric operations. They want to have
the benefit of the action without the costs. And they have been
doing this for going on a decade, not at this level of
seriousness, but this is part of a pattern that we have seen
for quite some time.
    Ms. Houlahan. Thank you.
    I was wondering, Mr. Morell, if you have something to add
to that as well.
    Mr. Morell. I was just going to add, to go back for just 1
second to Ms. Spanberger's and General Nicholson's conversation
about whether this is in Putin's strategic interests or not,
what I think we have seen over a long period of time is
Vladimir Putin make decisions that are not in the strategic
interests of the Russian State. Over and over again, he has
done things that has made it difficult for his country to have
any relations with the West, integrate the Russian economy in
any way with the European economies. And I think because of his
actions, Russia is destined to continue to degrade as a State.
    So, he is not thinking about the strategic interests of the
Russian State. He is thinking about a very narrow set of
interests, about power in the world, being seen as a great
power, and being seen as a great leader. It is not about, in
his mind, what is in the interest of Russia.
    Ms. Houlahan. Thanks.
    And with the last minute of my time, I would like to kind
of end with General Nicholson. Your testimony that you gave
ended with what I think is very true. You said, ``Our long war
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 94 of 400
in Afghanistan will only end at the peace table.'' So, how do
you think that these allegations, if they are true would impact
the prospect of U.S. peace with the Taliban?
     General Nicholson. Thank you, ma'am.
    Unfortunately, they have a negative impact because it
indicates the Taliban are not acting in good faith. So, the
Russians offered, but if the Taliban accepted, if this is
validated, then it would indicate that they are acting against
the spirit, certainly, and perhaps even the letter, of the
agreement that they signed with the United States a few months
ago.
    So, I think getting that process on track and having the
Taliban deliver on the conditions that they are to have
delivered at this point--and that is severing ties with Al
Qaeda, that is initiating the dialog with the Afghan government
and representatives of the Afghan people--it is a sustained
reduction in violence, and that has not happened, either.
     So, I think this construct that we have come up with, it is
not perfect, but it is the best one we have. It does give us an
avenue forward. Like many peace processes, it is kind of, you
know, one step forward, two steps back, one step sideways. But
I think we need to have the stamina to see it through.
    But there is a condition built in that, before we progress
to the next level of reductions, they need to meet certain
conditions. So, I think if we stick to our agreement and hold
the Taliban to it, it gives us our best opportunity to move
forward.
     Ms. Houlahan. Thank you, General.
    And thank you so much for my time. Apologies again for
being tardy, and I yield back.
     Mr. Malinowski. Thank you so much. Thanks to all the
members and our witnesses.
    I think this was a very, very interesting and helpful
discussion. There is obviously a lot that we do not know. There
are some things that we do know, but cannot discuss in a public
forum such as this. But I have heard enough to reinforce my
concerns about what seems to be just a breakdown in the
national security decisionmaking process. I mean, we do know
that the President was briefed, but he does not read his
briefings. We know that the Secretary of Defense and the
National Security Advisor knew about this, but they, too, did
not choose to take the initiative to ask the intelligence
community to get to the bottom of it.
    And while all this was going on, all of the messages that
we were sending, certainly from the White House to President
Putin, were positive about the relationship, whether the G7 or
pulling out of Germany or intelligence-sharing, or all of the
other things that we have heard about. That does not strike me
as the way any normal administration would react to information
like this, even if there was not 100 percent certainty. And all
of you, I think, from your different perspectives, have helped
to reinforce that conclusion.
     So, I am grateful to all of you for your decades of service
and for sharing your insights with us today, and to all of the
members for their excellent questions.
     And with that, the hearing is adjourned.
     [Whereupon, at 3:53 p.m., the committee was adjourned.]

                            APPENDIX

[GRAPHIC(S) NOT AVAILABLE IN TIFF FORMAT]

                    STATEMENT FOR THE RECORD

[GRAPHIC(S) NOT AVAILABLE IN TIFF FORMAT]
        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 95 of 400
         RESPONSES TO QUESTIONS SUMITTED FOR THE RECORD

[GRAPHIC(S) NOT AVAILABLE IN TIFF FORMAT]




        Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 96 of 400
Press Conference by Secretary Mattis in Afghanistan > U.S. Department of Defense > Transcript                              9/19/22, 3:48 PM




       Press Conference by Secretary
       Mattis in Afghanistan
       April 24, 2017

       SECRETARY OF DEFENSE JIM MATTIS: Good afternoon, everybody. Good
       to see you all. 

       And I think you're aware of who General Nicholson is, but for those of you
       who've travelled with me, if you've not seen him before, this is the NATO
       commander here of the international operation that's been going on for
       years. 

       And, as if we needed a reminder, as I stand here before you, of the type of
       enemy that we're up against, the killing of Afghan citizens, soldiers,
       protectors of the people, just as they were coming out of a mosque, you
       know, coming out of a house of worship -- it certainly characterizes this fight
       for exactly what it is. 

       These people have no religious foundation. They -- they are not devout
       anything, and -- and it shows that we -- why we stand with the people of this
       country against such heinous acts perpetrated by -- and the word gets used
       often, I think too often, but this is -- this barbaric enemy and what they do.
       Kind of makes it clear to me why it is we stand together. 

       I met today with President Ghani. I'd seen him in Europe about two months
       ago, ladies and gentlemen. And here, we had another focused discussion,
       here in Kabul, as we worked to align our efforts. 



https://www.defense.gov/News/Transcripts/Transcript/Article/1161325/press-conference-by-secretary-mattis-in-afghanistan/        Page 1 of 9

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 97 of 400
Press Conference by Secretary Mattis in Afghanistan > U.S. Department of Defense > Transcript                              9/19/22, 3:48 PM




       I thanked him for his warm welcome, and it certainly was that, with him and
       his -- his leadership, for his personal leadership in the midst of very, very
       difficult times and for the inclusive approach of this unity government, with
       Chief Executive Abdullah, who also in both our private meeting, the president
       and I, and also in the larger meeting between our delegations. 

       We discussed his initiative to make the government of national unity more
       responsive to all of the Afghan people. And we all recognized the challenges
       to this government and to that effort presented by enemies of the Afghan
       people who refused to renounce violence. 

       As you know, President Trump has directed a review of our policy in
       Afghanistan as the new administration takes hold in Washington. This
       dictates an on-going dialogue with Afghanistan's leadership, and that's why I
       came here. 

       I talked again with President Ghani, with his ministers, and heard directly and
       at length from the NATO commander, General Nicholson, in -- in order to
       provide my best assessment and advice as we go forward, advice to the
       president, to the NATO secretary general and all the troop-contributing
       nations with whom I coordinate and collaborate. 

       Our NATO general -- our NATO commander, General Nicholson is one of our
       most experienced officers in the field, also one of our most serious strategic
       thinkers. The teamwork that we enjoy here between the Afghan government,
       our diplomats and our international military contingence has reached very,
       very high levels of partnership. In a word, I found it impressive. 

       Within the new American administration, of course, our review in Washington
       is a dialogue with Secretary Tillerson and the president and his staff in the

https://www.defense.gov/News/Transcripts/Transcript/Article/1161325/press-conference-by-secretary-mattis-in-afghanistan/        Page 2 of 9

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 98 of 400
Press Conference by Secretary Mattis in Afghanistan > U.S. Department of Defense > Transcript                              9/19/22, 3:48 PM




       White House. And I'd say that we're under no illusions about the challenges
       associated with this mission. 

       2017's going to be another tough year for the valiant Afghan security forces
       and the international troops who have stood and will continue to stand
       shoulder to shoulder with Afghanistan against terrorism and against those
       who seek to undermine the legitimate United Nations-recognized
       government of this nation. 

       If the Taliban wished to join the political process and work honestly for a
       positive future for the Afghan people, who have suffered long and hard, they
       need only to renounce violence and reject terrorism. It's a pretty low
       standard to join the -- join the political process. 

       But those are my impressions, what I was doing here during these -- these
       hours that I've been here on the ground, and I can take any questions that
       you might have. 

       I've got a couple minutes for questions. 

       Helene, go ahead, please. 

       Q: Thank you, both of you, for doing this. 

       I'd like to ask both Secretary Mattis and General Nicholson whether it's your
       assessment that the Haqqani network was behind the Afghan base attack
       last week. 

       Also, do you think that the Haqqani network may have also played a role in
       the hospital attack last month, and whether you see any contact under way

https://www.defense.gov/News/Transcripts/Transcript/Article/1161325/press-conference-by-secretary-mattis-in-afghanistan/        Page 3 of 9

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 99 of 400
Press Conference by Secretary Mattis in Afghanistan > U.S. Department of Defense > Transcript                              9/19/22, 3:48 PM




       between ISIS and Haqqani here in Afghanistan 

       And then, separately, for General Nicholson, you've explained that you
       dropped the MOAB on Achin to clear a tunnel of -- a cave complex of ISIS
       fighters. Did you also consider the larger strategic message that you might
       be sending to American adversaries like North Korea and Syria when you
       made that decision 

       Thank you. 

       GENERAL JOHN NICHOLSON: Thank you, Helene. Thank you, Mr.
       Secretary. 

       Well, first -- let me take the second question first. The secretary has talked
       about the strike we conducted in Achin last week. I really have nothing to
       add with respect to that. I will say we were sending a very clear message to
       ISIS -- not only to ISIS here in Afghanistan, but also ISIS main. 

       But they -- if they come here to Afghanistan, they will be destroyed. In
       keeping with the secretary's intent, they will be annihilated. And so this
       continuing pressure we're putting on ISIS is achieving that effect, and we're
       going to keep it up. 

       To shift to the first part of your question, the Haqqanis and the Taliban both
       pose a threat this year. We have not seen cooperation between ISIS-K and
       the Haqqanis, however we're always watching for convergence between the
       various terrorist groups that we see here. 

       ISIS-K claimed responsibility for the attack on the hospital that occurred.
       The Taliban have claimed responsibility for the attack that occurred up in

https://www.defense.gov/News/Transcripts/Transcript/Article/1161325/press-conference-by-secretary-mattis-in-afghanistan/        Page 4 of 9

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 100 of 400
Press Conference by Secretary Mattis in Afghanistan > U.S. Department of Defense > Transcript                              9/19/22, 3:48 PM




       Mazar-e Sharif. Again, we don't see the connections between those two
       groups. But in terms of the way -- what they did during these attacks,
       there's very much a connection. 

       As the secretary talked about in his comments, the level of barbarity and
       cruelty, shooting patients in their beds, killing young soldiers at the mosque
       in prayer -- they're reaching new lows in terms of their behavior. And this is
       why the majority of the Afghan people -- something like 87 percent -- reject
       the Taliban and do not want to see a return of this regime. 

       And as the secretary said, we are open to -- I know our Afghan partners are
       open to having the Taliban rejoin peaceful life here in Afghanistan. Thank
       you.

       Q: And the first part of my question, on whether or not you -- you -- is your
       assessment that the Haqqani network was responsible for the base attack
       on Friday 

       GEN. NICHOLSON: We're -- we're still -- we're still developing that, and --
       and we'll let you know as we develop more details. The Taliban claimed
       credit for the attack...

       (CROSSTALK)

       GEN. NICHOLSON: ... but, as you -- as you know, Helene, the Taliban and
       Haqqani are linked. So Siraj Haqqani is the deputy of the Taliban. So we
       tend to -- to look at them as one quite often. So, in -- in the level of
       sophistication and the way this attack was conducted -- it's quite possible
       that the Haqqanis were involved. 



https://www.defense.gov/News/Transcripts/Transcript/Article/1161325/press-conference-by-secretary-mattis-in-afghanistan/        Page 5 of 9

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 101 of 400
Press Conference by Secretary Mattis in Afghanistan > U.S. Department of Defense > Transcript                              9/19/22, 3:48 PM




       Q: Just to follow on this -- ISIS. Hi, Kevin Baron from Defense One. Just to
       follow, could -- you said you're achieving intended effects on -- on ISIS
       growing here. Can you say, then, for the record, does that mean that foreign
       fighters are not coming to -- to Afghanistan Are your number -- are their
       numbers dwindling, or are they growing What's ISIS ability to sustain it In
       short, is -- is it the threat that many folks back home are -- are starting to
       think that it was becoming

       GEN. NICHOLSON: Well, ISIS is certainly a threat globally. ISIS Khorasan
       province is one of the principal affiliates of ISIS, and so they're attempting to
       establish their own form of a caliphate here by seizing and holding terrain. 

       As you're aware, we have begun -- we've been attacking that caliphate since
       last -- since early last year, reduced it by about two-thirds in size, reduced
       their fighters by at least half. 

       We've done this through a series of operations. The latest one started in
       early March -- continuous pressure on them, and we'll -- we're going to
       keep going until they're defeated in 2017.

       Now, they have an aspiration, I think, to move fighters here from Syria. We
       haven't seen it happen. And, in fact, by reducing their sanctuary here, or by
       annihilating them here or (there ), it should be very clear to ISIS main, there
       is no space for them to come to in Afghanistan. 

       Q: Thank you gentlemen for doing this. Thomas Gibbons-Neff from the
       Washington Post. 

       If you two could just address the influx of Russian weapons into Afghanistan
       and -- and showing up in Taliban hands in Helmand, Kandahar and Urozgan,

https://www.defense.gov/News/Transcripts/Transcript/Article/1161325/press-conference-by-secretary-mattis-in-afghanistan/        Page 6 of 9

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 102 of 400
Press Conference by Secretary Mattis in Afghanistan > U.S. Department of Defense > Transcript                              9/19/22, 3:48 PM




       and what both of you -- I guess, General Nicholson on the tactical and
       strategic level, and Secretary Mattis on the, I guess, diplomatic level, political
       level of what you're going to do to stop the Russians from sending these
       weapons in

       SEC. MATTIS: Well, you know, the -- the Russians seem to be choosing to
       be strategic competitors in a number of areas. The level of granularity and
       the level of success they're achieving -- I think the jury is out on that. 

       I'll let the general talk about any of the specific weapons and all, but the --
       the broader strategic framework that you're driving toward -- I would say
       that we will engage with Russia diplomatically. We'll do so where we can.
       But we're going to have to confront Russia where what they're doing is
       contrary to international law or denying the sovereignty of other countries.
       For example, any weapons being funneled here from a foreign country
       would be -- would be a violation of international law, unless they're coming
       through the government of Afghanistan for the -- for the Afghan forces. And
       so that would have to be dealt with as a violation of international law. 

       But if you have any information on the weapons, add another word 

       GEN. NICHOLSON: The -- the only thing I would add to that is that we -- we
       continue to get reports of this assistance, and, of course, we had the overt
       legitimacy lent to the Taliban by the Russians. That -- that really occurred
       starting late last year, beginning through this process they've been
       undertaking. And, of course, as the Secretary stated, we support anyone
       who wants to help us advance the reconciliation process. 

       But, arming belligerents or legitimizing belligerents who perpetuate attacks
       like we saw two days ago in Mazar-e Sharif is not the best way forward to a

https://www.defense.gov/News/Transcripts/Transcript/Article/1161325/press-conference-by-secretary-mattis-in-afghanistan/        Page 7 of 9

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 103 of 400
Press Conference by Secretary Mattis in Afghanistan > U.S. Department of Defense > Transcript                              9/19/22, 3:48 PM




       peaceful reconciliation. 

       Q: So, to be clear, you're not refuting that they're sending weapons to the
       Taliban 

       GEN. NICHOLSON: No, I'm not refuting that.

       SEC. MATTIS: Well, go ahead, please. 

       Q: General, Hans Nichols with NBC News. 

       The general sitting next to you is -- or standing next to you has said that
       we're at a stalemate in terms of the U.S. versus the Taliban. He's also
       requested thousands of more troops. Which one is it Are you comfortable
       with the stalemate, or do we need more troops

       SEC. MATTIS: Frankly, I don't see any tension between those two things,
       those two factors. Right now, we're engaged in defining the challenge, the
       way ahead, with a whole lot of nations. And it depends -- there's no one
       nation that's going to carry all this, so there's a lot of collaboration. And that
       is based on an assessment of the tactical and operational challenge and
       where we want to be in what time. 

       So, to -- I'm not going to get into how you would characterize it in one word,
       but we are going to address that situation and move forward together
       against the terrorists. And that is exactly why we're meeting now. 

       And those -- obviously, I owe some degree of confidentiality on where my
       thinking's at and what I'm going to recommend once I've compiled my notes
       from this trip and speak to some of our NATO allies about the way ahead. 

https://www.defense.gov/News/Transcripts/Transcript/Article/1161325/press-conference-by-secretary-mattis-in-afghanistan/        Page 8 of 9

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 104 of 400
Press Conference by Secretary Mattis in Afghanistan > U.S. Department of Defense > Transcript                              9/19/22, 3:48 PM




       Q: Let me ask that a slightly different way. Is NATO winning this conflict
       And, if not, is it winnable

       SEC. MATTIS: The -- the bottom line is that this fight against terrorism is
       going to go on. You saw what happened in Paris. You see the French troops
       engaged down in Africa. You find the NATO -- the NATO-led force -- a lot
       more than just NATO -- here in Afghanistan. You see what's going on
       against ISIS in Syria. This fight is going to go on. 

       We're in an era of frequent skirmishing. It's going to be far-flung, and that's
       the -- the nature of this fight. And concise, short definitions in one local area
       or another do not give sufficient credit to -- to really defining the complexity
       of the issue. 

       STAFF: Sir, that's all the time we've got. We've got to get you to your next
       thing. Thank you, guys, very much. 

       SEC. MATTIS: All right, thank you.




https://www.defense.gov/News/Transcripts/Transcript/Article/1161325/press-conference-by-secretary-mattis-in-afghanistan/        Page 9 of 9

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 105 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM




      - [H.A.S.C. No. 115-27]MILITARY
      ASSESSMENT OF THE SECURITY
      CHALLENGES IN THE GREATER
      MIDDLE EAST
      [House Hearing, 115 Congress]
      [From the U.S. Government Publishing Office]




                                                          [H.A.S.C. No. 115-27]

                                                          MILITARY ASSESSMENT OF

                                                        THE SECURITY CHALLENGES

                                                      IN THE GREATER MIDDLE EAST

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                                                    COMMITTEE ON ARMED SERVICES

                                                        HOUSE OF REPRESENTATIVES

                                                  ONE HUNDRED FIFTEENTH CONGRESS

                                                                  FIRST SESSION

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                       Page 1 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 106 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM




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                                                                  MARCH 29, 2017




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                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 107 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST         9/19/22, 3:49 PM




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                                                  One Hundred Fifteenth Congress

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https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                             Page 3 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 108 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



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                                   STATEMENTS PRESENTED BY MEMBERS OF CONGRESS

      Smith, Hon. Adam, a Representative from Washington, Ranking
        Member, Committee on Armed Services...........................
      Thornberry, Hon. William M. ``Mac,'' a Representative from Texas
        Chairman, Committee on Armed Services.........................

                                                                       WITNESSES

      Votel, GEN Joseph L., USA, Commander, U.S. Central Command......

                                                                         APPENDIX

      Prepared Statements:

               Smith, Hon. Adam............................................
               Votel, GEN Joseph L.........................................

      Documents Submitted for the Record:



https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                       Page 4 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 109 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



               [There were no Documents submitted.]

      Witness Responses to Questions Asked During the Hearing:

               [There were no Questions submitted during the hearing.]

      Questions Submitted by Members Post Hearing:

               Dr. Abraham.................................................
               Ms. Stefanik................................................

        MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER M
                                         EAST

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                                House of Representatives,
                                     Committee on Armed Services,
                               Washington, DC, Wednesday, March 29, 20
          The committee met, pursuant to call, at 10:02 a.m., in room
      2118, Rayburn House Office Building, Hon. William M. ``Mac''
      Thornberry (chairman of the committee) presiding.

           OPENING STATEMENT OF HON. WILLIAM M. ``MAC'' THORNBERRY, A
             REPRESENTATIVE FROM TEXAS, CHAIRMAN, COMMITTEE ON ARMED
                                     SERVICES

          The Chairman. The committee will come to order.
          Today, we turn our attention to the Central Command area of
      operations, where much of the Nation's military power has been
      engaged since 1991. While we are rightfully focusing attention
      on other threats, such as a resurgent Russia and a newly
      assertive China, the threat of terrorism has not gone away. In
      fact, as we discussed at our hearing a few weeks ago, it is
      difficult to see how ISIS [Islamic State of Iraq and Syria] is

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                       Page 5 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 110 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      totally eliminated from Syria, and Al Qaeda, with its various
      branches, has not disappeared either.
          And while terrorists have physically spread out to more
      locations, some of them have become quite adept at operating
      online as well, instigating terrorist incidents in the West.
          Of course, Iran poses a significant threat to regional
      stability, and none of us will forget about the essential fight
      to prevent Afghanistan from returning to be a base for
      terrorism. So there is much to occupy our witness today, and I
      appreciate his being with us to answer our questions.
          I also want to mention one additional issue, which has been
      in the news lately. There have been a number of press reports
      about civilian casualties in Mosul related to U.S. aerial
      support of the Iraqi efforts to reclaim that city from ISIS. I
      would just suggest that everyone be cautious. In a dense urban
      environment, there may well be civilian casualties, and even
      the finest military in the world can make mistakes. But we also
      know for certain that ISIS uses innocent civilians as human
      shields, and that they can arrange civilian deaths to further
      their misguided narratives. ISIS uses such narratives to try to
      advance their cause and to curtail the effectiveness of our
      military campaign against them. I think we should always give
      the benefit of the doubt to the professionals who are working
      every day to keep us safe.
          Let me turn to Mr. Smith for any comments he would like to
      make before turning to our witness.

      STATEMENT OF HON. ADAM SMITH, A REPRESENTATIVE FROM WASHINGTON,
                RANKING MEMBER, COMMITTEE ON ARMED SERVICES

          Mr. Smith. Thank you, Mr. Chairman. I have a brief opening
      statement, which I will simply submit for the record. I echo
      the chairman's comments about how important this region is to
      our national security interests, and the challenges there are
      great.

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                       Page 6 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 111 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



          The only issue I want to highlight, and hopefully have the
      general discuss a little bit, as we continue in Iraq, the
      problem, to my mind, continues to be that the Baghdad
      government is not inclusive enough of the Sunni population. I
      met with the Sunni tribal leader yesterday. You know, certainly
      Prime Minister Abadi is trying, whereas Prime Minister al-
      Maliki did not, but there has not been much improvement. There
      is still a feeling amongst the Sunni population that Baghdad is
      more--is closer to Iran than it is to their own Sunni
      population. And until we fix that problem, whatever happens in
      Mosul, whatever happens elsewhere, if you have a--you know,
      disgruntled, dissatisfied, pushed-aside Sunni population in
      Iraq, you are going to have fertile ground for ISIS or Al Qaeda
      or whatever extremist groups want to exploit it. So I am
      curious to hear what we are doing to try and reintegrate the
      Sunnis into the Baghdad government so that it is not a
      sectarian Shia government, but a government for Iraq. I think
      that will be a great challenge going forward.
          And with that, I thank the general for his service and his
      leadership and look forward to the testimony.
          I yield back.
          [The prepared statement of Mr. Smith can be found in the
      Appendix on page 37.]
          The Chairman. General, without objection, your full written
      statement will be made part of the record. And you are
      recognized for any oral comments you would like to make.

      STATEMENT OF GEN JOSEPH L. VOTEL, USA, COMMANDER, U.S. CENTRAL
                                  COMMAND

          General Votel. Thank you, Chairman Thornberry, Ranking
      Member Smith. For the members of the committee, before I do get
      into my short statement here, I do want to highlight for you,
      we have put a map at your--each of your spaces here. There is
      coverage on both sides. You will see the back side really

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                       Page 7 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 112 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      focuses a little bit on the Iraq and Syria piece there, and the
      red kind of blotches kind of highlight where we think ISIS is
      located currently.
          Chairman Thornberry, Ranking Member Smith, distinguished
      members of the committee, good morning and thank you for the
      opportunity to appear here today to discuss the current posture
      and state of readiness of the United States Central Command
      [CENTCOM]. I come before you today on behalf of the outstanding
      men and women of the command; military, civilians, and
      contractors along with our coalition partners from nearly 60
      nations. Our people are the very best in the world at what they
      do, and I could not be more proud of them and their families.
      Without question, they are the strength of our Central Command
      team.
          I have been in command at CENTCOM for about a year now. It
      has been an incredibly busy and productive period. Over the
      past 12 months, we have dealt with a number of significant
      challenges in Iraq and Syria, Afghanistan, Pakistan, Yemen,
      Egypt and the Sinai, the Bab-el-Mandeb Strait, and elsewhere
      throughout our area of responsibility.
          We are making progress in many areas, but much, much work
      remains. We are also dealing with a range of malign activities
      perpetrated by Iran and its proxies operating in the region. It
      is my view that Iran poses the greatest long-term threat to
      stability in this part of the world.
          Generally speaking, the Central Region remains a highly
      complex area, widely characterized by pervasive instability and
      conflict. The fragile security environments, which reflect a
      variety of contributing factors including heightened ethno-
      sectarian tensions, economic uncertainty, weak or corrupt
      governance, civil wars, and humanitarian crisis, are exploited
      by violent extremist organizations and terrorist groups, such
      as Al Qaeda and ISIS. These groups have clearly indicated their
      desire and intent to attack the U.S. homeland, our interests
      abroad, and the interests of our partners and allies. At the

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                       Page 8 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 113 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      same time, the Central Region is increasingly crowded with
      external nation-states, such as Russia and China, who are
      pursuing their own interests in attempting to shift alliances
      within the region.
          The point that I would emphasize to you is that while there
      may be other more strategic or consequential threats or regions
      around our world, today, the Central Region has come to
      represent the nexus for many of the security challenges our
      Nation faces.
          And most importantly, the threats in this region continue
      to pose the most direct threat to the U.S. homeland and the
      global economy. Thus, it must remain a priority and be
      resourced accordingly. We sincerely appreciate this committee's
      continued strong support and particularly as it pertains to our
      budget requests and the funding provided, not only to be
      CENTCOM, but across the Department of Defense. We could not do
      what we do on a daily basis without that support.
          Meanwhile, the team at U.S. Central Command remains
      appropriately focused on doing what is necessary to protect our
      national interests and those of our partners. Our strategic
      approach is very straightforward: Prepare, pursue, and prevail.
      And I will explain what I mean by that. We prepare the
      environment to ensure an effective posture and strong
      relationships across the region. We actively pursue
      opportunities to strengthen relationships and support our
      interests. And when we do put our forces into action, we
      prevail in our assigned missions.
          I would also point out to you that today, to the credit and
      professionalism of our Armed Forces and coalition partners, we
      are executing campaigns in the Central Region with
      significantly fewer U.S. forces on the ground than in previous
      years. As you are seeing clearly demonstrated in Iraq and
      Syria, Afghanistan, Yemen, and elsewhere throughout our area of
      responsibility, we have adopted a ``by, with, and through''
      approach that places a heavy reliance on indigenous forces.

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                       Page 9 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 114 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      While this approach does present some challenges, and can be
      more time-consuming, it is proving effective and is likely to
      pay significant dividends going forward.
          Indigenous force partners continue to build needed
      capability and capacity, and they are personally invested in
      the conduct of operations and, thus, inclined to do what is
      necessary to preserve the gains they have achieved going
      forward. We also have a vested interest in insuring increased
      stability and security in the strategically important Central
      Region. To this end, I will close by highlighting three areas
      where I do believe if we apply the appropriate amount of energy
      and effort, we can and will have a lasting positive impact in
      this part of the world.
          First, we must restore trust with our partners in the
      region, while at the same time maintaining the strong trust of
      our leadership back here in Washington. The fact is, we cannot
      surge trust in times of crisis, and we must do what is
      necessary now to assure our partners of our commitment and our
      staying power.
          Second, we must link our military objectives and campaigns
      as closely as possible to policy objectives, and to our other
      instruments of national power. In other words, we must align
      our military objectives and soft power capabilities with
      desired national and regional strategic end states, recognizing
      that if we don't do this, we risk creating space for our
      adversaries to achieve their strategic aims.
          Finally, we must make sure that we are postured for purpose
      in this region. We must have credible, ready, and present force
      coupled with foreign military sales and foreign military
      financing programs that serve to build and shape partner
      nations capability in a timely and effective fashion.
          Ours is a challenging and very important mission. Much is
      at stake today in the Central Region. We recognize this fact,
      and I assure you that the CENTCOM team stands ready and willing
      to do whatever is necessary to protect our national interests

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 10 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 115 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      and the interests of our allies and partners.
          Let me close by thanking this committee once again for the
      strong support that you continue to provide to the world-class
      team at United States Central Command, and particularly to our
      forces located forward in the region.
          As I said at the outset, the 80,000-plus soldiers, sailors,
      airmen, marines, Coast Guardsmen, and civilians that make up
      the command are truly the very best in the world at what they
      do, and I could not be more proud of them and their families.
      And I know that you are proud of them as well.
          Thank you, once again, and I look forward to answering your
      questions this morning.
          [The prepared statement of General Votel can be found in
      the Appendix on page 39.]
          The Chairman. Thank you, General. And you are right, we
      share your pride in them and in what they do.
          As we chatted just briefly before the hearing, you
      expressed interest in addressing some of the press stories
      regarding civilian casualties, especially in Mosul. Let me
      invite you to do that at this point.
          General Votel. Well, thank you, Mr. Chairman. And I
      appreciate the opportunity to talk a little bit about this
      right up front.
          First off, I want to emphasize to everybody here, all the
      members, that these are absolutely tragic and heartbreaking
      situations, and our hearts go out to the people of Mosul, and
      of Iraq, and other places where we are operating.
          We acknowledge our responsibility to operate at a higher
      standard. It is my responsibility, as a combatant commander, to
      ensure that our forces operate in accordance with those goals
      and standards. We take every allegation seriously, and we are
      executing a--what we have and are executing a well-developed
      process to assess and, if necessary, investigate each of these
      allegations.
          How we do things is as important as the things we actually

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 11 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 116 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      do, and we are doing everything humanly possible to prevent
      these types of events and incidents from occurring as a result
      of our operations.
          I do agree with Lieutenant General Townsend's comments
      yesterday--he is our commander on the ground in Iraq--when he
      said that there is a fair chance that our operations may have
      contributed to civilian casualties, but I would highlight to
      each of you that this investigation continues, and there is
      still much to learn from this.
          We have a general officer assigned as the investigating
      officer to help us address and understand and discover the
      facts of this case.
          We were able to visit the actual site yesterday, and
      gathered both additional evidence and perspective on this
      situation. In addition, we are reviewing over 700 weapons
      systems videos over a 10-day period to ensure--over a 10-day
      period that followed this alleged incident, to ensure that we
      understand the effects of the munitions we dropped in this
      vicinity. This should be an indicator to you of how intensive a
      combat situation this is.
          The investigation will look at command and control; will
      look at the munitions we employed and the fusing for those
      munitions; it will look at intelligence; importantly, it will
      look at the behavior of the enemy; and it will look at how our
      actions may have played a role in any civilian casualties.
          The investigation will confirm or deny our initial
      impressions and highlight the lessons learned. And while we
      consider and establish accountability over our actions in this
      incident, I think it is also important to clearly recognize
      that the enemy does use human shields, has little regard for
      human life, and does attempt to use civilian casualty
      allegations as a tool to hinder our operations. And so they
      bear responsibility for this as well.
          The nature of this fight has evolved over the course of the
      operation, and on this 2\1/2\-year campaign. And our approach

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 12 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 117 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      has evolved as well. One example of how we have evolved has
      been our effort to enable and entrust our leaders at the
      tactical edge with the authorities they need to help our
      partners win.
          We have not relaxed the rules of engagement. I have
      authorized Lieutenant General Townsend to delegate the
      employment of rules of engagement to the appropriate level due
      to the tough urban fight that we knew was coming in Mosul. To
      be clear, there were no changes to the types of targets and the
      rules of engagement that allows us to engage. We are aware of
      all of the reporting, especially by organizations like Amnesty
      International, Airwars, the Center for Civilians in Conflict,
      and the Syrian Observatory for Human Rights, and we have
      developed relationships with a number of these organizations,
      and we look forward to working with them as we complete this
      investigation.
          Thank you, Mr. Chairman.
          The Chairman. Let me just ask about a couple of the things
      you just said, because as you recognized, there is widespread
      reporting that the rules of engagement have changed, and the
      implication is now we are carelessly dropping bombs and killing
      civilians. But as I thought I heard you pretty clearly, the
      rules of engagement have not changed. Is that correct?
          General Votel. That is correct, Mr. Chairman.
          The Chairman. And you have a long experience in Iraq and
      dealing with this enemy. How would you describe their ability
      to create and further narratives that they see is in their
      interest?
          One example that stuck in my mind, I remember in Iraq that
      after a raid or something, the enemy came and deposited dead
      bodies, and then brought cameras in to make it look like they
      had been killed as a part of the raid, when, in fact, they
      hadn't. They were brought in after the fact. So just describe
      the sophistication of their efforts.
          General Votel. Thank you, Mr. Chairman. And I would--I

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 13 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 118 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      would agree with you, that the enemy that we have faced in
      Afghanistan, in Iraq, Syria, and other places here is
      particularly savvy in how they use information operations.
      ISIS, in particular, is well-skilled in this. They have
      professionals, if you will, who have expertise in this
      particular area, and so they know how to manipulate the
      information environment and create situations that they know
      will cause concern for us in Western countries.
          And as I mentioned in my comments to you, I do believe they
      do attempt to use our concern to operate at higher standards
      and to prevent civilian casualties as a way to distract our
      campaign. So I think it is important that we recognize that.
      That has not changed how we approach things. It doesn't change
      our values. It doesn't change our adherence to the law of armed
      conflict and the fact that we do operate at a higher standard.
      But I think it is an important thing to recognize about our
      enemy.
          The Chairman. Well, I will just conclude by saying, we want
      to be informed of the results of the investigation. We share
      your commitment to make sure we do things the right way. And
      so--but the investigation needs to occur, and then you see what
      it finds.
          So I will trust you and your folks to keep us fully
      informed once you are able to reach conclusions on that.
          Let me yield to the ranking member.
          Mr. Smith. Thank you, Mr. Chairman.
          If you could answer the question I raised in my opening
      statement about, you know, where the Sunni population in Iraq
      is at right now, because it sounds like it is still a very deep
      divide. And while I, you know, concur with the chairman's
      comments about the civilian casualties in Mosul, I know that
      the Sunni population is concerned about the fight that is going
      on there and the loss of life that is happening from both
      sides.
          They are also concerned about the presence of Shia

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 14 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 119 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      militias, Iranian-backed militias, and basically, the general
      feeling that this continues to be a Shia-run country that is
      not making room for the Sunnis, and that, you know, undermines
      our entire effort, I think, to defeat these groups. Is that an
      inaccurate portrait? Is it better than that? And what are we
      doing to try to fix what problems remain?
          General Votel. Congressman, the way that I would
      characterize it is, I think in the near term here, as Iraq and
      assisted by the coalition confronts the ISIS enemy that they
      are dealing with, there has been some level of local
      accommodation, some cooperation, some collaboration between
      different groups, really focused on doing this. I would cite to
      you our continued efforts to raise tribal forces to bring hold
      forces into these areas, particularly Sunni areas as--after
      they had been cleared, we have seen some success with that.
          But I would agree with you that long term, there is still
      much work to be done. I know in my interactions with the prime
      minister, we frequently talk about this. I know he is very
      concerned about it, and--but also, I think recognizes the
      balance that will have to be achieved here in the region with a
      variety of different interests that are ongoing. And so, I
      think he clearly recognizes that.
          But I would agree with you, more will need to be done to
      ensure that the Sunni population feels engaged, empowered, and
      a part of--part of the Government of Iraq and of the Iraqi
      people.
          Mr. Smith. Quick question on that. The issue of arming the
      Kurds or other Sunni tribesmen, there was, you know,
      frustration expressed, they weren't able to get those arms
      directly, and it is our position, our country's position, that
      all of that has to go through Baghdad, basically. Then I--I
      understand that to a certain degree.
          Is that accurate? And how is that impacting the ability to
      arm the Kurds and the Sunni tribesmen that we want to fight
      with us?

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 15 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 120 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



          General Votel. I believe we have made some--we have made
      good progress on that over the last year. There certainly were
      some issues with that in the past in terms of how that was
      done, but particularly as we got focused on the operation for
      Mosul, I think we saw a high level of collaboration and
      coordination between the Kurdistan Regional Government and the
      Government of Iraq, particularly as they prepared their plans
      and prepared their forces for that operation.
          And I would highlight to you that I think one of the--one
      of the key successes here, and I think this has influenced the
      Government of Iraq, is the--is a high level of coordination
      that took place at the military level and security levels as
      that operation gets underway, and that continues to this day.
      And I do believe that is a basis for moving forward. That said,
      it is something that we continue to keep our--keep our eye on.
          Mr. Smith. And then looking up to Syria, as we--you know,
      people prepare for the attack on Raqqa, there is the great
      question of, you know, you have got the Turks involved there,
      you have got the Kurds involved there, but they don't get
      along. When we are trying to figure out what our coalition is
      in Syria, particularly going after Raqqa, how are we currently
      deciding the issue between the Turks and the Kurds?
          General Votel. Well, there is engagement at the high
      political level that is taking place. And as you are well
      aware, the chairman has been a champion for us in working at
      the chief of defense level and back and forth. We have, from a
      CENTCOM standpoint, working in conjunction with European
      Command, we have increased our interaction in Ankara to ensure
      there is good visibility on the things that we are doing.
          And we certainly recognize Turkey's interests and concerns
      with us. They are a great partner here. We couldn't do many of
      the things we are doing without them.
          That said, the most effective force that we have right now
      in Syria is the Syrian Democratic Forces that consists of both
      Kurds and Arabs, Turkmen, and, in some cases, some Christian

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 16 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 121 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      organizations.
          Mr. Smith. Thank you, Mr. Chairman. I yield back.
          The Chairman. Mr. Wittman.
          Mr. Wittman. Thank you, Mr. Chairman.
          General Votel, thanks so much for joining us today. I want
      to get your perspective on what might happen in the future. We
      see today success happening in Mosul, with pushing out and
      defeating ISIS forces, both with our forces and with Iraqi
      forces. The question then becomes, I believe, in the future is
      what happens after that? And while ISIS is a concern, I believe
      that Iranian-backed Shia militant groups are an even greater
      concern. We don't hear a lot about that today, but I do believe
      that they are a significant issue. The IRGC [Islamic
      Revolutionary Guard Corps] commander, Qasem Soleimani,
      commander of the Shia militant groups in that region, I
      believe, with Iranian backing, has visions about what would be
      happening in the future as ISIS has moved out.
          Today, as we speak, Iran and the U.S. have common interests
      in defeating ISIS. The question, then, becomes once ISIS is
      defeated, Iran has in mind to recreate the Shia Crescent
      through that region. So by pushing out ISIS, and with the
      question about how governance takes place after that with the
      existing government in Iraq, what do you see as the future with
      us ultimately defeating ISIS, and what happens with these
      Iranian-backed Shia militant groups, and what happens there,
      too, with the Iraqi Government in trying to reestablish some
      kind of governance and control in those regions sans ISIS?
          General Votel. Thank you. Thank you, Congressman. I share
      in your concern about Iran and their long-term intentions here.
      Certainly, with 100,000-plus Shia militia members on the ground
      there, this is an extraordinarily--it is an extraordinarily
      concern, big concern as we move forward.
          I--we are engaged, and I know the embassy is well engaged
      with the Government of Iraq as they look to implement a
      paramilitary force law in their country. The prime minister, I

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 17 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 122 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      know, has appointed a committee that is working through this
      aspect of it. We certainly have provided advice into that. We
      have given examples of how we employ national guards and other
      things here and how we would look at that.
          Our concern, I think, with that particular aspect is that
      the PMF [Popular Mobilization Forces], the paramilitary forces
      that remain behind, don't become duplicative to the
      counterterrorism service or to the Iraqi army and those types
      of things, and that there is a valid role for them, and that
      they do answer to the government, and that they remain, like
      the other security services, an apolitical entity, and, so, our
      very strong focus is in that particular--particularly with
      respect to the Shia PMF.
          Mr. Wittman. Staying on the theme of Iran, looking there in
      the Arabian Gulf, and more specifically, recently in the
      Straits of Hormuz, where we had four Iranian mass-attack
      vessels swarm the USS Mahan, there is a concern about that
      continued effort, and what they are trying to achieve with
      that, and what our actions are, or reactions to that might be.
          Give me your perspective, first of all, about the frequency
      of those attacks. What is Iran trying to achieve with that?
      Those probing maneuvers as I see them, I think, are very
      indicative of what Iran, I believe, is likely to try to achieve
      in that area, and that is to harass our ships just enough to
      stand us off.
          Give me your perspective on what you think the Iranians are
      trying to achieve there and what our reaction to that is, or
      what we are doing to try to prevent that.
          General Votel. Yes. Direct to your question, I think Iran's
      objective here is to be the regional hegemon. They want to be
      the predominant power in the region. There is no doubt about
      that, and I think that is what they are pursuing.
          One of the very first things I did after becoming the
      commander at CENTCOM was to get on a ship and go through the
      Straits of Hormuz. As an Army guy, I wanted to understand what

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 18 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 123 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      this was. And, frankly, the Iranians did not disappoint. Within
      30 minutes of being on there, we had boats surround us in the
      area. I had a chance to observe our ship captain and crew and
      how they respond to that, and since I have had a chance to see
      that on a number of different occasions and I get normal
      reports on it.
           I will tell you, Congressman, I am extraordinarily
      confident in our leaders and in the processes, procedures, and
      capabilities they have to properly defend themselves.
          The presence of these types of boats out there very seldom,
      if ever, prevent us from accomplishing our missions. I think
      what they are out there to do is to demonstrate their presence,
      to, in some cases, potentially be provocative. I think as we--
      you know, if you look over a course of a year, I think you see
      probably 300-plus incidents of this kind of nature. About 10 to
      15 percent of those we would classify as being abnormal,
      meaning outside of their normal pattern of life;
      unprofessional, meaning they are not following proper maritime
      procedures; or unsafe, meaning that they put themselves or they
      potentially put our vessel and our crews at risk.
          And so, we are paying extraordinarily close attention to
      this, but I feel very confident in our ability to protect
      ourselves and continue to pursue our missions.
          Mr. Wittman. Very good. Mr. Chairman, I yield back. Thank
      you.
           The Chairman. Mrs. Davis.
           Mrs. Davis. Thank you, Mr. Chairman.
          General, thank you for your service. I want to turn to
      Afghanistan. What kinds of support are the Russians sending to
      the Taliban, and how direct is their involvement? What does
      that mean about our ongoing conflict there?
          General Votel. Congresswoman, I think there is a lot that
      we don't know about what Russia is doing. I think it is fair to
      assume they may be providing some kind of support to them in
      terms of weapons or other things that may be there. Again, I

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 19 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 124 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      think that is the possibility.
          I believe what Russia is attempting to do is they are
      attempting to be an influential party in this part of the
      world. Obviously, they do have some concerns, because it is
      in--it is close to former Soviet states that they consider to
      be within their sphere, so there is some concern about that.
      But, in general, I don't consider their outreach and linkage to
      the Taliban to be helpful to what we have been--what the
      coalition has been trying to accomplish for some time now in
      Afghanistan.
          Mrs. Davis. Could you share with us in your--the state of
      that accomplishment that you could talk about in this setting?
          General Votel. In Afghanistan? Well, I think--I think we
      have pretty well established, we are at a stalemate right now.
      Right now, I would say that it is in--generally, in favor of
      the Government of Afghanistan, but stalemates have a tendency
      to decline over time. So I think we do have to--we have to
      continue to support this.
          We have two missions in Afghanistan. One is our
      counterterrorism mission, fully resourced. That is going pretty
      well. I feel very confident in that. The other one is the NATO
      [North Atlantic Treaty Organization] mission, the train,
      advise, and assist. That is one where I think we ought to
      consider looking at our objectives here and how we--how we
      continue to support that mission going forward and ensure that
      the Government of Afghanistan has the time and the capabilities
      to accomplish what they need to.
          Mrs. Davis. Yeah. Clearly, I think the governance piece is
      important. We have, obviously, been working on that as well for
      some time. But there is a great deal of concern that it hasn't
      been as robust as is needed in that setting, and I am not sure
      that I would believe that that is going to increase. I think,
      if anything, it is probably going to decrease.
          Can you comment on that and the importance of that mission?
          General Votel. Well, I think that--that, certainly, is a

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 20 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 125 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      topic under discussion now with the Secretary of Defense and
      General Nicholson and myself and the chairman right now. So we
      are in the process of going through a review of our posture in
      Afghanistan and how we ought to--how we ought to look at that
      going forward. I think it is still kind of predecisional at
      this point, so I am not sure I want to get out in front of the
      Secretary in announcing anything in particular. But it is a key
      topic here and one that Secretary Mattis has been very engaged
      with us on.
          Mrs. Davis. Thank you. One of the concerns as well is that
      the administration now has not been filling all the positions
      for that region, both--military, perhaps, is more covered than
      in other departments. But I wonder if you feel that these gaps
      are becoming problematic, and what should we be doing about it?
          General Votel. Well, Congresswoman, I have the benefit of
      having a Cabinet Secretary who previously held my job, and so
      he understands the region that I--that I am operating in right
      now. And I--and we have a very open and communicative
      relationship here, and so I feel I am getting everything that I
      need from the Department at this particular juncture.
          So I can't tell you that I have--I have been disadvantaged
      while the transition completes and gets in place.
          Mrs. Davis. Thank you. And just following up on my
      colleague's question earlier about how we are planning for what
      comes next in Iraq. What is it going to look like? And what is
      the extent of that planning? You know, how would you see that
      right now?
          General Votel. Well, I think, as I mentioned in my opening
      statement, I think this has to be--it has to involve more than
      just the military. And in my advice to the Secretary and the
      chairman as we began to look at how we move forward in these
      areas, my principal piece of advice was we have to look at the
      political preparation of these particular--of these areas and
      make sure that we are addressing some of these long-term
      issues, like we talked about a few moments ago, how we

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 21 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 126 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      accommodate the different parts of the population; how we have
      a plan for governance.
          There is a lot that the military can do, but it is
      extraordinarily important that our diplomats, our Department of
      State, our other development agencies, others are involved in
      this particular process as well, and that we have a very----
          Mrs. Davis. My question----
          General Votel [continuing]. Smooth process.
          Mrs. Davis [continuing]. Is are they?
          General Votel. I believe they are. I feel very confident we
      are working with our partners on this.
          Mrs. Davis. Thank you.
          The Chairman. Mr. Coffman.
          Mr. Coffman. Thank you, Mr. Chairman. And, General, thank
      you so much for your long service to this country.
          I think it was raised earlier about the concerns about the
      Sunni Arab population. I mean, the fact is that after we left
      the country in 2011, that the Shia-dominated government
      reverted to their worst sectarian tendencies, and I believe
      pushed out the Sunni Arabs from the government and created an
      opening for ISIS to spill across the border from Syria and to
      capture those areas with little to no resistance, because it
      was simply no loyalty to the government of Baghdad.
          In the Iraqi constitution, there is a provision that was
      insisted by the Kurds--insisted by the Kurds that allows
      provinces to band together and to create semi-autonomous
      regions. Should, in fact, the Sunni Arabs look at that, and
      should we encourage that? It just seems like without a path
      where they have some say in--they are only 20 percent of the
      population--in their future--essentially, right now, all the
      revenue, basically, is from oil, most of the revenue, and so--
      and that is distributed by the central government out of
      Baghdad. So it is a tough position that they are in. And so do
      you have a view on that particular issue?
          General Votel. Look, Congressman, as you know, our policy

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 22 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 127 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      is one--one Iraq right now. And so that is--as we apply our
      military operations, that is the context in which we--which we
      do that.
          I would agree with you, though, that there has to be a very
      serious look at this, and there has--we have to ensure that the
      different parts of Iraq are represented in their government, in
      other things that are in their military and other security
      apparatuses, and other aspects and they have an opportunity to
      take advantage of the economic opportunity that is available in
      Iraq. So I certainly think there has to be much--a broader
      discussion about how we do that.
          Mr. Coffman. Yeah. I would hope that would be something
      that our government would look at from your standpoint, from a
      diplomatic standpoint, in terms of encouraging the government.
      Because the fact is, it is still the vertically integrated
      government that we had left--that was in place, you know, prior
      to the fall of Saddam Hussein, where, really, all decisions are
      centralized out of Baghdad. I mean, there is no system of
      taxation at the provincial level. And so, I just think that a
      decentralization of authority that the Kurds now enjoy would be
      great for the Sunni Arabs, and I would just like that to be
      something that we look at.
          And I would express my same concerns, having served there
      in 2005, 2006 for the Marine Corps, that the ranking member
      expressed in that this is a tough situation for the Sunni Arabs
      in that region, and the friction between the Shia militias that
      are Iranian-backed and that local population is not to be
      discounted. And, again, it is alienation from ever feeling that
      they are a part of the Iraqi Government.
          Thank you, Mr. Chairman. I yield back.
          The Chairman. Mr. Larsen.
          Mr. Larsen. Thank you, Mr. Chairman.
          Thank you, General, for coming today. Initially, in your
      answer to your first question about the Mosul incident, you
      said that you are going to assess, and if necessary,

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 23 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 128 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      investigate. Can you help me understand that distinction from
      your perspective, what that means for us?
          General Votel. Absolutely. So, you know, this is,
      unfortunately, not the first time we have had allegations of
      civilian casualties in CENTCOM. And so what we do have is a
      process in place for how we--how we have standardized process
      for how we look at this. When we get--it starts off with the
      receipt of an allegation. We get allegations from all over the
      place. We get it from the news. We get it from social media. We
      might get it from people on the street. We might get it--we
      may--much of it is self-reported if we see something, so we get
      an allegation.
          What we do then is we do what we call a credibility
      assessment. And the intention there is to do an initial review
      of the facts and circumstances to merit, make a determination
      about whether we need to move to a more fulsome investigation.
          And so what we have--in this particular--and then if we
      make that determination, then we move to an investigation. And
      so for the incident that I was talking about here in Mosul, we
      have taken that step. We have decided, hey, there is--as you
      heard General Townsend acknowledge yesterday, there might be
      something here. We might--there is a fair chance that we may
      have contributed to this, and so now we have moved to the
      investigation phase.
          So it will be a more formalized approach to really look
      into the details of this as much as we can to establish what
      happened, establish what the facts are, identify
      accountability, and then certainly identify the lessons learned
      out of that.
          Mr. Larsen. And you mentioned on the criteria that you are
      looking at, there is command and control, there was a few
      others. What were those?
          General Votel. Thank you. So, you know, we will look at
      command and control. We will look at the intelligence that we
      had. This was a very dynamic situation. This wasn't a

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 24 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 129 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      deliberate target or anything else. This was an evolving combat
      situation. So we will take a look at the intelligence that was
      provided to us by the Iraqis that we had. We will look at the
      enemy's reactions here, and we will try and understand exactly
      their role in this. We will look at the munitions that we
      employed here, and we will look at the fusing options. You
      know, you--we do have the technology, largely supported by
      Congress here, to have munitions that can be very specific.
          I think as you heard General Townsend say yesterday, the
      munition that was employed here should not have created the
      effects that we--that have been observed. So that causes us to
      look at that to see if there are other things that may have
      contributed to that as well.
          So what we do is try to be more--very complete in the
      investigation. It takes a little bit of time, but we usually
      have a pretty good answer at the end of it.
          Mr. Larsen. All right. Thanks.
          I am going to switch gears here to Yemen. And could you
      just briefly describe the U.S. security objectives in Yemen for
      us?
          General Votel. Well, thanks. I think there are two
      principal interests that we are concerned about in Yemen right
      now. One is that Yemen is not used as a platform or a sanctuary
      for attacks on the homeland. And that gets to our focus on Al
      Qaeda in the Arabian Peninsula, Al Qaeda in Yemen.
          This is the franchise of Al Qaeda that has demonstrated in
      the past the ability to try to attack our homeland, and some of
      those people are still--exist there. So that is a key aspect of
      our interests here. And so our operations are focused on
      disrupting Al Qaeda there.
          The other key interest that we have in this particular area
      is freedom of navigation. On the western coast of Yemen,
      between it and the Horn of Africa, is the Bab-el-Mandeb. It is
      an extraordinarily restrictive strait. It is a chokepoint. It
      is a major transit area for commerce, not only ours, but for

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 25 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 130 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      international ships. About 60 to 70 ships go through there a
      day.
          What we have seen is we have seen, I believe, at the--with
      the support of Iran, we have seen the migration of capabilities
      that we previously observed in the Straits of Hormuz, a layered
      defense, consists of coastal defense missiles, radar systems,
      mines, explosive boats that have been migrated from the Straits
      of Hormuz to this particular area right here threatening
      commerce and ships and our security operations in that
      particular area.
           Mr. Larsen. Just can you--do you assess that we will be
      able to stay with those objectives, and we won't be dragged
      into other--other people's goals?
          General Votel. Well, of course, as you know, there is a
      civil war ongoing right there, that is playing out between a
      Saudi-led coalition and an Iranian-supported element. And so,
      there--you know, we provide some indirect support to that.
      Obviously, this is something we are paying very, very close
      attention to. While that rages, it does have--it does have some
      impact on our other--on our principal interests in this area,
      so I think we do have to pay some attention to that.
           Mr. Larsen. Thank you.
           The Chairman. Mr. Cook.
           Mr. Cook. Thank you, Mr. Chairman.
          It is going to--next month or so, it is going to be very
      intense here in Washington. Obviously, there has been a lot of
      talk about health care. But there is also something looming, at
      least in my mind, that is going to have direct implication on
      you, and that is the continuing resolution. That is the budget
      that we have got to pass to support you.
          And I am going to be very candid. You don't have to answer
      totally. I think you can kind of see this one coming, but a
      number of us are very, very worried about the readiness
      indicators, about--we had folks in talking about maintenance.
      You have got a large area, a large military, and everything

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 26 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 131 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      else. And if we don't do this correctly, to the best--can you
      give us an evaluation, the impact in terms of readiness, tempo
      of ops, and the ability to conduct your mission?
          General Votel. Thank you, Congressman. And so, first off,
      you know, I--the support that I get from the services is
      extraordinary. They give me everything that I ask for, and I
      have been well taken care of by that. But I share your concern
      on the impacts of a continuing resolution on the services and
      on SOCOM [Special Operations Command] that really provide the
      capabilities that a combatant commander like I need to have.
      And so, I am concerned when we are not able to pursue long-term
      programs and fund them and approach them over time, I am
      concerned with the impacts that continuing resolutions and
      other instruments here have had on readiness.
          For example, I just--I look at the MEU/ARGs [Marine
      expeditionary units/amphibious ready groups] that the Marine
      Corps provides into my area as well as into the AFRICOM [Africa
      Command] and EUCOM [European Command] area. They don't come
      with all of the same number of helicopters that we have had in
      the past. I believe that is a readiness issue, and it impacts
      my ability to have flexibility and agility and react to things
      in the area. So I am very concerned about this.
          And while, you know, I--the money won't necessarily come to
      me, it goes to the people that provide me the capabilities that
      I need to pursue our objectives, and so I am very concerned
      about this.
          Mr. Cook. I want to switch gears a little bit. I am also on
      Foreign Affairs. And, you know, we have the issue that
      continually pops up about the foreign military sales, and last
      year, looked at the replacement for the Saudis, the number of
      M-1 battle tanks that they had lost. And sometimes--you have
      alluded to it, there was a question about Yemen and everything
      else and the toll that that has taken there.
          Do you influence at all with the State Department foreign
      military sales, particularly for some of our allies that would

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 27 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 132 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      obviously contribute to your ability to conduct your mission?
          General Votel. Congressman, we absolutely do. We do that
      through our security cooperation offices that are located in
      many of these countries, almost all of the countries that we
      have here. And I would share your--share your concern about
      this. FMF [foreign military financing] and FMS [foreign
      military sales] are extraordinarily important programs for us.
          From my perspective as combatant commander, what I want to
      try to do is build capability for our partners to do the
      things--to provide their own security and then to be integrated
      with us. And I am concerned when we choose not to sell our
      systems, provide them to them. They will go somewhere else to
      get them, and they will get lesser systems. They won't get the
      sustainment, they won't get the training, and we won't be
      integrated. And it doesn't help us. So I think we have to
      recognize that this is an important part of our security
      cooperation aspect, and we can't completely define our FMF, our
      FMS systems as something to try to change people's behavior.
          That is certainly an aspect of it, but it has got to be
      focused on building capability, in my mind.
          Mr. Cook. Thank you, again, for your service and for your
      candidness. I yield back.
          The Chairman. Mr. Courtney.
          Mr. Courtney. Thank you, Mr. Chairman.
          And thank you, General, for your testimony this morning. I
      just wonder if you could help clarify what is going on right
      now in terms of increased deployments in Syria. Again, this
      month, again, from a whole variety of news outlets, it was
      reported about 4- or 500 marines were deployed, new marines,
      new contingent of marines this month. You know, why was that
      decision made, and what is their mission?
          General Votel. Thank you. So, Congressman, what we are
      constantly doing is this is an evolving campaign, and we are--
      you know, the enemy changes, we change, and the situation
      changes a lot on the ground. What we are constantly trying to

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 28 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 133 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      do is assess what our requirements are and how we best support
      our partners through our, kind of ``by, with, and through''
      approach, and make sure we have the capabilities to fully
      enable them and to help them win. So there is a constant
      process of assessing what we need.
          I demand that our leaders forward--General Townsend, in
      this particular case, provides rationale for the additional
      capabilities that he needs, and that we have very, very clear
      roles and missions for the things that we are bringing forward.
          And so what we--we do have a very deliberate process. What
      you have seen here most recently are not things that just came
      up relatively quickly. These have been things that we have
      anticipated for some time, the--you cited, for example, the
      marines, and some of the artillery organizations. We have
      recognized that as we continue to pursue our military
      objectives in Syria, we are going to need more direct, all-
      weather fire support capability for our Syrian Democratic Force
      partners. And so this--that is what you are seeing. So they
      have deployed. They are helping us with that particular aspect.
      They are also helping us with some of our logistics capability
      in Syria.
          Syria is a fairly immature area for us in terms of that, so
      we don't have a big infrastructure like we have in Iraq or some
      other places here, so we do need some help in those particular
      areas.
          So I--what I can assure you is that there is a rationale,
      and there are specific roles and missions for all of these
      capabilities that we are bringing.
          Mr. Courtney. So--well, thank you for that answer. Again, I
      don't actually want to second guess your sort of military
      judgment, but what I would--it sounds like, you know, they are
      starting to get much, sort of deeper involved in the fight in
      Raqqa. And I guess--you know, we voted a couple of years ago in
      this committee in defense authorization bills have been
      extending title 10 authorization, which, in my opinion, as

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 29 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 134 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      someone who supported that, it was not about troops--you know,
      boots on the ground, direct military involvement, but this
      sounds like we are sort of creeping in that direction.
          General Votel. Congressman, I think what I would tell you
      is that we have not taken our eye off of what our principal
      mission is, which is advise and assist and enable--enable our
      partners. And, so, I think that is what you continue to see
      with all of these deployments right here.
          We are not--we have--one of our key principles here with
      our folks forward is to help our partners fight but not fight
      for them. And so, as we continue to bring these additional
      capabilities in, these are things that we emphasize. So they do
      fit into our continuing mission of advise, assist, and enable
      our partners.
          Mr. Courtney. Thank you.
          Again, I mean, there is a larger question here about the
      fact that I think the authorization of use of force is long
      overdue for a revisit, but that is our problem, not on your
      side.
          During the time you have been at Central Command, the
      carrier gap phenomenon has been occurring, again, from, I
      think, 2007 to 2015, we had continuous presence of carriers and
      air strikes against ISIS. I mean, how are you coping with that?
          General Votel. Thank you for bringing it up. I think this
      is another example of some potentially readiness concerns here.
          So the way that we do that is, what we have done is we have
      worked with--through our air and maritime commanders in
      theater. So we have, on occasion, brought in additional air
      force organizations to help fill in the gap in those particular
      cases. We just completed that with a squadron from the United
      States that came in and did an exceptional job for us for about
      90 days. And we also look to our allies, our partners, to do
      this. The U.K. [United Kingdom], the French, have surged some
      of their ships down in this particular area to help make up for
      this gap as well.

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 30 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 135 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



          So this is a constant management process for us. We expect
      to do this now. It has been vital to our operating here. We are
      always looking for ways we can kind of balance out what our
      requirements are with the whole joint force, whole joint and
      combined force that is available to us.
          Mr. Courtney. Thank you.
          The Chairman. Dr. Wenstrup.
          Dr. Wenstrup. Thank you, Mr. Chairman.
          Thank you, General, for being with us today. We appreciate
      it very much.
          You know, we perceive that we are in the process of
      increasing our--and/or our allies' capacity and capabilities in
      the fight against ISIS right now.
          I am curious, what is the conduit for this committee to get
      some knowledge on number of personnel needed? And I don't need
      exact number, and I don't like when we have caps, because we
      end up using contractors instead of our troops, sometimes cost
      more. But just trying to get some understanding of what you
      need as far as personnel and what we need to execute the
      mission so that we can somewhat justify the expenditures that
      may be involved with that.
          General Votel. Well, Congressman, I think we have a closed
      session right after this, and I would be happy to talk with you
      in great detail about the advice that I provide and what we
      think we--what we need and what we have talked about with our
      leadership.
          Dr. Wenstrup. I appreciate that.
          Another question is General Scaparrotti the other day
      mentioned something about Russia's influence in Afghanistan
      increasing. What is your understanding of their influence, and
      how does it change your efforts?
          General Votel. I--it hasn't significantly altered our
      approach here at this particular point, but I think what they
      are attempting to do is they are attempting to be an
      influential third party here in Afghanistan. I think they are

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 31 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 136 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      reaching out to the Taliban, and they have made the decision
      under their own determination that the Government of
      Afghanistan and the coalition that supports them is unable to
      solve the concern about ISIS, and I think they are much more
      concerned about ISIS and the potential that has to move into
      the Central Asian states, and potentially have an impact on
      them. And so, they have created a narrative that we really have
      to partner more with the Taliban to address this particular
      threat.
          And they are trying to leverage that into a bigger role in
      terms of, I think, trying to pursue peace agreements and other
      things with the Taliban.
          Frankly, I don't consider it to be particularly helpful at
      this particular point to what we have been doing and the
      process that we have been using.
          Dr. Wenstrup. So does that change your behavior in any way
      with their presence?
          General Votel. I don't think it has changed our behavior.
      We have been working with our Afghan partners. We have been
      extraordinarily focused on the Islamic State as it has emerged
      in Afghanistan. It has, I believe, had a significant amount of
      success against them. We have reduced them from about 15
      districts that they are operating in to about 2. We are
      targeting a lot of their leaders right now. We have persistent
      pressure on them all the time. So it has not--it has not
      impacted our approach.
          Dr. Wenstrup. Okay. Thank you, General. I appreciate it. I
      yield back.
          The Chairman. Ms. Tsongas.
          Ms. Tsongas. Thank you, Mr. Chairman. And it is good to
      have you with us today, General.
          I appreciate very much you taking the time here. I want to
      thank you for your service to our Nation, as well as the
      remarkable women and men who are serving in some of the most
      contested parts in the world. We are forever grateful.

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 32 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 137 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



          And I appreciated listening to your opening statement as
      well as reading your written remarks, which I think illustrate
      so clearly the threat posed by ISIL [Islamic State of Iraq and
      the Levant], Al Qaeda, and other affiliated groups in the
      region, and certainly make clear that there are no easy answers
      given the seriousness and complexity of the challenge to
      reverse ISIS' gain.
          But I am also concerned about the steady buildup of U.S.
      forces in the region, most especially in Syria, absent a robust
      debate in Congress on an authorization for the use of military
      force, something Secretary Mattis called for last week before
      the Senate Armed Services Committee, and I was glad to see
      that.
          I am concerned that additive deployment may lead to an
      expansive, open-ended commitment. I think you have referenced
      an evolving campaign, that could have long-term consequences
      raising substantial and unpredictable risks that haven't been
      fully considered or endorsed by Congress as a whole.
          I am also mindful of the human toll in the countries where
      we are waging the fight against ISIL and how mounting civilian
      casualties, tragic in and of themselves, as you yourself said,
      can ultimately work against our long-term interest in setting
      the conditions for stability.
          And I appreciate your redressing--addressing it in your
      open remarks, but I also appreciate the important work that
      international groups are playing in monitoring civilian
      casualties.
          As reported in The Washington Post yesterday, quote,
      ``According to Airwars,'' a group that you are familiar with,
      which is a British monitoring group, ``the frequency of
      civilian deaths alleged to be linked to U.S. strikes in Iraq
      and Syria has now outpaced those linked to Russia. The scrutiny
      has been compounded by a string of high-profile reported U.S.
      attacks in both countries, including assaults on a mosque, a
      school, and, most recently, a building apparently used as a

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 33 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 138 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      shelter in the Iraqi city of Mosul'' that is currently being
      investigated appropriately so.
          These reports come alongside indications that the
      administration is considering relaxing the rules of engagement
      put in place by the Obama administration, which made a
      concerted effort at avoiding civilian deaths, and you have said
      today that there has not been such a change.
          And I have read that you have said that the coalition will,
      quote, ``take extraordinary measures to avoid harming
      civilians,'' unquote.
          So can you tell us how you balanced a pursuit, a very
      important military objective, with those extraordinary
      measures? And, in particular, when fighting an enemy that
      intentionally places civilians in harm's way, we all know that,
      how much risk should the U.S. and its civilian coalition
      partners accept in limiting air or artillery strikes where it
      may be difficult to confirm civilian presence, especially in
      Mosul, where civilians have been directed to shelter in place?
      So there are so many still there. It seems to be an
      extraordinary challenge, and I am curious as to how you are
      thinking this through in order to minimize civilian casualties.
          General Votel. Thank you, Congresswoman, for your question
      there.
          First off, you know, we have provided, I think, very clear
      and concise guidance to our commanders in the field. I think
      the principal way that we are addressing this is by entrusting
      and enabling our very well experienced and trained leaders on
      the ground. They are the best guard against this. We have seen
      that in the past. We will see it in the future here. Their
      judgment, their experience is the best thing to ensure with
      this.
          As we go through this, you know, and with our on-scene
      commanders that are very, very close to this, I think the key
      thing that we do emphasize to them is we go to war with our
      values, we hold ourselves to a higher accountability, a higher

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 34 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 139 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      standard with respect to this, and, of course, we always
      operate in accordance with the law of armed conflict and we do
      everything that we can to prevent this.
          And what we try to do is we try to work that through our
      leadership and ensure they understand the obligation that we
      all expect, and that as they carry out these obligations in
      what are extraordinary, complex, and difficult situations, that
      they are making the best judgments, the best decisions that
      they can based on the information that they have. And I will
      tell you that in many, many, many cases, they are making the
      right calls. I have visited--I visit Iraq every month and I
      talk to our advise and assist teams and I hear about operations
      that we support, but I will tell you at the same pace, I hear
      about operations where we choose not to strike, where we choose
      not to do something because it didn't look right, we couldn't
      confirm what was going on, we didn't have a good situational
      awareness.
          So I think, from my perspective, we are going to trust our
      processes and we are going to trust our people and we are going
      to continue to put emphasis on that throughout the process.
          Ms. Tsongas. Trust but verify your processes.
          General Votel. Right.
          The Chairman. Mr. Russell.
          Mr. Russell. Thank you, Mr. Chairman.
          Thank you. It is good to see you again.
          And I guess my own take on it is that we are not seeing a
      never-ending increase; we are recovering from a massive
      decrease in disengagement in the region. It has not been that
      many years ago, six, and because of that decrease, we now see
      Iraq in the throes of a civil war, Syria in the throes of a
      civil war, Yemen in the throes of a civil war, the complete
      area destabilized, making a whole number of things even harder
      to deal with, plus distancing to our allies in Saudi Arabia,
      Egypt, not to mention other coalition partners on a whole
      number of other affairs. And so I tend to disagree with some of

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 35 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 140 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      my colleagues here in that view.
          With regard to collateral damage, no one cares more about
      civilian casualties than the United States military, no one. No
      one takes more pain or more effort to prevent the needless loss
      of life. No one has the systems in place to prevent the things
      that we do in our targeting systems and everything else. And we
      know about our own errors, because it is us who expose them,
      who discover them, and who try to refine them.
          So before we get in a bashing of those that are in uniform
      and needless loss of civilian casualties or somehow suggesting
      that we are causing more civilian deaths than the Russians, I
      challenge that, I defy that, I reject that, I don't think that
      it reflects anything to our practices as a nation or certainly
      our men and women in uniform.
          General Votel, you spoke of the need to use the other
      instruments of national power. There are a number of areas that
      we obviously see a need to do that, you have spoken to a lot of
      them, but I guess one of the most troubling things that gets
      the least amount of attention is Yemen. And as we would see the
      Gulf of Aden now slip into a possible future Hormuz Strait,
      there is serious implication with that. We have got 60 percent
      of the Yemen population now that is malnourished. We have got
      opportunities to do a lot of good things with President Hadi
      and other efforts.
          The foreign military sales being crucial, the foreign
      engagement being crucial, if you could design it where you
      engage the other instruments of national power to support the
      coalition efforts as well as the CENTCOM efforts, what would it
      look like? What would you want that other engagement to be
      other than just the military?
          General Votel. Thanks, Congressman. I think that, you know,
      certainly one of the things that has to be addressed, as you
      kind of highlighted here, is we have to resolve the civil
      conflict that is taking place there, right. That creates an
      environment that makes it extraordinarily difficult for us to

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 36 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 141 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      be--has made it difficult for us to be persistent in our
      efforts against Al Qaeda. It has caused us to break
      relationships we had with the Yemeni forces we developed over a
      course of years, and it has given rise to the threat that we
      have already talked about this morning in the Bab-el-Mandeb in
      the Red Sea, an area where we have 60 to 70 ships go through
      every day, not just U.S., but international ships go through
      there. So I think that is important.
          So I think the thing that we have to continue to press on,
      is we have to press in our diplomatic efforts to resolve that
      conflict as quickly as we can. I think that will help, I think,
      set the table. There are perhaps some things that we can assist
      with on the military side to bring that forward without
      becoming enmeshed into a civil conflict here. We should
      consider those things.
          I will tell you, I have talked with our ambassador there on
      a regular basis. He is excellent. He is extraordinarily engaged
      here. And I just think we have to continue to press in this
      particular area. And this is an area where we will need the
      Department of State and others to help us move through.
          Mr. Russell. Do you still see a base of support? A lot of
      relationship has been developed for decades, and much is lost
      if we see the things tip toward the Houthi rebels and, as you
      had mentioned, Al Qaeda gaining leverage with engagement with
      the population and assisting in feeding them and other things.
      Could you speak to some of that?
          General Votel. I do. And I would highlight to you that we
      have some very good partners in the area, certainly Saudi
      Arabia on the edges here, and the United Arab Emirates [UAE]
      have been extraordinary partners for us and they have good
      relationships here. So I do see the ability to reestablish some
      of these partnerships again.
          Mr. Russell. Thank you. And thank you, Mr. Chairman.
          The Chairman. Ms. Rosen.
          Ms. Rosen. Thank you, Mr. Chairman.

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 37 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 142 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



          And thank you, General Votel, for your very great insights
      today.
          I want to switch back to Iran for a moment. You know, you
      said you believe that Iran is one of the greatest threats to
      the U.S. today. So if that is true and your assessment is true
      that their overall objective is to be the most powerful in the
      region, then to pursue this end, do you believe Iran has
      increased destabilizing activities since the JCPOA [Joint
      Comprehensive Plan of Action], and if they have, how should we
      react to these alleged activities without risking escalation
      and other conflicts in the region?
          General Votel. Congresswoman, I do believe they have. And I
      believe that Iran is operating in what I call a gray zone, and
      it is an area between normal competition between states and
      just short of open conflict, and they are exploiting this area
      in a variety of different ways. They do it through raising
      surrogate forces, they do it through lethal aid facilitation,
      they do it through their own cyber activities, and they do it
      through their influence operations. And I think they are
      clearly focused in this particular area, and I think they
      have--their efforts have increased in this particular area.
          I think the things that we need to do is--I think there are
      three broad things, and I have had an opportunity to talk to
      some of our regional partners about it. I think we need to look
      at opportunities where we can disrupt through military means or
      other means their activities, particularly their facilitation
      aspects here. I think we need to look at opportunities where we
      can expose and hold them accountable for the things that they
      are doing. That has to be done. They have to account for their
      destabilize--the destabilizing role that they are playing in
      the region right now. And, finally, I think we do have to
      address their revolutionary ideology, and what has to be
      addressed. And certainly we play a role in that, but others in
      the region do as well. Iran has a role in the region. There is
      no doubt about that.

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 38 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 143 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



          And I want to be clear that we think differently about the
      people of Iran than we think about the leadership of Iran, the
      revolutionary council that runs Iran. In my mind, those are two
      very distinct things. And our concern is not with the people of
      Iran, but it is with their revolutionary government.
          Ms. Rosen. Thank you.
          And I would just like to switch a little bit to the greater
      geopolitical tensions in the region. Is terrorism really the
      most pressing threats emanating from the Middle East, and what
      is our best way to exert our influence, if that is true,
      against those threats?
          General Votel. Well, Congresswoman, I think terrorism is
      what is being manifested out of what are really deep underlying
      issues that pervade this region. There are some serious
      sectarian issues across the region that have to be addressed.
      There are disenfranchised populations, there is economic
      disparity between governments and the people that they lead.
      And so these deep underlying issues in many cases still remain
      across the region. Those have to be addressed.
          And I think the way that we see this being manifested is in
      violent extremism, that we see the rise of ISIS. When you go
      back and look at why that came up, the desire for young men and
      in some cases young women to join organizations like Al Qaeda
      or ISIS, they are looking for a job, they are looking for
      money, they are looking for relationships, they are looking for
      economic opportunity that may not exist in their local
      communities.
          So there are deep underlying issues that have to be
      addressed in this region that give rise to these threats that
      we are focused on. So I don't want to give the impression that
      beating ISIS will--it will remove a threat, but it won't solve
      many of the underlying challenges in this particular region.
      That will take more work.
          Ms. Rosen. So considering that we are going to be creating
      a bill fairly soon, where do we best put our resources to fight

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 39 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 144 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      this? What do you need?
          General Votel. Well, I think this--Congresswoman, I think
      we have identified, from a military standpoint, I need to build
      and sustain the operations that we have ongoing in places like
      Iraq and Syria, and really across the region. I need to ensure
      that the services, that Army, Navy, Air Force, Marines, and
      SOCOM, that provide me capabilities, have the resources they
      need to develop the capabilities and the resiliency within
      their formations to continue to provide me things.
          So, you know, those are the key things that I am thinking
      about right now in terms of the resources that I need moving
      forward.
          Ms. Rosen. Thank you.
          The Chairman. Ms. McSally.
          Ms. McSally. Thank you, Mr. Chairman.
          Thank you, General Votel. Do you know how many civilians
      have been killed by ISIS in Iraq and Syria?
          General Votel. Congresswoman, I do not know that number.
          Ms. McSally. I mean, there are media reports. I would love
      to hear back from you on what the number is, but it is in the
      tens of thousands. Is that probably fair?
          General Votel. I think that is fair.
          Ms. McSally. Thank you. And having spent a lot of time in
      the targeting process both shooting 30-millimeter out of an A-
      10 all the way up to, you know, working at the COCOM [combatant
      command] level, I just want to agree with my colleagues here
      and with your statements that we go through great pains in our
      targeting cycle to make sure that we are compliant with the
      laws of armed conflict and that we are avoiding civilian
      casualties.
          More for my colleagues, I want to make sure you understand
      what the laws of armed conflict [LOAC] are. That if we have a
      legitimate target, we do everything we can to minimize civilian
      casualties, but we are not allowed to target civilians. We
      never target civilians.

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 40 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 145 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



          Is ISIS targeting civilians?
          General Votel. I believe they are.
          Ms. McSally. Absolutely. Is it a violation of the law of
      armed conflict to have human shields?
          General Votel. Yes, it is.
          Ms. McSally. So ISIS is violating the laws of armed
      conflict.
          Again for my colleagues, the standard for the LOAC is that
      we make feasible precautions towards limiting civilian
      casualties while we are hitting legitimate military targets.
      The last administration went above and beyond this, far higher
      than I have ever seen before in my 26 years in the military,
      using near certainty that no civilians will be killed.
          I agree with some retired generals, General Deptula, and
      most recently, General Dunlap published something a few days
      ago on this, that if we are not hitting legitimate military
      targets and allowing these terrorists to continue to live, then
      we are actually allowing them to continue to kill civilians. I
      mean, this actually enables them to continue their terrorist
      activities, to include exporting it to other places.
          So this is what General Dunlap calls a moral hazard of
      inaction, of us doing nothing on legitimate targets because of
      this near certainty standard, from my view, actually allows the
      terrorists free rein to continue to kill civilians, tens of
      thousands.
          And also, I now believe that what we are seeing in the
      change here is that ISIS knows that they can use human shields
      to avoid being hit. It is their air defense system.
      Additionally, it is my view that as we move closer into the
      urban conflict into Mosul and they are using human shields,
      civilian casualties are going to go up. This is a horrible
      element of war, that ISIS started this war.
          So do you agree that some of the high level of, I think,
      ridiculous standard that we had previously has now created this
      behavior by ISIS, that they now realize if they take human

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 41 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 146 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      shields, they are going to avoid being struck, and that
      actually this is adding to the problem?
          General Votel. Congresswoman, I do believe they understand
      our sensitivity to civilian casualties and they are exploiting
      that, and I do agree that as we move into these urban
      environments, it is going to become more and more difficult to
      apply extraordinarily high standards for the things that we are
      doing, although we will try.
          Ms. McSally. Great. Thank you.
          Again, I look forward to continuing to talk with you in the
      classified realm, but, look, this whole line of thinking that
      somehow because we are engaging the enemy and, unfortunately,
      again, the investigation is ongoing on this latest attack,
      somehow it is our fault that as we are engaging the enemy, that
      perhaps civilians are being killed either by mistake or because
      the enemy is using a tactic that actually has them become part
      of the target. That is on them, not on us.
          And if we then move back further and allow more terrorists
      to live to fight another day because of this narrative, then we
      are going to actually open up more civilians to be killed by
      these terrorists. Is that a fair line of thinking?
          General Votel. I share your concern, Congresswoman.
          Ms. McSally. Great. Thank you.
          I also want to ask, and maybe this is more for the
      classified setting, when we are identifying combatants and
      noncombatants, this used be a pet peeve of mine, sometimes I
      would be in VTCs [video teleconferences] where we were getting
      ready to schwack some bad guys in Somalia, and I would hear the
      terminology of whether there is women and children versus men.
      There are combatants and noncombatants. And what we saw in
      Yemen is we had a bunch of women that were actually shooting at
      our troops. That has been reported in the media.
          So can you confirm with me that we are still using the
      terms in our analysis of combatants and noncombatants, and we
      are not making assumptions that just because you are a woman,

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 42 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 147 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      you are not a combatant? That is not the law of armed conflict.
          General Votel. We do think of it as that and look at it
      that way.
          Ms. McSally. Okay. Great. Thank you. Thanks, Mr. Chairman.
      I yield back.
          The Chairman. Mr. Langevin.
          Mr. Langevin. Thank you, Mr. Chairman. General Votel,
      welcome back before the committee. I want to thank you for your
      testimony, but most especially for your service and the men and
      women who serve under you. We are grateful for all you do to
      defend the Nation.
          As our cyber capabilities are maturing, particularly with
      U.S. Cyber Command now being stood up and the training and
      deploying of our cyber mission teams, can you please discuss
      with us your views on the impact of our cyber operations
      against ISIL, how effective they have been and what more can be
      done to enhance them?
          General Votel. Thank you, Congressman.
          And I look forward to an opportunity to talk about this in
      a classified setting as well, but what I can tell you here is
      that I think, with the great support of Admiral Rogers and the
      team at Cyber Command [CYBERCOM], we have forged a very close
      relationship between CENTCOM, Cyber Command and their
      subordinate elements, and I would throw SOCOM in there as well,
      that has allowed us to use this capability to have effects
      against this particular enemy. And I do think we are starting
      from an area where we didn't have much experience in this. We
      are actually creating effects on the ground.
          I would share with you that this is an extraordinarily,
      extraordinarily savvy enemy, and so they have capabilities in
      this area, and we will need to continue to evolve in this. I
      would also add that some of our partners, some of our coalition
      partners have unique capabilities in this area, and they have
      been well integrated into this as well. So I do think we are
      beginning to have good effects with this, but there certainly

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 43 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 148 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      is more that we need to do.
          Mr. Langevin. Good. And I look forward to following up and
      getting some more details when we get into the classified
      session.
          Let me ask you this. In your opinion, is the current joint
      task force areas command and control construct effective,
      efficient, synchronized, and deconflicted with other operations
      taking place in the CENTCOM area of responsibility? And, also,
      how would you characterize support and integration with teams
      from U.S. CYBERCOM?
          General Votel. I think they are excellent in both cases. In
      fact, when we recently hosted a congressional delegation down
      at CENTCOM to talk about things we are doing, we actually
      invited JTF [joint task force] areas to come in and be part of
      that because we consider them to be that close of a team
      member.
          So I think the integration has been exceptional with JTF
      areas, and the leadership there at Cyber Command and in that
      particular organization have been extraordinarily well engaged
      with us.
          Mr. Langevin. Thank you.
          Another topic. We obviously rely heavily on special
      operations forces [SOF] for operations around the globe. The
      authorities and capabilities of SOCOM allow us, obviously, to
      keep the footprint small and carry out unique activities.
      However, that utility may have led to an overreliance on SOF.
          As the former SOCOM commander and current CENTCOM
      commander, what are your concerns in this regard? And what
      actions can we take to decrease the high demand for SOF around
      the globe, such as increasing conventional forces training
      capability?
          General Votel. Well, as the former SOCOM commander,
      obviously, you know, we wanted to do everything we could to
      support the other combatant commanders here. And, you know,
      General Thomas and I have, I think, a very strong relationship,

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 44 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 149 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      we talk frequently, and I think we have been able to figure out
      ways that we can manage the force moving forward here. So I do
      support the--you know, obviously the very continued support of
      them.
          I will tell you, one of the things that does concern me a
      little bit about SOCOM and some of the very unique capabilities
      that they have is that many of them are heavily leveraged in
      OCO [Overseas Contingency Operations budget line]. Some of the
      very unique capabilities, and, again, we can talk about this in
      a classified session, are very heavily leveraged in OCO, and
      that concerns me about the sustainability.
          It concerned me as the SOCOM commander and now concerns me
      as the CENTCOM commander, who are very dependent on that. I am
      very concerned about that. I think we need to stabilize that
      and I think we need to make the commitment to give SOCOM the
      things they need to serve the Nation.
          Beyond that, Congressman, I would tell you one of the
      things I am most proud of being the SOCOM commander--or being
      the CENTCOM commander is the very close relationship between
      our SOF forces and our conventional forces. It is almost
      indistinguishable how they are able to operate, and that comes
      for a variety of reasons; certainly our experience over the
      last 15 or 16 years working together and the fact that a lot of
      our leaders know each other, not just professionally.
          But personally, but I want to assure the committee and I
      want to assure the American people that we are fighting the
      enemy together, we are not fighting each other here, and that
      was not always the case in the military, but I am very pleased
      with how our conventional and SOF forces are working very, very
      closely together, with our interagency partners as well.
          Mr. Langevin. Very good, General. Well, as a former SOCOM
      commander, I have great confidence that you are going to
      balance that force just right and you are in a unique position.
      So thank you for you are doing, and I look forward to the
      classified session.

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 45 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 150 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



          I yield back.
          The Chairman. Mr. Bacon.
          Mr. Bacon. Thank you, Mr. Chairman.
          And I want to thank General Votel for your leadership, and
      your team. So many challenging problems in your AOR [area of
      responsibility], and it is not just one, two, three, it is just
      hard. So I know you and your team work very hard at that, and
      we appreciate it.
          I associate with the comments too of some of our colleagues
      here that say that we need to get a congressional authorization
      for force. I think we do. I think what we did in 2001 and 2003
      are applicable and I feel like we have got to work towards that
      in Congress.
          And I also want to say that I agree with your comments on
      Iran. I think you are right on target. My fourth deployment
      there, I think, when I was in there 2007 and 2008, I believe
      roughly half of our service men and women were killed due to
      actions from Iran with the explosive--or the EFPs [explosively
      formed penetrators] and the very support they were giving to
      the Shia militias, and I dare say it would probably be about a
      thousand of our service men and women over time were killed due
      to the Iranian actions.
          My question to you today is, we can do kinetic operations
      indefinitely with ISIS or Al Qaeda, but I don't think in the
      end that wins the fight. How do you see a grand strategy, or
      how do you see our grand strategy to defeat these enemies? It
      has got to be--we have got to go after their ideology, their
      financing, their recruiting. Do you think we have the right
      strategy?
          General Votel. I do, Congressman. I think we do have the
      outline of a good strategy to address the things that you are
      highlighting here. As you are aware, one of the first things
      that the new administration did was direct the Secretary of
      Defense and the Secretary of State to come up with a plan to
      address and defeat ISIS more completely. And I think the

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 46 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 151 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      acknowledgement that that is both the Department of Defense,
      Department of State, and many others in the government here, I
      think, is an acknowledgement that we need--that we do need to
      do that. We certainly need to go after their finances, we need
      to go after where they are physically, we need to go after the
      conditions that give rise to these particular organizations.
          But I would also add that we need to go after this
      ideology. And there are things that we can do, but there are
      certainly things that our partners in the region can do. There
      are just some things that as a western country, as the United
      States, will not resonate as fully as it will from people in
      the region with respect to that.
          So the ideology, in my view, is very, very important. And
      then getting after the underlying issues that we talked about
      here, I think, is ultimately what we really have to focus on.
          Mr. Bacon. One follow-on. In 2007 and 2008, we had great
      success largely because the Sunni tribes came over and started
      helping us against the fight--against Al Qaeda. I think on a
      grander level, we need to have that Sunni help, like you are
      alluding to, but our agreement with Iran, I believe, undermined
      the trust of many of the Sunni countries, I have heard that
      from some of our Sunni friends, because I think they fear Iran
      just as much as they do ISIS in many cases.
          Have you seen that same trend when you have talked to our
      Sunni friends? Is there concerns with what we did the past 2
      years, 3 years with Iran, and have you seen that undermine that
      ability to work with our Sunni friends?
          General Votel. Truthfully, Congressman, I have. I have had
      Sunni leaders and other Arab leaders tell me that same thing.
      And so I know there certainly is a perception out there about
      that, and as you know, oftentimes perception is truth in many
      quarters here.
          So that is why I think one of the key things that we have
      continued to emphasize with our people and with our leadership
      is the importance of building and rebuilding trust with our

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 47 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 152 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      partners in the region. These are difficult situations here.
      And they are not all perfect, but we have to--I think it is
      better to be engaged with them and to be their confirmed
      partner.
          And, frankly, the impression I get when I talk to all of
      our partners in the region is they do prefer the United States.
      They want to have a relationship with us. And so I think we
      ought to look at ways that we can take advantage of that moving
      forward.
          Mr. Bacon. Thank you very much. And, Mr. Chairman, I yield
      back.
          The Chairman. Mr. Lamborn.
          Mr. Lamborn. Thank you, Mr. Chairman.
          And, General, thank you for the job that you are doing. And
      I am so glad you are there now, especially given your past
      track record.
          When it comes to Yemen, I am really glad that we are taking
      steps now to support our allies in the area and our friends in
      the area. When I have talked to people from the Emirates, for
      instance, their concern isn't ISIS, I mean, that is a concern,
      but they are concerned about Yemen and the Iranian proxy war
      that is going on there.
          How do you evaluate what is going on in Yemen? I know we
      had a tragic loss of life with the recent raid, and that was
      regrettable, but I think it is very important that we are
      supporting Saudi Arabia and the Gulf States, and I think it is
      overdue that we are doing that. What are your perspectives on
      Yemen?
          General Votel. Well, Congressman, you know, as I mentioned
      a little bit earlier, I mean, I think there are some vital U.S.
      interests that are at stake here. Certainly we don't want Yemen
      to be used as a platform for attacks in our homeland or against
      our allies or partners around the globe or in the region, and
      so we have to--we have to be focused on that.
          I am extraordinarily concerned about another contested

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 48 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 153 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      maritime chokepoint in the region. And so that directly impacts
      our national interests, the freedom of navigation, freedom of
      commerce, and supports our global economic objectives here, and
      so I think we have to be very, very concerned about that. So I
      do think there are some vital aspects of that. All of that is
      against the backdrop of this civil war that you talked about
      here.
          And, you know, certainly we all understand the implications
      of becoming involved in those types of activities. And if we
      don't choose to do it militarily, then we have to look at ways
      that we can try to move forward and try to resolve that
      situation. I do believe that as long as that continues to boil,
      that it will impact the ability for us to really focus on other
      principal interests that we have in that part of the world.
          Mr. Lamborn. Well, and obviously everyone wants peace in
      the area and the fighting to stop, but until that happens, I
      think we have to take the side of our friends and allies, and
      they are so concerned that Iran is using the Houthi rebels as a
      proxy to destabilize and ultimately come after them. That is
      their perspective.
          And while I don't think we need to consider any kind of
      boots on the ground or anything like that, I think as much as
      we can do with ISR [intelligence, surveillance, and
      reconnaissance] and things like that to support our friends and
      allies is critical. If you want to better address this in the
      closed section of the hearing, tell me that, but is there more
      that we can be doing?
          General Votel. Yeah, there is. And I think this would be a
      really good topic in a closed session, Congressman.
          Mr. Lamborn. Okay. Thank you. Mr. Chairman, I yield back.
          The Chairman. Mr. Gallagher.
          Mr. Gallagher. Thank you, Mr. Chairman.
          Thank you, General, for being here.
          A quick follow-up on Yemen. To what extent has the ongoing
      fighting there enhanced or undermined AQAP's [Al Qaeda in the

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 49 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 154 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      Arabian Peninsula's] power and reach? And do you envision a
      long-term presence for the Emirates and the Saudis in Yemen,
      and if so, do their long-term objectives in Yemen align with
      our own?
          General Votel. Well, I think we had--you know, before the
      civil war started, it was my estimate that we had a very good
      focus on Al Qaeda in the Arabian Peninsula. The civil war
      changed our posture there. And in the--underneath the ongoing
      civil war right there, I do believe Al Qaeda had an opportunity
      to prosper and to become stronger and to be resilient and
      continue to pursue their objectives.
          So what you have seen us do here most recently is renew our
      focus on that. And we are doing that with a variety of our
      partners in the region, the UAE and Saudi Arabia certainly
      among the principal partners that we are working with with
      respect to that.
          With respect to their long-term presence, that is probably
      a better question for them. I don't know. I don't have any
      insight into what their strategic calculations might be there,
      but, you know, I think, as we see in most of these areas, a
      long-term commitment is usually necessary to really change
      conditions.
          Mr. Gallagher. Sure. In Syria, Russia has seemingly doubled
      down on a long-term commitment going back to the 1950s with its
      client state there. It seems to me that Russia and Iran are in
      a tactical alliance in Syria, they sort of share the same
      organs, Russia provides air power, the Iranians, particularly
      through Hezbollah, provide a lot of the ground forces. Do you
      see evidence of a broader regional alliance between Russia and
      Iran, and if so, what are its manifestations?
          General Votel. Well, I think there perhaps could be. I am
      not sure I see specific indications of that in other areas, but
      certainly they are cooperating together. I think the
      implications of this are things that we have seen. We have seen
      Russian jets operating out of Iranian bases. And certainly

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 50 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 155 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      their cooperation together to prop up the regime and give them
      new life here is certainly an implication of that relationship
      right there.
          So I am very, very--I am concerned about that. I think we
      should be concerned about it. I don't know that we have great
      insight into what their--what the Russian long-term perspective
      is on that relationship.
          Mr. Gallagher. I too am concerned. I think the rise of the
      Russian-Iranian axis has been the biggest development in the
      region the last couple of years related to the Iran deal.
          One strange bit of continuity in the region has been a
      return in Egypt to some form of authoritarianism. Can you
      comment--and it has caused a great debate within foreign policy
      circles within the left and the right.
          Can you comment on whether you are getting the cooperation
      you need from a military perspective from the Sisi government
      in Egypt?
          General Votel. I think Egypt is an extraordinarily
      important partner to us. We kind of consider them to be the
      gateway into the region. They have had historical long-term
      relationships there. They are an extraordinarily important
      country to them. They have been very helpful in the Sinai,
      helping address threats to the multinational force there. They
      were particularly responsive to our request for assistance
      there. And they have been very, very good--very, very good
      partners there. And, you know, while we have had perhaps some
      differences politically with them, one of the things we have
      been able to maintain, I think, is a good military-to-military
      contact.
          And I think--and from a CENTCOM commander standpoint, I
      look forward to continuing to build on that as we move forward.
      I think it is a vital relationship for us.
          Mr. Gallagher. So would it be fair to say, General, that
      from your perspective, the FMF program and the broader
      relationship we have with Egypt is achieving its objectives?

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 51 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 156 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



          General Votel. Well, I don't know, because right now we do
      see some instances where countries like Egypt and others are
      reaching out and buying their military hardware from other
      countries.
          So, again, I think this kind of goes back to the discussion
      we had earlier about FMF. I think our FMS program accomplishes
      a lot of purposes out there. One of the principal ones, from my
      perspective as the CENTCOM commander, is building capability
      with our partners, especially capability that can be integrated
      with our capabilities so that we can operate together.
          When we choose not to allow them to buy our systems or to
      buy--they will look other places for this. This doesn't
      necessarily help them, because they get lesser systems, they
      don't get the sustainment, they don't always get the training
      with that, they are stuck with stuff that they can't fully use,
      and it is not integrated with us.
          And so I think FMF and FMS are extraordinarily important
      programs that fit into our security equation across the region.
          Mr. Gallagher. Thank you, General. I am out of time, but--
      and I know it is something that adds to your AOR, but maybe
      afterwards, we could talk about to what extent our involvement
      with the YPG [Kurdish People's Defense Unit] in Syria has
      affected our relationship with Turkey and sort of, more
      broadly, how our relationship with Turkey affects your efforts.
          Thank you, Mr. Chairman. I yield.
          The Chairman. General, I will just add two points on the
      FMF discussion.
          Number one, all our allies--I would say virtually all, if
      not all, our allies are very frustrated with the process.
          So you talked about decisions, absolutely, that is one
      thing, but then the process being so sluggish, even if we
      ultimately decide that it is in our interest to sell or provide
      equipment, has even--even then it is a subject of frustration.
          So our Oversight and Investigation Subcommittee is looking
      into this issue from our standpoint. I am hopeful that a number

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 52 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 157 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      of members, who are also on the Foreign Affairs Committee, will
      look at it from the State Department standpoint, because I
      think one of your early points was reestablishing trust, and
      this is an important thing to reestablish trust.
           Mr. Wilson.
           Mr. Wilson. Thank you, Mr. Chairman.
          And, General Votel, it is a great honor to be with you.
      Every time I am with you, it is just so reassuring. And I am
      also so grateful for the American people to hear your service.
      I appreciate it as a Member of Congress, and also I appreciate
      it as a fellow veteran, but I particularly appreciate your
      service as a military dad. I always like to recognize your
      service has meant so much to our family.
          My oldest son served for a year, field artillery, in Iraq;
      my second son was a Navy doctor serving with the Rangers and
      the SEALs in Iraq; my third son, a signal officer, served in
      Egypt; and I am grateful that our youngest son was an engineer
      in Afghanistan. And so we certainly cover the CENTCOM area of
      jurisdiction, and at all times we appreciate your leadership.
      And I give credit to my wife for training these guys. But thank
      you.
           As the Iraqi Security Forces continue to make progress
      toward liberating Mosul, what is the latest on the operation
      and what have been the keys to the Iraqi army's success?
          General Votel. Thank you, Congressman. And let me just say
      on behalf of CENTCOM, we appreciate all the contributions of
      Team Wilson there and we are very, very grateful for it.
          Turning to Mosul, the Iraqi Security Forces are making, I
      think, good progress. This has been an extraordinarily
      challenging fight. It took them about 100 days to secure the
      eastern side of the city. They did that at a cost of 490 killed
      and just about over 3,000 wounded. So it is an extraordinary
      price that they paid for that. They very quickly were able to
      get themselves focused on the western part of the city. And
      they are now engaged in what we are seeing as a very, very

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 53 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 158 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      difficult fight there.
          Some of their elements are engaged in what is known as the
      old city here, a very dense urban area, much, much more complex
      and much more favors the defender than it does the attacker,
      and so they have got their hands full as they are doing this.
          I would just note that the Iraqi Security Forces just so
      far in about 37 days have sustained about 284 killed and a
      little over 1,600 wounded in the western part of the city.
          The keys to success here have been, I think, the very close
      relationship they had with both U.S. and coalition advise and
      assist teams, and the ability for the Iraqi Security Forces to
      come together. As you know, institutionally they have got some
      challenges here. They have got federal police that answer to
      the ministry of interior, they have got Iraqi army that answers
      to the ministry of defense, and they have got counterterrorism
      forces that answer to the counterterrorism directorate, and so
      these are all separate ministries.
          But what they have been able to do successfully is get a
      common commander in place among all of those different pillars
      of security here, who really performs a very good integrating
      fashion, and so they are operating much better in conjunction
      and in synchronization with each other, and I think that has
      really paid off in what has been a very, very difficult, and
      will continue to be a very difficult fight in the weeks and
      perhaps months ahead.
          Mr. Wilson. Well, it is so important. And the American
      people need to know the city is over a million persons, it is
      the second largest city in the country of Iraq, and how
      important it is that it be liberated, and the subjugation and
      oppression that the people must have faced in the last year, 2
      years.
          And it was so encouraging for all of us last week on the
      Foreign Affairs Committee to have the opportunity to be with
      Prime Minister Abadi. I had met him in Baghdad last month, and
      it is just so impressive. And also the minister of defense,

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 54 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 159 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      Hiyali, again, it is just--that country, I think, has very
      positive leadership for you to work with.
          Additionally, you testified about Russia's entry into the
      Syrian conflict and that it has negatively impacted the balance
      of power. What is the latest on Russia's intrusion into Syria?
          General Votel. Well, as you know, they have been focused
      on--I think, mostly focused on helping the regime accomplish
      some of their objectives in the western part of the country,
      and they, I think, have been successful at that.
          I think Russia has achieved probably many of the objectives
      that they set out to pursue as they got in there. They have got
      a government that is favorable to them, access to ports, access
      to airfields, influence in the region, so I think they have
      accomplished that.
          They have, I think, begun to--they are continuing to
      support regime forces now in this case as they fight ISIS. So
      to the extent that they are doing that, that is, I would admit,
      helpful to what we are doing.
          I would share with you, Congressman, that we do share a
      very congested airspace with the Russians. We have a
      deconfliction mechanism in place. It is generally a very
      professional interchange. We talk with them very frequently to
      coordinate--not to coordinate, but to deconflict our operations
      in what is a very compressed airspace over northern Syria. That
      generally goes pretty well.
          We are looking to make that a little bit more robust to
      ensure that we continue our freedom of action here as we
      continue to pursue the campaign.
          Mr. Wilson. Thank you very much.
          The Chairman. General, thank you.
          As you can tell, members are interested in some further
      discussions in a classified session, which will start in just a
      few moments upstairs, but for now, this hearing stands
      adjourned.
          [Whereupon, at 11:41 a.m., the committee was adjourned.]

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 55 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 160 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM




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https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 56 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 161 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM




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                                   QUESTIONS SUBMITTED BY MEMBERS POST HEARING

                                                                  March 29, 2017

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                                            QUESTIONS SUBMITTED BY MS. STEFANIK

          Ms. Stefanik. In terms of information operations and counter
      ISIL propaganda efforts--we have seen some tactical success in I
      Syria, but I am concerned with about what I perceive to be a lar
      strategic gap across our government. Can you talk about ways to
      CENTCOM information operations requirements, and how we can impr
      ability to counter ISIL's global and strategic propaganda effort
      the State Department's Global Engagement Center the right place
      to interface for these types of efforts as we try to counter ISI
      state-sponsored actors, and if so, how can we strengthen that
      relationship? Are you seeing any troubling propaganda efforts wi
      your AOR from state-sponsored actors such as Russia, and if so h
      you dealing with this?
          General Votel. USCENTCOM is part of a much larger effort whi
      includes not only USG departments and agencies, but the governme
      our Coalition partners, non-government organizations, and variou
      entities from the private sector. If we are serious about defeat
      ISIS in the information environment, we must match ISIS' level o
      intensity, volume and effectiveness in the information environme

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                      Page 57 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 162 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM



      must do the same in response to all adversaries choosing to comp
      the information battlespace. The State Department's Global Engag
      Center provides a very effective functional mechanism through wh
      can mass the effects necessary to counter and ultimately defeat
      As the Global Engagement Center continues to mature its capabili
      USCENTCOM will work through the Joint Staff and OSD to help expa
      improve coordination across the Department of Defense and the
      Interagency. Russia and Iran both are using information operatio
      (e.g., propaganda) to achieve their desired effects in the USCEN
      AOR. Both have established large, well-resourced information war
      capabilities. Within our authorities and resources, USCENTCOM co
      this propaganda. CENTCOM WebOps specifically counters allegation
      U.S. assistance to ISIS and exposes Russian and PMF violation of
      Laws of Armed Conflict, among other activities.
          Ms. Stefanik. Can you provide us with more of your thoughts
      concerns about Russian influence within your AOR, beyond what is
      about in Syria? There have been recent reports about Russian
      collaboration with the Taliban, and Russia increasing their pres
      and influence in Egypt, as just two examples.
          General Votel. [The information provided is classified and r
      in the committee files.]
          Ms. Stefanik. Describe the threat posed by Al Qaeda, the Isl
      State-Khorasan Province, and the Haqqani network. What, if any,
      limitations exist on your ability to effectively target these th
          General Votel. [The information provided is classified and r
      in the committee files.]
          Ms. Stefanik. According to some news reports, Iran has suppo
      the Houthi militia in Yemen. Other reports suggested that there
      a strong link between the two. What is your assessment of the na
      Iranian support to the Houthis in Yemen? How does this impact ou
      strategy? Can we achieve our objectives in Yemen absent a politi
      solution?
          General Votel. [The information provided is classified and r
      in the committee files.]
                                       ______

https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 58 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 163 of 400
- [H.A.S.C. No. 115-27]MILITARY ASSESSMENT OF THE SECURITY CHALLENGES IN THE GREATER MIDDLE EAST   9/19/22, 3:49 PM




                         QUESTIONS SUBMITTED BY DR. ABRAHAM
          Dr. Abraham. Can you discuss the long-term threat Hezbollah
      presents to U.S. interests, and apart from increased sanctions,
      Congress further help in the fight against Hezbollah?
          General Votel. [The information provided is classified and r
      in the committee files.]
          Dr. Abraham. With regard to Turkey: With last year's coup at
      and the potential for political instability ahead of this year's
      presidential referendum, what are some of the challenges you hav
      and expect to face with U.S. and coalition air support for CENTC
      missions flying out of Incirlik Air Base?
          General Votel. [The information provided is classified and r
      in the committee files.]




https://www.govinfo.gov/content/pkg/CHRG-115hhrg25093/html/CHRG-115hhrg25093.htm                     Page 59 of 59

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 164 of 400
                       Stenographic Transcript
                             Before the


                        COMMITTEE ON
                        ARMED SERVICES



            UNITED STATES SENATE



              HEARING TO RECEIVE TESTIMONY ON

             UNITED STATES EUROPEAN COMMAND



                      Thursday, March 23, 2017


                          Washington, D.C.



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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 165 of 400
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 166 of 400
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 167 of 400
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 168 of 400
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 172 of 400
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       &RPPDQGHUPHDQWKDWDOOLDQFHXQLW\LVPRUHLPSRUWDQWWKDQ

       HYHU7KHFRKHVLRQRI1$72LVEHLQJGLUHFWO\WKUHDWHQHGE\

      5XVVLD3UHVLGHQW3XWLQKDVUHSHDWHGO\VKRZQKHZLOOXVH

      PLOLWDU\IRUFHWRDVVHUWD5XVVLDQVSKHUHRILQIOXHQFHRYHU

      LWVQHLJKERUVDQGWRXQGHUPLQHWKHLUIXUWKHULQWHJUDWLRQ

      LQWR(XURSH1RZKHUHLVWKLVPRUHHYLGHQWWKDQLQ8NUDLQH

      ZKHUH5XVVLDKDVXVHGK\EULGZDUIDUHWDFWLFVWRVHL]H&ULPHD

      DQGFRQWLQXHVWRVXSSRUWPLOLWDULO\DQGILQDQFLDOO\5XVVLDQ

      OHGVHSDUDWLVWVLQHDVWHUQ8NUDLQHLQYLRODWLRQRI5XVVLD¶V

      FRPPLWPHQWVXQGHUWKH0LQVNDJUHHPHQWV$VZHKHDUGDW

      7XHVGD\¶VSDQHORIGLVWLQJXLVKHGIRUPHUJRYHUQPHQW

      RIILFLDOVLWLVFULWLFDOO\LPSRUWDQWWKDWZHDVVLVW8NUDLQH

      LQUHVLVWLQJ5XVVLDQSUHVVXUHDQGLQVWLWXWLQJGHPRFUDWLF

      UHIRUPV$VXFFHVVIXOUHIRUPHG8NUDLQHZRXOGSURYLGHD

      SRZHUIXODOWHUQDWLYHWR3XWLQ¶VDXWRFUDWLFUXOH

      7KH8QLWHG6WDWHVKDVWDNHQVLJQLILFDQWVWHSVLQUHFHQW

      \HDUVWRUHEXLOGLWVPLOLWDU\SUHVHQFHLQ(XURSHDQG

      UHDVVXUHRXUDOOLHVDQGSDUWQHUVWKUHDWHQHGE\UHQHZHG




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 173 of 400
                                                                               
       5XVVLDQDJJUHVVLRQ7KH(XURSHDQ'HWHUUHQFH,QLWLDWLYHRU

       (',DQGWKH1$72HQKDQFHGIRUZDUGSUHVHQFHKDYHLQFUHDVHG

       WKHURWDWLRQDOSUHVHQFHRIIRUFHVLQ(DVWHUQ(XURSH,Q

       DGGLWLRQZKLOHPDQ\1$72PHPEHUVWRIDOOVKRUWRIWKH

       SHUFHQWRI*'3WDUJHWIRUGHIHQVHVSHQGLQJGHIHQVHEXGJHWV

       DPRQJ1$72QDWLRQVDUHLQFUHDVLQJDQGDQXPEHURIDOOLHVDUH

       PDNLQJVLJQLILFDQWLQNLQGFRQWULEXWLRQVDVZHOO4XHVWLRQV

       UHPDLQKRZHYHUZKHWKHUZHKDYHWKHDSSURSULDWHPL[RI

       IRUFHVLQ(XURSHERWKTXDQWLWDWLYHO\DQGTXDOLWDWLYHO\DQG

      ,KRSH\RXZLOODGGUHVVWKHVHTXHVWLRQVWKLVPRUQLQJ

      5XVVLDLVGHSOR\LQJWKHIXOODUUD\RIWRROVLQWKH

      .UHPOLQSOD\ERRNWRFKDOOHQJHWKH:HVW7KLVLQFOXGHV

      DJJUHVVLYHDFWLRQVLQWKHQXFOHDUUHDOP,DJUHHZLWKWKH

      H[SHUWVRQ7XHVGD\¶VSDQHOUHJDUGLQJWKHLPSRUWDQFHRI

      UHVSRQGLQJVWURQJO\WR5XVVLD¶VILHOGLQJRIDPLVVLOHV\VWHP

      LQYLRODWLRQRIWKH,QWHUPHGLDWH5DQJH1XFOHDU)RUFHVRU

      ,1)7UHDW\,QDGGLWLRQ5XVVLD¶VQXFOHDUGRFWULQHRI

      HVFDODWHWRGHHVFDODWHLVQRWRQO\GHHSO\GLVWXUELQJEXW

      SRWHQWLDOO\FDWDVWURSKLF

      $OVRGLVFRQFHUWLQJLV5XVVLD¶VLQFUHDVLQJEROGQHVVLQ

      XVLQJQRQPLOLWDU\WRROVWRWDUJHW:HVWHUQGHPRFUDFLHVDQG

      DGYDQFH3XWLQ¶VVWUDWHJLFDLPV5XVVLDLVHPSOR\LQJDQ

      DUUD\RIFRYHUWDQGRYHUWDV\PPHWULFZHDSRQVLQWKHJUD\

      ]RQHVKRUWRIPLOLWDU\FRQIOLFWLQFOXGLQJF\EHUKDFNLQJ

      GLVLQIRUPDWLRQSURSDJDQGDHFRQRPLFOHYHUDJHFRUUXSWLRQ




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 174 of 400
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       DQGHYHQSROLWLFDODVVDVVLQDWLRQ7RFRXQWHUWKLVLQVLGLRXV

       5XVVLDQLQWHUIHUHQFHZHPXVWEHJLQE\UHFRJQL]LQJLWDVD

       QDWLRQDOVHFXULW\WKUHDW)XUWKHUWKHLQWHOOLJHQFH

       FRPPXQLW\KDVZDUQHGWKDWWKHNLQGVRI.UHPOLQGLUHFWHG

       PDOLJQDFWLYLWLHVZLWQHVVHGLQODVW\HDU¶V86SUHVLGHQWLDO

       HOHFWLRQDUHOLNHO\WRUHRFFXULQWKHIXWXUHLQFOXGLQJ

       GXULQJHOHFWLRQVLQ)UDQFH*HUPDQ\DQGHOVHZKHUHLQ(XURSH

       WKLV\HDU5HVSRQGLQJWRWKLVQDWLRQDOVHFXULW\WKUHDWZLOO

       UHTXLUHDZKROHRIJRYHUQPHQWDSSURDFKDQGDFRPSUHKHQVLYH

      VWUDWHJ\IRUSXVKLQJEDFNDJDLQVW5XVVLDEURDGO\

      (8&20IDFHVDQXPEHURIRWKHUFKDOOHQJHVDVZHOO7KLV

      LQFOXGHVLQFUHDVLQJLQVWDELOLW\LQWKH%DONDQVZKHUH5XVVLDQ

      LQIOXHQFHRSHUDWLRQVDUHIHHGLQJ6HUELDQUHVHQWPHQWVERWKLQ

      6HUELDDQGDPRQJ%RVQLDQ6HUEV,QDGGLWLRQLQWKH

      %DONDQVZKHUHWUDGLWLRQDOO\DPRGHUDWHIRUPRI,VODPKDV

      EHHQSUDFWLFHGWKHUHDUHJURZLQJ,VODPLF6DODILVW

      LQIOXHQFHVDVDUHVXOWRIDPRVTXHEXLOGLQJFDPSDLJQIXQGHG

      E\6DXGL$UDELD2QLWVVRXWKHDVWHUQERUGHU(8&20PXVW

      FRQWHQGZLWKWKHLQVWDELOLW\DULVLQJIURP6\ULDDQGWKH

      WUDQVQDWLRQDOWKUHDWVHPDQDWLQJIURPWKDWFRQIOLFW$QGWR

      WKHVRXWKWKHPLJUDWLRQFULVLVLQWKH0HGLWHUUDQHDQ

      FRXQWULHVFRQWLQXHVWRVWUDLQ(XURSHDQUHVRXUFHVIRU

      VHFXULW\*HQHUDO,DPLQWHUHVWHGLQKHDULQJKRZ1$72LV

      KDQGOLQJWKHVHP\ULDGRISUREOHPVDQGKRZWKH8QLWHG6WDWHV

      FDQEHKHOSIXO




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 175 of 400
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       $JDLQ,ZDQWWRWKDQN*HQHUDO6FDSDUURWWLIRUKLV

       VHUYLFHDQG,ORRNIRUZDUGWRWKLVPRUQLQJWRKLVWHVWLPRQ\

       &KDLUPDQ0F&DLQ*RRGPRUQLQJ*HQHUDO

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                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 176 of 400
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       &200$1'(586(8523($1&200$1'6835(0($//,('&200$1'(5

       (8523(

       *HQHUDO6FDSDUURWWL&KDLUPDQ0F&DLQ5DQNLQJ0HPEHU

       5HHGDQGGLVWLQJXLVKHGPHPEHUVRIWKHFRPPLWWHH,DP

       KRQRUHGWRWHVWLI\WRGD\DVWKH&RPPDQGHURIWKH8QLWHG

       6WDWHV(XURSHDQ&RPPDQG2QEHKDOIRIRYHU

       SHUPDQHQWO\DVVLJQHGVHUYLFHPHPEHUVDVZHOODVFLYLOLDQV

       FRQWUDFWRUVDQGWKHLUIDPLOLHVZKRVHUYHDQGUHSUHVHQWRXU

      1DWLRQLQ(XURSHWKDQN\RXIRU\RXUVXSSRUW

      %HIRUHVWDUWLQJ,ZRXOGOLNHWRDOVRH[SUHVVP\

      FRQGROHQFHRQEHKDOIRIWKHHQWLUH(XURSHDQ&RPPDQGWHDPIRU

      WKHFLYLOLDQVDQGSROLFHPHQNLOOHGDQGZRXQGHGLQ

      \HVWHUGD\¶VWHUURULVWDWWDFNLQWKH8.2XUWKRXJKWVDQG

      SUD\HUVJRRXWWRWKHVHYLFWLPVDQGWKHLUIDPLOLHVLPSDFWHG

      E\WKLVVHQVHOHVVDWWDFN:HVWURQJO\FRQGHPQWKLVDWWDFN

      DQGZLOOFRQWLQXHWRVWDQGVKRXOGHUWRVKRXOGHUZLWKRXU

      1$72DOO\DQGRXUSDUWQHUVWRGHIHDWWHUURULVP

      &KDLUPDQWKH(XURSHDQWKHDWHUUHPDLQVFULWLFDOWRRXU

      QDWLRQDOLQWHUHVWV7KHWUDQVDWODQWLFDOOLDQFHJLYHVXVD

      XQLTXHDGYDQWDJHRYHURXUDGYHUVDULHVDXQLWHGFDSDEOH

      ZDUILJKWLQJDOOLDQFHUHVROYHGLQLWVSXUSRVHDQG

      VWUHQJWKHQHGE\VKDUHGYDOXHVWKDWKDYHEHHQIRUJHGLQ

      EDWWOH(8&20¶VUHODWLRQVKLSZLWK1$72DQGWKHFRXQWULHV

      ZLWKLQRXU$25SURYLGHVWKH8QLWHG6WDWHVZLWKDQHWZRUNRI




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 177 of 400
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       ZLOOLQJSDUWQHUVZKRVXSSRUWJOREDORSHUDWLRQVDQGVHFXUH

       LQWHUQDWLRQDOUXOHVEDVHGRUGHU2XUVHFXULW\DUFKLWHFWXUH

       SURWHFWVPRUHWKDQELOOLRQSHRSOHDQGKDVVDIHJXDUGHG

       WUDQVDWODQWLFWUDGHZKLFKQRZFRQVWLWXWHVDOPRVWKDOIRIWKH

       ZRUOG¶V*'3

       +RZHYHUWKLVVHFXULW\DUFKLWHFWXUHLVEHLQJWHVWHG

       DQGWRGD\ZHIDFHWKHPRVWG\QDPLF(XURSHDQVWUDWHJLF

       HQYLURQPHQWLQUHFHQWKLVWRU\3ROLWLFDOYRODWLOLW\DQG

       HFRQRPLFXQFHUWDLQW\DUHFRPSRXQGHGE\WKUHDWVWRRXU

      VHFXULW\V\VWHPWKDWDUHWUDQVUHJLRQDOPXOWLGRPDLQDQG

      PXOWLIXQFWLRQDO,QWKHHDVWDUHVXUJHQW5XVVLDKDV

      WXUQHGIURPSDUWQHUWRDQWDJRQLVWDVLWVHHNVWRUHHPHUJHDV

      DJOREDOSRZHU&RXQWULHVDORQJ5XVVLD¶VSHULSKHU\

      LQFOXGLQJ8NUDLQHDQG*HRUJLDVWUXJJOHGDJDLQVW0RVFRZ¶V

      PDOLJQDFWLYLWLHVDQGPLOLWDU\DFWLRQV,QWKHVRXWKHDVW

      VWUDWHJLFGULYHUVRILQVWDELOLW\FRQYHUJHRQNH\DOOLHV

      HVSHFLDOO\7XUNH\ZKLFKKDVWRVLPXOWDQHRXVO\PDQDJH

      5XVVLDWHUURULVWVDQGUHIXJHHIORZV,QWKHVRXWK

      YLROHQWH[WUHPLVWVDQGWUDQVQDWLRQDOFULPLQDOHOHPHQWVVSDZQ

      WHUURUDQGFRUUXSWLRQIURP1RUWK$IULFDWRWKH0LGGOH(DVW

      ZKLOHUHIXJHHVIOHHWR(XURSHLQVHDUFKRIVHFXULW\DQG

      RSSRUWXQLW\$QGLQWKHKLJKQRUWK5XVVLDLVUHDVVHUWLQJ

      LWVPLOLWDU\SUHVHQFHDQGSRVLWLRQLQJLWVHOIIRUVWUDWHJLF

      DGYDQWDJHLQWKH$UFWLF

      ,QUHVSRQVHWRWKHVHFKDOOHQJHV(8&20KDVVKLIWHGLWV




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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 178 of 400
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       IRFXVIURPVHFXULW\FRRSHUDWLRQDQGHQJDJHPHQWWRGHWHUUHQFH

       DQGGHIHQVH$FFRUGLQJO\ZHDUHDGMXVWLQJRXUSRVWXUHRXU

       SODQVRXUUHDGLQHVVVRWKDWZHUHPDLQUHOHYDQWWRWKH

       WKUHDWVZHIDFH,QVKRUWZHDUHUHWXUQLQJWRWKHKLVWRULF

       UROHDVDZDUILJKWLQJFRPPDQGIRFXVHGRQGHWHUUHQFHDQG

       GHIHQVH

       (8&20¶VWUDQVLWLRQZRXOGQRWEHSRVVLEOHZLWKRXWWKH

       FRQJUHVVLRQDOVXSSRUWRIWKH(XURSHDQ'HWHUUHQFH,QLWLDWLYH

       7KDQNVLQODUJHPHDVXUHWR(5,RU(',RYHUWKHODVW

      PRQWKV(8&20KDVPDGHFOHDUSURJUHVVZLWKDQHQKDQFHG

      IRUZDUGSUHVHQFHRUIRUFHSUHVHQFHFRPSOH[H[HUFLVHVDQG

      WUDLQLQJLQIUDVWUXFWXUHLPSURYHPHQWVLQFUHDVHG

      SUHSRVLWLRQLQJRIHTXLSPHQWDQGVXSSOLHVDQGSDUWQHU

      FDSDFLW\EXLOGLQJWKURXJKRXW(XURSH

      %XWZHFDQQRWPHHWWKHVHFKDOOHQJHVDORQH,QUHVSRQVH

      WR5XVVLDQDJJUHVVLRQ(8&20KDVFRQWLQXHGWRVWUHQJWKHQRXU

      UHODWLRQVKLSZLWKVWUDWHJLFDOOLHVDQGSDUWQHUVLQFOXGLQJ

      WKH%DOWLFQDWLRQV3RODQG7XUNH\DQG8NUDLQH(8&20KDV

      DOVRVWUHQJWKHQHGWLHVZLWK,VUDHORQHRIRXUFORVHVW

      DOOLHV$ERYHDOO(8&20KDVVXSSRUWHGWKH1$72DOOLDQFH

      ZKLFKUHPDLQVDV6HFUHWDU\0DWWLVVDLGWKHEHGURFNRIRXU

      WUDQVDWODQWLFVHFXULW\

      7KXV(8&20SRVWXUHLVJURZLQJVWURQJHUDQG,UHPDLQ

      FRQILGHQWLQRXUDELOLW\WRDIIHFWWKLVWUDQVLWLRQ%XW

      WKHUHLVPXFKZRUNWRGR:HPXVWQRWRQO\PDWFKEXW




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 179 of 400
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       RXWSDFHWKHPRGHUQL]DWLRQDQGDGYDQFHVRIRXUDGYHUVDULHV

       :HPXVWLQYHVWLQWKHWRROVDQGFDSDELOLWLHVQHHGHGWR

       LQFUHDVHHIIHFWLYHQHVVDFURVVWKHVSHFWUXPRIFRQIOLFW$QG

       ZHPXVWHQVXUHWKDWZHKDYHDIRUFHWKDWLVFUHGLEOHDJLOH

       DQGUHOHYDQWWRWKHG\QDPLFGHPDQGVRIWKLVWKHDWHU

       7RWKLVHQG(8&20KDVLGHQWLILHGWKHIROORZLQJIRFXV

       DUHDV,65FROOHFWLRQSODWIRUPVWKDWLPSURYHWLPHO\WKUHDW

       LQIRUPDWLRQDQGVWUDWHJLFZDUQLQJODQGIRUFHFDSDELOLWLHV

       WKDWGHWHU5XVVLDIURPIXUWKHUDJJUHVVLRQHQKDQFHGQDYDO

      FDSDELOLWLHVIRUDQWLVXEPDULQHZDUIDUHVWULNHZDUIDUHDQG

      DPSKLELRXVRSHUDWLRQVSUHSRVLWLRQHGHTXLSPHQWWRLQFUHDVH

      RXUUHVSRQVLYHQHVVWRFULVLVDQGHQKDQFHPLVVLOHGHIHQVH

      V\VWHPV

      /HWPHFRQFOXGHE\DJDLQWKDQNLQJWKLVFRPPLWWHH¶V

      PHPEHUVDQGVWDIIIRUWKHLUFRQWLQXHGVXSSRUWRI(8&20QRW

      RQO\WKURXJKLQFUHDVHGIXQGLQJEXWDOVRE\KHOSLQJXVWR

      DUWLFXODWHWKHFKDOOHQJHVWKDWOLHEHIRUHXV6XSSRUWIURP

      RWKHUVHQLRUOHDGHUVDQGDERYHDOOWKHSXEOLFDWKRPHDQG

      DFURVV(XURSHLVYLWDOWRHQVXULQJWKDWZHKDYHDUHDG\DQG

      UHOHYDQWIRUFH

      7KLVUHPDLQVDSLYRWDOWLPHIRU(8&20DVZHWUDQVLWLRQ

      WRPHHWWKHGHPDQGVRIDG\QDPLFVHFXULW\HQYLURQPHQW,

      UHPDLQFRQILGHQWWKDWWKURXJKWKHVWUHQJWKRIRXUDOOLDQFHV

      DQGSDUWQHUVKLSVDQGZLWKWKHSURIHVVLRQDOLVPRIRXUVHUYLFH

      PHPEHUVZHZLOODGDSWDQGHQVXUH(XURSHUHPDLQVZKROH




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 180 of 400
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        IUHHDQGDWSHDFH

        7KDQN\RXDQG,ORRNIRUZDUGWR\RXUTXHVWLRQV

        >7KHSUHSDUHGVWDWHPHQWRI*HQHUDO6FDSDUURWWL

        IROORZV@

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                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 181 of 400
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       &KDLUPDQ0F&DLQ6LQFHDTXRUXPLVQRZSUHVHQW,DVN

       WKHFRPPLWWHHWRFRQVLGHUDOLVWRISHQGLQJPLOLWDU\

       QRPLQDWLRQV$OORIWKHVHQRPLQDWLRQVKDYHEHHQEHIRUHWKH

       FRPPLWWHHWKHUHTXLUHGOHQJWKRIWLPH,VWKHUHDPRWLRQWR

       IDYRUDEO\UHSRUWWKHVHPLOLWDU\QRPLQDWLRQV"

       6HQDWRU5HHG6RPRYHG

       &KDLUPDQ0F&DLQ$QGLVWKHUHDVHFRQG"

       6HQDWRU1HOVRQ6HFRQG

       &KDLUPDQ0F&DLQ$OOLQIDYRUVD\D\H

      >&KRUXVRID\HV@

      &KDLUPDQ0F&DLQ7KHD\HVKDYHLW

      *HQHUDOGR\RXKDYHDQ\JHQHUDOFRPPHQWDERXWWKH

      DWWDFN\HVWHUGD\LQ/RQGRQDQGWKHVLJQLILFDQFHRILW"

      *HQHUDO6FDSDUURWWL6LUWKHDWWDFNLQ/RQGRQ

      XQGHUVFRUHVDJDLQWKHG\QDPLFHQYLURQPHQWLQ(XURSH(XURSH

      LVFKDOOHQJHGE\ERWKDIORZRIWHUURULVWVUHWXUQLQJWR

      (XURSHIURP6\ULDDQGRWKHUSODFHV7KH\DUHFKDOOHQJHGE\

      DQLQWHUQDOWKUHDWRIWKRVHLQVSLUHGE\,6,6RUGLUHFWHGE\

      ,6,6$QGWKLVLVDQH[DPSOHRIWKHDWWDFNVWKDWZHKDYH

      VHHQLQ(XURSHLQWKHSDVW\HDU,WLVDGLIILFXOW

      FKDOOHQJH$V,VDLGZHUHPDLQVROLGDQGVWDQGVKRXOGHUWR

      VKRXOGHUZLWKRXUDOOLHVLQ1$72WRGHIHDWWKLVWKUHDW

      &KDLUPDQ0F&DLQ7KHOLNHOLKRRGRIIXUWKHUDFWLRQV

      OLNHWKLVSDUWLFXODUO\VRPHWKDWDUHVHOILQGRFWULQDWHGLV

      YHU\KDUGWRVWRS




                               $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                           ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 182 of 400
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       *HQHUDO6FDSDUURWWL,WLVVLU$QG,ZRXOGMXVWVD\

       WKDWWKHQXPEHURIWKUHDWVWUHDPVWKDWZHKDYHRIWKLVW\SH

       ZLWKLQ(XURSHLVSUREDEO\KLJKHULQ(XURSHWKDQDQ\RWKHU

       SDUWRIWKHJOREHZLWKWKHH[FHSWLRQRIWKHSODFHVWKDWZH

       DUHDFWXDOO\SK\VLFDOO\ILJKWLQJLQOLNH6\ULDDQG

       $IJKDQLVWDQDQG,UDT

       &KDLUPDQ0F&DLQ,VWKHUHDFRQQHFWLRQEHWZHHQWKDW

       DQGUHIXJHHV"

       *HQHUDO6FDSDUURWWL7KHIORZRIUHIXJHHVDQGWKRVH

      ZKRPRYHWKHPSDUWLFXODUO\FULPLQDODFWLYLWLHVWKDWZLOO

      KHOSPRYHWKHPWKH\DOVRDUHPRUHWKDQZLOOLQJWRPRYH

      ERWKHTXLSPHQWSHUVRQQHOZHDSRQVDQGSHRSOH

      &KDLUPDQ0F&DLQ$V\RXNQRZWKHUHZDVDQDWWHPSWHG

      FRXSLQ0RQWHQHJURE\WKH5XVVLDQV$QGWKH0RQWHQHJULQ

      PHPEHUVKLSLQ1$72LVSHQGLQJDQGRIWKHQDWLRQV,

      EHOLHYHKDYHDOUHDG\UHJLVWHUHGWKHLUDSSURYDO,WLVD

      VPDOOFRXQWU\RQO\SHRSOH,WLVYHU\

      VWUDWHJLFDOO\ORFDWHGDV\RXNQRZ:KDWLV\RXUYLHZRI

      WKHLPSRUWDQFHRI0RQWHQHJURHVSHFLDOO\VLQFHWKH\KDYH

      FRPSOHWHGDOORIWKHYHU\GLIILFXOWSURFHGXUHVQHFHVVDU\WR

      EHFRPHHOLJLEOHZKDWLV\RXUYLHZRIWKHLPSRUWDQFHRI

      WKHLULQFOXVLRQLQ1$72"

      *HQHUDO6FDSDUURWWL&KDLUPDQLWLVDEVROXWHO\

      FULWLFDOWKDWWKH\EHEURXJKWLQWR1$727KH\KDYHKDGWKLV

      GHVLUH7KH\KDYHPHWWKHPDS$QGLWXQGHUVFRUHV1$72¶V




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 183 of 400
                                                                             
       RXWUHDFKDQGDELOLW\WREULQJLQWKRVHZKRZDQWWRGHWHUPLQH

       WKHLURZQPHDQVRIJRYHUQPHQWDQGEHFRPHDSDUWRI1$72,I

       ZHZHUHWRORVHWKLVLWZRXOGVHWEDFNPDQ\RIWKHRWKHU

       FRXQWULHVDQGSHRSOHVSDUWLFXODUO\LQ(DVWHUQ(XURSHZKR

       DUHORRNLQJIRUZDUGWRDQGKDYHWKHLUH\HVVHWRQWKH:HVW

       DQGEHFRPLQJDSDUWRI1$72

       &KDLUPDQ0F&DLQ6RLWLVYHU\LPSRUWDQW

       *HQHUDO6FDSDUURWWL,WKLQNLWLVFULWLFDO\HV

       &KDLUPDQ0F&DLQ,WKDQN\RX

      )LQDOO\\RXWDONHGDERXWWKHPLOLWDU\SUHVHQFH

      QHFHVVDU\IRUDGGLWLRQDOIRUFHVLQ(XURSHEXWRQHRIWKH

      SUREOHPVZHFRQWLQXHWRIDFHIRUH[DPSOHRQHRIWKH

      FDXVHVRIWKHDWWHPSWHGFRXSLQ0RQWHQHJURLVWKHVDWXUDWLRQ

      RISURSDJDQGDHPDQDWLQJIURP5XVVLD:HDOONQRZWKH

      FRQWURYHUV\KHUHLQWKH8QLWHG6WDWHVDERXWRXUHOHFWLRQ

      EXWZHQRZVHHWKHPDFWLYHLQWKH)UHQFKHOHFWLRQ

      DSSDUHQWO\LQWKH*HUPDQHOHFWLRQ%XWPRUHLPSRUWDQWO\

      WKH\DUHLQXQGDWLQJWKH%DOWLFVLQSDUWLFXODU:KDWDUHRXU

      LGHDVRWKHUWKDQDVNIRUDVWUDWHJ\":KDWDUHRXULGHDVDV

      WRKRZWRFRXQWHUZKDWKDVHPHUJHGDVRQHRIWKHJUHDWHVW

      WKUHDWVWRVWDELOLW\LQ(XURSH"

      *HQHUDO6FDSDUURWWL&KDLUPDQ,WKLQNILUVWRIDOO

      ZHKDYHWRFRQIURQWWKLVWKUHDWDVLWLVEHVREHUPLQGHG

      DERXWLW:HKDYHWRGRLWDVDQDOOLDQFHDQGZLWKRXU

      SDUWQHUVDQGZHKDYHWRFDOOLWRXW:HKDYHWRFRQIURQW




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 184 of 400
                                                                             
       LW7KHUHVHHPVWREHDUHOXFWDQFHLQPDQ\RIWKHQDWLRQV

       WRDFWXDOO\FRQIURQWLWZKHQZHVHHLWSXEOLFO\WDNHLWRQ

       $QG,WKLQNZHDVSDUWQHUVKDYHWRIRUPWRJHWKHUDQGEHJLQ

       WRGRWKLV$V\RXVDLGLWLVSUROLILFDQG,EHOLHYHZH

       KDYHJRWWRFRQIURQWLW

       &KDLUPDQ0F&DLQ:HFRXQWHUHG5XVVLDQSURSDJDQGD

       GXULQJWKH&ROG:DUZLWK5DGLR)UHH(XURSHDQG9RLFHRI

       $PHULFD$QGDOO,KDYHVHHQVRIDULVGLVDUUD\LQ3UDJXH

       DERXWWKHUROHWKHIXQGLQJWKHVWUDWHJLHVDQGDOOWKDW

      :KDWGR\RXWKLQNZHQHHGWRGRWKHUHWRKDYHRXURZQ

      HIIHFWLYHFRXQWHUPHVVDJHWREHVHQW",NQRZWKDWLVQRW

      H[DFWO\LQ\RXUDUHDRIUHVSRQVLELOLW\EXW,WKLQNLWLVD

      NLQGRIZDUIDUH

      *HQHUDO6FDSDUURWWL6LULWLV7KH5XVVLDQVVHH

      WKLVDVDSDUWRIWKDWVSHFWUXPRIZDUIDUH7KDWLVWKHLU

      DV\PPHWULFDSSURDFK

      ,ZLOOVWDUWKHUH<RXNQRZZHKDYHLQIRUPDWLRQ

      RSHUDWLRQVWKDWDUHPLOLWDU\DQG,KDYHWKRVHWKDWDUH

      FRXQWHULQJPDOLJQLQIOXHQFHLQ(XURSH%XWZKDWZHUHDOO\

      QHHGLVZHQHHGDZKROHRIJRYHUQPHQWDSSURDFKDZKROHRI

      JRYHUQPHQWLQIRUPDWLRQFDPSDLJQRIZKLFK,DPDVPDOOSDUW

      RIWKDW:HQHHGVRPHERG\LQWKHOHDGRIWKDWDQGWKHQZH

      QHHGWRILQDQFHLWDQGIRUPDJRYHUQPHQWDOVWUDWHJ\$V\RX

      VDLGLQWKH&ROG:DUZHKDGRQH7KHUHLVDVWDUWRQ

      WKDW:HKDYHZKDWLVFDOOHGWKH5,*WKH5XVVLDQ




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 185 of 400
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       ,QIRUPDWLRQ*URXSZKLFKLVWKHEHJLQQLQJVRIWKDW%XW

       WKDWKDVWREHUHLQIRUFHG,WKDVWREHILQDQFHG7KH\

       KDYHWRKDYHWKHDXWKRULWLHVWKDWWKH\QHHGWROHDGWKDW

       IRUZDUG

       &KDLUPDQ0F&DLQ$QGWKHOHDGRQWKDWZRXOGSUREDEO\

       EHWKH6WDWH'HSDUWPHQW5LJKW"

       *HQHUDO6FDSDUURWWL7KH5,*LVFRFKDLUHGZLWK(8&20

       DQGWKH6WDWH'HSDUWPHQWLVWKHOHDG<HVVLU

       &KDLUPDQ0F&DLQ6RLWZRXOGQRWKHOS\RXDQ\LIZH

      VODVKHGWKHVSHQGLQJIRUWKH6WDWH'HSDUWPHQW

      *HQHUDO6FDSDUURWWL1RVLU

      &KDLUPDQ0F&DLQ6HQDWRU5HHG"

      6HQDWRU5HHG:HOOWKDQN\RX0U&KDLUPDQ

      ,QIDFW\RXDQWLFLSDWHGRQHRIWKHTXHVWLRQV,ZDQWHG

      WRUDLVHDERXWWKHPDOLJQLQIOXHQFHVLQHOHFWLRQVDQG

      LQVWLWXWLRQDOFDSDFLW\WKDWDUHHYLGHQWLQ(XURSHWRGD\

      $QG,WKLQN,FDQVDIHO\VD\WKDWZHDUHUHDOO\QRW

      RUJDQL]HGWRGHDOZLWKLWDWWKLVSRLQW,VWKDWFRUUHFW"

      *HQHUDO6FDSDUURWWL<HVVLU,DJUHHZHFDQJHW

      PXFKEHWWHURUJDQL]HGWRGHDOZLWKWKLVWKDQZHDUHWRGD\

      6HQDWRU5HHG/HWPHMXVWJRDVWHSIXUWKHUDQGVD\

      WKDWLQ\RXUHVWLPDWHZKDWDUHWKHVWUDWHJLFHIIHFWVWKDW

      WKH5XVVLDQVDUHWU\LQJWRDFKLHYHE\WKHVHDFWLYLWLHV"

      7KLVLVQRWVRUWRIDUDQGRPNLQGRIMXVWVWLUXSWURXEOH

      IRUWKHVDNHRIVWLUULQJXSWURXEOH:KDWDUHWKHVWUDWHJLF




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 186 of 400
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       REMHFWLYHV"

       *HQHUDO6FDSDUURWWL6LUWKHLURYHUDOOREMHFWLYHLV

       WRXQGHUPLQHWKHJRYHUQPHQWVWKDWRSSRVHWKHPWRUHLQIRUFH

       WKHSROLWLFDOSDUWLHVLQHDFKRIWKRVHFRXQWULHVWKDWPLJKW

       EHDOLJQHGZLWKWKHPWRGHPRQVWUDWHWKHZHDNQHVVRIWKH

       :HVWDQGXQGHUPLQHWKH86DQGWKH:HVW7KH\ZDQWWR

       HQVXUHWKDWWKH\FDQGRPLQDWHSDUWLFXODUO\WKHLUSHULSKHU\

       $QGWKH\DUHGRLQJWKDWWKURXJKWKLVDV\PPHWULFDSSURDFK

       6HQDWRU5HHG1RZ\RXKDYHLQGLFDWHGWKDW

      SDUWLFXODUO\ZLWKWKH(XURSHDQ'HIHQVH,QLWLDWLYHDQGZLWK

      WKHUHVSRQVHLQLWLDWLYHZHDUHEHJLQQLQJWRUHRUJDQL]HUH

      HTXLSHWFHWHUD&DQ\RXJLYHXVDVHQVHRI\RXU

      SULRULWLHV"<RXKDGDORQJOLVWRIDFWLYLWLHVWKDW\RXIHHO

      \RXKDYHWRXQGHUWDNH%XWWKHWRSWKUHHLVVXHVWKDW\RX

      KDYHWRJHWDFFRPSOLVKHGLQWKHQHDUIXWXUH

      *HQHUDO6FDSDUURWWL6LUWKHWRSWKUHHWKDWZHKDYH

      WRJHWDFFRPSOLVKHG,WKLQNILUVWRIDOOLVZHKDYHWR

      JHWRXUSRVWXUHFRUUHFWIRUGHWHUUHQFHDQGWKDWLVDFURVV

      DOOWKHVHUYLFHV,WQRWMXVWZHWHQGWRIRFXVRQWKH

      $UP\SDUWRIWKLVEXWHDFKRIWKHVHUYLFHVSOD\DUROHLQ

      WKDW

      6HFRQGO\ZHKDYHWRHQVXUHWKDWRXUFRPPDQGKDVPDGH

      WKHWUDQVLWLRQWRDFRPPDQGWKDWFDQFRPPDQGDQGFRQWUROLQ

      WKHG\QDPLFHQYLURQPHQWDJDLQVWDQDJJUHVVRUOLNH5XVVLD

      :HMXVWUHFHQWO\KDGRXUFRPPDQGSRVWH[HUFLVHZHKDYHHYHU\




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 187 of 400
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       \HDUV,WZDVDJUHDWH[HUFLVHEXWZKDWLWODLGRXWLV

       WKHFKDQJHVZHKDYH\HWWRPDNHZLWKLQWKHFRPSRQHQW

       FRPPDQGVLQ(XURSHLQRUGHUWRILJKWDIRHOLNH5XVVLD

       6HQDWRU5HHG$QGZLWKUHVSHFWWR8NUDLQHRXUH[SHUW

       SDQHORQ7XHVGD\ZKRGLGDVXSHUEMREVXJJHVWHGWKDWLV

       UHDOO\WKHFULWLFDODUHQDDWWKHPRPHQW,IWKH\DUHDEOH

       WRVXEYHUW8NUDLQHWKHQWKDWZLOOVHQGVKRFNZDYHV

       WKURXJKRXW(XURSH,VWKDWLQ\RXUDVVHVVPHQW"$QGMXVW

       JHQHUDOO\KRZDUHZHFROOHFWLYHO\ERWK1$72WKH8QLWHG

      6WDWHV(8&20DQGWKH(8GRLQJLQWHUPVRIRXUHIIRUWVLQ

      WKH8NUDLQH"

      *HQHUDO6FDSDUURWWL,WKLQNWKHJRRGQHZVZLWK

      UHVSHFWWR8NUDLQHLVWKDWZHDUHXQLILHGDQGZHDUH

      RUJDQL]HG1$72KDVDGHIHQVHIXQGWKDWVXSSRUWVLWDORQJ

      YHU\VLPLODUOLQHVWRWKH86:HDUHWKDQNIXOWR&RQJUHVV

      IRULWVIXQGLQJRIRXUDFWLYLWLHVWKHUH,QIDFWZHOHDGD

      PXOWLQDWLRQDOMRLQWFRPPLVVLRQZKLFKLVDFWXDOO\WKH

      YHKLFOHWKDWDPRQJRXUDOOLHVDQGWKH86DVVHVVHVDQG

      WKHQGLUHFWVWKHUHIRUPWKDWQHHGVWRWDNHSODFHLQ

      FRQMXQFWLRQZLWK8NUDLQH7KH\DOVRGRWKHDVVHVVPHQWRI

      WKHQHHGVLQWHUPVRIHTXLSPHQWDQGWUDLQLQJDQGJXLGHWKDW

      WUDLQLQJ6RZHDUHDFWXDOO\GRLQJWKDWWRJHWKHUZLWKRXU

      SDUWQHUVDVZHOODV1$72WKURXJKWKDWRQHERG\$QG,

      WKLQNLWLVYHU\HIIHFWLYH

      6HQDWRU5HHG$QGLQWKDWUHJDUGDJUHDWGHDOP\




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 188 of 400
                                                                             
       LPSUHVVLRQLVRIWKHFLYLOLDQFDSDFLW\EXLOGLQJDQGWKH

       DQWLFRUUXSWLRQHIIRUWVLVEHLQJGRQHE\WKH(XURSHDQ8QLRQ

       6RWKHLUHIIRUWVDUHDEVROXWHO\FULWLFDOWR86VXFFHVV

       ,VWKDWIDLU"

       *HQHUDO6FDSDUURWWL7KDWLVWUXHVLUDQGLWLV

       FULWLFDO2XUFRQQHFWLRQWR(8DVZHOODV1$72¶VKDVEHHQ

       LQWKHIRUHIURQWKHUHIRUWKHSDVW\HDURUVRIRUPDQ\

       UHDVRQVDQGWKDWLVRQHRIWKHP

       6HQDWRU5HHG7KDQN\RXYHU\PXFK

      7KDQN\RX0U&KDLUPDQ

      &KDLUPDQ0F&DLQ6HQDWRU)LVFKHU"

      6HQDWRU)LVFKHU7KDQN\RX0U&KDLUPDQ

      $QGZHOFRPH*HQHUDO,WLVQLFHWRVHH\RXDJDLQ

      $V\RXNQRZODVWZHHN*HQHUDO6HOYDFRQILUPHG5XVVLD¶V

      GHSOR\PHQWRIDZHDSRQV\VWHPWKDWYLRODWHVWKH,1)7UHDW\

      $QGKHZHQWRQWRVD\WKDWTXRWHWKHV\VWHPLWVHOI

      SUHVHQWVDULVNWRPRVWRIRXUIDFLOLWLHVLQ(XURSHDQGZH

      EHOLHYHWKDWWKH5XVVLDQVKDYHGHOLEHUDWHO\GHSOR\HGLWLQ

      RUGHUWRSRVHDWKUHDWWR1$72DQGWKHIDFLOLWLHVZLWKLQWKH

      1$72DUHDRIUHVSRQVLELOLW\(QGTXRWH

      <RXWRXFKHGRQWKLVLQ\RXURSHQLQJVWDWHPHQWRQSDJH

      DQG\RXVDLGWKDWWKHV\VWHPFUHDWHVDPLVPDWFKLQ

      HVFDODWRU\RSWLRQV&RXOG\RXSOHDVHHODERUDWHRQZKDW\RX

      PHDQE\WKDWDQGZKDWWKHLPSOLFDWLRQVDUHRIWKLV

      GHSOR\PHQW"




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 189 of 400
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       *HQHUDO6FDSDUURWWL:HOOWKLVGHSOR\PHQWJLYHVWKHP

       VRPHDGYDQWDJHLQWHUPVRIUHDFKDQGSUHFLVLRQZLWKLQWKHLU

       V\VWHPV$QGZKHQZHWDONDERXWHVFDODWLRQPDQDJHPHQWLI

       WKHUHLVDWHQVLRQRUDFULVLVZLWK5XVVLDEHFDXVHRIWKHLU

       GRFWULQHDQGWKHLUYLHZWKDWWKH\ZLOOHVFDODWHWRGRPLQDWH

       RUHVFDODWHWRGHHVFDODWHLWFUHDWHVDYHU\WLJKWUDQJHRI

       RSWLRQVZKHQZHZRUNWKURXJKHVFDODWLRQPDQDJHPHQW6RDQ

       HQKDQFHPHQWOLNHWKDWMXVWPDNHVWKLVDYHU\UHVWULFWLYHDQG

       GLIILFXOWPDQDJHPHQWSURFHVV\RXWKURXJKLQGHWHUUHQFH,W

      LVWKDWPXFKPRUHSUHVVXUL]HG6RLWLVDFULWLFDO

      HQKDQFHPHQW,WLVRQHWKDWZHQHHGWRUHVSRQGWR

      6HQDWRU)LVFKHU<RXVD\ZHQHHGWRUHVSRQGDQG\RX

      MXVWPHQWLRQHGRSWLRQVWKHZRUG³RSWLRQ´6HFUHWDU\&DUWHU

      WDONHGDERXWRSWLRQV+HPHQWLRQHGFRXQWHUIRUFH

      FRXQWHUYDLOLQJFDSDELOLWLHVDFWLYHGHIHQVHVEXWZHGLGQRW

      VHHDQ\UHDODFWLRQLQRUGHUWRSXUVXHWKRVH'R\RXWKLQN

      WKDWZHQHHGWR"

      *HQHUDO6FDSDUURWWL<HV,WKLQNZHGR

      6HQDWRU)LVFKHU$QGZKLFKRIWKHVHRSWLRQVGR\RX

      WKLQNZRXOGEHWKHPRVWHIIHFWLYHLQGHDOLQJZLWKWKLV"

      *HQHUDO6FDSDUURWWL,I,FRXOG,ZRXOGOLNHWRWDNH

      WKDWIRUDUHVSRQVHIRUWKHUHFRUG,QHHGWRWKLQNDERXW

      WKHFRPSDULVRQRIWKRVHDFWXDOO\DQGWHOO\RXWKHEHVW

      UHVSRQVH

      >7KHLQIRUPDWLRQIROORZV@




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 190 of 400
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                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 191 of 400
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       6HQDWRU)LVFKHU2ND\7KDQN\RX

       *HQHUDO6FDSDUURWWL7KDQN\RX

       6HQDWRU)LVFKHU$WDUHFHQWKHDULQJRIWKH6WUDWHJLF

       )RUFHV6XEFRPPLWWHHZKLFK,FKDLUZHGLVFXVVHGWKH

       LPSOLFDWLRQVRI5XVVLD¶VQXFOHDUVWUDWHJ\RIWHQUHIHUUHGWR

       DVWKHHVFDODWHGHHVFDODWH$QG*HQHUDO.RHKOHUZKRLVD

       IRUPHU&RPPDQGHURIWKH866WUDWHJLF&RPPDQGPDGHWKH

       SRLQWWKDWWKH5XVVLDQDSSURDFKUHLQIRUFHVWKHYDOXHRI1$72

       UHPDLQLQJDQXFOHDUDOOLDQFHDVZHOODVWKHQHHGIRUWKH

      GHWHUUHQWYDOXHSURYLGHGE\86QXFOHDUZHDSRQVWKDWDUH

      VWDWLRQHGLQ(XURSH

      ,Q\RXUZULWWHQVWDWHPHQW\RXVD\WKDW1$72DQG86

      QXFOHDUIRUFHVFRQWLQXHWREHDYLWDOFRPSRQHQWRIRXU

      GHWHUUHQFH2XUPRGHUQL]DWLRQHIIRUWVDUHFUXFLDO:HPXVW

      SUHVHUYHDUHDG\FUHGLEOHDQGVDIHQXFOHDUFDSDELOLW\

      'R\RXDJUHHWKDW1$72PXVWUHPDLQDQXFOHDUDOOLDQFH

      DQGWKDWWKH86PXVWFRQWLQXHWRVWDWLRQWKRVHQXFOHDU

      ZHDSRQVRQWKH(XURSHDQFRQWLQHQW"

      *HQHUDO6FDSDUURWWL<HV6HQDWRUDEVROXWHO\,GR

      6HQDWRU)LVFKHU&DQ\RXRXWOLQHWRXVVSHFLILF

      EHQHILWVWKDWZHUHFHLYHE\KDYLQJWKRVHVWDWLRQHGWKHUH"

      *HQHUDO6FDSDUURWWL:HOOILUVWRIDOOLWSURYLGHV

      DQLPPHGLDWHUHVSRQVHWKDWLVZLWKLQWKH1$72DOOLDQFHDV

      RSSRVHGWRMXVWWKH86,WUHSUHVHQWVWKHDOOLDQFHLQD

      UHVSRQVHE\QDWLRQVDFRPPLWPHQWE\QDWLRQVWKDWZH




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 192 of 400
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       ZLOOGHWHUDQGZHZLOOGHWHUWKHLUQXFOHDUIRUFHV,WKLQN

       WKDWDORQHLVVLJQLILFDQW

       6HFRQGO\LWJLYHVXVVRPHRWKHURSWLRQVEHFDXVHZH

       KDYHQRWRQO\WKH86EXWRWKHUFRQWLQJHQWVWKDWSURYLGH

       HVVHQWLDOFDSDELOLWLHVZLWKLQWKDWQXFOHDUFDSDELOLW\6R

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       6HQDWRU)LVFKHU$QGLWUHFRJQL]HVWKHLPSRUWDQFHRI

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      6HQDWRU6KDKHHQ7KDQN\RX0U&KDLUPDQ

      $QGWKDQN\RX*HQHUDO6FDSDUURWWLIRUEHLQJKHUHWKLV

      PRUQLQJDQGIRU\RXUVHUYLFHWRWKHFRXQWU\

      ,ZDQWWRIROORZXSRQWKHOLQHRITXHVWLRQLQJWKDW

      6HQDWRUV0F&DLQDQG5HHGVWDUWHGRQWKHZKROHLQIRUPDWLRQ

      ZDUIDUHLVVXH:KHQIRUPHU*HQHUDO%UHHGORYHZDVEHIRUHWKH

      FRPPLWWHHHDUOLHUWKLVZHHNKHSRLQWHGRXWWKDWUHFHQWO\

      5XVVLDKDVHVWDEOLVKHGDQLQIRUPDWLRQZDUIDUHGLYLVLRQ

      ZLWKLQLWVDUPHGIRUFHV'R\RXWKLQN1$72VKRXOGEH

      ORRNLQJDWVRPHWKLQJOLNHWKDW"$UHWKHUHDOUHDG\HIIRUWV

      XQGHUZD\"<RXWDONHGDERXWWKH5,*JURXSEXWVKRXOGZHEH

      GRLQJPRUHZLWKLQ1$72WRDGGUHVVWKHSURSDJDQGDWKDW5XVVLD

      LVSXWWLQJRXWWKURXJKRXW(XURSHDQGWKH8QLWHG6WDWHVE\

      WKHZD\"

      *HQHUDO6FDSDUURWWL<HV6HQDWRU,WKLQNLQWKH




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 193 of 400
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       8QLWHG6WDWHVZHKDYHRUJDQL]DWLRQ,WKLQNWRHIIHFWLYHO\

       RSHUDWH:KDWZHQHHGWRGRLVSROLF\DQGWKHQDFWLRQVWKDW

       IORZIURPWKDWZLWKLQWKH8QLWHG6WDWHV7KDWLVDZKROH

       RIJRYHUQPHQWDSSURDFK7KDWLVSUREDEO\QRWWKHVWUXFWXUH

       WKDWZHKDYHLQWKHZD\WKDWZHQHHGLWWRGD\6RLWLV

       PRUHRIDZKROHRIJRYHUQPHQWUHVSRQVH,ZRXOGWHOO\RX,

       WKLQNZHDUHSUHWW\DJLOHLQWKHPLOLWDU\UDWKHUWKDQ

       HVWDEOLVKLQJVRPHLQIRUPDWLRQFRPPDQGHWFHWHUD:HKDYH

       VPDOOHUXQLWVWKDWWDFWLFDOO\H[HFXWHWKHVHNLQGVRI

      PLVVLRQV,KDYHWKHPLQ(8&20

      :LWKLQ1$721$72KDVWDNHQWKLVRQDVZHOOEXWLWLV

      VRPHZKDWQDVFHQWDWWKLVSRLQW$QG,WKLQNZHGRKDYHWR

      SXUVXHWKDW,PHDQZHKDYHJRWDQDGYHUVDU\KHUHZKRLV

      XVLQJWKLVWRYHU\JRRGEHQHILWDQGZHKDYHWRFRPSHWH

      VKRUWRIFRQIOLFWLQWKLVDUHDDVZHOO

      6HQDWRU6KDKHHQ%XWDV\RXSRLQWRXWZHGRQRW

      UHDOO\KDYHDVWUDWHJ\WRGRWKDWDQGZHGRQRWKDYH

      DQ\ERG\LQFKDUJHRIWKDWLQWKH8QLWHG6WDWHV*RYHUQPHQW

      ,PHDQZHKDYHWKH*OREDO(QJDJHPHQW&HQWHUWKDWLV

      VWDUWLQJXSLQWKH6WDWH'HSDUWPHQW,KDYHVSRNHQDV,DP

      VXUHRWKHUVKDYHZLWKWKHFRQWLQXDWLRQRIWKHHIIRUWVZH

      KDGGXULQJWKH6RYLHW8QLRQZKHQZHKDGWKH&ROG:DUDQGZH

      KDG5DGLR)UHH(XURSHDQGWKH\GLGDWHUULILFMRELQWKRVH

      GD\V%XWZHGRQRWKDYHDFRQWLQXDWLRQRIWKDWWKDWLV

      SDUWRIVKDULQJDQGFRRSHUDWLQJZLWKIDFWXDOO\SUHVHQWLQJ




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 194 of 400
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       ZKDWLVKDSSHQLQJLQWKH:HVWFRPSDUHGWRZKDWLVJRLQJRQ

       ZLWK5XVVLD¶VSURSDJDQGD

       6RZKHUHVKRXOGWKDWHIIRUWEHORFDWHG'R\RXKDYH

       WKRXJKWVDERXWZKRVKRXOGSDUWLFLSDWHLQWKDWDQGKRZZH

       EHWWHUFRRUGLQDWHZKDWZHDUHGRLQJ"

       *HQHUDO6FDSDUURWWL<HV6HQDWRU,GR,WKLQN

       DFWXDOO\WKDWWKH5,*WKH5XVVLDQ,QIRUPDWLRQ*URXSZKLFK

       ,PHQWLRQHGLVDFWXDOO\DJRRGVWUXFWXUHWRVWDUWZLWK,W

       KDV6WDWHDVWKHOHDGFRFKDLUHGZLWK(XURSHDQ&RPPDQG,W

      KDVDOORIWKHRWKHUDJHQFLHVLQYROYHGLQWKDW7KH*(&LV

      DNH\OHDGHULQWKDWZKLFKKDVEHHQHPSRZHUHGWRGRWKH

      FRPPXQLFDWLRQSLHFHRIWKH6WDWH%XW\RXNQRZLWLVQRW

      UREXVWO\VXSSRUWHG,GRQRWEHOLHYHWKDWLWKDVWKHNLQG

      RIIRFXVDQGSULRULW\WKDWZHQHHGWRKDYH6RWKHUHIRUH

      LWH[LVWVEXWLWQHHGVWRUHDOO\EHUHLQIRUFHGIXQGHG$QG

      WKHQDV\RXVDLG,WKLQNZHKDYHDOOWKHWDOHQWDQG

      FUHDWLYLW\ZHQHHGLQWKLV1DWLRQWRGRWKLVEHWWHUWKDQ

      DQ\ERG\HOVH:HMXVWQHHGWRGHFLGHWRGRLW

      6HQDWRU6KDKHHQ7KDQN\RX

      7KHUHZDVDUHSRUW$FWXDOO\,DJUHHZLWK\RX,MXVW

      ZDQWWRPDNHWKDWFOHDU

      7KHUHZDVDUHSRUWHDUOLHUWKLVZHHNDERXW5XVVLD

      WUDLQLQJ.XUGLVKILJKWHUV$QGLWZDVQRWFOHDUWRPHWR

      ZKDWH[WHQWWKH\ZHUHGRLQJWKDW%XWKRZLV7XUNH\

      UHVSRQGLQJWRWKDWUHSRUW"$UHWKH\FRQFHUQHGDERXWZKDW




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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 195 of 400
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       5XVVLDLVGRLQJDQGKRZGRHVWKDWDIIHFWWKHLUVRUWRI

       JURZLQJUDSSURFKHPHQWZLWK5XVVLD"

       *HQHUDO6FDSDUURWWL6HQDWRU,KDYHQRWWDONHGWRP\

       FRXQWHUSDUWWKH&+2'LQ7XUNH\VLQFHWKLVUHSRUWFDPHRXW

       6RZHKDYHQRWWDONHGGLUHFWO\,FDQQRWWHOO\RXH[DFWO\

       ZKDWWKHLUUHVSRQVHRQWKLVZRXOGEH

       %XWJLYHQP\DVVRFLDWLRQZLWKWKHPDQGWKHLUFRQFHUQ

       DERXWWKH3..DQGDVVRFLDWHGJURXSV.XUGJURXSVWKDWDUH

       DOLJQHGZLWKWKHP,WKLQNWKH\ZRXOGKDYHJUHDWFRQFHUQ

      DERXWLW7KH\ZDQWWRHQVXUHWKDWWKHDWWDFNVWKDWWKH\

      KDYHIURPWKH3..DUHQRWUHLQIRUFHGLQDQ\ZD\7XUNH\

      GRHV7KH\DOVRZDQWWRHQVXUHWKDWWKH\GRQRWKDYHWKH

      FDQWRQPHQWVLQ6\ULDDUHQRWFRQQHFWHGLQ6\ULDVRWKH\KDYH

      .XUGLVKHQWLW\DFURVVWKHLUHQWLUHDFURVVWKHLUHQWLUH

      VRXWKHUQERUGHU$QGJLYHQWKRVHWZRREMHFWLYHV,WKLQN

      WKH\DUHYHU\FRQFHUQHGDERXWLWSUREDEO\

      6HQDWRU6KDKHHQ7KDQN\RX

      7KDQN\RX0U&KDLUPDQ

      &KDLUPDQ0F&DLQ6HQDWRU,QKRIH"

      6HQDWRU,QKRIH7KDQN\RX0U&KDLUPDQ

      *HQHUDOODVWZHHNHQG,ZDVLQWKH8NUDLQHDQGZDV

      REVHUYLQJWKHLUWUDLQLQJ7KHWKGRHVDJUHDWMRE,Q

      IDFWWKDWLVWKHVDPHJURXSWKDWQRWORQJDJRZDVSURYLGLQJ

      WKHVDPHWUDLQLQJRIWUDLQLQJLQ$IJKDQLVWDQDQG,UDT$QG

      VRWKH\DUHJRLQJWREHWKHUHIRUD\HDUORQJ<RXNQRZ,




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 196 of 400
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       ZDWFKHGWKDWDQGWKHUHLVUHDOO\DQDUWWRWKDW$QGWKH\

       DUHGRLQJDJUHDWMREEHFDXVHPRVWSHRSOHZLOOWKLQNWKDW

       WKH\DUHWKHUHWRWUDLQWKH8NUDLQLDQVRUZKHUHYHUWKH\DUH

       VWDWLRQHGEXWWKH\UHDOO\WKHUHWRWUDLQWKHPWRWUDLQWKH

       RWKHUVDQGWKHUHLVDELJGLIIHUHQFH6R,ZDQWHG\RXWR

       NQRZWKDWWKH\DUHUHDOO\GRLQJDJRRGMRE

       'XULQJWKHSDUOLDPHQWDU\HOHFWLRQVLQ,ZDVZLWK

       3RURVKHQNRDQGWKHFURZGZKHQRIFRXUVHWKH\KDGWKDWKXJH

       VXFFHVVWKHILUVWWLPHLQ\HDUV1R&RPPXQLVWLVLQWKH

      SDUOLDPHQWWKHUH$QGVRDV\RXNQRZLWEHFDPHYHU\

      FRQWURYHUVLDODIWHUWKDWWRRNSODFHDQG3XWLQVWDUWHG

      NLOOLQJ8NUDLQLDQVDQGZHZDQWHGWRSURYLGHWKHOHWKDO

      GHIHQVLYHDVVLVWDQFH2XUFRPPLWWHHZDVSUHWW\PXFK

      XQDQLPRXVRQWKDW7KHDGPLQLVWUDWLRQZDVQRWWKDWH[FLWHG

      DERXWLW6RLQERWKWKHILVFDO\HDUZHDXWKRUL]HG

      LQILVFDO\HDUDXWKRUL]HGIRUWKH

      VHFXULW\DVVLVWDQFHIRU8NUDLQHLQFOXGLQJOHWKDODVVLVWDQFH

      VXFKDVDQWLDUPRUZHDSRQV

      6R*HQHUDO'XQIRUGGXULQJKLVQRPLQDWLRQKHDULQJVDLG

      WKLV4XRWH+HVDLG,WKLQNLWLVUHDVRQDEOHWKDWZH

      SURYLGHWKDWOHWKDOVXSSRUWIRUWKH8NUDLQLDQV)UDQNO\

      ZLWKRXWWKDWNLQGRIVXSSRUWZHDUHQRWJRLQJWREHDEOHWR

      SURWHFWWKHPVHOYHVDJDLQVWWKH5XVVLDDJJUHVVLRQ

      6R,ZRXOGNLQGRIOLNHWRJHW\RXULGHD'R\RXDJUHH

      ZLWKKLP"'R\RXDJUHHDOVRWKDWZHQHHGWRSURYLGHWKDW




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 197 of 400
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       DVVLVWDQFH":KDWDUHZHSURYLGLQJQRZDQGKRZPXFKPRUH

       VKRXOGZH"

       *HQHUDO6FDSDUURWWL6HQDWRUWKDQN\RX,QVKRUW

       \HV,GRDJUHHZLWKKLP,KDYHEHHQWKHUHWZLFHUHFHQWO\

       ,ZRXOGQRWHWKDW,DJUHH7KH*XDUGLVGRLQJDYHU\

       JRRGMREWKHUHDQGDQLPSRUWDQWRQHLQWKHLUWUDLQLQJ

       UHODWLRQVKLSZLWKWKH8NUDLQLDQV

       ,QWHUPVRIOHWKDOVXSSRUWWKH8NUDLQLDQVDUHLQD

       YHU\WRXJKILJKWZKLFK\RXVDZ7KH\DUHYHU\GLVFLSOLQHG

      VROGLHUV%XWWKH\DUHIDFLQJZKDWZHVD\DUHVHSDUDWLVWV

      7KH\DUHDFWXDOO\5XVVLDQSUR[LHVLQP\PLQG7KH\DUH

      EHLQJSURYLGHGYHU\OHWKDOHTXLSPHQW7KH5XVVLDQVDUH

      SURYLGLQJWKHVHSDUDWLVWVWKDW7KH5XVVLDQVDUHDOVR

      WHVWLQJVRPHRIWKHLUQHZ773VWKHUH6RZHQHHGWR

      UHLQIRUFHWKH8NUDLQLDQPLOLWDU\DVPXFKDVZHFDQDQG

      SURYLGHWKHPWKHEHVWRSSRUWXQLW\WRILJKWZKDWLVDYHU\

      OHWKDO5XVVLDQSUR[\DWWKLVSRLQW

      6HQDWRU,QKRIH$QG,DJUHHZLWKWKDW,KDYHD

      TXHVWLRQIRUWKHUHFRUGDVWRZKDWNLQGRIHTXLSPHQW

      VSHFLILFDOO\ZHVKRXOGGR

      %XW,ZDQWWRPHQWLRQRQHWKLQJ'R\RXKDSSHQWR

      NQRZKLVQDPHLV)DWPLU0HGLX+HZDVWKH6HFUHWDU\RI

      'HIHQVHLQWKH$OEDQLDQGHIHQVH7KH\KDGDPHHWLQJDQG,

      KDSSHQHGWREHDWWHQGLQJWKDWPHHWLQJLWZDVRQ-DQXDU\

      VWNLQGRIDURXQGWDEOHWDONLQJDERXW,6,6DQGWKH




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 198 of 400
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       WKUHDWLQWKH%DONDQV$QGLWZDVNLQGRIUHYHDOLQJ

       $SSDUHQWO\DORWRIWKH,6,6UHFUXLWLQJLVWDNLQJSODFHLQ

       WKH%DONDQVULJKWQRZ'R\RXKDYHDQ\FRPPHQWWRPDNHDV

       WRZKDWRXUDFWLYLW\LVWKHUHLQWHUPVRIZKDWWKHWKUHDWLV

       WKHUH"$UHZHZRUNLQJZLWKWKHPDVFORVHO\DVZHVKRXOG"

       *HQHUDO6FDSDUURWWL,DPYHU\FRQFHUQHGDERXWWKH

       VWDELOLW\LQWKH%DONDQVDQGRQHRIWKHUHDVRQVLVWKDW

       ZKDWLVJHQHUDOO\DPRGHUDWHRUD:HVWHUQORRNLQJ,VODPLF

       SRSXODWLRQLVLQFUHDVLQJO\EHLQJDIIHFWHGE\H[WUHPLVW

      LQIOXHQFHWKHUH$QGSDUWRIWKDWLVUHFUXLWLQJIRU,6,6

      $QGVRLWLVDWUHQGULJKWQRZ,WLVRQH,WKLQNZHKDYH

      WRSD\YHU\FORVHDWWHQWLRQWR

      6HQDWRU,QKRIH2ND\7KDWLVJRRG,DSSUHFLDWHLW

      1RZP\WLPHKDVH[SLUHGEXWIRUWKHUHFRUG,ZRXOG

      OLNHWRJHWDVVSHFLILFLQIRUPDWLRQDVZHFRXOGDVWRZKDW

      EHVWZHFRXOGDIIRUGWRVHQGRYHUWKHUHDJDLQVWWKH

      DJJUHVVLRQWKDWWKH\KDYH2ND\"

      *HQHUDO6FDSDUURWWL<HVVLU7KDQN\RX

      6HQDWRU,QKRIH7KDQN\RX

      &KDLUPDQ0F&DLQ6HQDWRU+HLQULFK"

      6HQDWRU+HLQULFK:HOFRPH*HQHUDO

      $VZDVPHQWLRQHGHDUOLHULWLVEHLQJUHSRUWHGWKDWRXU

      6HFUHWDU\RI6WDWHZLOOEHPLVVLQJWKH1$72VXPPLWRI

      IRUHLJQPLQLVWHUVLQDFRXSOHZHHNV7KLVREYLRXVO\FRPHV

      DWDWLPHZKHQWKHDGPLQLVWUDWLRQKDVFULWLFL]HGWKHYDOXH




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 199 of 400
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       RI1$725XVVLDLVPHGGOLQJLQ(XURSHDQHOHFWLRQVDQG

       5XVVLDLVWKUHDWHQLQJRXU1$72DOOLHVLQWKH%DOWLFV

       'R\RXKDYHDQ\RSLQLRQVRQZKHWKHUWKLVVHQGVWKH

       ULJKWVLJQDOWRRXU1$72DOOLHV"$QGZKDWNLQGRIPHVVDJHV

       GR\RXWKLQNZHVKRXOGEHVHQGLQJWRRXU1$72DOOLHVDWWKLV

       WLPH"

       *HQHUDO6FDSDUURWWL6HQDWRU,WKLQNLWLVHVVHQWLDO

       WKDWRXUDOOLHVLQ1$72XQGHUVWDQGWKDWZHDUHDEVROXWHO\

       FRPPLWWHGWRWKHDOOLDQFHDQGFRQWLQXHWREHDNH\OHDGHU

      ZLWKLQWKHDOOLDQFH

      ,QRWHGWKLVPRUQLQJWKDWWKH6HFUHWDU\*HQHUDODQGWKH

      6HFUHWDU\KDGPHWDQGWKH\DUHORRNLQJIRUDGDWHWKDWDOO

      RIWKHDOOLHVFDQPHHWIRUWKHIRUHLJQPLQLVWHUVFRQIHUHQFH

      $QG,KRSHWKDWLVLQIDFWZRUNHGRXWDQGWKDWEHFRPHVD

      UHDOLW\

      6HQDWRU+HLQULFK$VGR,

      *HQHUDO5XVVLDQGHQLDOGHFHSWLRQGLVLQIRUPDWLRQZHUH

      DOOLPSRUWDQWSDUWVRIWKHK\EULGZDUIDUHFDPSDLJQWKDWZH

      VDZGXULQJWKHLOOHJDOVHL]XUHRI&ULPHDDQGLWV5XVVLDQ

      VXSSRUWIRUVHSDUDWLVWVLQHDVWHUQ8NUDLQH$V(8&20

      &RPPDQGHU\RXOHDGPXFKRIWKHHIIRUWWRLGHQWLI\DQG

      DWWULEXWH5XVVLDQGLVLQIRUPDWLRQRSHUDWLRQV&DQ\RX

      GHVFULEHIRUXVKRZ5XVVLDLVRUJDQL]HGWRFRQGXFWWKLVNLQG

      RILQIRUPDWLRQZDUIDUHDQGZKDWWHFKQLTXHV\RXDUHVHHLQJRQ

      GLVSOD\LQWKH8NUDLQH"




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 200 of 400
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       *HQHUDO6FDSDUURWWL7KDQN\RX

       :KHQ\RXDUHWDONLQJDERXWWKLV\RXWKLQNDERXWLWLQ

       DPLOLWDU\RUJDQL]DWLRQEXWIUDQNO\ZKDW,WKLQNLV

       LPSRUWDQWLVWKDW5XVVLDDFWXDOO\KDVDYHU\EURDGVHWRI

       JURXSVWRLQFOXGHWKHLULQWHOOLJHQFHJURXSVWKDWDUHGRLQJ

       WKLV6RWKH\DFWXDOO\KDYHDZKROHRIJRYHUQPHQWDSSURDFK

       RQWKLVZKLFK,WKLQNPDNHVLWRQHPRUHGLIILFXOW,WLV

       RQHRIWKHUHDVRQVWKDWZHDOVRVHHZKDW,WKLQNLVDSUHWW\

       UDSLGRUDJLOHXVHRIVRFLDOPHGLD79

      6HQDWRU+HLQULFK$EVROXWHO\

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      IRUFHWREHUHFNRQHGZLWKDWWKLVSRLQW$QG,WKLQNLWLV

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      6HQDWRU+HLQULFK'R\RXKDYHUHFRPPHQGDWLRQVLQWHUPV

      RIEXLOGLQJRXUFDSDFLW\RUWKDWRIRXUDOOLHVDQGSDUWQHUV

      LQWKHUHJLRQWREHDEOHWRUHVLVWWKHVHNLQGV5XVVLDQ

      LQIOXHQFHDFWLYLWLHV"

      *HQHUDO6FDSDUURWWL:HOO,WKLQNILUVWRIDOOLQ

      (8&20ZHKDYHHOHPHQWVWKDWWRGD\KDYHPLVVLRQVWRFRXQWHU

      5XVVLDQPDOLJQLQIOXHQFHERWKWRLGHQWLI\LWFRXQWHULW

      DQGWKHQWKLUGZHDUHEXLOGLQJSDUWQHUFDSDFLW\$QGZH

      DUHH[FKDQJLQJWHFKQLTXHVHWFHWHUD(VWRQLDKDVDQ

      H[FHOOHQWF\EHUFHQWHURIH[FHOOHQFHIRULQVWDQFH7KDWLV

      DNH\QRGHLQ1$72:HZRUNYHU\FORVHO\ZLWKWKDW6RZH

      QHHGWRFRQWLQXHWKRVHNLQGVRISDUWQHUVKLSVDQGH[FKDQJHRI




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 201 of 400
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       VNLOODQGXQGHUVWDQGLQJKRZWKH\DUHZRUNLQJ$QG,WKLQN

       SDUWLFXODUO\DVDQDOOLDQFHZHFDQFRXQWHUWKLV

       6HQDWRU+HLQULFK,WKLQNEHFDXVHRIWKHLUSUR[LPLW\

       ZHDFWXDOO\KDYHDORWWROHDUQIURPRXU%DONDQSDUWQHUV

       DQGJLYHQZKDWZHKDYHVHHQHYHQLQRXURZQHOHFWLRQVLWLV

       WLPHWROHDUQWKRVHOHVVRQV

       5XVVLD¶VDLUGHIHQVHV\VWHPVOLNHWKH6DQG6

       WKUHDWHQWREORFNRXUDELOLW\WREHDEOHWRSURMHFWSRZHULQ

       WKHHYHQWRIDFRQIOLFWLQWKH(XURSHDQUHJLRQSDUWLFXODUO\

      LQWKH%DOWLFV7KLVFHUWDLQO\XQGHUPLQHVWKH86DQG

      1$72¶V$UWLFOHFRPPLWPHQWWRWKHGHIHQVHRIWKHVHDOOLHV

      DQGUDLVHVFRQFHUQVDERXWWKHDOOLDQFH¶VDELOLW\WRGHWHUDQ

      LQFUHDVLQJO\DJJUHVVLYH5XVVLD

      +RZFDSDEOHDUHWKH5XVVLDQDLUGHIHQVHV\VWHPV

      SDUWLFXODUO\LQ.DOLQLQJUDG"

      *HQHUDO6FDSDUURWWL6LU,ZRXOGMXVWVWDWHLQDQ

      XQFODVVLILHGYHQXHWKH\DUHYHU\FDSDEOH7KHQHZHU

      V\VWHPVOLNHWKH6LVDGHILQLWHHQKDQFHPHQWLQWKHLU

      FDSDELOLWLHV7KDWLVZK\ZHDUHFRQFHUQHGDERXWLW$V

      \RXVWDWHGWKHLUORFDWLRQLQ.DOLQLQJUDGDQG&ULPHDDQGWKH

      0HGLWHUUDQHDQSURYLGHVGLIILFXOW\IRURXUDFFHVVDQG

      PRELOLW\:HFDQFRXQWHUWKLV,DPFRQILGHQWRIWKDW

      6HQDWRU+HLQULFK'R\RXKDYHRSLQLRQVLQWKDWUHJDUG

      RQZKDWW\SHVRIQH[WJHQHUDWLRQWHFKQRORJLHVIRUH[DPSOH

      ZHZLOOQHHGWRHIIHFWLYHO\FRXQWHUWKH5XVVLDQ$$'




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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 202 of 400
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       FDSDELOLWLHV"

       *HQHUDO6FDSDUURWWL8SIURQWZKDW,WDONHGDERXWLQ

       WHUPVRIRXUDGYDQFHGDLUFUDIWILIWKJHQHUDWLRQHQKDQFHG

       PXQLWLRQVSDUWLFXODUO\ORQJUDQJHSUHFLVLRQPXQLWLRQV

       HOHFWURQLFZDUIDUHWKRVHWKLQJVJHQHUDOO\LVZKDWZHQHHG

       WRFRQWLQXHRXUPRGHUQL]DWLRQHIIRUWVRQ$QGLI\RXZRXOG

       OLNH,FRXOGJLYH\RXDPRUHVSHFLILFLQDFODVVLILHG

       UHVSRQVHREYLRXVO\

       6HQDWRU+HLQULFK,ZRXOGDSSUHFLDWHWKDW*HQHUDO

      7KDQN\RX&KDLUPDQ

      &KDLUPDQ0F&DLQ6HQDWRU5RXQGV"

      6HQDWRU5RXQGV7KDQN\RX0U&KDLUPDQ

      *HQHUDOWKDQN\RXIRU\RXUVHUYLFH,DSSUHFLDWHWKH

      RSSRUWXQLW\WRYLVLWIRUMXVWDIHZPLQXWHVWRGD\

      :LWKUHJDUGWR0RQWHQHJURWKHFKDLUPDQKDGEHJXQWKH

      GLVFXVVLRQLQWHUPVRIWKHSRVVLELOLWLHVWKDWWKH\FRXOG

      EHFRPHDPHPEHURI1$72,IWKH\ZHUHWREHFRPHDPHPEHURI

      1$72ZKDWZRXOG\RXH[SHFWWKH5XVVLDQUHVSRQVHWREHDQG

      KRZZRXOG\RXSUHSDUHIRULW"

      *HQHUDO6FDSDUURWWL6HQDWRU,WKLQNZHKDYHSUREDEO\

      VHHQWKHLUUHVSRQVHLQWHUPVRIWKHLUDFWLYLW\DQGWKHLU

      DWWHPSWWREORFNWKDW,WKLQNWRDFHUWDLQH[WHQWWKH\

      NQRZWKLVLVJRLQJWRKDSSHQ,WUXVWLWZLOO

      ,QDFRQYHUVDWLRQZLWKRQHRI1$72¶VPLQLVWHUVRQHRI

      WKHFRXQWULHVWKDWKDVFRPPXQLFDWLRQZLWK5XVVLDQ




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 203 of 400
                                                                             
       OHDGHUVKLSKHVKDUHGZLWKPHWKDWD5XVVLDQOHDGHUWROGKLP

       WKDW3XWLQKDGVDLGKHORVW0RQWHQHJUREXWWKHUHZLOOQRW

       EHDQRWKHU0RQWHQHJUR,WKLQNWKDWLVDQLQGLFDWLRQRIKRZ

       WKH\WKLQNDQGKRZLPSRUWDQWLWLVWRWKHPWKDWWKHVHRWKHU

       QDWLRQVWKDWVHHNWRKDYHDGHPRFUDWLFJRYHUQPHQWDQGWXUQ

       WRWKH:HVWDUHXQGHUWKUHDW,WLVRQHRIWKHUHDVRQVWKDW

       ,WKLQN5XVVLDFRQWLQXHVWRKDYHIUR]HQFRQIOLFWVDQGEH

       SUHVHQWLQSODFHVOLNH*HRUJLDDQG8NUDLQHEHFDXVHLWLV

       WKHLUPHDQVRIFRQWUROOLQJWKDW

      6HQDWRU5RXQGV<RXKDYHJRWH[WHQVLYHEDFNJURXQGLQ

      (XURSH<RXNQRZDQXPEHURIWKH(XURSHDQOHDGHUV:LWK

      WKHFKDQJHLQDGPLQLVWUDWLRQVQDWXUDOO\WKHUHDUHJRLQJWR

      EHVRPHTXHVWLRQVLQWHUPVRISROLF\FKDQJHVGHFLVLRQ

      PDNLQJSURFHVVHVDQGVRIRUWK:KDWTXHVWLRQVDUH\RX

      JHWWLQJIURP\RXU(XURSHDQFRQWDFWVLQWHUPVRIOHDGHUVDQG

      ZKDWFRQFHUQVGRWKH\KDYH"

      *HQHUDO6FDSDUURWWL:HOO,WKLQNILUVWRIDOODVD

      QHZDGPLQLVWUDWLRQFRPHVLQWKH\ZDQWWRHQVXUHWKDWZHDUH

      FRPPLWWHGWRWKHDOOLDQFHDQGWKHVHFXULW\RIWKH

      WUDQVDWODQWLF$25)RULQVWDQFH6HFUHWDU\0DWWLVDWWKH

      ILUVW1$72PHHWLQJDWWKHGHIHQVHPLQLVWHUVFRQIHUHQFHPDGH

      RXUFRPPLWPHQWYHU\FOHDUDVGLG9LFH3UHVLGHQW3HQFHDW

      0XQLFK$QG,WKLQNWKDWLVFULWLFDO7KH\ORRNWRWKDW

      7KH\DOVRQRZORRNWRZKDWDUHWKHSROLFLHVDQGDUHWKH

      SROLFLHVFRQVLVWHQWZLWKVHFXULW\LQWKHWUDQVDWODQWLF




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 204 of 400
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       UHJLRQ2IFRXUVHLQDQHZDGPLQLVWUDWLRQWKH\DUH

       ORRNLQJIRUZDUGWRSROLFLHVZLWKUHVSHFWWR1$72SROLFLHV

       ZLWKUHVSHFWWR$IJKDQLVWDQDQGRWKHUV

       6HQDWRU5RXQGV:KHQLWFRPHVWRGRLQJ\RXUMRE\RX

       FOHDUO\KDYHWRKDYHWKHWRROVDQGWKHWRROVLQSURSHU

       ZRUNLQJRUGHULQRUGHUWRJHWWKHMREGRQH,I\RXFRXOG

       JLYHXVDOLVWRIWKRVHDUHDVWKDW\RXKDYHWKHPRVWFRQFHUQ

       ZLWKRXUFDSDELOLWLHVWRGD\$QG,ZLOOMXVWJLYH\RXDQ

       H[DPSOH7KHIDFWWKDWULJKWQRZLIZHKDYHRQHWDVNIRUFH

      OHDYLQJWKH0HGLWHUUDQHDQFRPLQJWKURXJKDQGDQRWKHURQH

      JRLQJLQLQVRPHFDVHVZHDUHDFWXDOO\VWRSSLQJLQWKH

      PLGGOHRIWKH0HGLWHUUDQHDQDQGWUDGLQJDPPREHFDXVHZHGR

      QRWKDYHHQRXJKDPPRWROLWHUDOO\PDLQWDLQRSHUDWLRQDO

      FDSDELOLWLHVLQPXOWLSOHWDVNIRUFHV7KRVHW\SHVRIWKLQJV

      FRQFHUQXV:HKDYHDQXFOHDUVXEPDULQHVLWWLQJDWWKHGRFN

      EHFDXVHOLWHUDOO\ZHFDQQRWJHWWKHPDLQWHQDQFHGRQHRQLW

      VRWKDWLWLVFHUWLILHGWRGLHDWWKLVVWDJHRIWKHJDPH

      DQXFOHDUVXEPDULQH7KHUHDGLQHVVFOHDUO\LVQRWWKHUHLQ

      VRPHFDVHV

      'R\RXKDYHLVVXHVULJKWQRZXQGHU\RXUFRPPDQGWKDW

      \RXZRXOGVKDUHZLWKXVWKDW\RXKDYHFRQFHUQVZLWK"

      *HQHUDO6FDSDUURWWL6HQDWRU,ZRXOGOLNHWRJHWLQWR

      GHWDLOLQDFODVVLILHGRUFORVHGVHVVLRQ%XWJHQHUDOO\,

      ZRXOGVD\WKLV7KHGHPDQGVRIRXUVHFXULW\VWUDWHJ\WRGD\

      LQWKHG\QDPLFZRUOGWKDWZHDUHZRUNLQJLQUHTXLUHVXVWR




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 205 of 400
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       KDYHPRUHFDSDFLW\WKDQZHKDYHWRGD\LQRXUDUPHGIRUFHV

       <RXQRWHGWKH1DY\6RLQ(XURSH,GRQRWKDYHWKHFDUULHU

       RUWKHVXEPDULQHFDSDFLW\WKDWZRXOGEHVWHQDEOHPHWRGRP\

       MRELQ(8&20,WLVVXIILFLHQWEXWLWLVQRWZKDWLGHDOO\

       ,ZRXOGOLNHWRKDYHWRGHWHU5XVVLDDVVXUHRXUDOOLHV

       EXLOGWKHLUFDSDFLW\ZRUNZLWKWKHPRQWKHEDVLVWKDWZH

       QHHGWRZRUNZLWKWKHP6RWKDWLVDQH[DPSOHRIWKHDUHDV

       1RZ\RXPHQWLRQHGPXQLWLRQV,DPFRQFHUQHGDERXW

       WKDWDVZHOOEHFDXVHZHDUHXVLQJPXQLWLRQVWRGD\LQWKRVH

      SODFHVZKHUHZHDUHLQFRQIOLFW$QGWKHDGYHUVDULHVWKDW

      ZHIDFHIRULQVWDQFH5XVVLDRU&KLQDRU1RUWK.RUHDZLOO

      EHKLJKLQWHQVLW\FRQIOLFWV$QGZHKDYHWRLQYHVWLQWKH

      VWRFNSLOHVWKDWZHQHHGDQGZHDOVRKDYHWRLQYHVWLQ

      HQKDQFLQJWKRVHPXQLWLRQVVRDVZHORRNWRWKHIXWXUHZHGR

      QRWILQGRXUVHOYHVLQDSRVLWLRQZKHUHRXUDGYHUVDULHVKDYH

      RXWSDFHGXV

      6HQDWRU5RXQGV7KDQN\RX*HQHUDO

      7KDQN\RX0U&KDLUPDQ

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      6HQDWRU3HWHUV7KDQN\RX0U&KDLUPDQ

      $QGWKDQN\RX*HQHUDO6FDSDUURWWLIRUEHLQJKHUH

      WRGD\,FHUWDLQO\DSSUHFLDWH\RXUWHVWLPRQ\DQGDOVR

      ZDQWHGWRWKDQN\RXIRUEHLQJYHU\JHQHURXVZLWK\RXUWLPH

      DWWKH0XQLFKFRQIHUHQFHZKHUHZHKDGDQRSSRUWXQLW\WR

      GLVFXVVPDQ\RIWKHVHLVVXHVDWOHQJWK




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 206 of 400
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       *HQHUDODV\RXDUHZHOODZDUHZHDUHLQFUHDVLQJO\

       UHO\LQJRQVSDFHF\EHUVSDFHDQGILEHURSWLFFRPPXQLFDWLRQV

       FDEOHVLQDOODVSHFWVRIRXUOLYHV$QGWKHVHV\VWHPVDUH

       DOVRFULWLFDOIRUVRFLDODQGHFRQRPLFDFWLYLW\DQGWKHLU

       DVVXUHGDFFHVVDQGDYDLODELOLW\LVYLWDOWRWKH86

       VWUDWHJLFVWDELOLW\$QGZKHQ\RXORRNDW5XVVLD¶VQDY\

       RSHUDWLRQVULJKWQRZLQWKH(8&20WKHDWHUZKLFKLQFOXGHVD

       VLJQLILFDQWIRRWSULQWLQWKH$UFWLFZKLFKLVJURZLQJ

       GUDPDWLFDOO\ZLWKRXWQHFHVVDU\UHVSRQVHIURPXVDQGD

      ELOOLRQH[SDQVLRQRIWKH%ODFN6HDIOHHWE\5XVVLD

      DSSHDUVFRPPLWWHGWREROVWHULQJWKHLUPLOLWDU\

      LQIUDVWUXFWXUHRQ(8&20¶VIODQNV7KLVLQFUHDVHG2367(032

      LQFOXGHVQDYDODFWLYLW\WKDWVXJJHVWVWKDW5XVVLDULJKWQRZ

      LVH[SORULQJXQGHUVHDFDEOHYXOQHUDELOLWLHVDWPXFKJUHDWHU

      GHSWKVGHSWKVZKHUHWKHFDEOHVDUHGLIILFXOWWRPRQLWRUDQG

      EUHDNVDUHKDUGHUWRUHSDLU

      6RP\TXHVWLRQLVLQJHQHUDOZKDWLV\RXUDVVHVVPHQW

      DVWRZKHWKHURUQRWZHKDYHVXIILFLHQWUHGXQGDQF\ZLWKLQ

      (8&20¶VFRPPDQGDQGFRQWURODUFKLWHFWXUHWRLQFOXGH

      EDOOLVWLFPLVVLOHGHIHQVHV\VWHPVWRZLWKVWDQGD

      FRRUGLQDWHGDWWDFNRQRXUXQGHUVHDWHUUHVWULDODQGVSDFH

      EDVHGFRPPXQLFDWLRQV\VWHPVWKDW\RXUHO\RQ"

      *HQHUDO6FDSDUURWWL6LUZKDW,ZRXOGOLNHWRGRLV

      UHVSRQGWRWKDWLQDFODVVLILHGYHQXHVR,FDQJLYH\RXD

      YHU\DFFXUDWHDQVZHU




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 207 of 400
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       6HQDWRU3HWHUV6XUH

       *HQHUDO6FDSDUURWWL,DPFRQILGHQWRIRXUDELOLW\WR

       RSHUDWHWRGD\$V,MXVWVDLGZHMXVWGLGRXUFRPPDQGSRVW

       H[HUFLVHDQGZHZHUHORRNLQJDWWKDW%XWZHQHHGWR

       PRGHUQL]HZKDWZHKDYHWRGD\LQWHUPVRIFRPPDQGDQG

       FRQWURODV\RXQRWHGLQRUGHUWRKDYHWKHULJKWNLQGRI

       UHVLOLHQFHZLWKWKHDGYHUVDU\WKDWZHIDFH<RXQHHGDJRRG

       GHDORIUHGXQGDQF\WREHVXUH$QGWKDWLVRQHRIWKH

       DUHDV,I\RXQRWHLQDFODVVLILHGYHQXHZKDW,KDYH

      DVNHGRI26'WKDWLVRQHRIWKHNH\DUHDVWKDW,WKLQNZH

      QHHGWRZRUNRQLVWKH&VWUXFWXUHZLWKLQ(XURSH

      6HQDWRU3HWHUV:HOO,ZRXOGDSSUHFLDWHWKDWDQG

      DFWXDOO\IROORZLQJXSRQ6HQDWRU+HLQULFK¶VTXHVWLRQVWRRDV

      \RXFRPHEDFNWREULHIRQVRPHRIWKH$$'FDSDELOLWLHV,

      ZRXOGEHLQWHUHVWHGLQOHDUQLQJPRUHDERXWWKDW

      SDUWLFXODUO\ZKHQLWFRPHVWRQH[WJHQHUDWLRQZKDWZHQHHG

      WREHLQYHVWLQJLQWRGD\WREHUHDG\IRUWKH\HDUVDKHDGDV

      ZDUIDUHFKDQJHVGUDPDWLFDOO\LQWKHQH[WIHZ\HDUV

      %XWEDVHGRQFDSDELOLWLHVWRIROORZXSP\ODVW

      TXHVWLRQKHUHUHODWHGWRFDSDELOLWLHVLQWKHILVFDO\HDU

      1'$$EXGJHW,FROHGDQHIIRUWWRHQKDQFHOHWKDOLW\RI

      WKH6WU\NHUYHKLFOHVZLWKDPLOOLPHWHUFDQQRQ7KLVZDV

      LQUHVSRQVHWRDQRSHUDWLRQDOQHHGVVWDWHPHQWIURPWKHQG

      &DYDOU\5HJLPHQWZKHUHWKH6WU\NHUVZHUHWKHKHDYLHVW

      YHKLFOHVSHUPDQHQWO\VWDWLRQHGLQ(XURSHDWWKDWWLPH$QG




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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 208 of 400
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       ,XQGHUVWDQGWKDWWKHZRUNWRDGGWKHPLOOLPHWHUFDQQRQ

       WR6WU\NHUVLVJRLQJZHOO7KHILUVWSURWRW\SHZDV

       VXFFHVVIXOO\GHOLYHUHGODVW2FWREHUDQGWUDLQLQJLV

       EHJLQQLQJRQWKRVHYHKLFOHV

       7KH(5,DOVRSURYLGHVIXQGVIRUXSJUDGLQJWKH$EUDPV

       WDQNVWREHSUHSRVLWLRQHGLQ(XURSHDVZHOO

       6RFRXOG\RXMXVWSURYLGHDQXSGDWHRQWKHQHHGIRU

       WKLVFDSDELOLW\DQGLIZHQHHGWRFRQWLQXHWREHPRYLQJ

       IRUZDUGDQGWKDWDQ\ODSVHVLQWKDWXSJUDGHHLWKHURIWKH

      $EUDPVRUWKH6WU\NHULVDSUREOHPRUQRWIRU\RX"

      *HQHUDO6FDSDUURWWL6HQDWRUWKDQN\RXYHU\PXFK

      ,WLVQRWDSUREOHPIRUPHEXWLWLVDSULRULW\

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      *HQHUDO6FDSDUURWWLJLYHQWKHDGYHUVDU\WKDWZH

      KDYHZKRFRQWLQXHVWRPRGHUQL]H3DUWLFXODUO\5XVVLDLV

      PRGHUQL]LQJWKHLUDUPRUHGIRUFHDVZHOODVLQHDFKRQHRI

      WKHLUVHUYLFHVWKH\DUHPDNLQJDGYDQFHPHQWV6RLWLV

      FULWLFDOWKDWZHRXWSDFHWKDWWKDWZHSURYLGHRXUVROGLHUV

      LQWKLVFDVHWKHYHU\EHVWHTXLSPHQWWKDWZHFDQDQGZH

      FRQWLQXHWRXSJUDGHLW

      $EUDPVLVDILQHWDQNEXWDVWHFKQRORJ\FKDQJHVZH

      FDQPDNHXSJUDGHVWRLWDQGPDNHLWEHWWHUDQGZHPDNHLW

      EHWWHULQWHUPVRIGHIHQVHDVZHOO$QGZHRZHWKDWWRRXU

      VROGLHUV

      6HQDWRU3HWHUV$QGWKH6WU\NHUDVZHOO"




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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 209 of 400
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       *HQHUDO6FDSDUURWWL$QGWKH6WU\NHUDVZHOO

       DEVROXWHO\

       6HQDWRU3HWHUV*UHDW7KDQN\RX*HQHUDO,

       DSSUHFLDWHLW

       *HQHUDO6FDSDUURWWL7KDQN\RX

       &KDLUPDQ0F&DLQ6HQDWRU6XOOLYDQ"

       6HQDWRU6XOOLYDQ7KDQN\RX0U&KDLUPDQ

       $QG*HQHUDOJRRGWRVHH\RX7KDQNVIRUVSHQGLQJ

       WLPHZLWKDQXPEHURIXVLQ0XQLFK

      'R\RXDJUHHWKDWRQHRIWKHPRVWLPSRUWDQWVWUDWHJLF

      DGYDQWDJHVZHKDYHLQWHUPVRIRXUQDWLRQDOVHFXULW\LVWKDW

      ZHDUHDQDOO\ULFKQDWLRQRXUDGYHUVDULHVDUHDOO\SRRU"

      *HQHUDO6FDSDUURWWL6HQDWRUDEVROXWHO\

      6HQDWRU6XOOLYDQ$QGGR\RXDOVRDJUHHWKDWWKHDOO\

      SRRUQDWLRQVOLNH5XVVLD&KLQD1RUWK.RUHD,UDQWKDW

      WKH\UHFRJQL]HWKDWWKH\GRQRWKDYHPDQ\DOOLHVDWDOO

      DQGWKDWWKH\WU\WRXQGHUPLQHRXUDOOLDQFHV",VWKDWQRW

      ZKDWFHUWDLQO\9ODGLPLU3XWLQLVXSWR"

      *HQHUDO6FDSDUURWWL<HVVLU,WKLQNKLVLQWHQWLV

      DFWXDOO\WRIUDFWXUH1$72DQG,WKLQNLWLVEHFDXVHKHGRHV

      IHDU1$72+HNQRZVWKHSRZHURIWKDWDOOLDQFH

      6HQDWRU6XOOLYDQ6RJLYHQWKDWDUHZHGRLQJHQRXJK

      GLSORPDWLFDOO\PLOLWDULO\ULJKWQRZWKH7UXPS

      DGPLQLVWUDWLRQWRUHLQIRUFHRXUDOOLDQFHVH[SDQGRXU

      DOOLDQFHVGHHSHQRXUDOOLDQFHV":KDWLV\RXUDVVHVVPHQWRI




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 210 of 400
                                                                             
       ZKDWZHDUHGRLQJDQGZKDWZHFRXOGEHGRLQJEHWWHUZKHWKHU

       LWLVLQWKHPLOLWDU\UHDOPRUGLSORPDWLFUHDOP"+RZDUHZH

       GRLQJRQWKDW"

       *HQHUDO6FDSDUURWWL6LU,WKLQNZHDEVROXWHO\KDYHD

       IRFXVRQEXLOGLQJSDUWQHUFDSDFLW\EXLOGLQJRXU

       UHODWLRQVKLSVZLWKRXUSDUWQHUV:HDUHDOHDGHULQ1$72

       )URPD(8&20SHUVSHFWLYHWKDWLVVRPHWKLQJ,PHDQZH

       ZRUNRQWKLVHYHU\GD\,GRQRWWKLQNWKHUHLVDQ\

       TXHVWLRQRIWKDWSDUWLFXODUO\RQWKHPLOLWDU\VLGH,WLVD

      YHU\FORVHUHODWLRQVKLSZLWKRXUSDUWQHUV,WLVGD\WR

      GD\$QG\RXNQRZLWZRUNVERWKZD\V:HOHDUQIURPRXU

      DOOLDQFHSDUWQHUVDVZHOO

      6HQDWRU6XOOLYDQ$UHWKHUHWKLQJVWKDW\RXUHFRPPHQG

      WKDWZHFRXOGGRPRUHRIRUEHWWHULQWKDWUHJDUG",WLV

      UHDOO\UHDOO\DQLPSRUWDQWLVVXHRUWKH6HQDWH":HSOD\

      DELJUROHLQWHUPVRIRXUDOOLHVWUHDWLHV

      *HQHUDO6FDSDUURWWL:HOO,WKLQNLQWHUPVRIWKH

      DOOLDQFHLWVHOIKHUHDJDLQ,NHHSFRPLQJEDFNWRLWEXW,

      WKLQNLWLVZKROHRIJRYHUQPHQWLQWKHVHQVHWKDWHYHU\

      DJHQF\LQWKHJRYHUQPHQWGRHVWKHLUSDUWDQGLWLVFOHDUWR

      RXUDOOLHVWKDWIURPHYHU\DJHQF\LQWKH8QLWHG6WDWHVWKDW

      WKHDOOLDQFHLVLPSRUWDQWDQGLWVKRZVDQGGHPRQVWUDWHVLQ

      LWVDFWLRQVWKDWWKHDOOLDQFHLVWKHEHGURFNRI

      WUDQVDWODQWLFVHFXULW\6RWKHUHLVQRGLVDJUHHPHQWLQZKDW

      WKH\VHHLQWHUPVRIDFWLRQQRWMXVWRQWKHPLOLWDU\VLGH




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 211 of 400
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       EXWLQWHUPVRIRXUGLSORPDF\RXULQIRUPDWLRQRXU

       HFRQRPLFVHWFHWHUD

       6HQDWRU6XOOLYDQ,ZDQWHGWRVZLWFKRYHUWRDQLVVXH

       WKDWDQXPEHURIXVKDYHEHHQIRFXVHGRQDQGZHKDYHKDG

       GLVFXVVLRQVRQLWLVZKDWLVKDSSHQLQJLQWKH$UFWLFDQG

       WKHLQFUHDVLQJLPSRUWDQFHRIWKDWUHJLRQLQWHUPVRI

       VWUDWHJLFUHVRXUFHVWUDQVSRUWDWLRQDORWRIFRQFHUQVRI

       RXU1$72DOOLHVOLNHWKH1RUZHJLDQVDQGRWKHUVDERXWWKH

       VLJQLILFDQW5XVVLDQEXLOGXSLQWKH$UFWLF$QGDV\RXNQRZ

      LWGRHVQRWORRNOLNHDIULHQGO\EXLOGXSIRXUQHZEULJDGH

      FRPEDWWHDPVDQHZ$UFWLFPLOLWDU\FRPPDQGYHU\DJJUHVVLYH

      DFWLRQVLQWKHKLJKQRUWKLQFOXGLQJDPLOLWDU\H[HUFLVH

      WKDWZDVD61$3H[HUFLVHZLWKFORVHWRWURRSVWKDW

      (8&20ZDVEDUHO\DZDUHRIZKLFKLVNLQGRILQDQGRI

      LWVHOIQRWDJRRGVLJQ

      $QXPEHURIXV6HQDWRU.LQJWKHFKDLUPDQZHUH

      FRQFHUQHGHQRXJKWKDWZHGLGQRWKDYHDVWUDWHJ\RQWKDW

      6RZHUHTXLUHGWKH6HFUHWDU\RI'HIHQVHWRDFWXDOO\SXW

      IRUZDUGDQHZ$UFWLFVWUDWHJ\7KHUHLVDFODVVLILHGDQG

      XQFODVVLILHGYHUVLRQ+DYH\RXUHDGWKDW"

      *HQHUDO6FDSDUURWWL,KDYHQRWUHDGLWQR

      6HQDWRU6XOOLYDQ6R,ZRXOGKLJKO\UHFRPPHQGWKDW\RX

      WDNHDORRNDWLWEHFDXVHLWLVWKHQHZ'2'VWUDWHJ\,WLV

      QRWSHUIHFWEXWLWLVDKHFNRIDORWEHWWHUWKDQWKHRQH

      WKDWZDVSUHYLRXVO\SXEOLVKHGE\'2'ZKLFKZDVSUHWW\PXFK




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 212 of 400
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       DMRNH$QGVRRIFRXUVH(8&20KDVDORWRILPSRUWDQW

       HOHPHQWVWRSOD\LQWKDWVWUDWHJ\

       %XWRQHRIWKHWKLQJVLWHPSKDVL]HVLWGRHVWDONDERXW

       RXUVWUDWHJLFLQWHUHVWVZKLFKWKHODVWVWUDWHJ\GLGQRW

       HYHQERWKHUWRGR%XWRQHRIWKHWKLQJVLWHPSKDVL]HVLV

       ORRNLQJDWIUHHGRPRIQDYLJDWLRQRSHUDWLRQVWKHDELOLW\WR

       DFWXDOO\SXVKEDFNRQWKH5XVVLDQEXLOGXSZKLFKLQFOXGHV

       LFHEUHDNHUVPRUHXQGHUFRQVWUXFWLRQVHYHUDOQHZ

       VHDSRUWVDQGKDUERUV

      %XWDOWKRXJKLWHPSKDVL]HV)21236GR\RXWKLQNULJKW

      QRZLI5XVVLDGHFLGHGWRGHQ\DFFHVVWRYLWDO86RU$UFWLF

      VKLSSLQJODQHVLQWKH$UFWLFUHJLRQWKDW\RXDVWKH

      &RPPDQGHURI(8&20FRXOG\RXSURYLGHWKH3UHVLGHQWDQ

      RSWLRQRIFRQGXFWLQJDVXUIDFH)2123WRFKDOOHQJHWKDWDFW

      OLNHZHDUHWU\LQJWRGRLQWKH6RXWK&KLQD6HDJLYHQRXU

      DVVHWVULJKWQRZ"%HFDXVHWKHVWUDWHJ\HPSKDVL]HV)21236

      EXWLWFHUWDLQO\VHHPVOLNHWKHPHDQVWKDWZHKDYHULJKWQRZ

      ZRXOGQRWHQDEOH\RXWRPDNHVXFKDUHFRPPHQGDWLRQWRWKH

      3UHVLGHQW:KDWGR\RXWKLQNDERXWWKDW*HQHUDO"

      *HQHUDO6FDSDUURWWL,WKLQNLWLVZRXOGGHSHQGDV

      ZHOORQWKHFLUFXPVWDQFHVLQWHUPVRIORFDWLRQDQGWLPHRI

      \HDUEHFDXVHRIWKHDVVHWVWKDWZHKDYHDVZHOO$V\RX

      NQRZWKHQRUWKHUQVHDURXWHOD\VLQFORVHVWSUR[LPLW\WR

      5XVVLD¶VFRDVWOLQHDVZHOOZKLFKFRPSOLFDWHVWKDWJLYHQ

      WKHLUPLOLWDU\EXLOGXS6RZHFOHDUO\QHHGWRLQYHVWPRUH




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 213 of 400
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       LQWKHNLQGRIDVVHWVWKDWKHOSXVLQWKH$UFWLF6RWKDW

       LVKRZ,ZRXOGUHVSRQGWRWKDW6HQDWRU

       :HFDQJLYHRSWLRQV:HFHUWDLQO\QHHGWRLPSURYHRXU

       FDSDELOLWLHV$QG,DPFRQFHUQHGDVZHOODERXWRXU

       FDSDELOLWLHVZLWKUHVSHFWWRWKHKLJKQRUWKDQGVHFXULW\RI

       WKH1RUWK$WODQWLFHWFHWHUD

       6HQDWRU6XOOLYDQ7KDWLVMXVWDGLDJUDPRIZKDWWKH

       5XVVLDQVDUHGRLQJ,WLVSUHWW\VLJQLILFDQW

       7KDQN\RX0U&KDLUPDQ

      &KDLUPDQ0F&DLQ6HQDWRU.LQJ"

      6HQDWRU.LQJ7KDQN\RX0U&KDLUPDQ

      )LUVW*HQHUDO,ZDQWWRWKDQN\RXDQG\RXUVWDIIIRU

      SUHSDULQJDQGSUHVHQWLQJWRWKHFRPPLWWHHWKLVPDSZKLFK,

      WKLQNLVH[WUDRUGLQDU\,DPDJUHDWEHOLHYHUWKDW\RX

      FDQQRWFRQIURQW\RXUDGYHUVDULHVXQOHVV\RXXQGHUVWDQGWKHP

      XQOHVV\RXXQGHUVWDQGKRZWKH\WKLQN$QGWRPHWKHDPD]LQJ

      RUYHU\LQWHUHVWLQJDQGLOOXPLQDWLQJSDUWRIWKLVPDSLW

      VKRZVWKHERUGHUVRIWKH6RYLHW8QLRQLQDQGWRGD\WKH

      ERUGHUVRU5XVVLD$QGHVVHQWLDOO\IURP3XWLQ¶VSRLQWRI

      YLHZKLVERUGHUUHWUHDWHGDERXWPLOHVDFURVVDZKROH

      IURQWRIHDVWHUQ(XURSH$QGFOHDUO\WKDWLVSDUWRIKLV

      ZRUOGYLHZLQWHUPVRI5XVVLD¶VSURSHUSODFHLQWKHZRUOG

      :RXOG\RXDJUHH"

      *HQHUDO6FDSDUURWWL<HVVLU,DJUHH7KDWLVZK\,

      WKLQNWKHPDSLVLOOXVWUDWLYHEHFDXVH,WKLQNLI\RXDUH




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 214 of 400
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       3XWLQ\RXDUHORRNLQJRXWIRU0RVFRZDQG\RXVHHZKDW,

       WKLQNKHZRXOGFRQVLGHUWRKDYHEHHQKLVVWUDWHJLFEXIIHU

       ,WWHOOV\RXDELWDERXWKLVPLQGVHWDQGIURPZKDWZHNQRZ

       DERXWKLPKHIHHOVDVWKRXJKKHKDVEHHQHQFURDFKHGXSRQ

       WKDWKHKDVWKLVVSKHUHRILQIOXHQFHWKDWKHEHOLHYHVLV

       ULJKWIXOO\KLV2IFRXUVHWKHVHDUHQDWLRQVWKDWKDYHD

       ULJKWWRGHWHUPLQHWKHLURZQJRYHUQPHQW

       6HQDWRU.LQJ$QGSDUWRI5XVVLD¶VKLVWRU\LVDNLQG

       RISDUDQRLDDERXWWKH:HVWJRLQJEDFNWR)UHGHULFNWKH

      *UHDWDQGSUREDEO\1DSROHRQ7KH\KDYHLQIDFWEHHQ

      LQYDGHGIURPWKH:HVW$QGDJDLQWKDWFRQWULEXWHVWRWKLV

      PLQGVHW:RXOG\RXQRWDJUHH"

      *HQHUDO6FDSDUURWWL,DJUHHVLU<HVVLU

      6HQDWRU.LQJ$QGWKDWJHWVWRP\UHDOFRQFHUQDQG

      ,KDYHUDLVHGWKLVLQRWKHUKHDULQJVERWKLQWKH6RXWK

      &KLQD6HDRULQ(XURSHLVWKHGDQJHURIDQDFFLGHQWDOZDU

      DGDQJHURIPLVXQGHUVWDQGLQJFRQIXVLRQOHDGLQJWRVRPH

      NLQGRIHVFDODWLRQ

      :KDWSURWHFWLRQVGRZHKDYHIURPDPLVXQGHUVWDQGLQJ"

      )RUH[DPSOHZHGHSOR\ZKDWZHFRQVLGHUDGHIHQVLYHURFNHW

      EDWWHU\PLVVLOHEDWWHU\LQ3RODQGDQGWKH5XVVLDQVUHDG

      WKDWDVDQDJJUHVVLYHDFWDQGLWJRHVIURPWKHUH+RZGR

      ZHHQVXUHWKDWGRHVQRWKDSSHQ"$V,YLHZWKHZRUOGWRGD\

      ,WKLQNWKLVLVRXUJUDYHVWVRUWRIVWDWHWRVWDWHGDQJHU

      LVPLVXQGHUVWDQGLQJDQGOHDGLQJWRDFFLGHQWDOFRQIOLFW




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 215 of 400
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       *HQHUDO6FDSDUURWWL<HVVLU7KHWKLQJWKDW,ZRUU\

       DERXWWKHPRVWMXVWGD\WRGD\LVWKDWWKHUHLVD

       PLVFDOFXODWLRQRUDQLVVXHZKHUHZHKDYHIRUFHVLQFORVH

       SUR[LPLW\6RKRZGRZHGHDOZLWKWKDW"

       )LUVWRIDOOWKHUHDUHLQWHUQDWLRQDOQRUPVLQWKHDLU

       DWVHDHWFHWHUDWKDWGD\WRGD\WKH5XVVLDQVDGKHUHWRDV

       ZHOO:HKDYHVHHQYLRODWLRQVRIWKDWRQWKHLUSDUW%XW

       LWHQDEOHVXV

       6HQDWRU.LQJ'HFRQIOLFWLRQ

      *HQHUDO6FDSDUURWWL,WLVGHFRQIOLFWLRQ7KDWLV

      FRUUHFW,WLVDJRRGZRUG

      7KHVHFRQGWKLQJLV,WKLQNLWLVLPSRUWDQWWKDWZH

      FRPPXQLFDWHZLWKWKHP7RGD\ZHGRWKDWSULPDULO\WKURXJK

      WKHPHGLDHWFHWHUD%XWZHKDYHDV\RXNQRZFRQQHFWLRQ

      ZLWKWKH5XVVLDQVIRUGHFRQIOLFWLRQ,WKLQNWKDW

      FRPPXQLFDWLRQLVLPSRUWDQWEHFDXVHZKDW,WU\WRGRLQ

      (8&20

      6HQDWRU.LQJ'R\RXKDYHGLUHFWOLQHVRI

      FRPPXQLFDWLRQZLWK\RXURSSRVLWHQXPEHULQ5XVVLDIRU

      H[DPSOH"

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      6HQDWRU.LQJ'R\RXQRWWKLQNWKDWZRXOGEHDJRRG

      LGHD"<RXFRXOGVD\ZDLWDPLQXWHWKDWPLVVLOHZDV

      ODXQFKHGE\DFFLGHQWGRQRWJHWDODUPHG,PHDQ,WKLQN

      KDYLQJWKDWNLQGRIFRPPXQLFDWLRQDQGDWWKHKLJKHUOHYHO




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 216 of 400
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       DWWKH6WDWH'HSDUWPHQWRUDWWKH:KLWH+RXVHOHYHOWKHUH

       VKRXOGEHWKHRSSRUWXQLW\DQ\ZD\IRUWKLVNLQGRI

       FRPPXQLFDWLRQ

       *HQHUDO6FDSDUURWWL:HGRKDYHFRPPXQLFDWLRQIRU

       GHFRQIOLFWLRQZLWKLQ26'WRGD\,WLVOLPLWHG,DJUHH

       ZLWK\RX,WKLQNFRPPXQLFDWLRQLVDQLPSRUWDQWFRPSRQHQW

       RIGHWHUUHQFHIRULQVWDQFH%XW,WKLQNDOVRJLYHQ

       5XVVLD¶VEHKDYLRUWKHUHLVVRPHOLPLWDWLRQWRWKDW:H

       VKRXOGQRWUHZDUGWKHPIRUVRPHRIWKHLUEDGEHKDYLRUDV

      ZHOO6RZHVKRXOGGRZKDWZHQHHGWRGRWRHQVXUHZHDUH

      VDIHDQGZHGHFRQIOLFW

      6HQDWRU.LQJ,DPQRWVXJJHVWLQJZDUQLQJWKHP,DP

      MXVWVXJJHVWLQJLIVRPHWKLQJRFFXUV\RXFRXOGJHWRQWKH

      OLQHDQGVD\ZDLWDPLQXWH'RQRWPLVLQWHUSUHWWKDW

      7KDWLVZKHUHWKHFRQFHUQFRPHV

      *HQHUDO6FDSDUURWWL7KDWLVFRUUHFW

      6HQDWRU.LQJ:HWDONHGDORWDQG,MXVWZDQWWR

      DVVRFLDWHP\VHOIZLWKPDQ\RIWKHRWKHUFRPPHQWVDERXWWKH

      LQIRUPDWLRQZDU7RPHWKHVSHFLILFDQVZHUWRRXUIDLOXUH

      WRHQJDJHVXFFHVVIXOO\LQWKHLQIRUPDWLRQZDUJRHVEDFNWR

      ,WKLQNRUZKHQZHDEROLVKHG86,$7KHUHLVQR

      VLQJOHSRLQWLQWKH8QLWHG6WDWHV*RYHUQPHQWWRGD\WKDWLV

      LQFKDUJHRILQIRUPDWLRQDQG,WKLQNLWLVLQH[FXVDEOHWKDW

      WKHFRXQWU\WKDWLQYHQWHG+ROO\ZRRGDQG)DFHERRNLVEHLQJ

      GHIHDWHGRQWKHLQIRUPDWLRQEDWWOHILHOG$QGFOHDUO\WKDW




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 217 of 400
                                                                             
       LVSDUWRIWKHZDUWKDWZHDUHHQJDJHGLQ3XWLQLV

       DFKLHYLQJJUHDWVXFFHVVLQ(XURSHDQGDFURVVWKHZRUOGDQG

       RQHZRXOGDUJXHLQPDQ\DUHDVZLWKRXWILULQJDVKRWWKURXJK

       HIIHFWLYHXVHRILQIRUPDWLRQ,WKLQNRXUIULHQGVRQWKH

       )RUHLJQ5HODWLRQV&RPPLWWHHSHUKDSVFDQFRQVLGHUWKDW%XW

       86,$ZDVWKHSRLQWDQGQRZZHGRQRWKDYHLW6R,KRSHZH

       FDQUHFRYHUWKDWFDSDFLW\VRRQHUUDWKHUWKDQODWHU

       7KDQN\RXYHU\PXFK*HQHUDO

       6HQDWRU5HHG>SUHVLGLQJ@2QEHKDOIRI&KDLUPDQ

      0F&DLQ6HQDWRU&UX]SOHDVH

      6HQDWRU&UX]7KDQN\RXYHU\PXFK6HQDWRU5HHG

      *HQHUDOJRRGPRUQLQJ7KDQN\RXIRU\RXUVHUYLFH

      7KH(XURSHDQWKHDWHUFRQWLQXHVWREHDYLWDOFRQFHUQD

      FULWLFDODQGFRPSOH[UHJLRQWKDWZLOODOZD\VEHQHDUWKHWRS

      RIRXUQDWLRQDOVHFXULW\SULRULWLHV

      ,ZDQWWREHJLQE\IRFXVLQJRQWKHUHSHDWHGUHSRUWVZH

      DUHVHHLQJRI5XVVLD¶VJURZLQJVXSSRUWIRUWKH7DOLEDQDQG

      IRU,6,6*HQHUDO1LFKROVRQWHVWLILHGODVWPRQWKWKDW

      5XVVLDLVDWWHPSWLQJWROHJLWLPL]HWKH7DOLEDQDQGXQGHUPLQH

      WKH$IJKDQ*RYHUQPHQW-XVWDIHZZHHNVDJR*HQHUDO9RWHO

      H[SUHVVHGKLVFRQFHUQVUHJDUGLQJWKHH[WHQWWRZKLFK5XVVLD

      KDVPDQDJHGWRSURSXSWKH$VVDGUHJLPH$QGLQWKHVDPH

      KHDULQJ*HQHUDO:DOGKDXVHUVDLGWKDW5XVVLDLVWU\LQJWR

      H[HUWLQIOXHQFHRQWKHRXWFRPHRIZKLFKHQWLW\HPHUJHVZLWK

      FRQWURORIWKHJRYHUQPHQWLQVLGH/LE\D7KDWLVDIDLUO\




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 218 of 400
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       FRPSUHKHQVLYHOLVWRIUDGLFDO,VODPLFWHUURULVWKRWVSRWV

       DFURVVWKHJOREHIURP$IJKDQLVWDQWRWKH0LGGOH(DVWWR

       $IULFDDQG5XVVLDVHHNLQJDGGLWLRQDOLQIOXHQFHZLWKHDFK

       +RZVKRXOGWKLVLQIRUPRXUIXWXUHVWUDWHJLFFKRLFHV

       ZLWKUHVSHFWWR5XVVLDDQGZKDWLPSDFWZRXOGWKDWKDYHRQ

       \RXU$25"

       *HQHUDO6FDSDUURWWL6HQDWRUWKDQN\RX,WKLQN

       WKRVHDUHDOODFFXUDWH,DJUHHZLWKDOOWKHLUVWDWHPHQWV

       ,WKLQNDFWXDOO\WKDWLWLVDSDUWRI5XVVLD¶VLQWHQW

      WRSUHVHQWWKHPVHOYHVDVDJOREDOSRZHU,QP\YLHZZKHUH

      WKH\DUHLQYROYHGWKH\DUHQRWQHFHVVDULO\VRFRQFHUQHG

      DERXWWKHRXWFRPHMXVWWKDWWKH\FDQEHDSDUWRILW7KH\

      FDQEHVHHQDVEHLQJDSDUWRIWKDW:KHWKHULWLVDQ

      HIIHFWLYHRXWFRPH,GRQRWWKLQNLWLVDVPXFKRIDFRQFHUQ

      WRWKHP

      6RWKDWLVZKDWZHQHHGWRWDNHIURPWKLVPRUHVRIURP

      RXUSRLQWRIYLHZWKHIDFWWKDWWKH\DUHDVSRLOHURIWHQLQ

      PDQ\RIWKHVHFDVHV6RZHDOVRKDYHWRHQJDJHWKHPLQWKLV

      PDQQHUDQGZHKDYHWRHQJDJHJOREDOO\DVZHOOLQWKHVH

      SODFHVLQRUGHUWRHQVXUHWKDWZHKDYHWKHSURSHULQIOXHQFH

      6HQDWRU&UX]$QGLI5XVVLDZHUHWRVXFFHHGLQ

      XQGHUPLQLQJWKH$IJKDQ*RYHUQPHQWZKDWZRXOGWKHHIIHFWRI

      WKDWEHRQWKH1$72DOOLDQFH"

      *HQHUDO6FDSDUURWWL,WZRXOGEHVLJQLILFDQW,PHDQ

      1$72DQGWKH8QLWHG6WDWHVLQP\YLHZPXVWZLQLQ




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 219 of 400
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       $IJKDQLVWDQ$QG,DJUHH,KDYHVHHQWKHLQIOXHQFHRI

       5XVVLDRIODWHDQLQFUHDVHGLQIOXHQFHLQWHUPVRI

       DVVRFLDWLRQDQGSHUKDSVHYHQVXSSO\WRWKH7DOLEDQ

       6HQDWRU&UX]:HKDYHDOVRVHHQRYHUWKHSDVWIHZ

       PRQWKVQXPHURXVLQVWDQFHVRI5XVVLDQDJJUHVVLRQRUKRVWLOH

       EHKDYLRUVXFKDV5XVVLDQMHWVEX]]LQJWKH861DY\

       GHVWUR\HU3RUWHUDQGQXPHURXVLQWHUFHSWVRI86DLUFUDIWLQ

       WKH%DOWLF6HD$QGVRPHRIWKHVHLQFLGHQWVKDYHEHHQ

       H[FHHGLQJO\XQVDIH5HFHQWO\5XVVLDDOVRGHSOR\HGDODQG

      EDVHGFUXLVHPLVVLOHLQFOHDUYLRODWLRQRIWKH,1)7UHDW\

      $QGDOVRD5XVVLDQVS\DX[LOLDU\JDWKHULQJLQWHOOLJHQFH

      VKLSFRQGXFWHGRSHUDWLRQVRIIWKH86FRDVWQHDURXU

      VXEPDULQHEDVHV

      *HQHUDOLQ\RXUSURIHVVLRQDORSLQLRQZKDWVKRXOGEH

      WKH86¶VUHVSRQVHVWRWKHVHDFWLRQV"+RZGRZHUHGXFH

      5XVVLD¶VIORXWLQJRILQWHUQDWLRQDOQRUPV"

      *HQHUDO6FDSDUURWWL6HQDWRUILUVWRIDOOZHPXVWEH

      VWURQJLQDOOWKDWZHGR:HVKRXOGFRQIURQWWKHPLQHDFK

      RIWKHVHRFFDVLRQVRUHDFKRIWKHVHLQFLGHQWV$QGWKHQZH

      QHHGWRVDLODQGIO\HYHU\SODFHWKDWLVZLWKLQ

      LQWHUQDWLRQDOQRUPVDQGLQWHUQDWLRQDODLUZD\VDQGPDULWLPH

      :HMXVWQHHGWRNHHSGRLQJWKDW<RXNQRZIRULQVWDQFHLQ

      WKH%DOWLFRULQWKH%ODFN6HDWKHVHHQFRXQWHUVDUHWKHLU

      PHDQVRIVKRZLQJXVWKHLUGLVSOHDVXUHIRUXVEHLQJWKHUH

      :HKDYHHYHU\ULJKWWREHWKHUH:HKDYHLQIDFW




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 220 of 400
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       LQFUHDVHGRXUSUHVHQFHDQG,WKLQNWKDWLVWKHULJKWVWHS

       LQFUHDVHRXUSUHVHQFHDQGLQVLVWRQWKHIDFWWKDWZHKDYH

       HYHU\ULJKWZLWKLQLQWHUQDWLRQDOODZWRRSHUDWHWKHUHDQG

       FRQWLQXHWRGRVR

       6HQDWRU&UX]/HWPHVKLIWWRDGLIIHUHQWTXHVWLRQ

       $PHULFDQIRUFHVKDYHFRQGXFWHGVHYHUDOGHSOR\PHQWVLQ

       VXSSRUWRI2SHUDWLRQ$WODQWLF5HVROYHWRGHPRQVWUDWHRXU

       FRPPLWPHQWWRWKHVWDELOLW\RI(XURSH5HFHQWO\

       VROGLHUVDQG$+$SDFKHKHOLFRSWHUVGHSOR\HGWR(XURSH

      IURP)RUW%OLVV+RZHYHUHDUOLHUWKLVPRQWKWKH$UP\¶V

      'HSXW\RI&KLHIIRU2SHUDWLRQV/LHXWHQDQW*HQHUDO-RVHSK

      $QGHUVRQH[SUHVVHGFRQFHUQVUHJDUGLQJVXVWDLQDEOHUHDGLQHVV

      IRUWKH$UP\¶VIXWXUHURWDWLRQV,QHVVHQFHLWVRXQGVOLNH

      VROGLHUVWKDWDUHFRPLQJKRPHIURPRQHGHSOR\PHQWZLOOKDYH

      OHVVWLPHWRJHWUHDG\DQGWUDLQEHIRUHUHGHSOR\LQJWRWKH

      (XURSHDQWKHDWHU7KDWRUWKH$UP\ZLOOEHIRUFHGWRUHGXFH

      LWVJOREDOFRPPLWPHQWV

      *HQHUDOGR\RXVKDUHWKHVDPHFRQFHUQVDV*HQHUDO

      $QGHUVRQUHJDUGLQJWKLVURWDWLRQRIIRUFHV$QGZKDWLPSDFW

      GR\RXVHHLQ\RXU$25DQGZKDWGR\RXUHFRPPHQGWRLPSURYH

      WKHVLWXDWLRQ"

      *HQHUDO6FDSDUURWWL6HQDWRUILUVWRIDOOLWLV

      FUXFLDOWKDWZHFRQWLQXHWKHURWDWLRQVZLWKLQ(XURSHIRU

      GHWHUUHQFHRI5XVVLDDQGIRUDVVXUDQFHDQGVXSSRUWRIRXU

      DOOLHVWKHFRPPLWPHQWVWKDWZHKDYHPDGH%XW,GRDJUHH




                               $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                           ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 221 of 400
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       ZLWK*HQHUDO$QGHUVRQWKDWIRULQVWDQFHLQWKH$UP\DVDQ

       $UP\RIILFHUZHDUHOHVVWKDQDWRGZHOO:HDUH

       WXUQLQJRXUSHRSOHYHU\TXLFNO\,WLVWKHUHDVRQWKDWRXU

       &KLHIKDVVDLGWKDWZHQHHGWRJURZRXUIRUFHDQGZHQHHG

       WRIRFXVRQUHDGLQHVVDVKHLVGRLQJEHFDXVHZHDUH

       FRPPLWWHGWRGD\DWDYHU\KLJKUDWH

       6HQDWRU&UX]7KDQN\RX*HQHUDO

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       2QEHKDOIRIWKHFKDLUPDQ6HQDWRU'RQQHOO\SOHDVH

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      :HWDONDORWDERXW5XVVLD¶VHVFDODWHWRGHHVFDODWH

      VWUDWHJ\RUWKHLGHDWKDW5XVVLDKDVLQGLFDWHGWKURXJKLWV

      ZRUGVDQGLWVH[HUFLVHVWKDWLWVHHVWKHXVHRIWDFWLFDO

      QXFOHDUZHDSRQVWRVXSSRVHGO\GHHVFDODWHDFRQIOLFWDVD

      UHDOLVWLFRSWLRQ

      +RZVKRXOG1$72UHVSRQGWRWKLV"$QGGRHVWKH8QLWHG

      6WDWHVKDYHWKHFDSDELOLWLHVZKHWKHUWKURXJKGXDOXVH

      DLUFUDIWRUVWUDWHJLFERPEHUVWRGHWHUVXFKDQHVFDODWRU\

      PRYH"

      *HQHUDO6FDSDUURWWL6HQDWRUWKDQN\RX

      $V,KDYHVDLGZHVKRXOGEHVWURQJLQWKHIDFHRIERWK

      WKHLUUKHWRULFWKHLUDFWLRQVDQGWKHLUPRGHUQL]DWLRQ$QG

      ZHGRKDYHWKHFDSDELOLW\WRGHWHUWKLV%XWZHPXVWUHPDLQ

      VWURQJDQGZHPXVWFRQWLQXHWRPRGHUQL]HJLYHQWKHSDFHRI




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 222 of 400
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       WKHLUPRGHUQL]DWLRQVRWKDWLQWKHIXWXUHZHFRQWLQXHRXU

       GRPLQDQFH

       6HQDWRU'RQQHOO\,DPMXVWZRQGHULQJSHUVRQDOO\'R

       \RXWKLQNWKDW9ODGLPLU3XWLQDQGRUWKH5XVVLDQVEHOLHYH

       WKDWWKH\FRXOGXVHDQXFOHDUZHDSRQZLWKRXWDVLPLODU

       VFDOHGUHVSRQVH"

       *HQHUDO6FDSDUURWWL7KDWLVDJRRGTXHVWLRQ,WKLQN

       WKDWDERXWWKDWDORW

       <RXNQRZWKH\KDYHVDLGSXEOLFO\WKDWWKH\VHHWKH

      SRWHQWLDORIWKHXVHRIDQXFOHDUZHDSRQLQZKDWZHZRXOG

      FRQVLGHUDWDFWLFDODQGFRQYHQWLRQDOPHDQV$QGWKDWLV

      MXVWDODUPLQJ

      6HQDWRU'RQQHOO\,WKLQNLWLVDFOHDU

      PLVXQGHUVWDQGLQJRIZKRZHDUHDVZHOO

      *HQHUDO6FDSDUURWWL([DFWO\

      6HQDWRU'RQQHOO\LVZKDW,WKLQN

      ,ZDVSULYLOHJHGWREHRYHULQ*HRUJLDDQG8NUDLQHQRW

      WRRORQJDJR0\IULHQGDQGIHOORZ+RRVLHU6HQDWRU/XJDU

      KHOSHGFUHDWHWKH1XQQ/XJDU&RRSHUDWLYH7KUHDW5HGXFWLRQ

      SURJUDPWRFRPEDWWKHVSUHDGRIZHDSRQVRIPDVVGHVWUXFWLRQ

      $QGZKLOHZHZHUHWKHUHZHVSHQWDORWRIWLPHZRUNLQJZLWK

      WKH*HRUJLDQDQG8NUDLQH*RYHUQPHQWLQHIIRUWVWRFRXQWHU

      WKHVPXJJOLQJRIWKRVHPDWHULDOV

      5XVVLDKDVGHVWDELOL]HGERUGHUVLQERWKWKHVH

      FRXQWULHVDQG,DPFRQFHUQHGDERXWWKHLPSDFWWKDWKDVKDG




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 223 of 400
                                                                             
       RQWKHDELOLW\WRVPXJJOHQXFOHDUPDWHULDOWKURXJK

       XQFRQWUROOHGUHJLRQVOLNHHDVWHUQ8NUDLQH,Q*HRUJLDLQ

       IDFWWKHVSHFLDOSROLFHXQLWFDOOVWKRVHNLQGRIDUHDVWKH

       EODFNKROHV,WLVDVHULRXVWKUHDWJLYHQWKDWWKH

       VPXJJOLQJQHWZRUNVLQWKHVHUHJLRQVUHDFKWRWKHWHUURULVW

       QHWZRUNVLQWKH0LGGOH(DVW7KDWLVWKHSLSHOLQH

       $QG,ZDVZRQGHULQJZKDW(8&20LVGRLQJWRFRXQWHUWKLV

       HIIRUWDWWKHSUHVHQWWLPH

       *HQHUDO6FDSDUURWWL7KDQN\RX6HQDWRU<RXU

      SLSHOLQHWKDW\RXGHVFULEHGLVDFFXUDWH

      :HKDYHDWUDQVQDWLRQDOWKUHDWVHOHPHQWZLWKLQ(8&20

      ,WLVZKROHRIJRYHUQPHQW,WUHOLHVPRVWO\RQQRWMXVWWKH

      PLOLWDU\SLHFHEXWPRVWO\RQRWKHUDJHQFLHVZLWKLQRXU

      JRYHUQPHQWFRQQHFWLRQZLWKRXUSDUWQHUVDQGDOOLHVZLWK

      (XURSROZLWKLQ(8HWFHWHUD,WLVDQHWZRUNHVVHQWLDOO\

      WRKHOSXVKLJKOLJKWFULPLQDOQHWZRUNV7KH\DUHRIWHQYHU\

      FORVHO\DOLJQHGDQGZRUNLQJZLWKRXUWHUURULVWQHWZRUNV6R

      WKDWLVRQHRIWKHPDMRUWKLQJVWKDWZHGR,WLVDQ

      LPSRUWDQWIXQFWLRQDQGLWLVDFHQWUDOSDUWRIRXUFRXQWHU

      WUDQVQDWLRQDOWKUHDWVOLQHRIHIIRUWZKLFKLVRQHRIRXU

      ILYHOLQHVRIHIIRUW

      6HQDWRU'RQQHOO\,ZDQWWRIROORZRQVRPHRIWKH

      TXHVWLRQVP\FROOHDJXH6HQDWRU)LVFKHUDVNHGHDUOLHUDERXW

      5XVVLD¶V,1)YLRODWLRQVDQGWKHLUGHSOR\PHQWRIQXFOHDU

      DUPHGJURXQGODXQFKHGFUXLVHPLVVLOH7KH\KDYHVLPLODUDLU




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 224 of 400
                                                                              
       DQGVHDODXQFKFDSDELOLWLHVWKDWGRQRWYLRODWHWKH,1)6R

       ZK\GR\RXWKLQNWKH\DUHGHOLEHUDWHO\FKRRVLQJWRGHSOR\D

       VHHPLQJO\UHGXQGDQWFDSDELOLW\RQODQG"

       *HQHUDO6FDSDUURWWL:HOO,WKLQNWKDWLWZRXOG

       SURYLGHWKHPDFDSDELOLW\LQWHUQDOWRWKHLUFRXQWU\WKDW

       JLYHVPXFKJUHDWUHDFKVLPSO\SXW

       6HQDWRU'RQQHOO\'R\RXIHHOWKDWDOORIWKHVWHSV

       EHLQJWDNHQLQ.DOLQLQJUDGZLWKWKH,VNDQGHUVKRUWUDQJH

       PLVVLOHVWKDWWKHJRDORIDOORIWKDWLVWRGLYLGHXVWR

      XQGHUPLQH1$72WRWU\WRVHSDUDWHWKHFRPPLWPHQWIURPRQH

      WRWKHRWKHU"

      *HQHUDO6FDSDUURWWL6HQDWRU,WKLQNWKDWLVSDUWRI

      LW,WKLQNPXFKRIZKDWWKH\GRLVWRXQGHUPLQHFRQILGHQFH

      LQ1$72XQGHUPLQHFRQILGHQFHLQWKH:HVW<RXNQRZLWLV

      WRWKUHDWHQWKHPZLWKWKHLGHDWKDWZHFDQKDYHFRQWURORYHU

      DVZDWKRI\RXUFRXQWU\RUDQXPEHURIFRXQWULHVLQWKH

      UHJLRQZLWKWKHVHV\VWHPV

      6HQDWRU'RQQHOO\,ZDQWWRWKDQN\RX<RXKDYHD

      UHDOFKDOOHQJHRQ\RXUKDQGVDWWKLVWLPHEXWZHZDQW\RX

      WRNQRZZHDUHSHUFHQWEHKLQG\RXWKDWZHZLOOGR

      HYHU\WKLQJZHFDQWRSURYLGH\RXZLWKDOO\RXQHHGDQGWKDW

      \RXFDQWHOODOORIRXUIULHQGVDQGDOOLHVRYHUWKHUHWKDW

      ZHKDYHWKHLUEDFN

      *HQHUDO6FDSDUURWWL7KDQN\RX6HQDWRU

      6HQDWRU'RQQHOO\7KDQN\RX0U&KDLUPDQ




                               $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                           ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 225 of 400
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       6HQDWRU5HHG2QEHKDOIRI&KDLUPDQ0F&DLQ6HQDWRU

       (UQVWSOHDVH

       6HQDWRU(UQVW7KDQN\RX0U&KDLU

       7KDQN\RX*HQHUDO6FDSDUURWWLYHU\PXFK

       ,WLVJRRGWRNQRZWKDW\RXGRVXSSRUWSURYLGLQJOHWKDO

       DLGWRRXU8NUDLQLDQIULHQGV,WVHHPVOLNHZHDOOGRDJUHH

       WKDWWKHUHVKRXOGEHWKDWOHWKDODVVLVWDQFHRXWWKHUH$QG

       ,KDYHPDGHWKLVFOHDUWRWKLVDGPLQLVWUDWLRQ,PDGHLW

       FOHDUWRWKHODVWDGPLQLVWUDWLRQDVZHOO%XW,GRKRSH

      WKDWWKLVDGPLQLVWUDWLRQGHFLGHVWRSURYLGHWKHDVVLVWDQFH

      DVVRRQDVSRVVLEOH

      5HFHQWO\,KDYHJURZQLQFUHDVLQJO\FRQFHUQHGDERXW

      5XVVLD¶VXVHRIWDFWLFDOGURQHVWRVSRWIRUDUWLOOHU\DQG

      DGYDQFHGWHFKQRORJ\IRUFRPPXQLFDWLRQDQG*36MDPPLQJ:KDW

      W\SHVRIDGYDQFHGWHFKQRORJLHVDUHWKH5XVVLDQVXVLQJ

      DJDLQVW8NUDLQHDQGLQRWKHUSODFHVDVZHOO"$QGLVWKHUH

      VSHFLILFWHFKQRORJ\WKDWZHVKRXOGEHFRQVLGHULQJZKHQZH

      DUHSURYLGLQJ8NUDLQHWKHRSSRUWXQLW\WRFRXQWHUWKDW

      WHFKQRORJ\"

      *HQHUDO6FDSDUURWWL7KDQN\RX6HQDWRU

      $FWXDOO\LQ8NUDLQHZKDWZHVHHWKH5XVVLDQVGRLV

      VRPHZKDWZKDWWKH\KDYHGRQHLQ6\ULDDQGWKDWLVXVHWKH

      8NUDLQLDQFRQIOLFWDVDSODFHWKDWWKH\FDQWHVWVRPHRI

      WKHLUQHZWHFKQRORJLHVRU773VDQGRQHRIWKHPDV\RX

      PHQWLRQHGLVWKHVHQVRUWRVKRRWRXUOLQNDJHVEHWZHHQ




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 226 of 400
                                                                             
       ZHDSRQV\VWHPVDQGWKHXVHRIGURQHVHWFHWHUD7KDWLVD

       SUREOHPWKDWZHDUHZRUNLQJRQKDUGRXUVHOYHVEHFDXVHZHDUH

       VHHLQJDSUROLIHUDWLRQRIWKDWQRWMXVWZLWKWKH5XVVLDQV

       EXWLQVRPHOLPLWHGZD\VDVZHOOZLWKWHUURULVWV6RZHDUH

       ZRUNLQJWKRVHWHFKQRORJLHV7KHZRUNZLWK8NUDLQHSURYLGHV

       XVDQRSSRUWXQLW\WRWHVWVRPHRIWKHWKLQJVWKDWZHDUH

       GRLQJDVZHOO$QGZHVLPSO\QHHGWRPDNH(:DQGWKRVH

       NLQGVRIWKLQJVDYDLODEOHWRWKHPWKDWFDQKHOSFRXQWHUZKDW

       WKH5XVVLDQSUR[\IRUFHVDUHEULQJLQJWREHDUWKHUH

      6HQDWRU(UQVW$EVROXWHO\7KDQN\RX

      $QG\RXDOVRPHQWLRQHGWKDW\RXZHUHFRQFHUQHGDERXW

      WKHVWDELOLW\LQWKH%DONDQV$QGRQ7XHVGD\$PEDVVDGRU

      %XUQVMRLQHGXVKHUHDQGKLJKOLJKWHG5XVVLD¶VLQFUHDVLQJ

      LQIOXHQFHLQ6HUELD$QGVSHFLILFDOO\KHGLGPHQWLRQWKH

      UHFHQWFRXSDQGDVVDVVLQDWLRQDWWHPSWLQ0RQWHQHJURWKDWZDV

      RUFKHVWUDWHGE\WKH5XVVLDQVLQ%HOJUDGH$QGLQOLJKWRI

      WKDWHIIRUWWDUJHWLQJ1$72LQWHUHVWGR\RXWKLQNZHVKRXOG

      KDYHDPRUHUREXVWSUHVHQFHLQ.RVRYRDVDPHDQVWRGHWHU

      WKH5XVVLDQVLQWKH%DONDQV"

      *HQHUDO6FDSDUURWWL6HQDWRU,GR,KDYHEHHQWR

      WKH%DONDQVVHYHUDOWLPHVLQUHFHQWPRQWKVSULPDULO\WR

      OHDUQPRUHP\VHOIDERXWWKHDFWXDOVLWXDWLRQWKHUHEXWDOVR

      WREULQJIRFXVWRLW7KH5XVVLDQVDUHDFWLYHLQ

      XQGHUPLQLQJRXUHIIRUWVLQWKH%DONDQVWRGD\DQGZHQHHGWR

      SURYLGHDGGLWLRQDOLQWHUDJHQF\IRFXV,WKLQNWKLVLVD




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 227 of 400
                                                                             
       PDWWHURIQRWMXVWWKHPLOLWDU\VXSSRUWZLWKVD\WKH

       .RVRYRVHFXULW\IRUFHHWFHWHUDZKLFKZHKDYHWURRSVLQ

       ,WKLQNLWLVDOVRDGLSORPDWLFDQGLQIRUPDWLRQDOHIIRUW

       ZLWKXVDQGLPSRUWDQWO\ZLWKRXUSDUWQHUVEHFDXVHDV\RX

       NQRZ1$72DQGWKH(8KDYHDODUJHUROHWRSOD\LQWKH

       %DONDQVDVZHOOWRGD\DQGOHDGPDQ\RIWKHVHRUJDQL]DWLRQDO

       HIIRUWV6RZHDOOQHHGWRZRUNWRJHWKHU$QGWKHPLOLWDU\

       LVDSDUWRILW2QWKDWSRLQW,ZRXOGVD\ZHVKRXOGQRW

       UHGXFHRXUIRUFHVL]HSDUWLFXODUO\WKH.RVRYRVHFXULW\IRUFH

      EHFDXVHLWLVNLQGRIWKHEHGURFNRIVWDELOLW\ULJKWQRZ

      %XWZHGRQHHGDPXFKPRUHUREXVWGLSORPDWLFLQIRUPDWLRQDO

      HIIRUWDPRQJWKHDOOLDQFHWKHUH

      6HQDWRU(UQVW$EVROXWHO\,WKLQNHYHU\WKLQJVKRXOG

      EHRQWKHWDEOHDWWKLVSRLQWLQUHDVVXULQJDQGDVVLVWLQJ

      RXUDOOLHVRXUIULHQGVLQWKH%DONDQV

      $QGWKHQMXVWYHU\TXLFNO\\RXKDYHPHQWLRQHGWKH

      F\EHUFHQWHUDQGKRZJUHDWLWLVWKHF\EHUFHQWHUWKDWZH

      KDYHLQ(VWRQLD$QG,ZLOOEHPHHWLQJZLWKWKHLU

      DPEDVVDGRUODWHUWRGLVFXVVWKHLUF\EHUGHIHQVHFHQWHURI

      H[FHOOHQFH6R,DPUHDOO\H[FLWHGDERXWWKDWRSSRUWXQLW\

      $QGFDQ\RXMXVWWHOOPHYHU\EULHIO\KRZZHOO(8&20

      DQG1$72DUHSUHSDUHGWRGHIHQGDJDLQVWF\EHUDWWDFNV

      HVSHFLDOO\WKRVHWKDWDUHDLPHGDWGLVUXSWLQJWKHHOHFWLRQV

      WKDWZHZLOOVHHRQJRLQJLQ(XURSH"

      *HQHUDO6FDSDUURWWL:HOOILUVWRIDOOZLWKLQ(8&20




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 228 of 400
                                                                             
       ,WKLQNZHDUHSRVWXUHGZHOOWRGHDOZLWKF\EHU&\EHU

       &RPPDQGZRUNVYHU\FORVHO\ZLWKXVDQGOLWHUDOO\LWLVD

       G\QDPLFUHODWLRQVKLSEHFDXVHZLWKLQWKHF\EHUGRPDLQWKLQJV

       FKDQJHVRUDSLGO\6RZKHQZHMXVWKDGRXUH[HUFLVHKHUH

       ODVWPRQWKZHKDGDQHOHPHQWIURP&\EHU&RPPDQGWKDWDFWHG

       DVDFRPSRQHQWSHUVHLQ(8&20UHSRUWLQJGLUHFWO\WRPH6R

       ,WKLQNZHDUHPRGHUQL]LQJZHDUHPRYLQJIRUZDUG:HKDYH

       JRWJRRGVXSSRUW:HKDYHJRWDORWRIZRUNWRGR

       SDUWLFXODUO\LQFDSDFLW\

      :LWKLQ1$721$72UHFHQWO\GHWHUPLQHGWKDWF\EHUZDVD

      GRPDLQDWWKH:DUVDZ6XPPLW7KDWZDVLPSRUWDQWEHFDXVH

      ZKDWLWGLGLVLWSURYLGHGGLUHFWLRQWRZRUNGRFWULQHDQG

      SROLF\LQDPXFKIXOOHUZD\ZKLFKLVWKHFRPPDQGHUZLWKLQ

      1$72,QHHGDQGLWJDYHPHDXWKRULWLHVWRGRPRUHZLWKLQ

      F\EHULQ1$72ZKLFKZHQHHGWRGR6RRQWKHGHIHQVLYH

      VLGHSUHWW\JRRG%H\RQGWKDWZHDUHDWWKHEHJLQQLQJRI

      WKLVLQWHUPVRI1$72FRPSOHWHF\EHUFDSDELOLW\

      6HQDWRU(UQVW$QG,GRKRSHWKDWLVVRPHWKLQJWKDWZH

      FDQZRUNRQZLWKWKHP

      7KDQN\RXIRU\RXUJUHDWVHUYLFHVLU7KDQN\RX

      &KDLUPDQ0F&DLQ>SUHVLGLQJ@6HQDWRU:DUUHQ"

      6HQDWRU:DUUHQ7KDQN\RX7KDQN\RX0U&KDLUPDQ

      $QGWKDQN\RXIRUEHLQJKHUH*HQHUDO

      ,ZDQWWRTXLFNO\DVNDERXWWKHLPSRUWDQFHRIRXUQRQ

      PLOLWDU\IRUHLJQDVVLVWDQFHWR\RXUPLVVLRQ:KHQ\RX




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 229 of 400
                                                                             
       DSSHDUHGEHIRUHWKLVFRPPLWWHHODVW\HDUIRU\RXUQRPLQDWLRQ

       DV(8&20&RPPDQGHU\RXVDLGDQG,DPJRLQJWRTXRWH\RX

       KHUH,VWURQJO\VXSSRUWWKHFROODERUDWLYHLQWHUDJHQF\

       DSSURDFK,QP\H[SHULHQFHLWWDNHVDQHWZRUNZLWKDOO

       UHTXLUHGDJHQFLHVWRGHIHDWDWKUHDWQHWZRUN

       6R*HQHUDOGR\RXVWLOODJUHHZLWKWKDWVWDWHPHQW"

       *HQHUDO6FDSDUURWWL,GRDEVROXWHO\

       6HQDWRU:DUUHQ7KHEXGJHWSURSRVDOSXWRXWE\WKH

       7UXPSDGPLQLVWUDWLRQODVWZHHNFDOOVIRUDSHUFHQWFXWWR

      WKH6WDWH'HSDUWPHQWDQGVLJQLILFDQWFXWVWRRWKHUDJHQFLHV

      ZLWKLQWHUQDWLRQDOUHVSRQVLELOLWLHV*HQHUDOZRXOGIXQGLQJ

      FXWVWRDJHQFLHVWKDWFRQGXFWGLSORPDF\DQGGHYHORSPHQWPDNH

      \RXUMREDV(8&20&RPPDQGHUHDVLHURUPRUHGLIILFXOW"

      *HQHUDO6FDSDUURWWL,WZLOOPDNHWKHMREPRUH

      GLIILFXOW,UHO\KHDYLO\RQRXUUHODWLRQVKLSVZLWKWKH

      RWKHUDJHQFLHVLQRXUJRYHUQPHQW:LWKLQP\KHDGTXDUWHUV

      P\32/$'LVHVVHQWLDOO\RQHRIP\GHSXWLHV$PEDVVDGRU

      (OOLRWW7KDWJLYHV\RXDQH[DPSOHRIWKHLPSRUWDQFHZH

      SODFHRQLWLQ(8&20$QGPDQ\RIWKHWKLQJV,KDYHWDONHG

      DERXWWKLVPRUQLQJFRXQWHUWUDQVQDWLRQDOWHUURULVPWKDW

      LVSUHGRPLQDQWO\DJHQF\SHUVRQQHOIURP6WDWHDQG7UHDVXU\

      ,WLVQRWXQLIRUPHGSHUVRQQHOWKDWGRWKRVHDFWLRQVIRU

      (8&20LQWKH8QLWHG6WDWHVDQG(XURSH

      6HQDWRU:DUUHQ7KDQN\RX*HQHUDO,DJUHHVWURQJO\

      RQWKLV




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 230 of 400
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       <RXNQRZ5XVVLDLVDFWLYHO\ZRUNLQJWRGHVWDELOL]H

       FRXQWULHVDORQJLWVERUGHUDQGXQGHUPLQHXQLW\ZLWKLQWKH

       (XURSHDQ8QLRQDQG1$72$QGWKH\DUHGRLQJWKLVWKURXJKD

       ORWRILQGLUHFWWDFWLFVOLNHHQDEOLQJVHSDUDWLVWIRUFHVDQG

       GLVVHPLQDWLQJSURSDJDQGDDQGIDNHQHZV7KH\HYHQODXQFKHG

       DF\EHUDWWDFNWRLQIOXHQFHWKHUHVXOWVRIRXUHOHFWLRQ

       UHFHQWO\

       %XW5XVVLDLVDOVRLQYHVWLQJLQRWKHUNLQGVRI

       DV\PPHWULFFDSDELOLWLHVOLNHGLVUXSWLQJFRPPXQLFDWLRQV

      WKURXJKHOHFWURQLFZDUIDUHRUZRUNLQJWRHYDGH86DQG1$72

      VXUYHLOODQFHDQGLQYHVWLQJLQVSDFHDQGF\EHUWRROV

      $FFRUGLQJWRSUHVVUHSRUWVDQGDUPVFRQWURODQDO\VLVWKH\

      YLRODWHGWKH,QWHUPHGLDWH5DQJH1XFOHDU)RUFHV7UHDW\E\

      GHSOR\LQJJURXQGODXQFKHGFUXLVHPLVVLOHV

      7KH(XURSHDQ5HDVVXUDQFH,QLWLDWLYH(5,KDVKHOSHGWR

      FRXQWHUVRPHRIWKHVHGHVWDELOL]LQJDFWLYLWLHV7KH8QLWHG

      6WDWHVKDVGHSOR\HGHTXLSPHQWDQGURWDWHGIRUFHVLQWR

      &HQWUDODQG(DVWHUQ(XURSHEXW,DPZRQGHULQJLIWKLV

      VWDQGDUGGLVSOD\RIIRUFHLVWKHEHVWZD\WRGHWHU5XVVLD

      QRZWKDW3XWLQVHHPVWRUHO\PRUHRQLQGLUHFWWDFWLFV

      6RZKDW,ZDQWWRDVN*HQHUDOLVOHWXVVHWDVLGH

      FRQYHQWLRQDOIRUFHVDQGSUHSRVLWLRQHGHTXLSPHQWIRUMXVWD

      VHFRQGWKDWLWLVWKHUH:KDWPRUHFDQZHGRWKURXJK(5,

      WRDGGUHVV3XWLQ¶VLQGLUHFWDQGDV\PPHWULFWDFWLFV"

      *HQHUDO6FDSDUURWWL7KURXJK(5,ZHDUHDFWXDOO\




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 231 of 400
                                                                             
       XVLQJWKHVHIXQGVLQVRPHRIWKHDUHDVIRUWKHDV\PPHWULF

       DFWLYLWLHVWRFRXQWHUWKRVHPDOLJQLQIOXHQFHV:HKDYH

       VSHFLDORSHUDWLRQVIRUFHVWKDWDUHVXSSRUWHGE\WKLVWKDWGR

       PLOLWDU\LQIRUPDWLRQVXSSRUWRSHUDWLRQVDQGDFWLYLWLHVLQ

       VXSSRUWRI86*RYHUQPHQWSDUWLFXODUO\WKHHPEDVV\DQGWKH

       DPEDVVDGRUVLQHDFKRIWKHFRXQWULHV,WVXSSRUWVXVDV

       ZHOOLQF\EHULQRSHUDWLRQV,QRWKHUZD\VWKHUHDUHPHDQV

       WKDWSHUKDSVIRULQVWDQFHVXSSRUWLQQDYDOIRUFHVDUH

       VHHQDVDVKLSHWFHWHUDEXWWKH\DUHDFWXDOO\VXSSRUWLQJ

      WKRVHFDSDELOLWLHVDQGWKRVHVKLSVVXSSRUWXVLQRWKHUZD\V

      LQWHUPVRIDV\PPHWULFPHDQV6R,DJUHHZLWK\RXDQGZH

      GRKDYHDIRFXVRQWKDW

      ,ZRXOGODVWVD\WKDWSDUWRIWKLVLVZHDUHOHDUQLQJ

      WRR,PHDQSDUWRIWKDWHIIRUWWKURXJK(5,LVWRPDNH

      VXUHZHXQGHUVWDQGKRZWKH\RSHUDWHLQWKLVJUD\]RQHRU

      K\EULGDFWLYLW\$QGWKDWLVVXSSRUWHGKHUHDVZHOO

      6HQDWRU:DUUHQ7KDQN\RXYHU\PXFK*HQHUDO,WKLQN

      ZHQHHGWREHVPDUWDERXWUHVSRQGLQJWRDQGGHWHUULQJ

      5XVVLD¶VDV\PPHWULFDJJUHVVLRQ,WVHHPVWRPHWKDWZH

      FDQQRWWKLQNVROHO\DERXWGHSOR\LQJPRUHWURRSVDQG

      FRQYHQWLRQDOPLOLWDU\DVVHWVLQ(XURSHLQRUGHUWRFRXQWHU

      5XVVLD:HKDYHJRWWRKDYHDYHU\ZLGHSHUVSHFWLYHRQ

      WKLV7KDQN\RX

      7KDQN\RX0U&KDLUPDQ

      &KDLUPDQ0F&DLQ6HQDWRU:LFNHU"




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 232 of 400
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       6HQDWRU:LFNHU*HQHUDO\RXPHQWLRQHGRQSDJHRI

       \RXUWHVWLPRQ\WKHFHDVHILUHYLRODWLRQVLQ8NUDLQHWKDWWKH

       PDMRULW\RIWKHPDUHEHLQJFRPPLWWHGE\5XVVLDQOHGIRUFHV

       6HQDWRU:DUUHQPHQWLRQHGIDNHQHZV+RZKHOSIXODUHWKH

       26&(PRQLWRUVLQJLYLQJXVWKHFRUUHFWSLFWXUHWKHUH"$QG

       WKHQ,KDYHDFRXSOHRIRWKHUTXHVWLRQVDERXW26&(

       *HQHUDO6FDSDUURWWL6HQDWRUWKDQN\RX

       26&(LVYHU\LPSRUWDQWWRWKLV2QHRIWKHLVVXHVLV

       WKDWWKHLUMRELVWRPRQLWRUDFWLYLWLHVDQGFRPSOLDQFHZLWK

      WKHDJUHHPHQWRQERWKVLGHVRIWKHOLQHRIFRQWDFW,Q

      IDFW5XVVLDLWLVZHOONQRZQWKDWWKH\LQWLPLGDWHDQG

      UHVWULFWWKHPLVVLRQPRQLWRUVLQWKHLUMREZKLFKLVRQHRI

      WKHWKLQJVWKDWZHQHHGWRHQFRXUDJHDQGLQVLVWWKDW5XVVLD

      VWRSGRLQJDQGEHJLQWRDOORZWKH26&(WRGRLWVMRE

      SURSHUO\

      6HQDWRU:LFNHU:KDWFDQZHGRLQWKDWUHVSHFW"

      *HQHUDO6FDSDUURWWL:HOO,WKLQNLQWKDWUHVSHFW

      VLUZHQHHGWREULQJWKHLQWHUQDWLRQDOFRPPXQLW\WRJHWKHU

      ZLWKUHVSHFWWR5XVVLDDQGWKHLUODFNRIPRYHPHQWRQWKH

      0LQVN7KH\VD\SXEOLFO\WKH\DUHLQVXSSRUWRIWKH0LQVN

      DJUHHPHQWEXWSHUVRQDOO\,WKLQNLI\RXZDWFKWKHLU

      DFWLRQVWKHUHGRHVQRWVHHPWREHVWHSVWDNHQRQWKHLUSDUW

      WRGRMXVWWKDW

      6HQDWRU:LFNHU7KH\DUHGRLQJDORWRIH[HUFLVHV

      WKHUHDQGLQDOORI(XURSH2QHRIWKHWHFKQLTXHVWKH\XVH




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 233 of 400
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       WRWU\WRJHWDURXQGWKHLUFRPPLWPHQWVLVWKH61$3H[HUFLVH

       GHVLJQDWLRQ&DQ\RXWHOOXVDERXWWKDW"

       *HQHUDO6FDSDUURWWL7KHVHH[HUFLVHVUHIOHFW3XWLQ¶V

       IRFXVRQKLVPRGHUQL]DWLRQ,WUHIOHFWVKLVLQWHQWWRPDNH

       WKHLUIRUFHVPRUHUHVSRQVLYHWRLPSURYHWKHLUPRELOL]DWLRQ

       EXWLWDOVRLVDSDUWRILQWLPLGDWLRQ,ZRXOGVD\

       7KH61$3H[HUFLVHVWKHPVHOYHVDUHW\SLFDOO\EURDGFDVW

       DVPXFKVPDOOHUWKDQWKH\HQGXSEHLQJ6RPHRIWKHPDUH

       QRWDQQRXQFHGDWDOOLQFRQWUDYHQWLRQWRWKH9LHQQDGRFXPHQW

      DQGWKHWUHDWLHVWKDWZHKDYHWKHUH6RWKDWLVYHU\

      GLVWXUELQJDQGLWLVDZD\WKDW\RXFDQKDYH

      PLVFDOFXODWLRQ$QGZHNQRZLQWKHSDVWDWOHDVWZLWK

      &ULPHDWKH\KDYHXVHGDQH[HUFLVHWRVKLHOGZKDWZDVD

      YLRODWLRQRIWKHVRYHUHLJQW\RI8NUDLQH

      6HQDWRU:LFNHU%XWWKH\DOVRFRQWLQXHWRGRH[HUFLVHV

      LQ&ULPHD:KDWLVWKHVLJQLILFDQFHRIWKHPRVWUHFHQW

      5XVVLDQH[HUFLVHLQ&ULPHD"

      *HQHUDO6FDSDUURWWL7RPHWKHVLJQLILFDQFHLVWKDW

      ZHOOWKHUHDUHVHYHUDORIWKHP2QHLVWKDWWKH\GRERWK

      GHIHQVLYHDQGRIIHQVLYHRSHUDWLRQVDVDSDUWRIWKDW61$3

      H[HUFLVH7KH\UHKHDUVHGDWWDFNVRQWKHHDVWHUQERUGHU

      DFWXDOO\IOHZWRZDUGLWWKRVHNLQGVRIDFWLYLWLHVZKLFKDUH

      YHU\GLVWXUELQJDQGFUHDWHDORWRIDQJVWDORQJWKHHDVWHUQ

      ERUGHUDQGZLWKLQ(8&20EHLQJDEOHWRZDWFKWKLVDQG

      XQGHUVWDQGZKDWLVWKHLUUHDOLQWHQW6RLWLVWKHZD\WKH\




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 234 of 400
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       UXQWKHRSHUDWLRQVDQGZLWKRXWWUDQVSDUHQF\WKDWFUHDWHVWKH

       SUREOHP

       7KH\KDYHWKHULJKWWRGRPLOLWDU\H[HUFLVHV7KH\

       QHHGWRGRWKHPLQDZD\WKDWLVFRQVWUXFWLYHDQGDOLJQHG

       ZLWKRXUDJUHHPHQWV

       6HQDWRU:LFNHU%XWWKH\GRQRWKDYHDULJKWWRGRWKH

       QRQRWLFHH[HUFLVHVXQGHUWKHLUDJUHHPHQWV

       *HQHUDO6FDSDUURWWL8QGHUWKHDJUHHPHQWLWKDVWREH

       DQQRXQFHGLILWLVRYHUWURRSVDQGLWKDVWREH

      REVHUYHGLILWLVRUPRUH7KHUHKDVWREHDQ

      DOORZDQFHIRUREVHUYHUVLIZHFKRRVHWRGRVR$QGWKHLU

      61$3H[HUFLVHVDUHPXFKPXFKODUJHUWKDQWKDWDOPRVW

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      KDSSHQVLPXOWDQHRXVO\

      6HQDWRU:LFNHU6KRXOGZHEHFRQFHUQHGDERXWWUHQGVLQ

      5XVVLDQDFWLYLW\LQWKH1RUWK$WODQWLF"

      *HQHUDO6FDSDUURWWL<HVZHVKRXOG7KH\DUHPRUH

      DJJUHVVLYH7KH\DUHUHHVWDEOLVKLQJEDVHVLQWKH$UFWLFDQG

      1RUWK$WODQWLF:HKDYHWRJREDFNWRHVWDEOLVKLQJWKHVDPH

      GHWHUUHQFHWKDWZHSUDFWLFHGGXULQJWKH&ROG:DULQP\YLHZ

      6HQDWRU:LFNHU,VWKHUHDIRUXPZKHUHZHDUHHQJDJLQJ

      ZLWKWKHPGLSORPDWLFDOO\DERXWWKDW"

      *HQHUDO6FDSDUURWWL,GRQRWNQRZWKHIRUXP

      SHUVRQDOO\,NQRZWKDWZHKDYHHQJDJHGZLWKWKHP

      GLSORPDWLFDOO\EXW,FRXOGQRWWHOO\RXWKHIRUXPVLU




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 235 of 400
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       6HQDWRU:LFNHU7KDQN\RXYHU\PXFK

       7KDQN\RX0U&KDLUPDQ

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       *HQHUDO\RXKDYHPHQWLRQHGVHYHUDOWLPHVWKH

       LPSRUWDQFHRIWKHZKROHRIJRYHUQPHQWDSSURDFKSDUWLFXODUO\

       WRUHDVVXUHRXU1$72DOOLHVDQG\RXUFRQFHUQWKDWWKH

       FRQWHPSODWHGFXWVWRWKH6WDWH'HSDUWPHQWIRUH[DPSOHDQG

       WKH7UHDVXU\'HSDUWPHQWE\WKLVDGPLQLVWUDWLRQZRXOGUDLVH

      PDMRUFRQFHUQVIRU\RXDOVRVKDUHGE\6HFUHWDU\0DWWLV,V

      WKDWFRQFHUQWKDW\RXH[SUHVVVKDUHGE\RXURWKHUFRPEDWDQW

      FRPPDQGHUV"

      *HQHUDO6FDSDUURWWL6HQDWRU,ZRXOGVD\WKDW\RX

      ZRXOGKDYHWRDVNWKHPGLUHFWO\IRUWKHLURZQSHUVRQDO

      RSLQLRQEXW,ZLOODQVZHULWWKLVZD\:HRSHUDWHZLWKRXU

      LQWHUDJHQF\DQGPRVWRIZKDWZHGRWRGD\HYHQLQWKHPRUH

      GLUHFWDFWLRQVWKDWZHKDYHWDNHQLQVD\$IJKDQLVWDQRU

      ,UDTKDYHUHOLHGXSRQDQLQWHUDJHQF\DSSURDFKDZKROHRI

      JRYHUQPHQWDSSURDFK7KDWLVWKHZD\ZHWUDGLWLRQDOO\

      RSHUDWH

      6HQDWRU+LURQR,WVRXQGVDVWKRXJKWKDW\RXUFRQFHUQ

      RU\RXUFRPPLWPHQWWRWKHLPSRUWDQFHRIDZKROHRI

      JRYHUQPHQWDSSURDFKLVRQHWKDWLVVKDUHGE\RXURWKHU

      FRPPDQGHUV

      <RXPHQWLRQHGWKDWWKHUHLVDSRVVLELOLW\RIFRXUVH




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 236 of 400
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       RI5XVVLD¶VXVHRIQXFOHDUZHDSRQVDQGWKHUHLVDOZD\VWKDW

       SRVVLELOLW\%XWRQWKHRWKHUKDQG5XVVLDKDVF\EHU

       FDSDELOLW\WKDWFDQEHYHU\HIIHFWLYHDQGRQHZRQGHUVZK\

       WKH\VKRXOGUHVRUWWRFRQYHQWLRQDOZDUIDUHLIWKH\FDQXVH

       F\EHUWRGRDOONLQGVRIGDPDJH6RIRUH[DPSOH5XVVLDLV

       FXUUHQWO\FRQGXFWLQJF\EHURSHUDWLRQVLQYDULRXVFRXQWULHV

       VXFKDVWKH8NUDLQH0RQWHQHJURE\DWWDFNLQJPLOLWDU\

       FRPPXQLFDWLRQVDQGVHFXUHGDWDEDVHVDVZHOODVSRZHUJULGV

       ,QDGGLWLRQWKH\DUHXVLQJIDNHQHZVDQGLQIRUPDWLRQ

      RSHUDWLRQVWRLPSDFWHOHFWLRQVDFURVVWKHJOREH$QGWKLV

      KDVPDJQLILHGDZDYHRISRSXOLVWQDWLRQDOLVPLQ(XURSHDQG

      LPSDFWHGWKHUHFHQW86HOHFWLRQV

      $QG,WKLQNWKDW\RXPHQWLRQHGRU\RXGHVFULEHGWKDW

      \RXDUHZRUNLQJZLWKRXUDOOLHVWRFUHDWHDGHIHQVLYH

      DSSURDFKWRWKHF\EHURSHUDWLRQVWKDW5XVVLDKDVGHSOR\HG

      ,DPZRQGHULQJWKRXJKKDVWKHTXHVWLRQRIZKDWWKH

      86ZRXOGGRLI5XVVLD¶VDFWLYLWLHVLQDIIHFWLQJDQG

      GLVUXSWLQJWKHHOHFWLRQVRIRXU1$72DOOLHVZKHWKHUWKH

      TXHVWLRQKDVFRPHXSZKHUHDWVRPHSRLQWZHZRXOGVD\WKDW

      WKHVHNLQGVRIF\EHUDWWDFNVULVHWRWKHOHYHORIDQDFWRI

      ZDUWKDWZRXOGWULJJHUUHDFWLRQIURPXVWRVXSSRUWRXU1$72

      DOOLHV

      *HQHUDO6FDSDUURWWL6HQDWRUWKDWLVDPDWWHURI

      SROLF\EXW,WKLQNZHDUHDPHPEHURI1$721$72KDVVDLG

      WKDW$UWLFOHFRXOGEHWULJJHUHGE\DF\EHUHYHQW:HDUH




                              $OGHUVRQ&RXUW5HSRUWLQJ
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 237 of 400
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       DPHPEHURIWKDW6R,WKLQNWKHUHLVWKHRFFDVLRQWKDW

       WKDWFRXOGRFFXU%XWDJDLQZKDWZHZRXOGGRDQGZKDW

       OHYHOWKDWZRXOGEHWKDWZRXOGFUHDWHDUHVSRQVHLVDSROLF\

       GHFLVLRQ

       6HQDWRU+LURQR6RPHWKLQJWKDWZHQHHGWRGHILQLWHO\

       GLVFXVVDWWKHSROLF\OHYHO

       ,WKLQN\RXPHQWLRQHGLQUHVSRQVHWRDQRWKHUTXHVWLRQ

       UHJDUGLQJRXUPLOWRPLOFRPPXQLFDWLRQVZLWK5XVVLDWKDWZH

       GRQRWQHFHVVDULO\ZDQWWRUHZDUGWKHLUEDGEHKDYLRU$QG,

      DPZRQGHULQJEDVHGRQ\RXUFRPPXQLFDWLRQZLWKWKH

      DGPLQLVWUDWLRQGR\RXNQRZZKDWWKHDGPLQLVWUDWLRQ¶V

      SRVLWLRQLVRQWKHFXUUHQW5XVVLDQVDQFWLRQV"$QGZRXOG

      UHVFLQGLQJWKHVHVDQFWLRQVDIIHFWVWDELOLW\LQ(XURSHLQ

      \RXUYLHZ"

      *HQHUDO6FDSDUURWWL,KDYHQRWKDGWKHGLVFXVVLRQ

      ZLWKP\OHDGHUVKLSRQWKHVDQFWLRQV6HQDWRU<RXNQRZ,

      WKLQNWKDWZHPXVWUHWDLQWKHVDQFWLRQV:HSXWWKHPLQ

      SODFHDVDUHVXOWRIWKHLUDQQH[DWLRQRI&ULPHD,WLV

      DQRWKHUZD\WKDWZHERWKWKH8QLWHG6WDWHVDQGWKHDOOLDQFH

      LQ(XURSHVWURQJO\VKRZWKDWWKDWLVXQDFFHSWDEOHDQGZH

      ZLOOPDLQWDLQVWUHQJWKLQWKHIDFHRI5XVVLD¶VDFWLYLWLHV

      6HQDWRU+LURQR6RZRXOGDQ\NLQGRIFXWWLQJEDFNRQ

      WKRVHVDQFWLRQVQRWVLJQDOVRPHNLQGRIDUHWUHDWRU

      ZHDNQHVVRQWKHSDUWRIRXU86FRPPLWPHQWWR1$72IRU

      H[DPSOH"




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 238 of 400
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       *HQHUDO6FDSDUURWWL:HOO,WKLQNSHUVRQDOO\WKDWLI

       ZHZHUHWRUHOLHYHRUFXWEDFNRQWKRVH3XWLQZRXOGVHH

       WKDWDVDYHU\JRRGWKLQJDQGLWZRXOGUHZDUGKLPVWDQGLQJ

       IDVWORQJHQRXJKWRSHUKDSVVXUYLYHWKHVDQFWLRQV

       WKHPVHOYHV

       6HQDWRU+LURQR7KDQN\RX0U&KDLU

       6HQDWRU0F&DVNLOO>SUHVLGLQJ@,DPWKHDFWLQJ

       FKDLUPDQULJKWQRZDQG,KDYHWKHSOHDVXUHRIFDOOLQJRQ

       P\VHOI

      <RXNQRZ,DPJRLQJWRVD\IRUWKHUHFRUGZKDWQHHGV

      WREHVDLGKHUHDQGWKDWLVWKDWLIZHZDQWWRVHQGWKH

      ULJKWVLJQDOWR5XVVLDDOORIWKHZRUNWKDWZHDUHGRLQJ

      WKDW\RXDQG\RXUFRPPDQGDUHGRLQJZKLFKLVVRLPSRUWDQW

      LVDQLQWHJUDOSLHFHRIWKDW$OORIWKHZRUNZHGRZLWK

      RXUDOOLHVLQ(XURSHLVDQLQWHJUDOSLHFHRIWKDW%XWD

      ELJSLHFHRILWLVKDYLQJDFRPPDQGHULQFKLHIWKDWZLOOVD\

      WKDWULJKWWKLQJVWR5XVVLD$QGZHGRQRWKDYHD

      FRPPDQGHULQFKLHIULJKWQRZZKRLVZLOOLQJWRVD\RXWORXG

      ZKDWHYHU\RQHNQRZVDERXW3XWLQDQGZKDWKHLVGRLQJLQ

      (XURSHDQGZKDWKHWULHGWRGRLQWKH8QLWHG6WDWHV$QG

      XQWLOZHKDYHDFRPPDQGHULQFKLHIWKDWLVZLOOLQJWRVSHDN

      RXWDJDLQVWWKLVWKXJDQGKLVEHKDYLRU,GRQRWNQRZWKDW

      DOOWKHJUHDWZRUNWKDW\RXDQG\RXUFRPPDQGFDQGRLVHYHU

      JRLQJWRPRYHWKHQHHGOHHQRXJK

      $QG,KDYHVDLGLWDQG,IHHOEHWWHU<RXGRQRWKDYH




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 239 of 400
                                                                             
       WRVD\DZRUGQRW\RXUSODFHWRVD\DZRUG,XQGHUVWDQG

       WKHUROHRIWKHFRPPDQGHULQFKLHILQ\RXUOLIH%XW,

       ZDQWHGWRVD\LWDQGSXWLWRQWKHUHFRUG

       ,ZDVLQ(VWRQLD,ZRXOGOLNHWRWDONDOLWWOHELW

       DERXWZKDWLVJRLQJRQLQRWKHUSODFHVLQQRQWUDGLWLRQDO

       ZDUIDUH,ZDVLQ(VWRQLDODVWVXPPHUDQG,ZDVVKRFNHG

       KRZPDQ\(VWRQLDQVWROGPH\RXNQRZZHZHQWWRDFRIIHH

       VKRSDQGZHZHUHWDONLQJWRWKRVHZKRVSRNH(QJOLVK$QG

       WKH\ZHUHVD\LQJKRZWKH\UHDOO\ZDQWHGWREHSDUWRI1$72

      EXWWKH\ZHUHZRUULHGDERXWWKH1$72VROGLHUVEHLQJDEOHWR

      UDSHWKHFLWL]HQVRI(VWRQLDDQGQRWEHKHOGOHJDOO\

      DFFRXQWDEOH$QG,RIFRXUVHZHQWZKDW"

      $QGDVLWWXUQVRXWWKLVLVWKHRWKHUWKLQJ5XVVLDLV

      GRLQJWKDW5XVVLDLVSXVKLQJSURSDJDQGDWKURXJK(VWRQLD

      WKDW1$72LVVRPHKRZJRLQJWRGDPDJHWKHLUVRYHUHLJQW\LQ

      WHUPVRIWKHHQIRUFHPHQWRIUXOHRIODZ

      &RXOG\RXVSHDNWRWKDW*HQHUDOWKDWPHWKRGWKDWWKH\

      XVHWRWU\WRXQGHUPLQHWKHVXSSRUWRI1$72LQWKHFRXQWULHV

      WKDWWKH\KDYHGHVLJQVRQ"

      *HQHUDO6FDSDUURWWL<RXVWDWHGLWFOHDUO\,QIDFW

      ZHDUHQRZLQ1$72WKHILUVWIRUFHVDUHJRLQJLQWRWKH

      IRXUQDWLRQV(VWRQLDEHLQJRQHRIWKHP$QGZHKDYH

      DOUHDG\KDGDFRXSOHRILQFLGHQWVRIMXVWFRPSOHWHXQWUXWK

      WKHLQFLGHQWQHYHURFFXUUHGZLWKLQGD\VRIWKHWURRSV

      DUULYLQJ:HSUHSDUHGIRUWKLV:HH[SHFWHGLW:HZHUH




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 240 of 400
                                                                             
       DEOHWRUHVSRQGWRWKRVHWUXWKIXOO\DQGTXLFNO\DQGGHEXQN

       WKHIDOVHVWRU\%XWLWLVVRPHWKLQJWKDW,H[SHFWZLOO

       FRQWLQXH

       $QGDV\RXVDLGLWREYLRXVO\KDVWKHLU

       GLVLQIRUPDWLRQREYLRXVO\KDVVRPHLQIOXHQFH,IWKHUHLVD

       FRQVLVWHQWPHVVDJHIURP5XVVLDLQWKHHDVWLWLVWR

       XQGHUFXWWKHFUHGLELOLW\RIWKH8QLWHG6WDWHVDQG1$72DW

       ODUJHFRQVLVWHQWO\

       6HQDWRU0F&DVNLOO$QGGRZHKDYHDUREXVWHQRXJK

      UHVSRQVHWRWKLVNLQGRIGLVLQIRUPDWLRQFDPSDLJQ"$UHZH

      IRFXVLQJHQRXJKRQWKLVSDUWRIWKHZDUIDUH"

      *HQHUDO6FDSDUURWWL,WKLQNZHDUHIRFXVHGRQLW,

      GRQRWWKLQNZHKDYHDUREXVWHQRXJKUHVSRQVHDWWKLVSRLQW

      ,WKLQNZHKDYHWRERWKDVWKH86DQGDOVRDVDOOLHV

      FRPHWRJHWKHUDQGWDNHDPRUHDJJUHVVLYHFRQIURQWDWLRQRI

      5XVVLDSDUWLFXODUO\LQWKLVJUD\DUHD

      6HQDWRU0F&DVNLOO<HV,ZRXOGFHUWDLQO\KRSHWKDW

      ZRXOGEHRQ1$72¶VDJHQGDDVWRVWUDWHJLHVPRYLQJIRUZDUGWR

      FRPEDWWKLVNLQGRILQVLGLRXVGLVLQIRUPDWLRQWKDWUHDOO\

      GRHVVWUHQJWKHQWKHHIIRUWVRI5XVVLDWRXVHPLOLWDU\PLJKW

      WRLQWLPLGDWHDQGHYHQWXDOO\PRYHLQWRFRXQWULHVWKDWKDYH

      QRGHVLUHWREHRFFXSLHG

      ,DOVRZDQWWRWDNHDEULHIPRPHQWWRWDONDERXW

      VRPHWKLQJ,DPOLNHDEURNHQUHFRUGRQDQGWKDWLV2&27KH

      &RQJUHVVLRQDO5HVHDUFK6HUYLFHUHFHQWO\SXEOLVKHGDQ




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 241 of 400
                                                                             
       H[WHQVLYHUHSRUWRQ2&2IXQGLQJDQGLWVWDWHVWKHREYLRXV

       WKDWWKRVHRIXVZKRDUHRQWKLVFRPPLWWHHDUHSDLQIXOO\

       DZDUHRIWKDWWKLVEHJDQWUXO\IRUDFRQWLQJHQF\DIWHU

       DQGKDVQRZPRUSKHGLQWRVRPHWKLQJYHU\XJO\RIIWKHERRNV

       LQWKDWZHQRZKDYHWKH(XURSHDQ5HDVVXUDQFH,QLWLDWLYHLQ

       WKH2&2EXGJHW:HQRZHYHQKDYHEDVHEXGJHWLQJLQWKH2&2

       EXGJHW

       7DONLI\RXZLOOIURP\RXUSHUVSHFWLYHDV\RXDUH

       DVNHGWRGUDZXS\RXUILQDQFLDOQHHGVIRU\RXUFRPPDQGKRZ

      \RXDOODUHPDNLQJDGHFLVLRQLQVLGHWKH3HQWDJRQZKDW\RX

      SXWLQ2&2DQGZKDW\RXSXWLQWKHEDVHEXGJHW

      *HQHUDO6FDSDUURWWL:HOOPD¶DPIRULQVWDQFH,ZLOO

      VWDUWZLWK(8&20:HKDYHWKHRXWOLQHRIWKHXVHRI(5,

      ZKDWLWLVLQWHQGHGWRGREDVHGRQ&RQJUHVV¶GLUHFWLRQ,

      KDYHDSURFHVVZKHUHP\FRPSRQHQWFRPPDQGVWKHRWKHU

      VHUYLFHVPDNHUHFRPPHQGDWLRQVIRUIXQGLQJLQ(5,$QG,

      KDYHDERDUGWKDWHYHQWXDOO\FRPHVWRPHIRUDGHFLVLRQ

      WKDWILUVWRIDOODVNVWKHTXHVWLRQLVWKDWLQVXSSRUWRI

      WKHLQWHQWRI(5,DQGLIQRWZK\LVLWLQKHUH:HZLOO

      SXVKLWRIIWRWKHEDVHEXGJHW2UHYHQWKRVHDUHDVZKHUH,

      WKLQN\RXNQRZZKDWWKDWLVDEURDGHUDFWLYLW\ZHDUH

      IXQGLQJ,WUHDOO\RXJKWWREHLQWKHEDVHQRWLQ(5,6R

      ,KDYHWKDWV\VWHPP\VHOIZLWKLQ(8&20DQGZHGUDZWKDW

      OLQHKDUGEHFDXVHZHDSSUHFLDWH(5,:HZDQWWRPDLQWDLQ

      WKHFUHGLELOLW\RILWDQGKRZZHXVHLW,WLVIXQGDPHQWDO




                              $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 242 of 400
                                                                              
       WRGRLQJRXUMRELQ(8&20

       :LWKLQ26'WKHUHLVDYHU\GHOLEHUDWHSURFHVVUXQE\

       WKH'HS6HF'HIDQGWKH9LFH&KDLUPDQWKDWDOORIXVDV

       FRPEDWDQWFRPPDQGVWDNHSDUWLQ$QGLWLVYHU\GHWDLOHGLQ

       WHUPVRIDORRNDWHDFKFRPPDQGDQGZKDWZHSURSRVHIRUD

       EXGJHWZKDWZHLQWHQGWRSXWLQDQGLWORRNVDWDFURVV

       VHFWLRQDVZHOODFRPSDULVRQRIHDFKRWKHU6RLWLVD

       GHOLEHUDWHSURFHVV

       ,ZRXOGMXVWVD\WKDW,DPLQIDYRURIPRYLQJIXQGV

      LQWRWKHEDVH:HQHHGSUHGLFWDEOHIXQGLQJ

      6HQDWRU0F&DVNLOO5LJKW

      *HQHUDO6FDSDUURWWLVRWKDWZHFDQDFWXDOO\PDNH

      ORQJHUWHUPGHFLVLRQVDQGKDYHPRUHFRQWLQXLW\$QGWKDW

      ZRXOGEHEHWWHU,WKLQNIRUWKHIRUFHDVDZKROHDVZHOO

      6HQDWRU0F&DVNLOO7KLVZRXOGEHDJRRGWLPHIRUXVWR

      KDYHWKHGLVFLSOLQHDVWKH3UHVLGHQWKDVSUHVHQWHGDEXGJHW

      WKDWLVIUDQNO\LWLVQRWDKXJHLQFUHDVHLQWKH

      PLOLWDU\,WKLQNKHLVWU\LQJWRPDNHHYHU\ERG\EHOLHYHLW

      LVDELJLQFUHDVHWRWKHPLOLWDU\,WKLQNLWLVRQO\

      SHUFHQWKLJKHUWKDQZKDW3UHVLGHQW2EDPDUHFRPPHQGHGLQKLV

      EXGJHW%XWQRQHWKHOHVVLWLVDQLQFUHDVH:KHQ

      HYHU\WKLQJHOVHLVJHWWLQJFXW,WKLQNWKLVZRXOGEHDJRRG

      WLPHIRUXVWRELWHWKHEXOOHWSDUGRQWKHXVHRIWKDW

      SDUWLFXODUDQDORJ\EXW,WKLQNLWZRXOGEHWLPHIRUXVWR

      EHKRQHVWZLWKWKH$PHULFDQSHRSOHDQGSXWDOORIWKHVH




                               $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                           ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 243 of 400
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       LWHPVLQWRWKHEDVHEXGJHWVRWKH$PHULFDQSHRSOHXQGHUVWDQG

       ZKDWZHDUHVSHQGLQJRQWKHPLOLWDU\DVLWFRPSDUHVWRRWKHU

       SDUWVRIRXUEXGJHW

       ,WKDQN\RXIRU\RXUVHUYLFH,WKDQNDOORIWKHPHQ

       DQGZRPHQZKRVHUYHXQGHU\RXUFRPPDQG,WKLQN\RXKDYH

       JRWDUHDOO\LPSRUWDQWMREQRZ,XQGHUVWDQGWKHLPSRUWDQFH

       RIZKDW\RXGRQRZKDVEHHQH[DFHUEDWHGE\ZKDW5XVVLDKDV

       GRQHRYHUWKHODVWPRQWKVDQGZKDWWKH\FRQWLQXHWRGRLQ

       GHPRFUDFLHVDFURVVWKHZRUOG$QGZHDUHGHSHQGLQJRQ\RX

      WREHRXUIURQWOLQHH\HVDQGHDUVWRWKHLUDJJUHVVLRQ$QG

      ,WKDQN\RXYHU\PXFK

      &KDLUPDQ0F&DLQ>SUHVLGLQJ@6HQDWRU%OXPHQWKDO"

      6HQDWRU%OXPHQWKDO7KDQNV0U&KDLUPDQ

      ,ZDQWWRMRLQLQWKDQNLQJ\RXDQGWKHPHQDQGZRPHQ

      XQGHU\RXUFRPPDQGIRUWKHLUVHUYLFHLQDFULWLFDODUHDRI

      WKHZRUOGIRUXVDQGRXUQDWLRQDOVHFXULW\

      ,XQGHUVWDQG\RXKDYHMXVWFRPHEDFNIURPDWULSWR

      ,VUDHODQG,ZRXOGOLNHWRDVN\RXZKDWVHFXULW\FRQFHUQV

      WKH,VUDHOLVUDLVHGZLWK\RXIRFXVLQJVSHFLILFDOO\RQWKH

      ,UDQLDQGHYHORSPHQWFRQWLQXLQJGHYHORSPHQWRIWKHLU

      EDOOLVWLFPLVVLOHV

      *HQHUDO6FDSDUURWWL<HVVLU:HOOILUVWRIDOO

      ,VUDHOLVDQH[WUHPHO\FORVHDOO\RIRXUVDVSHFLDODOO\

      :HLQ(8&20KDYHDQH[FHOOHQWUHODWLRQVKLSZLWKWKHP,WLV

      QHDUO\GDLO\FRQWDFW2QHRIP\PLVVLRQVLVVXSSRUWRI




                               $OGHUVRQ&RXUW5HSRUWLQJ
 )25'(32                                           ZZZDOGHUVRQUHSRUWLQJFRP
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 244 of 400
                                                                             
       ,VUDHODQGWKHLUGHIHQVH

       $QGVRDV,YLVLWHGWKHLU&+2'DQG,DQGWKHLUVHQLRU

       OHDGHUVREYLRXVO\WDONHGDERXWWKHLUFRQFHUQVDERXW,UDQLDQ

       PDOLJQLQIOXHQFHDVZHOODVWKHLUPLVVLOHFDSDELOLWLHV:H

       ZRUNFORVHO\ZLWKWKHPWRVXSSRUWDQGFRPSOHPHQWWKHLU

       PLVVLOHGHIHQVHIRULQVWDQFH$QGLQIDFWRQHGD\RIWKDW

       WULS,PHWWKHLUDLUPLVVLOHGHIHQVHFRPPDQGHUDQGZHQWWR

       ORRNDWVRPHRIWKHLUVLWHVWRHQVXUHWKDWZHLQ(8&20ZHUH

       VXSSRUWLQJWKDWIXOO\

      %H\RQGWKDWZHGLVFXVVHGIRULQVWDQFHWKHLUFRQFHUQ

      DERXW+H]EROODKDQGILJKWHUVJDLQLQJH[SHULHQFHLQ6\ULDDQG

      RWKHUSODFHVDQGUHWXUQLQJDQGZKDWWKDWPLJKWPHDQLQWKH

      IXWXUHDFRQFHUQDERXWREYLRXVO\6\ULDDQGWKHWULERUGHU

      UHJLRQDVWKHFRQIOLFWLQ6\ULDFRQWLQXHV6RWKH\OLYHLQ

      DYHU\WRXJKQHLJKERUKRRGDQG\RXFDQORRNLQQHDUO\HYHU\

      GLUHFWLRQDQGKDYHDWKUHDW

      6HQDWRU%OXPHQWKDO,VWKHUHPRUHWKDWZHFDQDQG

      VKRXOGEHGRLQJWRVWUHQJWKHQWKHLUGHIHQVHVDJDLQVWWKDW

      NLQGRIPLVVLOHWKUHDW"

      *HQHUDO6FDSDUURWWL6HQDWRUZHDUHGRLQJDOOWKDWZH

      FDQ,PHDQZHZRUNZLWKWKLVFORVHO\WRHQVXUHWKDWZH

      GRLQIDFWUHLQIRUFHWKHLUGHIHQVH,QIDFWWKHUHDUH

      PRUHWKLQJVZHFDQGRZLWKWKHLUPLVVLOHGHIHQVH:HKDYH

      SHRSOHWKHUHWKLVZHHNZRUNLQJRQWKDWDVZHOO,PHDQLW

      LVDPDWWHURIPRGHUQL]DWLRQFKDQJHLQHQYLURQPHQW%XWZH




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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 245 of 400
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       DUHGRLQJWKDW7RPDLQWDLQWKHLUPLOLWDU\HGJHLVYHU\

       YHU\LPSRUWDQWDQGDOVRWRPDLQWDLQWKHZDUVWRFNVWKDWZH

       KDYHFRPPLWWHGWRWKHPIRUXVH

       6HQDWRU%OXPHQWKDO%XWWKHUHLVPRUHWKDWZHFDQGR

       DQGZHDUHGRLQJLW

       *HQHUDO6FDSDUURWWL:HDUHDQGZHDUHIRFXVHGRQ

       VXSSRUWRI,VUDHO

       6HQDWRU%OXPHQWKDO,WDNHLWVSHDNLQJRIEDOOLVWLF

       PLVVLOHVWKDW\RXZRXOGDJUHHZLWK*HQHUDO6HOYDZKR

      WHVWLILHGHDUOLHUWKLVZHHNGXULQJWKH+RXVH$UPHG6HUYLFHV

      &RPPLWWHHWKDW5XVVLDLVYLRODWLQJWKH,1)7UHDW\

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      XVHGWKHZRUG³FRQFHUQLQJ´7KLVLVDQH[WUDRUGLQDULO\

      LPSRUWDQWDUHD,VLWQRW"

      *HQHUDO6FDSDUURWWL<HVVLULWLV$QGLWLVDQ

      HQKDQFHPHQWLQFDSDELOLW\WKDWKDVDGLUHFWLPSDFW

      WKURXJKRXWWKHWKHDWHUIURPP\SHUVSHFWLYH

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      ZHOOLQ\RXUWHVWLPRQ\LWLQFUHDVHV3XWLQ¶VDV\PPHWULF

      RSWLRQVDVWKLVPLVVLOHFDSDELOLW\LVEXLOW7KHZKROH

      UHDVRQWKDWWKHWUHDW\H[LVWVLVWRVWRSWKLVNLQGRI

      GHYHORSPHQWEHFDXVHLWWKUHDWHQVWRGHVWDELOL]HWKHZKROH

      FRQIURQWDWLRQQRWFRQIURQWDWLRQEXWWKHDUUD\RIIRUFHV

      LQWKDWSDUWRIWKHZRUOG&RUUHFW"




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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 246 of 400
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       *HQHUDO6FDSDUURWWL,KDYHPDGHUHFRPPHQGDWLRQVLQ

       WKHVHQVHWKDWZHQHHGWRUHVSRQGWRWKLV:HQHHGWREH

       VWURQJLQWKHIDFHRILW$QG,WKLQNWKHDFWLRQVWKDWZH

       KDYHUHFRPPHQGHGLQ(8&20LQWHUPVRISRVWXUHIRUFH

       VWUXFWXUHHWFHWHUDDUHDOODSDUWRIWKLVDSDUWRIWKH

       UHVSRQVHWKDWZHQHHGWRKDYHIRU5XVVLDDWODUJH

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      PLOLWDU\DFWLRQWKDWWKHDGPLQLVWUDWLRQPD\EHWDNLQJWR

      FRXQWHUWKLVWKUHDWWRRXUVHFXULW\"

      *HQHUDO6FDSDUURWWL$WWKLVWLPH,KDYHQRWKDGWKDW

      GLVFXVVLRQ\HWZLWKWKDWVSHFLILFWRSLFLQWHUPVRISROLF\

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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 247 of 400
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       QHDUO\DVZHOOLQIRUPHGDV\RXEXW,DPH[WUHPHO\DODUPHG

       E\WKLVYLRODWLRQRIWKH,1)7UHDW\DQGZKDWLWUHSUHVHQWV

       VWUDWHJLFDOO\LQWKDWSDUWRIWKHZRUOGDQGZKDWLWUHIOHFWV

       LQWKHZD\RI5XVVLDQLQWHQWLRQVDURXQGWKHZRUOG7KDQN

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       &KDLUPDQ0F&DLQ$SSDUHQWO\6HQDWRU.LQJKDVQRWKDG

       HQRXJK

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      \RXUPLFURSKRQHZDVRIIIRUWKHHGLWRULDOFRPPHQW

      *HQHUDODFRXSOHRITXLFNTXHVWLRQV'R\RXFRQVLGHU

      575XVVLD7HOHYLVLRQDQDJHQWRIWKH5XVVLDQ*RYHUQPHQW"

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      DUHWKH\XVLQJ57LQ(XURSHEXWWKH\DUHDOVRVQLIILQJ

      DURXQGRULQIDFWORRNLQJLQWRDFTXLVLWLRQVRIFRPPHUFLDO

      WHOHYLVLRQDQGUDGLRFDSDFLW\LQ(XURSH

      *HQHUDO6FDSDUURWWL7KDWLVFRUUHFW,KDYHEHHQ

      WROGLQDQXPEHURIFRXQWULHVWKDWWKH\DUHXVLQJIURQWV

      EXWHVVHQWLDOO\EX\LQJORFDO79DQGLQRQHFDVHUHFHQWO\D

      VRFLDOPHGLDQHWZRUNWKDWLVLQIOXHQWLDOSDUWLFXODUO\ZLWK

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      6HQDWRU.LQJ6RZKHQ\RXVD\EX\LQJORFDO79\RXDUH

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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 248 of 400
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       *HQHUDO6FDSDUURWWL7KDWLVULJKW7KH\DUHEX\LQJ

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       FRQVLGHUYHU\HIIHFWLYHSOD\LQJRIDZHDNKDQG7KH\DUH

       DJJUHVVLQJXSRQXVDWDORZGROODUFRVWEXWDJJUHVVLRQ

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       6HQDWRU.LQJ'LIIHUHQWVXEMHFW,FHODQG,ZDVLQ

      ,FHODQGUHFHQWO\DQGLWVWUXFNPHDVDQLQFUHGLEOH

      VWUDWHJLFORFDWLRQ.HIODYLNDLUEDVHZDVGLVPDQWOHGRU

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      VRPHUHFRQVWLWXWLRQRIRXUFDSDFLW\WKHUH",NQRZZHKDYH

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      *HQHUDO6FDSDUURWWL6HQDWRUZHGRKDYHURWDWLRQDO

      IRUFHVWKURXJKWKHUHEXW,WKLQNZHVKRXOGFRQVLGHULW

      $JDLQLWFRPHVEDFNWRP\FRQFHUQDERXWWKHKLJKQRUWK

      1RUWK$WODQWLFDQGWKHLQFUHDVLQJ5XVVLDQWKUHDWIURPWKH

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      GHWHU5XVVLDDQGZHDUHYHU\NQRZOHGJHDEOHRIWKHLU

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      DSSUHFLDWHREYLRXVO\WKHLPSRUWDQWLQIRUPDWLRQ\RXKDYH

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      EURXJKWXSDQGWKDWLVWKLVZKROHLVVXHRIWKLVLQIRUPDWLRQ

      ZDUIDUHWKDWLVJRLQJRQULJKWQRZLVVRPHWKLQJWKDWFURVVHV

      DORWRIERXQGDULHVEHWZHHQ6WDWHDQG'HIHQVHDQG




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       WKLVSURSDJDQGDWKDWWKH5XVVLDQVDQGIDNHQHZVHW

       FHWHUDUDQJLQJIURPZKDWWKHLUREYLRXVDWWHPSWVDWFKDQJLQJ

       WKHRXWFRPHRIWKH)UHQFKHOHFWLRQWRWKHSUHVVXUHRQ/DWYLD

       WRDOLHQDWHWKHLU5XVVLDQVSHDNLQJSRSXODWLRQ6R,KRSHZH

       ZLOOPRYHWKDWLVVXHXSRQRXUSULRULW\OLVW,WVHHPVWR

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      FDQZHQRWUHFRQVWLWXWHVRPHWKLQJDORQJWKRVHOLQHVWRJHW

      WKHPHVVDJHRXW",GRQRWWKLQNLWZRXOGEHKDUGWRFRXQWHU

      5XVVLDQSURSDJDQGDJLYHQWKHNLQGRIOLIHVW\OHWKH\KDYHLQ

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      WKDWLQYROYHVPRUHWKDQRQHDJHQF\RIJRYHUQPHQWDV\RX

      NQRZZHKDYHPXFKPRUHGLIILFXOW\ZKHWKHULWEHF\EHURU

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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 251 of 400
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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 252 of 400
Afghan Lawmakers: Russian Support to Taliban No Secret                                                      9/19/22, 3:51 PM




       Afghan Lawmakers: Russian Support
       to Taliban No Secret




       Amid controversy in Washington over reports that a Russian intelligence unit
       paid bounties to Taliban militants to kill U.S. and NATO soldiers in
       Afghanistan, some Afghan lawmakers say it is no secret Russia has
       cultivated close contacts with the Taliban and it is likely Russia has
       financially supported Taliban violence.

       Shinkai Karokhail, a member of the Wolesi Jirga, the lower house of
       Afghanistan’s parliament, told VOA, "It is thought that Russia has been
       supporting the Taliban, and it has provided the Taliban with the means so
       that the war, the U.S. engagement, in Afghanistan continues.”

       Karokhail said media reports about the Russian bounties needed to be
       investigated. She added, however, it is plausible that the Taliban receive

https://www.voanews.com/a/extremism-watch_afghan-lawmakers-russian-support-taliban-no-secret/6192205.html        Page 1 of 6

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 253 of 400
Afghan Lawmakers: Russian Support to Taliban No Secret                                                               9/19/22, 3:51 PM




       financial support from other countries in the region.




       FILE- Afghan security forces take position during a gunbattle between Taliban and Afghan security forces in
       Laghman province, Afghanistan, March 1, 2017.


       “To continue fighting, the Taliban need money, and for sure, countries such
       as Russia, Pakistan, Iran and others would be providing them money,” she
       said.

       Gulalai Sapi, an Afghan senator, said Russia and some other regional powers
       do not see their interests in the peace process in Afghanistan.

       “Some countries may not want this process to be implemented as soon as
       possible because war in Afghanistan is in their interest,” she said.

       Last week, The New York Times, citing anonymous U.S. intelligence sources,
       reported that a Russian intelligence unit offered bounties to the Taliban for
       killing American and coalition soldiers in Afghanistan. The newspaper said
       U.S. President Donald Trump was briefed on the issue.

       Senior U.S. intelligence officials briefed a bipartisan group of U.S. lawmakers
       Thursday after members of Congress called for additional information on the
       issue.

       Russia and the Taliban have rejected the allegations, and the Afghan
       government has declined to comment despite several requests to the
       country’s presidential office and the national security council.
https://www.voanews.com/a/extremism-watch_afghan-lawmakers-russian-support-taliban-no-secret/6192205.html                 Page 2 of 6

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 254 of 400
Afghan Lawmakers: Russian Support to Taliban No Secret                                                            9/19/22, 3:51 PM




       Russia-Taliban relations

       Sim Tack, a military analyst with the Stratfor global intelligence firm, told VOA
       he was not surprised that Russian intelligence would be “trying to encourage
       them [the Taliban] to target coalition forces in any way.”

       Tack said Russia’s interest is in building relations with the Taliban “as a way
       to ensure Russian influence in a post-U.S. Afghanistan.”

       He added that “if Russia is able to build a cooperative relationship with the
       Taliban at this point, then that definitely will help them carry a greater role in
       Afghanistan in the future.”




       FILE - Participants attend a conference on Afghanistan bringing together representatives of Afghan authorities and
       the Taliban in Moscow, Russia, Nov. 9, 2018.


       Moscow has been in contact with the Taliban since 2015, and as part of
       Moscow efforts toward a political settlement in Afghanistan, it hosted a
       number of intra-Afghan meetings in 2019.

       Jonathan Schroden, director of the Center for Stability and Development at
       Washington-based research and analysis organization CNA, said uncertainty
       about the future of Afghanistan convinced regional countries, including
       Russia, to build relations with the Taliban.

       Schroden added that Russia and other countries in the region were
       considering having contacts with the Taliban “in the event that the Taliban

https://www.voanews.com/a/extremism-watch_afghan-lawmakers-russian-support-taliban-no-secret/6192205.html              Page 3 of 6

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 255 of 400
Afghan Lawmakers: Russian Support to Taliban No Secret                                                      9/19/22, 3:51 PM




       end up winning.”

       He further said these countries engage not only with the Taliban’s leadership
       but also with the rank and file of the militant group, and “[it] probably
       includes some amount of support to the Taliban organization, whether that is
       money, guns or training.”

       Senior U.S. military officials in the past did not discount the notion of
       Russia's having ties with the Taliban.

       General Joseph Votel, the then-commander of U.S. Central Command, told
       members of the House Armed Services Committee in March 2017 that “it is
       fair to assume they [Russians] may be providing some sort of support to [the
       Taliban], in terms of weapons or other things that may be there.”

       Justifications

       Atiqullah Amarkhil, a retired Afghan army general, said the Russians might be
       thinking of revenge for the role the U.S. had in the Soviet defeat in
       Afghanistan in the 1980s.

       “When Russians were in Afghanistan, the Americans were paying
       mujahedeen to fight against Russians, so it is possible that Russians,
       because of that, have developed relations with some Taliban groups, or a
       Taliban commander, so that they continue fighting.”

       Najeeb Nangyal, an Afghan political analyst, told VOA that Russia justifies its
       support to the Taliban as part of its strategy to counter the Islamic State in
       the region.

       Daniel Davis, a retired U.S. Army lieutenant colonel who is now a senior
       fellow and military expert at the Washington-based think tank Defense
       Priorities, said that if Russia provides support to the Taliban to counter the
https://www.voanews.com/a/extremism-watch_afghan-lawmakers-russian-support-taliban-no-secret/6192205.html        Page 4 of 6

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 256 of 400
Afghan Lawmakers: Russian Support to Taliban No Secret                                                           9/19/22, 3:51 PM




       Islamic State, the support can be used against the coalition forces.

       “If Russians are helping the Taliban counter ISIS operation, well, obviously
       that help can also be used for any type of operations,” Davis said.

       Gul Rahman Hamdard, a member of the Wolesi Jirga, said Russia has an
       interest in the war in Afghanistan.

       “It should be clear now to Afghans that major countries benefit [from the war
       in Afghanistan],” Hamdard added. “This opportunity [the peace process]
       should be seized and Afghans should know that this is foreigners’ war.”




       FILE - Anatoly Antonov, Russian ambassador to the U.S., gestures while speaking during a round-table discussion
       on the Trump-Putin summit in Helsinki in Moscow, Russia, July 20, 2018.


       Russia and the peace process

       Russian Ambassador to the U.S. Anatoly Antonov told journalists Tuesday
       that Russia was working with the United States on Afghanistan. According to
       Russia’s Tass news agency, Antonov said the countries were joining efforts
       “towards political settlement in Afghanistan.”

       The Department of Defense, in a report published in early June, said that
       “Russia very likely continues to support U.S.-Taliban reconciliation efforts in
       the hope that reconciliation will prevent a long-term U.S. military presence.”

       Schroden said Russia wants the U.S. to leave Afghanistan. He added that

https://www.voanews.com/a/extremism-watch_afghan-lawmakers-russian-support-taliban-no-secret/6192205.html             Page 5 of 6

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 257 of 400
Afghan Lawmakers: Russian Support to Taliban No Secret                                                      9/19/22, 3:51 PM




       “they do not want the U.S. peace process to be the vehicle by which the U.S.
       leaves.”

       "The ideal outcome for Russia,” said Schroden, would be to revive the
       Moscow Process for peace. “The Moscow Process leads to a peace
       settlement between the Taliban and the Afghan government and then the
       U.S. leaves.”

       The U.S. military officials, however, called the Russia-led peace process in
       Afghanistan an attempt to undermine NATO.

       Valeria Jegisman from Washington contributed to this report.




https://www.voanews.com/a/extremism-watch_afghan-lawmakers-russian-support-taliban-no-secret/6192205.html        Page 6 of 6

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 258 of 400
Russia accused of supplying Taliban as power shifts create strange bedfellows | Afghanistan | The Guardian           9/19/22, 3:52 PM




       Russia accused of supplying Taliban
       as power shifts create strange
       bedfellows
       An Afghan army commander is the latest to allege that
       Moscow is providing arms to the Islamist group that
       grew out of the 1980s anti-Soviet resistance
       Sune Engel Rasmussen




       Taliban fighters pictured at Bakwah in the western province of Farah in 2015. Taliban fighters nearly overran the
       provincial capital for the third time this year. Photograph: Javed Tanveer/AFP/Getty Images


       Afghan officials have called on Moscow to stop supporting the Taliban, as
       the militant group steps up attacks across the country, allegedly with the
       help of Russian weapons.

       The plea is a sign of frustration with foreign powers, which are muscling in to
       fill the space left behind by the US troop drawdown and often hedging their
       bets on the conflict by supporting several factions – including the Taliban.

       After weeks of intense battles in the western Farah province – in which
       Taliban fighters nearly overran the provincial capital for the third time in a
       year – the commander of the Afghan army’s 207th Corps, has become the
       latest official to point the finger at Russia

       “Many large countries are involved in the Afghan war. We can name Russia,

https://www.theguardian.com/world/2017/oct/22/russia-supplying-taliban-afghanistan                                         Page 1 of 7

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 259 of 400
Russia accused of supplying Taliban as power shifts create strange bedfellows | Afghanistan | The Guardian   9/19/22, 3:52 PM




       who is actively meddling in Farah, and we have seized Russian-made
       weapons, including night vision sniper scopes,” the commander, Brig Gen
       Mohammad Naser Hedayat, said this week. Speaking to local television, a
       local police chief asked the Kabul government to summon the Russian
       ambassador in protest.

       Russia’s recent push for influence in Afghanistan follows a pattern across the
       region, where Moscow has challenged American influence in Libya, Turkey,
       Syria and the Gulf. But it also offers an echo of history for Afghans who since
       the 19th century have seen their country treated as a battleground for rival
       foreign powers.

       The Taliban was originally founded on the back of the 1980s anti-Soviet
       resistance, but it has been forced to bury old enmities since the US-led
       coalition forced it from power in 2001.

       Contacts began in earnest in 2005 when Moscow reached out to the Taliban
       to enlist its help in curtailing militants, especially those from Uzbekistan, said
       Waheed Muzhda, a political analyst and former Taliban official.

       The exact nature of Moscow’s influence remains disputed – as do its
       motives.

       The Kremlin has long sought to curb the influence of Islamist extremists in
       central Asia – a region which it considers part of its historic sphere of
       influence. Last year, the Russian foreign ministry admitted to sharing
       intelligence with the Taliban to fight Isis in Afghanistan.

       The offices of the Afghan president and his national security adviser
       declined to comment, but government officials have previously accused
       Russia of arming and financing the Taliban, which, according to the US
       defence secretary, James Mattis, would be “a violation of international law”.

https://www.theguardian.com/world/2017/oct/22/russia-supplying-taliban-afghanistan                                Page 2 of 7

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 260 of 400
Russia accused of supplying Taliban as power shifts create strange bedfellows | Afghanistan | The Guardian   9/19/22, 3:52 PM




       “Somebody is supplying a bunch of Russian-type weapons, including heavy
       machine guns and a small number of surface-to-surface missiles,” a western
       official said.

       Javid Faisal, spokesman for the government’s chief executive, Abdullah
       Abdullah, said the government had reports of insurgents using Russian
       weapons in the north and west of the country, and in the southern Uruzgan
       province, but added that information was scarce.

       The US military in Kabul also declined to comment but its commander, Gen
       John W Nicholson, has in the past implied that Russia is funnelling weapons
       to the Taliban.

       Afghan officials allege that Russian intelligence helped the Taliban capture
       Kunduz in 2015 and 2016, shortly after Mullah Abdul Salam – one of the
       insurgents’ “shadow governors” – travelled to Tajikistan.

       According to Afghan and western officials, Russia has met several times with
       Taliban representatives without the knowledge of the Afghan government.
       Most noteworthy was a meeting last year in Iran with Taliban chief Mullah
       Akhtar Mansour. On his return to Pakistan, Mansour was killed in an
       American drone strike.

       Though the Taliban has long been viewed, particularly in Afghanistan, as
       umbilically connected to Pakistan, it has diversified its bases of support,
       especially since the emergence of Islamic State rallied them and various
       regional powers against a common enemy.




https://www.theguardian.com/world/2017/oct/22/russia-supplying-taliban-afghanistan                                Page 3 of 7

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 261 of 400
Russia accused of supplying Taliban as power shifts create strange bedfellows | Afghanistan | The Guardian   9/19/22, 3:52 PM



       Taliban fighters in the western province of Farah.




       Taliban fighters in the western province of Farah. Photograph: Javed Tanveer/AFP/Getty Images


       Mansour, the late leader, restructured the Taliban’s economy, giving
       subordinate commanders autonomy to seek out local sources of revenue – a
       move that may also have helped open the movement up to outside influence.

       Iran, China and Saudi Arabia are all believed to be vying more attentively for
       influence with the Taliban, making it harder to control and to negotiate with.

       Russian interference in Afghanistan is not limited to armed Islamists. Russia
       is also allegedly supplying weapons and cash to local strongmen in northern
       Afghanistan, destabilising an already fragile region.

       Commanders with unpredictable allegiances and vast criminal networks from
       Baghlan, Kunduz, Sar-e Pol and Badakhshan have received weapons from
       Russia, according to a researcher with a western organisation in Kabul who is
       not authorised to speak to media.

https://www.theguardian.com/world/2017/oct/22/russia-supplying-taliban-afghanistan                                Page 4 of 7

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 262 of 400
Russia accused of supplying Taliban as power shifts create strange bedfellows | Afghanistan | The Guardian   9/19/22, 3:52 PM




       The claim was confirmed by a gun smuggler who travels across the Afghan-
       Tajik border with caches of weapons. As an example, the smuggler said he
       knew of two deliveries, each of 150 Kalashnikovs, to a prominent figure in the
       province of Badakhshan.

       Qari Abdul Wadood, police chief of Baharak district, also alleged that several
       militia commanders across the north had received nearly 1,000 Russian
       machine guns between them. Wadood warned that although the
       commanders receiving weapons are officially on the government payroll,
       their loyalties are fluid.

       “Some of these people might join the Taliban, or will use the weapons for
       robbery and kidnappings,” he said.

       Russia’s involvement in Afghanistan follows the example of Iran, which
       although formally an Afghan ally, is padding its pro-Assad militias in Syria
       with Afghan Shias despite protests from Kabul. Tehran has also been
       accused of supporting the Taliban, training and arming rebels in the western
       part of Afghanistan, and even allowing the group to open an office in
       Mashhad.

       According to Muzhda, the former Taliban official, growing foreign
       interference is a predictable development. With Afghanistan carved up
       between government, militants and criminal factions, there are plenty of
       avenues to counter American dominance.

       “When Mr Trump pressures Iran, Russia and other countries, they will try to
       make problems for the United States in Afghanistan,” he said. “That is part of
       the game in Afghanistan.”

       Russian analyst Alexei Malashenko said claims of weapons transfers should
       be treated with scepticism. “What kind of weapons are we talking about If

https://www.theguardian.com/world/2017/oct/22/russia-supplying-taliban-afghanistan                                Page 5 of 7

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 263 of 400
Russia accused of supplying Taliban as power shifts create strange bedfellows | Afghanistan | The Guardian   9/19/22, 3:52 PM




       we are talking about Kalashnikovs or grenade launchers then this kind of
       thing could come from anywhere,” he said.

       He said, however, that it was not surprising that Russia would be dealing with
       some elements of the Taliban. “There are different types of Taliban, and
       there are some who are fighting Isis, so why shouldn’t we speak to them
       Without the Taliban, the Afghan state is not viable.”

       Additional reporting by Akhtar Mohammad Makoii in Herat




       Is the tide turning Ukraine’s counteroffensive is changing the dynamic of
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                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 264 of 400
Russia accused of supplying Taliban as power shifts create strange bedfellows | Afghanistan | The Guardian   9/19/22, 3:52 PM




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https://www.theguardian.com/world/2017/oct/22/russia-supplying-taliban-afghanistan                                Page 7 of 7

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 265 of 400
Iran Allegedly Facilitating Taliban-Russia Contacts | Middle East Institute                 9/19/22, 3:52 PM




        Iran Allegedly Facilitating Taliban-
        Russia Contacts




        Abdul Jabar Qahraman, who recently resigned as the top official overseeing
        war efforts in Afghanistan’s volatile Helmand Province, has said that Iran
        facilitates contacts between Taliban leaders and Russian officials. In an
        interview with Voice of America TV (Dari Service), the former Afghan army
        general said he had credible intelligence that Taliban representatives from
        Helmand, Farah, Nimroz and Herat Provinces have traveled to Moscow via
        Tehran. He claimed that family members of Taliban leaders traveling to Iran
        have confirmed their meetings with Iranian and Russian officials. Qahraman
        was Afghan President Ashraf Ghani’s special representative to southern
        Helmand Province.

        Comment: Afghan and U.S. officials have repeatedly said in recent months
        that Iran and Russia have teamed up to undermine the U.S.-led stabilization

https://www.mei.edu/publications/iran-allegedly-facilitating-taliban-russia-contacts             Page 1 of 3

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 266 of 400
Iran Allegedly Facilitating Taliban-Russia Contacts | Middle East Institute                 9/19/22, 3:52 PM




        efforts in Afghanistan. Local officials in southern and western Afghanistan
        cite intelligence that shows Iran is increasingly sheltering, training, funding
        and arming Taliban insurgents. They claim that the two countries have not
        only expanded their diplomatic engagement with the Taliban leadership, but
        are also providing advanced weapons to the insurgents that are fighting the
        Afghan government and the U.S.-led coalition forces in the country. “We
        have received [intelligence] reports that Iran has obtained some weapons
        from Russia and delivered them to the Taliban. We cannot confirm it 100
        percent. But intelligence reports show that the Taliban receive training inside
        Iran,” Afghanistan’s Ariana News quoted Gulbahar Mujahid, the chief security
        commander of Farah Province, in a report published on March 23.

        Iran has also reportedly set up new training camps for Taliban fighters along
        Afghanistan’s border and has delivered Russian arms to the insurgents in
        western and southern Afghan provinces. “We have received intelligence
        reports that training camps have been established in Iran’s Naibandan area
        [in Khorasan], and they provide military training to the Taliban. Indeed,
        Russia, with Iran’s assistance, is equipping the Taliban with advanced
        weapons,” Farah’s Deputy Governor Muhammad Younis Rasooli said in
        March.

        Not all Iranian subversive activities are confined to western Afghanistan,
        however. Two months ago, Afghan authorities alleged that Iran had sent a
        delegation to meet with Taliban commanders in the restive province of
        Helmand. On January 23, Hayatullah Hayat, the governor of Helmand, told
        Afghanistan’s 1TV channel that the National Directorate of Security was
        investigating allegations that the Iranian team also delivered weapons to
        Taliban militants in Helmand’s Garmsir District. The timing of these reports is
        important as the Taliban have made significant territorial gains in Helmand
        Province in recent months. The insurgents yesterday captured Helmand
        Sangin District, a strategic area where more American and British troops

https://www.mei.edu/publications/iran-allegedly-facilitating-taliban-russia-contacts             Page 2 of 3

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 267 of 400
Iran Allegedly Facilitating Taliban-Russia Contacts | Middle East Institute                 9/19/22, 3:52 PM




        have been killed than in any other of Afghanistan’s nearly 400 districts.

        Both Iran and Russia have also broadened their diplomatic engagement with
        the Taliban leadership. Iran has hosted several Taliban delegations for talks
        and conferences in recent years; and in 2014, the Iranian government
        “formalized” its relationship with the Taliban by allowing the terrorist group to
        open an office in Mashhad, the capital of Iran’s Khorasan-e Razavi Province.
        When a U.S. drone killed Taliban leader Mullah Mansur in Pakistan last year,
        he was returning from a trip to Iran.

        Moscow, too, has cultivated close relations with the Taliban leadership –
        raising concern in Kabul that regional governments are directly engaging the
        Taliban for their own interests at the expense of Afghanistan’s stability. The
        Trump administration declined Russia’s invitation to attend a meeting with
        the Taliban leaders in Moscow on April 14.


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                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 268 of 400
Videos suggest Russian government may be arming Taliban | CNN                              9/19/22, 3:53 PM




       Videos suggest Russian government
       may be arming Taliban
       Marines remaining in Afghanistan face hardship

       02:55

       Afghanistan, US claim Russia arming Taliban

       01:21

       The Taliban: How it began, and what it wants

       00:50

       Pence: Proud of US troops in Afghanistan

       00:50

       Trump on Afghanistan plan: 'Attack we will'

       02:08

       The pillars of Trump's Afghanistan strategy

       00:54

       Trump: US in Afghanistan to kill terrorists

       00:42

       Trump calls terrorists 'losers'

       01:21
https://www.cnn.com/2017/07/25/asia/taliban-weapons-afghanistan/index.html                      Page 1 of 6

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 269 of 400
Videos suggest Russian government may be arming Taliban | CNN                              9/19/22, 3:53 PM




       Trump: Our support is not a blank check

       00:45

       Trump acknowledges flip-flop on Afghanistan

       01:04

       Trump: Love for America requires love for all

       01:34

       Trump: We produce a special class of heroes

       02:24

       Will Trump send more troops to Afghanistan

       01:25

       Mattis: New Afghanistan strategy decided

       01:27

       US troops in Afghanistan: A history

       00:46

       Dozens killed in Kabul car bombing

       02:52

       Marines remaining in Afghanistan face hardship

       02:55


https://www.cnn.com/2017/07/25/asia/taliban-weapons-afghanistan/index.html                      Page 2 of 6

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 270 of 400
Videos suggest Russian government may be arming Taliban | CNN                                  9/19/22, 3:53 PM




       Afghanistan, US claim Russia arming Taliban

       01:21

       The Taliban: How it began, and what it wants

       00:50

       Pence: Proud of US troops in Afghanistan

       Story highlights                       Kabul, Afghanistan CNN — none
       Two videos obtained by
       CNN suggest the Taliban                The Taliban have received improved weaponry in
       have received improved                 Afghanistan that appears to have been supplied by the
       weaponry supplied by the
       Russian government
                                              Russian government, according to exclusive videos
       NEW: Russian foreign
                                              obtained by CNN, adding weight to accusations by
       ministry statement denies              Afghan and American officials that Moscow is arming
       Taliban support
                                              their one-time foe in the war-torn country.

       US generals first suggested they were concerned the Russian government
       was seeking to arm the Afghan insurgents back in April, but images from the
       battlefield here corroborating these claims have been hard to come by.

       These two videos show sniper rifles, Kalashnikov variants and heavy
       machine guns that weapons experts say are stripped of any means of
       identifying their origin.

       Two separate sets of Taliban, one in the north and another in the west, claim
       to be in possession of the weapons, which they say were originally supplied
       by Russian government sources. One splinter group of Taliban near Herat
       say they obtained the guns after defeating a mainstream rival group of
       Taliban. Another group say they got the weapons for free across the border
       with Tajikistan and that they were provided by “the Russians.”

https://www.cnn.com/2017/07/25/asia/taliban-weapons-afghanistan/index.html                          Page 3 of 6

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 271 of 400
Videos suggest Russian government may be arming Taliban | CNN                              9/19/22, 3:53 PM




       The videos don’t provide incontrovertible proof of the trade, of which
       Moscow has categorically denied involvement. Yet they offer some of the
       first battlefield evidence of a flow of weapons that has the Afghan and
       American governments deeply concerned about Moscow’s intentions here.

       “The Russians have said that they maintain contact with the Taliban, we have
       lots of other reports from other people they are arming the Taliban … there is
       no smoke without fire,” Afghan government spokesman Sediq Sediqi said.
       “That’s why our intelligence agencies are up to the job to find out what level
       of support that is to the Taliban.”

       Another Afghan official said they were sure that trade was happening
       between Russia and the Taliban.

       On Wednesday, Russia’s foreign ministry said in a statement:
       “As we have repeatedly stated, the accusations of a number of Western and
       some Afghan mass media … regarding alleged Russia’s support of the
       Taliban militants, are groundless. To date, neither the Afghan authorities nor
       the command of the US and NATO contingents in the Islamic Republic of
       Afghanistan have provided evidence that would confirm these speculations.”

       “Again, we emphasize: Russia does not support the Taliban movement.”

       The ministry had earlier declined to comment for this article.

       US officials have long voiced concerns about any weapons flow to the terror
       group. Asked in April whether he would refute the reports Russia was arming
       the Taliban, the US commander here, Gen. John Nicholson, said: “Oh, no I’m
       not refuting that… Arming belligerents or legitimizing belligerents who
       perpetuate attacks … is not the best way forward.”

       Gen. Joseph Votel, chief of US Central Command, told a congressional

https://www.cnn.com/2017/07/25/asia/taliban-weapons-afghanistan/index.html                      Page 4 of 6

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 272 of 400
Videos suggest Russian government may be arming Taliban | CNN                              9/19/22, 3:53 PM




       committee in March he believed the Russians were seeking influence in
       Afghanistan.

       “I think it is fair to assume they may be providing some sort of support to
       (the Taliban) in terms of weapons or other things that may be there,” he said.

       In one video the Herat group are seen brandishing the guns, which they said
       were taken from the mainstream Taliban, led by Mullah Haibatullah, after that
       group attacked them. Eighteen of their rivals were killed in the attack and six
       were captured, they said.

       “These weapons were given to the fighters of Mullah Haibatullah by the
       Russians via Iran,” said their deputy leader, Mullah Abdul Manan Niazi. He
       went on to repeat the often-heard rationale behind the arming – which
       Moscow denies – that the weapons were supplied to help the Taliban better
       fight ISIS.

       “The Russians are giving them these weapons to fight ISIS in Afghanistan,
       but they are using them against us too,” he said.

       The second video was shot nearer Kabul and features a masked Taliban
       fighter parading arms he says he obtained through the northern province of
       Kunduz. He said he did not pay for the weapons – insurgents often pay for
       guns with opium crops – and that his group received the guns via the Tajik
       border.

       “These pistols have been brought to us recently,” he says. “These are made
       in Russia, and are very good stuff.”

       Weapons experts from the Small Arms Survey studied the videos and said
       there was little in them to directly tie the guns to the Russian state. The
       weapons were not particularly modern or rare, and even some of the more

https://www.cnn.com/2017/07/25/asia/taliban-weapons-afghanistan/index.html                      Page 5 of 6

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 273 of 400
Videos suggest Russian government may be arming Taliban | CNN                              9/19/22, 3:53 PM




       elaborate additions, like a JGBG M7 scope on one machine gun, were
       Chinese made and readily available online, they said.

       Yet Benjamin King from the Survey said, “the weapons didn’t seem to have
       the manufacturer markings where we would expect them.” He said that
       elsewhere there have been reports of supplying governments and others
       going to great lengths to remove identification markings from weapons.

       “If this is a pattern seen in Afghanistan then it would be noteworthy,” he
       added.

       Sediqi, the Afghan government spokesman, said they had put the allegations
       to Moscow and also received a denial. He added Afghan officials have
       expressed their concerns about Moscow’s contacts with the Taliban, which
       coalition officials say legitimizes the insurgency.

       “The issue of contact with the Taliban with the Russians was something that
       really concerned us as well,” Seddiqi said. “No contact with non-state
       groups.”

       Update: This story includes a new statement from Russia’s foreign ministry.
       The ministry had previously declined to comment for this article.




https://www.cnn.com/2017/07/25/asia/taliban-weapons-afghanistan/index.html                      Page 6 of 6

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 274 of 400
MENU   monday september 19 2022




                        Russia seems to be trying to undermine the Afghan army as part of a proxy war against the
                        US and its allies
                        PA RW I Z / R E U T E R S




                        Russia funds Taliban in war against Nato
                        forces
                        Anthony Loyd, Kabul

                        Monday October 16 2017, 12.01am BST, The Times


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                        Russia is funding Taliban military operations against Nato in
                        Afghanistan through a covert programme of laundered fuel
                        sales, The Times has learnt from members of the Islamist group
                        and Afghan oĮcials.


                        Russian intelligence services are sending fleets of fuel tankers
                        into Afghanistan through the Hairatan border crossing with
          Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 275 of 400
         Uzbekistan. From there, they are delivered free of charge to
         front companies operating on behalf of the Taliban. The
         arrangement allows about $2.5 million raised in cash from the
         sale of the fuel each month to be delivered directly to insurgent
         paymasters.


         Russia has accelerated its support in recent months in an
         apparent attempt to bolster the Taliban against Islamic State.
         The trade has become part of the revived “proxy war” strategy
         against the US and its allies, which stretches across battlefields
         from Ukraine to Syria.


         “We sell the fuel on and distribute the money directly to our
         commanders,” a Taliban treasurer from Ghazni province said.
         He had been authorised to speak to a journalist as part of the
         Taliban’s eĭorts to advertise its relationship with international
         backers, in response to President Trump’s decision in August to
         send 3,800 additional US troops and further funding to the
         Afghan government.

         “Accepting money from the Russians is not something we like
         doing,” the Taliban treasurer said, “but it is necessary at this
         stage of our jihad.”

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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 276 of 400
         Moscow has been repeatedly accused by senior US oĮcials of
         supporting the Taliban. “Russia does supply arms to the Taliban,
         and this, of course, is a violation of international norms and
         violation of the norms of the UN security council,” Rex
         Tillerson, the US secretary of state, said recently.


         Yet the meetings with The Times were the first time the Taliban
         had publicly admitted to receiving Russian support. Nato has
         more than 13,000 troops still in Afghanistan, including up to
         500 British soldiers, as part of Operation Resolute Support,
         which trains, advises and assists the Afghan government.



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         Russian cash goes straight into the hands of Taliban
         chiefs
         October 16 2017, 12.01am BST
         Anthony Loyd, Kabul




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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 277 of 400
Russia Defines Its Post-Takeover Role in the Afghan Conflict | Royal United Services Institute                            9/19/22, 3:56 PM




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   COMMENTARY



   Russia Defines Its
   Post-Takeover Role in
   the Afghan Conflict
   Ivan U Klyszcz
   2 September 2021                             4 Minute Read




   Russia looks to the Taliban as a
   stabilising force in Afghanistan –
   and this may mean formal                                                                        WRITTEN BY

   recognition of the new regime in                                                                Ivan U Klyszcz
   the country.

   During the farewell meeting between
   Russian President Vladimir Putin and
   German Chancellor Angela Merkel in
   Moscow last month, Putin spoke in public
   about the Taliban takeover for the first
   time. He stated that the world needs to
   proceed in Afghanistan from the reality

https://www.rusi.org/explore-our-research/publications/commentary/russia-defines-its-post-takeover-role-afghan-conflict        Page 1 of 7

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 278 of 400
Russia Defines Its Post-Takeover Role in the Afghan Conflict | Royal United Services Institute                            9/19/22, 3:56 PM




   that the Taliban have become the
   authorities of the country, and that it
   should refrain from continuing to try to
   impose its values on Afghanistan.

   These comments do not represent a
   departure from Russia’s broader
   Afghanistan policy, which remains focused
   on protecting Central Asia from the
   ‘instability’ of the Afghan civil war. They
   do, however, indicate what role Moscow is
   going to take at the current Afghan
   juncture – namely, that of a pragmatic
   facilitator for the Taliban’s consolidation. In
   other words, Russia is betting on a stable
   Taliban rule to bring long-term stability in
   Afghanistan. For the Taliban, a
   partnership with Russia would help them
   avoid international isolation. So, there is a
   degree of overlap between Russia’s
   interests and those of the Taliban.

   Russia is not alone in this outlook. The
   international community has reacted
   differently to the Taliban takeover today
   than in the 1990s. Since 15 August, the
   West has adopted a wait-and-see approach,

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                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 279 of 400
Russia Defines Its Post-Takeover Role in the Afghan Conflict | Royal United Services Institute                            9/19/22, 3:56 PM




   especially concerning the Taliban’s way of
   governing and their relationship with
   transnational terrorist networks. In this
   sense, the preference in many capitals is to
   see the Taliban become a predictable actor
   outside of Afghanistan’s borders, bound to
   the agreements signed in the last few years.
   Moscow, for its part, hopes that its
   conciliatory and pragmatic approach to
   the Taliban will result in making inroads
   with the group. This would help turn
   Moscow into a key player in the resolution
   of the conflict. To attain this goal, Moscow
   has several instruments, but it faces some
   obstacles.

   Regarding the obstacles, the issue of
   formal recognition looms large. On the
   one hand, Russia is not keen to be the first
   state to recognise the Taliban, as it still
   legally considers the organisation a
   terrorist group. Moreover, the Russian
   government has cultivated a reputation of
   being a fighter against terrorism, so
   rushing to recognition would harm this
   narrative. On the other hand, top
   authorities in Russia have spoken about
https://www.rusi.org/explore-our-research/publications/commentary/russia-defines-its-post-takeover-role-afghan-conflict        Page 3 of 7

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 280 of 400
Russia Defines Its Post-Takeover Role in the Afghan Conflict | Royal United Services Institute                            9/19/22, 3:56 PM




   the Taliban as an inevitable partner for
   Russia, with some even suggesting the
   need to ‘legalise’ the Taliban.

   Legal recognition of Taliban rule would
   enable Russia to have a wider scope of
   contacts with the group. Yet, there are
   many legal hurdles to changing the
   terrorist designation. The status was set
   out in federal law in 2003 and it is bound to
   the terrorist status of other groups,
   including some operating in Russia itself.
   Because of this, Russia hopes for a Security
   Council resolution lifting the UN sanctions
   against the Taliban. This would facilitate
   the change in Russia’s own designation of
   the Taliban and pave the way to
   recognition.

   The legal dimension, however, does not
   impede continued Russian engagement
   with the Taliban. Regarding instruments,
   Russia has developed reliable channels of
   communication with the Taliban since at
   least 2015. These channels are manned by
   top diplomats on both sides. Putin’s
   Afghanistan envoy, Zamir Kabulov, is a well-

https://www.rusi.org/explore-our-research/publications/commentary/russia-defines-its-post-takeover-role-afghan-conflict        Page 4 of 7

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 281 of 400
Russia Defines Its Post-Takeover Role in the Afghan Conflict | Royal United Services Institute                            9/19/22, 3:56 PM




   established Afghanistan expert who
   famously met Mullah Omar in 1995. The
   Taliban’s top leadership has visited Russia
   several times for Moscow-sponsored talks.

   Under the conditions following the fall of
   Kabul, these diplomatic instruments can
   help the Taliban consolidate power by
   facilitating dialogue that does not
   challenge their rule. On 19 August, Russia’s
   foreign minister, Sergei Lavrov, stated that
   Moscow is ready to restart talks between
   the Taliban and the anti-Taliban
   resistance. Tellingly, these are proposed
   only once the Taliban choose a new
   leadership for the country. Russia’s interest
   in the Taliban’s consolidation is also at play
   in its calls for dialogue between the de
   facto Taliban government and the
   opposition.

   The topic of recognition has rightfully
   captured much attention, as it will
   determine Afghanistan policy in many
   capitals. Yet, for Russia, recognition will
   not change the role it has adopted at the
   current juncture. Putin’s 20 August

https://www.rusi.org/explore-our-research/publications/commentary/russia-defines-its-post-takeover-role-afghan-conflict        Page 5 of 7

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 282 of 400
Russia Defines Its Post-Takeover Role in the Afghan Conflict | Royal United Services Institute                            9/19/22, 3:56 PM




   comments point to Russia’s de facto
   recognition of the Taliban as Russia’s
   legitimate Afghan counterpart and as the
   guarantors of Afghanistan’s stability. So,
   Russia’s dialogue and mediation initiatives
   are not meant to challenge the premise of
   Taliban rule. In turn, the instruments for
   attaining Moscow’s goals regarding the
   Taliban did not depend on the Taliban’s
   legal status, nor will they do so now after
   the takeover.

   The views expressed in this Commentary
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   Ivan U Klyszcz

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                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 283 of 400
Russia hands over Afghan embassy in Moscow to the Taliban, Islamic flag is raised                                     9/19/22, 3:56 PM




       Russia hands over Afghan embassy
       in Moscow to the Taliban, Islamic flag
       is raised
       Apr 12, 2022 12:00 pm By Christine Douglass-Williams

       Russia’s move gives legitimacy to the Taliban, but India’s Rakesh Sood is
       correct that the most important endorsement the Taliban needs is from the
       West, since it wants Western money. But Sood observes that “their actions
       on girls’ education have further restricted that option.”

       It isn’t only girls’ education that’s the problem. The Taliban has always been
       and will always be a brutal jihad group which abuses women and minorities,
       launches indiscriminate attacks on civilians, and murders those whom it
       believes to have violated various Sharia provisions. Its objective is to rule the
       region by Sharia, using fear and force.

       “Afghan embassy in Moscow handed over to Taliban, flag hoisted,” by
       Nayanima Basu, The Print, April 10, 2022:

            New Delhi: In the midst of constricting sanctions and increasing isolation
            by the West for its invasion of Ukraine, Russia on Saturday completed the
            official handover of the Afghanistan embassy in Moscow to the Taliban.
            Jamal Garwal who was accredited in late March 2022 as Charge
            d’Affaires in Afghanistan Embassy in Moscow took charge and the
            Islamist group’s flag was hoisted inside the mission premises.

            “Today, the Afghan Embassy in Moscow was handed over to an IEA-
            appointed diplomat. The MoFA (Ministry of Foreign Affairs) of IEA (Islamic
            Emirates Arabic) expresses gratitude to the government of the Russian

https://www.jihadwatch.org/2022/04/russia-hands-over-afghan-embassy-in-moscow-to-the-taliban-islamic-flag-is-raised        Page 1 of 3

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 284 of 400
Russia hands over Afghan embassy in Moscow to the Taliban, Islamic flag is raised                                     9/19/22, 3:56 PM




            Federation for accrediting the Afghan diplomat and facilitating the role of
            the Afghan Embassy in ensuring bilateral relations and providing timely
            services to its citizens in Russia”, said Abdul Qahar Balkhi, spokesperson,
            Ministry of Foreign Affairs of Afghanistan.

            Balkhi also said, “As the legitimate government of Afghanistan, the IEA is
            entitled to managing Afghan political missions abroad and engaging
            responsibly with the world.”…

            “We do not rule out that Kabul may send several junior and middle-level
            diplomats to reinforce the staff of the Afghan embassy in Moscow. Some
            of its diplomats, as we have heard, have already quit their jobs and even
            left Russia,” Kabulov said….

            “We are convinced that the international community should actively
            cooperate with Afghanistan’s new government, encouraging steps aimed
            at its official recognition by the UN and all its participants,” Lavrov said in
            that meeting which was attended by Taliban’s acting foreign minister Amir
            Khan Muttaqi….

            While Moscow has officially accredited that Taliban diplomat, Russia’s
            Foreign Ministry has said this cannot be considered as “official
            recognition” of the regime.

            “It would be premature to talk about recognising the Taliban regime in
            Afghanistan. However, I must note that the regime change in Kabul has
            not signalled any pause in the diplomatic contacts between our countries.
            We had contact with the Taliban movement even before it came to power.
            It is business as usual for the Russian Embassy in Afghanistan, while the
            members of the Afghan diplomatic mission in Moscow were appointed by
            the previous government,” Maria Zakharova, spokesperson, Russian
            Foreign Ministry said last week….
https://www.jihadwatch.org/2022/04/russia-hands-over-afghan-embassy-in-moscow-to-the-taliban-islamic-flag-is-raised        Page 2 of 3

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 285 of 400
Russia hands over Afghan embassy in Moscow to the Taliban, Islamic flag is raised                                     9/19/22, 3:56 PM




            However, according to Rakesh Sood, former Indian envoy to Afghanistan,
            the Taliban will have to ultimately “seek recognition from the West as
            that’s where the money will come from. Their actions on girls’ education
            have further restricted that option. The timing, however, of the step taken
            by Russia is only a reflection of its growing differences with the West.”…




https://www.jihadwatch.org/2022/04/russia-hands-over-afghan-embassy-in-moscow-to-the-taliban-islamic-flag-is-raised        Page 3 of 3

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 286 of 400
Russia Latest Country to
Establish Diplomatic Ties
With Taliban
John Pike

In-Depth Coverage

By VOA News April 09, 2022

Their government still unrecognized by any country in the
world, Afghanistan's ruling Taliban have found a way to beat
international isolation: opening diplomatic ties with
neighboring countries and others, with an eye to gaining
formal recognition.

In recent months, at least four countries â” China, Pakistan,
Russia and Turkmenistan â” have accredited Taliban-
appointed diplomats, even though all have refused to
recognize the 8-month-old government in Afghanistan.

Last month, Russia became the latest country to establish
diplomatic ties with the Taliban when its Foreign Ministry
accredited Taliban diplomat Jamal Nasir Gharwal as Afghan
charge d'affaires in Moscow.

"We regard this as a step towards the resumption of full-
    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 287 of 400
fledged diplomatic contacts," Russian Foreign Ministry
spokesperson Maria Zakharova said Wednesday.

On Saturday, Gharwal took over the embassy, Taliban foreign
ministry spokesman Abdul Qahar Balkhi tweeted. Although
Zakharova said it was premature "to talk about official
recognition of the Taliban," the move is not sitting well in
Washington, where officials are concerned it could confer
undeserved legitimacy on the Taliban.

A State Department spokesperson said the U.S. and its allies
"remain deeply troubled by recent steps the Taliban have
taken, including steps to restrict education and travel for
girls and women."

"Now is not the time to take any steps to lend credibility to
the Taliban or normalize relations," the spokesperson said in
response to a query from VOA. "This move sends the wrong
signal to the Taliban."

In the wake of the Taliban takeover of Afghanistan last
August, the U.S. and other Western countries shut down
their diplomatic posts in Kabul. But they've maintained
contact with the group, if only to facilitate the flow of
humanitarian aid into the country and influence Taliban
policies.

The countries that have received Taliban diplomats all
    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 288 of 400
maintain embassies in Afghanistan.

Ronald Neumann, a former U.S. ambassador to Kabul and
the president of the American Academy of Diplomacy, said it
was a "mistake" for Russia and other nations to accredit
Taliban diplomats while the international community seeks
cooperation from the Taliban on a number of fronts.

"When they accredit the diplomats, then they weaken the
influence of the pressure that says you have to allow girls'
education and you have to cooperate with the NGOs
(nongovernmental organizations) to help feed people or you
won't get recognition," Neumann said. "So what the Taliban
will see is that if they pay no attention to those statements,
some states will begin to move toward recognition anyway."

Accrediting a foreign diplomat is not the same as giving
formal recognition, Neumann said. But that's not how the
Taliban see it.

"In practice, this is the equivalent of recognition, but it is not
enough," said Suhail Shaheen, who has been appointed by
the Taliban to serve as Afghanistan's envoy to the U.N.
"Countries must recognize the Islamic Emirate."

Shaheen, whose appointment has not been endorsed by the
U.N., told VOA that about 10 countries have "accepted"
Taliban diplomats, including China, Iran, Malaysia, Pakistan,
    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 289 of 400
Qatar, Russia, Saudi Arabia and Turkmenistan.

Of those, only four â” China, Pakistan, Russia and
Turkmenistan â” have formally accredited diplomats
appointed by the Taliban, according to announcements by
Afghan embassies and the foreign ministries of the host
countries.

But previously appointed diplomats at Afghanistan's
embassies in Iran, Malaysia and Saudi Arabia now follow the
Taliban foreign ministry's "instructions," Shaheen said.

"We don't have any problem with anyone who contacts the
current government of the Islamic Emirate and follows its
instructions," Shaheen said via WhatsApp. "That's what
they've done."

Abdul Qayyum Sulaimani, the Afghan charge d'affaires in
Tehran and a holdover from the previous government, told
reporters in January that he'd received a letter from Amir
Khan Muttaqi, the Taliban foreign minister, confirming his
status as acting ambassador.

Representatives of the Afghan embassies in Kaula Lumpur
and Ryadh could not be reached for comment.

Qatar is a "special case," Neumann said. The Gulf state has
long allowed the Taliban to operate a political office in Doha,
and Case
    it represents     some U.S.
         3:20-mc-00206-FDW-DSC    diplomatic
                               Document 15-1 Filedinterests   in290 of 400
                                                   03/20/23 Page
Afghanistan. In November, Muttaqi met with Afghan
embassy staff in Doha.

The Qatar Embassy in Washington did not respond to a
question about whether the Qatari government had
accredited any Taliban diplomats.

Afghanistan maintains 45 embassies and 20 consulates
around the world. The majority are still run by diplomats
appointed by the government of former President Ashraf
Ghani and have refused to work with the Taliban
government.

Mohammad Zahir Aghbar, Afghanistan's ambassador to
Tajikistan, said Taliban pressure to oust Afghan diplomats
won't work.

"No country will let them do that," Aghbar told VOA's Afghan
Service.

Tajikistan, which maintains close ties to an anti-Taliban
resistance group, is the only Afghanistan neighbor that has
refused to allow Taliban officials to visit the Afghan Embassy.

Last week, a senior Taliban foreign ministry official visited an
Afghan consulate in neighboring Uzbekistan "to improve and
organize the consular affairs of the Afghan consulate" in the
border town of Termez, according to a Taliban official.
    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 291 of 400
Last month, Afghanistan's embassy in Washington and its
consulates in New York and Los Angeles shut down after
running out of money.

Senior State Department Correspondent Cindy Saine and
VOA Afghan Service's Mirwais Rahmani contributed to this
article.


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   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 292 of 400
Taliban officials nearing
contract for purchase of
gasoline from Russia
By and




KABUL, Aug 29 (Reuters) - The Taliban administration is in
the final stages of talks in Moscow over the terms of a
contract for Afghanistan to purchase gasoline and benzene
from Russia, Afghan officials told Reuters.

Habiburahman       Habib, the spokesperson for Afghanistan's
   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 293 of 400
Ministry of Economy confirmed that an official delegation
chaired by the commerce ministry was in the Russian capital
and finalising contracts for supplies of wheat, gas and oil.

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"They are in negotiation with the Russian side," he said in a
message to Reuters, adding they would share details once
the contracts were complete.

A source from the office of the Minister of Commerce and
Industry told Reuters technical officials from his ministry and
the Ministry of Finance had stayed in Moscow to work on the
contracts after a ministerial delegation visited this month.

"We are working on text of contract, (we have) almost
agreed on gasoline and benzene," said the official, adding
they expected it to be finished soon.

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Spokespeople at Russia's foreign and energy ministries did
not respond to requests for comment.

The contracts come after a Taliban delegation led by the
acting commerce minister visited Russia in mid-August to
hold talks on trade.

If completed, the contract would be a sign of foreign
    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 294 of 400
countries increasingly doing business with the Taliban,
despite its administration not being officially recognised by
any international government since it took control of the
country after U.S. troops withdrew around a year ago.

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It comes as the United States tries to convince other nations
to cut down on use of Russian oil, saying the initiative is
aimed at curbing the oil revenue that Moscow uses to
finance its invasion of Ukraine.

Both Russia and Taliban-led Afghanistan face economic
sanctions from international governments, including the
United States.

No foreign government, including Moscow, formally
recognises the Taliban administration and Afghanistan's
banks have been hampered by the sanctions which have left
most international banks unwilling to carry out transactions
with Afghan banks.

The official source said they had a plan for how payments
would be made but declined to provide details on whether
official banking channels would be used.

Despite Afghanistan's central bank assets being frozen, its
banking sector hampered by sanctions, and a lack of formal
recognition    from abroad, some
    Case 3:20-mc-00206-FDW-DSC Documentcountries     are doing
                                        15-1 Filed 03/20/23       business
                                                            Page 295 of 400
with Kabul, helping it access global markets amid a domestic
economic crisis.

Pakistan is receiving thousands of tonnes of coal from
Afghanistan a day, which the former has welcomed to ease
its energy crisis. Transactions are carried out by private
businesses in each country, and the Taliban administration
collects millions of dollars in customs duties on the coal
exports.

(This story corrects designation of Afghan spokesperson to
economy ministry, not commerce ministry)

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Reporting by Charlotte Greenfield and Mohammad Yunus
Yawar; Editing by Hugh Lawson

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   Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 296 of 400
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   BANKING AND FINANCIAL NEWS   MAY 12, 2015 / 1:47 PM / UPDATED 7 YEARS AGO




   Accused Russian spy's U.S. legal fees paid by Moscow-owned
   bank
   By Joseph Ax                                                                                                   3 MIN READ




   NEW YORK, May 12 (Reuters) - A state-owned Russian bank is paying for the legal defense of an employee
   charged with posing as a banker in New York while secretly spying for Moscow, his lawyer confirmed on
   Tuesday.


   Evgeny Buryakov and two other Russian citizens, Igor Sporyshev and Victor Podobnyy, are accused of
   conspiring to gather economic intelligence on behalf of Russia, including information about U.S. sanctions
   against the country, and to recruit New York City residents as intelligence sources.


   Buryakov’s lawyer, Scott Hershman of the firm White & Case, told U.S. District Judge Richard Berman that
   his firm had signed a retainer agreement with Buryakov’s employer, state-owned Vnesheconombank.


   Federal prosecutors had raised the possibility that permitting a third party to finance Buryakov’s defense
   could pose a conflict of interest. Berman said he would hold a hearing on Monday, May 18, to explore
   whether a potential conflict exists.



   Vnesheconombank’s decision to fund Buryakov’s defense comes after the Russian foreign ministry called on
   the United States to release him, saying prosecutors had not provided evidence to support the allegations.

   Buryakov has pleaded not guilty to charges of conspiracy and acting as an unregistered agent of Russia.


   A Vnesheconombank representative in New York referred questions to the company’s press oﬃce in Moscow,
   which could not be reached outside of regular business hours there.

   Prosecutors have said Buryakov engaged in covert work for Russia’s foreign intelligence service, known as the
   SVR, while posing as a banker at Vnesheconombank in New York. He remains listed on the company’s
   website as aCase
                deputy representative for its New York
                    3:20-mc-00206-FDW-DSC              branch.
                                                  Document  15-1 Filed 03/20/23 Page 297 of 400
Sporyshev was formerly a Russian trade representative from 2010 to 2014, while Podobnyy worked as an
attaché to Russia’s United Nations mission from 2012 to 2013, according to U.S. authorities.

Both no longer live in the United States and have not been arrested. Prosecutors have said the two men
enjoyed diplomatic immunity while working in New York.

Buryakov met with Sporyshev on dozens of occasions between 2012 and 2014 to exchange information
related to their work as agents for SVR, according to prosecutors. Buryakov also traveled to another country
in November 2012 and March 2013 to gather additional economic intelligence for SVR, prosecutors said.
(Reporting by Joseph Ax; Editing by Dan Grebler)

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                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 298 of 400
US deports Russian spy who posed as VEB bank employee                                                                 9/20/22, 9:29 AM




       US deports Russian spy who posed
       as VEB bank employee
       Evgeny Buryakov was part of a spy ring which had
       contact with former Trump adviser Carter Page.
       Tom Porter 04/06/17 AT 6:01 PM




       Evgeny Buryakov, a former New York banker who was convicted in federal court of conspiring to act in the United
       States as an agent of the Russian Federation, is shown in this handout photo sitting on a commercial flight,
       escorted by deportation officers and turned over to Russian authorities, Reuters Pics


       On 5 April, the US deported a Russian spy who had been posing as a bank
       employee in New York and was part of an espionage ring which had contact
       with a former adviser to Donald Trump.

       Evgeny Buryakov, 42, was sent to Russia on commercial flights, escorted by
       deportation officers and turned over to Russian authorities, US Immigration

https://www.ibtimes.co.uk/us-deports-russian-spy-who-posed-veb-bank-employee-1615805                                       Page 1 of 2

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 299 of 400
US deports Russian spy who posed as VEB bank employee                                     9/20/22, 9:29 AM




       and Customs and Enforcement (ICE) said in a statement.

       Buryakov worked for several years as an agent of Russia's foreign
       intelligence agency, the SVR, according to the ICE and court documents. He
       worked in the US under non-official cover, meaning he posed as a private
       citizen, working in a branch of Russian bank Vnesheconombank (VEB) in
       New York.

       He was arrested in 2015, and pleaded guilty to having worked as an agent
       for Russia without declaring his status to the Attorney General, as legally
       required.

       Buryakov was released from prison and briefly taken into ICE custody, and
       placed on an Aeroflot plane. A Russian embassy spokesman confirmed to
       CBS News that Buryakov had arrived in Moscow.

       Buryakov was part of a Russian spy ring that included two officials at Russian
       government agencies in the US.

       According to court documents one of the men, Viktor Podobnyy, had contact
       with former Trump spokesman Carter Page in 2013.

       Page has confirmed that he provided Podobnyy with information on the
       energy industry, but said the information was not sensitive and he had no
       idea the men were intelligence agents.




https://www.ibtimes.co.uk/us-deports-russian-spy-who-posed-veb-bank-employee-1615805           Page 2 of 2

                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 300 of 400
U.S. Treasury Imposes Immediate Economic Costs in Response to Acti… the Donetsk and Luhansk Regions | U.S. Department of the Treasury   9/19/22, 4:04 PM




       BLOCKING MAJOR RUSSIAN FINANCIAL INSTITUTIONS

       OFAC designated two financial institutions that are crucial to financing the
       Russian defense industry, as well as 42 of their subsidiaries. These financial
       institutions play significant roles in the Russian economy, holding combined
       assets worth tens of billions of dollars.

       VEB and PSB are state-owned institutions that play specific roles to prop up
       Russia’s defense capability and its economy. VEB’s 53 billion asset portfolio
       makes it large enough to be among Russia’s top five financial institutions.
       VEB occupies a unique role in Russia’s financial system as the servicer of
       Russia’s sovereign debt, financier for exports, and a funding source for
       investment projects with a loan portfolio of over 20 billion. VEB finances
       Russia’s national economic development, including large-scale projects to
       develop domestic infrastructure and other industries that are critical to
       Russia’s generation of revenue. Currently Russia’s 8th largest bank, PSB was
       earmarked by the Russian government to finance Russia’s Ministry of
       Defense and the Russian defense sector. It services nearly 70 percent of
       Russia’s defense contracts and provides banking and personal finance to
       Russian military personnel. Today’s designation of PSB exposes the Russian
       government’s scheme to minimize sanctions risk exposure through PSB’s
       illicit sanctions evasion activity.

       State Corporation Bank for Development and Foreign Economic Affairs
       Vnesheconombank (VEB) finances domestic development projects as
       Russia’s national economic development institution. In partnership with
       commercial banks, VEB provides financing for large-scale projects to
       develop the country’s infrastructure and industrial production. VEB was
       designated pursuant to E.O. 14024 for being owned or controlled by, or for
       having acted or purported to act for or on behalf of, directly or indirectly, the
       Government of Russia (GoR), and for operating or having operated in the

https://home.treasury.gov/news/press-releases/jy0602                                                                                        Page 3 of 11

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 301 of 400
U.S. Treasury Imposes Immediate Economic Costs in Response to Acti… the Donetsk and Luhansk Regions | U.S. Department of the Treasury   9/19/22, 4:04 PM




       financial services sector of the Russian Federation economy.

       In addition, 25 of VEB’s subsidiaries were designated today pursuant to E.O.
       14024 for being owned or controlled by, or for having acted or purported to
       act for or on behalf of, directly or indirectly, VEB or the GoR. These
       subsidiaries represent a wide range of businesses, including banks and other
       financial firms, electronic component producers, a coal mining company, a
       sporting activities company, among others, in Russia and three other
       countries. All entities owned 50 percent or more, directly or indirectly, by
       VEB are subject to blocking under E.O.14024, even if not identified on
       OFAC’s Specially Designated Nationals and Blocked Persons List (SDN List).
       Prior to today’s action, VEB and any entity owned 50 percent or more by VEB
       were subject to certain debt- and equity-related restrictions pursuant to
       Directive 1 under E.O. 13662. These entities are now blocked.

       OFAC issuedgeneral licensesauthorizing certain transactions related to the
       wind-down of transactions involving VEB, as well asVEB’s servicing of
       sovereign debt.

       Promsvyazbank Public Joint Stock Company (PSB) is deemed by the GoR
       as a systemically important Russian state-owned financial institution and is
       Russia’s eighth largest financial institution. The GoR nationalized PSB in
       2018 and repurposed it to finance the defense industry and service large
       defense contracts as part of a scheme to assist the government in avoiding
       new sanctions. Since its transformation into the Russian state defense bank,
       PSB has issued billions of dollars in financial support for Russian defense
       sector companies, and it currently services nearly 70 percent of state
       contracts signed by the Russian Ministry of Defense (MoD). In addition to
       supporting the MoD and Russian defense enterprises, PSB provides its
       banking products, including mortgages, to Russian military personnel. In an
       effort to insulate itself from U.S. sanctions, the GoR has also tasked PSB with

https://home.treasury.gov/news/press-releases/jy0602                                                                                        Page 4 of 11

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 302 of 400
U.S. Treasury Imposes Immediate Economic Costs in Response to Acti… the Donetsk and Luhansk Regions | U.S. Department of the Treasury   9/19/22, 4:04 PM




       providing credit to entities under U.S. and partner nations’ sanctions so that
       other lenders, namely Sberbank and VTB Bank, can offload the risk of
       conducting business with sanctioned entities. PSB is reported to be creating
       a separate currency exchange to service companies targeted by Western
       sanctions.

       PSB was designated for operating or having operated in the defense and
       related materiel and financial services sectors of the Russian Federation
       economy. In addition to PSB itself, 17 of its subsidiaries were designated
       today pursuant to E.O. 14024 for being owned or controlled by, or for having
       acted or purported to act for or on behalf of, directly or indirectly, PSB. The
       17 blocked subsidiaries, all of which are located in Russia, include a variety of
       companies including financial, technology, and real estate-related entities.
       All entities owned 50 percent or more, directly or indirectly, by PSB are
       subject to blocking under E.O. 14024, even if not identified on OFAC’s SDN
       List.

       As part of the designation of PSB, OFAC also took action against five vessels
       that are owned by PSB Lizing OOO, a designated subsidiary of PSB. All five
       vessels were identified pursuant to E.O. 14024 as blocked property in which
       PSB Lizing OOO has an interest.

          1. Baltic Leader (IMO:9220639), a Russian-flagged roll-on roll-off cargo
             vessel with a gross registered tonnage of 8831;
          2. Linda (IMO: 9256858), a Russian-flagged crude oil tanker with a gross
             registered tonnage of 61991;
          3. Pegas (IMO: 9256860), a Russian-flagged crude oil tanker with a gross
             registered tonnage of 61991;
          4. Fesco Magadan (IMO:9287699), a Russian-flagged container ship
             with a gross registered tonnage of 7519; and
          5. Fesco Moneron (IMO: 9277412), a Russian-flagged container ship with

https://home.treasury.gov/news/press-releases/jy0602                                                                                        Page 5 of 11

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 303 of 400
U.S. Treasury Imposes Immediate Economic Costs in Response to Acti… the Donetsk and Luhansk Regions | U.S. Department of the Treasury   9/19/22, 4:04 PM




                a gross registered tonnage of 7519.

       TARGETING ELITES AND FAMILIES CLOSE TO PUTIN

       Elites close to Putin continue to leverage their proximity to the Russian
       President to pillage the Russian state, enrich themselves, and elevate their
       family members into some of the highest positions of power in the country at
       the expense of the Russian people. Sanctioned oligarchs have used family
       members to move assets and to conceal their immense wealth. The following
       designations target powerful Russians in Putin’s inner circle believed to be
       participating in the Russian regime’s kleptocracy and their family members.

       Denis Aleksandrovich Bortnikov, son of Aleksandr Vasilievich Bortnikov

       Aleksandr Vasilievich Bortnikov (Aleksandr Bortnikov) is the Director of the
       Federal Security Service (FSB) of the Russian Federation and a permanent
       member of the Security Council of the Russian Federation. Aleksandr
       Bortnikov was previously designated in March 2021 for being an official of
       the GoR, and for acting or purporting to act for or on behalf of, directly or
       indirectly, the FSB. Aleksandr Bortnikov’s son, Denis Aleksandrovich
       Bortnikov (Denis Bortnikov), is currently a Deputy President of Russian-state
       owned financial institution VTB Bank Public Joint Stock Company (VTB
       Bank) and a Chairman of the VTB Bank Management Board.

       Today, OFAC redesignated Aleksandr Bortnikov and designated his son
       Denis Bortnikov pursuant to E.O. 14024 for being or having been leaders,
       officials, senior executive officers, or members of the board of directors of
       the GoR. Denis Bortnikov was also designated pursuant to E.O. 14024 for
       being the spouse or adult child of Aleksandr Bortnikov, a person whose
       property or interests in property are blocked for being or having been a
       leader, official, senior executive officer, or member of the board of directors

https://home.treasury.gov/news/press-releases/jy0602                                                                                        Page 6 of 11

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 304 of 400
U.S. Treasury Imposes Immediate Economic Costs in Response to Acti… the Donetsk and Luhansk Regions | U.S. Department of the Treasury   9/19/22, 4:04 PM




       of the GoR.

       Petr Mikhailovich Fradkov (Petr Fradkov) is the Chairman and CEO of PSB.
       Petr Fradkov is also the son of Mikhail Efimovich Fradkov (Mikhail Fradkov),
       former Prime Minister of Russia and former Director of the Russian Foreign
       Intelligence Service (SVR). Mikhail Fradkov was designated by OFAC in April
       2018 for being an official of the GoR. Since 2018, Petr Fradkov has worked to
       transform PSB into a bank that services the defense industry and supports
       state defense contracts. In his role as Chairman and CEO of PSB, Petr
       Fradkov has held working meetings with Putin and participated in roundtable
       discussions in international forums in which he forecasts the PSB’s long-
       term strategic plans for supporting the Russian defense industry. Petr
       Fradkov is also the General Director of Joint Stock Company Russian Export
       Center, which was blocked today as a subsidiary of VEB.

       Today, Petr Fradkov was designated pursuant to E.O. 14024 for operating or
       having operated in the defense and related materiel and financial services
       sectors of the Russian Federation economy.

       Vladimir Sergeevich Kiriyenko, son of Sergei Vladilenovich Kiriyenko

       Sergei Vladilenovich Kiriyenko (Sergei Kiriyenko) is the First Deputy Chief of
       Staff of the Presidential Office. Sergei Kiriyenko is reported to be Putin’s
       domestic policy curator. Previously, Sergei Kiriyenko served as the Prime
       Minister of the Russian Federation and as the General Director of Rosatom
       State Atomic Energy Corporation. Sergei Kiriyenko was previously
       designated in March 2021for being an official of the GoR. Sergei Kiriyenko’s
       son, Vladimir Sergeevich Kiriyenko (Vladimir Kiriyenko), previously worked as
       a vice president at the Russian state-controlled company, Rostelecom, and is
       presently the CEO of VK Group, the parent company of Russia’s top social
       media platform, VKontakte.

https://home.treasury.gov/news/press-releases/jy0602                                                                                        Page 7 of 11

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 305 of 400
U.S. Treasury Imposes Immediate Economic Costs in Response to Acti… the Donetsk and Luhansk Regions | U.S. Department of the Treasury   9/19/22, 4:04 PM




       Today, OFAC redesignated Sergei Kiriyenko and designated his son Vladimir
       Kiriyenko pursuant to E.O. 14024 for being or having been leaders, officials,
       senior executive officers, or members of the board of directors of the GoR.
       Vladimir Kiriyenko was also designated pursuant to E.O. 14024 for being the
       spouse or adult child of Sergei Kiriyenko, a person whose property or
       interests in property are blocked for being or having been a leader, official,
       senior executive officer, or member of the board of directors of the GoR.

       As a result of today’s blocking actions, all property and interests in property
       of persons mentioned above that are in the United States or in the
       possession or control of U.S. persons are blocked and must be reported to
       OFAC. In addition, any entities that are owned, directly or indirectly,
       individually or in the aggregate, 50 percent or more by one or more blocked
       persons are also blocked. Unless authorized by a general or specific license
       issued by OFAC, or exempt, all transactions by U.S. persons or within (or
       transiting) the United States that involve any property or interests in property
       of blocked persons are generally prohibited. The prohibitions include the
       making of any contribution or provision of funds, goods, or services by, to, or
       for the benefit of any blocked person, or the receipt of any contribution or
       provision of funds, goods, or services from any such person. In addition,
       financial institutions and other persons that engage in certain transactions or
       activities with the sanctioned individuals may be subject to an enforcement
       action.

       SOVEREIGN DEBT RESTRICTIONS

       As a part of today’s actions, OFAC also increased restrictions on dealings in
       Russia’s sovereign debt, further cutting Russia off from sources of revenue
       to fund its government or President Putin’s priorities, including his further
       invasion into Ukraine. These restrictions significantly cut off a core way for
       Russia to raise money. This kind of measure creates a strain on resources for

https://home.treasury.gov/news/press-releases/jy0602                                                                                        Page 8 of 11

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 306 of 400
U.S. Treasury Imposes Immediate Economic Costs in Response to Acti… the Donetsk and Luhansk Regions | U.S. Department of the Treasury   9/19/22, 4:04 PM




       the Russian state and greater risk for its ability to manage its finances.

       Specifically, OFAC issued Russia-related Directive 1A under E.O. 14024,
       “Prohibitions Related to Certain Sovereign Debt of the Russian Federation”
       (the “Russia-related Sovereign Debt Directive”), amending and superseding
       Directive 1 under E.O. 14024. This extends existing sovereign debt
       prohibitions to cover participation in the secondary market for bonds issued
       after March 1, 2022 by the Central Bank of the Russian Federation, the
       National Wealth Fund of the Russian Federation, or the Ministry of Finance of
       the Russian Federation.

       For identifying information on the individuals and entities sanctioned today.

       General License 2, General License 3, New FAQs, and Updated FAQs.

                                                                         ###

          Subsidiaries of Russian Financial Institutions Sanctioned on February
                            22, 2022 Pursuant to E.O. 14024

       The property and interests in property of the following VEB subsidiaries are
       blocked:

          1. Bank BELVEB OJSC is a bank located in Belarus.
          2. VEB Leasing OJSC is a leasing company located in Russia.
          3. Prominvestbank is a bank located in Ukraine.
          4. VEB Capital is a financial company located in Russia.
          5. VEB Engineering LLC is an investment project implementation services
             company located in Russia.
          6. JSC Infraveb is an investment project support company located in
             Russia.
          7. JSC VEB.DV is an investment project support company located in

https://home.treasury.gov/news/press-releases/jy0602                                                                                        Page 9 of 11

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 307 of 400
U.S. Treasury Imposes Immediate Economic Costs in Response to Acti… the Donetsk and Luhansk Regions | U.S. Department of the Treasury   9/19/22, 4:04 PM




                Russia.
          8.    VEB Asia Limited is a financial company located in Hong Kong.
          9.    LLC Infrastructure Molzhaninovo is an electric energy company
                located in Russia.
       10.      LLC Resort Zolotoe Koltso is a real estate and construction company
                located in Russia.
       11.      JSC Russian Export Center is an export-related company located in
                Russia.
       12.      LLC VEB Ventures is a financial company located in Russia.
       13.      LLC VEB Service is a business and management advisory company
                located in Russia.
       14.      LLC Special Organization for Project Finance Factory of Project
                Finance is a financial company located in Russia.
       15.      LLC SIBUGLEMET Group is a coal mining company located in Russia.
       16.      JSC ANGSTREM-T is a technology company located in Russia.
       17.      LLC NM-TEKH is a technology company located in Russia.
       18.      JSC SLAVA is a real estate company located in Russia.
       19.      JSC PFC CSKA is a sporting activities company located in Russia.
       20.      LLC Torgovy Kvartal-Novosibirsk is a property leasing company
                located in Russia.
       21.      LLC Baikal Center is a construction company located in Russia.
       22.      LLC Progorod is an infrastructure company located in Russia.
       23.      LLC VEB.RF Asset Management is a financial company located in
                Russia.
       24.      Eximbank of Russia JSC is an export support institution located in
                Russia as well as a commercial bank regulated by the Central Bank of
                the Russian Federation.
       25.      Russian Agency for Export Credit and Investment Insurance OJSC
                is an insurance agency located in Russia.



https://home.treasury.gov/news/press-releases/jy0602                                                                                       Page 10 of 11

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 308 of 400
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                                                                                                        OFAC: Andrea Gacki, Director, tel.:
                                               1RWLFHRI2)$&6DQFWLRQV$FWLRQV                        202–622–2490; Associate Director for                  A. Blocking of Property and Interests in
                                                                                                        Global Targeting, tel.: 202–622–2420;                 Property Pursuant to E.O. 14024
                                               $*(1&<Office of Foreign Assets
                                                                                                        Assistant Director for Licensing, tel.:                  On February 22, 2022, OFAC
                                               Control, Treasury.
                                                                                                        202–622–2480; Assistant Director for                  determined that the property and
                                               $&7,21Notice.                                          Regulatory Affairs, tel.: 202–622–4855;               interests in property subject to U.S.
                                                                                                        or the Assistant Director for Sanctions               jurisdiction of the following persons are
                                               6800$5<The   U.S. Department of the                    Compliance & Evaluation, tel.: 202–622–               blocked under the relevant sanctions
                                               Treasury’s Office of Foreign Assets                      2490.                                                 authority listed below. U.S. persons are
                                               Control (OFAC) is publishing the names                   6833/(0(17$5< ,1)250$7,21                           generally prohibited from engaging in
                                               of one or more persons or property that                                                                        transactions with them. These names
                                                                                                        Electronic Availability
                                               have been placed on one or more of                                                                             have been placed on OFAC’s List of
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                                               determination that one or more                           and Blocked Persons List and additional               Blocked Persons.
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                                               B. Persons Determined To Be Subject to                   or instrumentalities of the Government                Federation,’’ which replaces and
                                               Directive 1A Under E.O. 14024                            of the Russian Federation; and (b) shall              supersedes Directive 1 of April 15, 2021
                                                                                                        be subject to the prohibitions of                     under E.O. 14024. These names have
                                                  On February 22, 2022, OFAC                            Directive 1A under E.O. 14024,                        been placed on OFAC’s Non-SDN
                                               determined that the following entities                   ‘‘Prohibitions Related to Certain                     Menu-Based Sanctions List.
                                               (a) are political subdivisions, agencies,                Sovereign Debt of the Russian
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                                                 Dated: February 22, 2022.                              Ground Rules                                          B. Discuss the New IRP and IFTA
                                               Andrea M. Gacki,                                                                                               Reports Available on the NRS—UCR
                                               Director, Office of Foreign Assets Control,                ± Board actions taken only in                       Audit Subcommittee Chair and DSL
                                               U.S. Department of the Treasury.                         designated areas on agenda.                           Transportation Services, Inc. (DSL)
                                               [FR Doc. 2022–04092 Filed 2–25–22; 8:45 am]              IV. Approval of Board Minutes of the                    The UCR Audit Subcommittee Chair
                                               %,//,1* &2'( ±$/±&                                January 27, 2022 UCR Board Meeting—                   and DSL will discuss the value of
                                                                                                        UCR Board Chair                                       following up on the Title 49 CFR 392.2
                                                                                                                                                              violations. The discussion will highlight
                                               81,),('&$55,(55(*,675$7,21                            For Discussion and Possible Action                    the financial value to the states by
                                               3/$1                                                      Draft Minutes from the January 27,                  vetting these companies for UCR
                                                                                                        2022 UCR Board meeting will be                        compliance, commercial registration,
                                               6XQVKLQH$FW0HHWLQJ                                                                                         IFTA, intrastate, interstate operating
                                                                                                        reviewed. The Board will consider
                                                                                                        action to approve.                                    authority and safety compliance. Title
                                               7,0( $1' '$7(March    3, 2022, from 1:30
                                                                                                                                                              49 CFR 392.2 requires commercial
                                               p.m. to 4:30 p.m., Eastern time.                         V. Report of the Federal Motor Carrier                motor vehicles to operate in accordance
                                               3/$&(This meeting will be accessible                   Safety Administration (FMCSA)—                        with the laws, ordinances, and
                                               via conference call and screensharing.                   FMCSA Representative                                  regulations of the jurisdiction in which
                                               Any interested person may call 877–                                                                            they are operating within.
                                               853–5247 (US toll free), 888–788–0099                      The FMCSA will provide a report on
                                               (US toll free), +1 929–205–6099 (US                      any relevant activity.                                C. Review 2022 Kansas SHB Report—
                                               toll), or +1 669–900–6833 (US toll),                                                                           Audit Subcommittee Chair, Verna
                                               Conference ID 920 2493 9329, to                          VI. Chief Legal Officer Report—UCR                    Jackson, and DSL
                                               participate in the meeting. The website                  Chief Legal Officer
                                                                                                                                                                The UCR Audit Subcommittee Chair,
                                               to participate via Zoom meeting and                        The UCR Chief Legal Officer will                    supported by Verna Jackson and DSL,
                                               screenshare is https://kellen.zoom.us/                   report on matters of interest to the UCR              will explain the Kansas review process.
                                               meeting/register/tJYtde2hrTIp                            Plan.                                                 The discussion will focus on the value
                                               GN1UxVfSCrLBaqt3I-sDBwzt.                                                                                      of following up on 49 CFR 392.2
                                               67$786This meeting will be open to the                 VII. Engagement Letter Between the                    violators to ensure both UCR and safety
                                               public.                                                  UCR Plan and the Bradley Law Firm—                    compliance, and the correlation
                                               0$77(56 72 %( &216,'(5('The Unified
                                                                                                        UCR Executive Director and UCR Board                  between various NRS tools available to
                                               Carrier Registration Plan Board of                       Chair                                                 the states.
                                               Directors (the ‘‘Board’’) will continue its              For Discussion and Possible Board                     Finance Subcommittee—UCR Finance
                                               work in developing and implementing                      Action                                                Subcommittee Chair
                                               the Unified Carrier Registration Plan
                                               and Agreement. The subject matter of                        A general engagement letter between                A. Redemption of Certificates of Deposit
                                               the meeting will include:                                the UCR Plan and the Bradley Law                      (CDs)—UCR Finance Subcommittee
                                                                                                        Firm, covering the broad scope of legal               Chair and UCR Depository Manager
                                               Agenda                                                   issues directed to Alex Leath by the                  For Discussion and Possible Board
                                               I. Welcome and Call to Order—UCR                         UCR Plan in calendar year 2022, will be               Action
                                               Board Chair                                              presented to the UCR Board for its
                                                                                                        consideration and approval.                             The UCR Finance Subcommittee
                                                  The UCR Board Chair will welcome                                                                            Chair and UCR Depository Manager will
                                               attendees, call the meeting to order, call               VIII. Subcommittee Reports                            discuss the opportunity to redeem up to
                                               roll for the Board, confirm the presence                                                                       two separate CDs prior to maturity and
                                               of a quorum, and facilitate self-                        Audit Subcommittee—UCR Audit
                                                                                                                                                              use the proceeds to purchase U.S.
                                               introductions.                                           Subcommittee Chair
                                                                                                                                                              Treasury Bills which have higher
                                               II. Verification of Publication of                       A. UCR Compliance Snapshot—UCR                        income earning potential than CDs do.
                                               Meeting Notice—UCR Executive                             Audit Subcommittee Chair                              The Board may take action to redeem
                                               Director                                                                                                       the CDs and use the proceeds to
                                                                                                           The UCR Audit Subcommittee Chair                   purchase U.S. Treasury Bills.
                                                  The UCR Executive Director will                       will review audit compliance rates for
                                               verify publication of the meeting notice                 the states for registration years 2020,               B. Fee Recommendation for 2023
                                               on the UCR website and distribution to                   2021, and 2022 and will include                       Registration Year—UCR Comment—
                                               the UCR contact list via email followed                  compliance percentages for Focused                    UCR Finance Subcommittee Chair and
                                               by subsequent publication of the notice                  Anomaly Reviews (FARs), retreat audits,               UCR Depository Manager
                                               in the Federal Register.
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                                                                                                        and registration compliance percentages                 The UCR Finance Subcommittee
                                               III. Review and Approval of Board                        as mandated by the UCR Board. A new                   Chair and the UCR Depository Manager
                                               Agenda—UCR Board Chair                                   element has been added that focuses on                will provide an update on the issuance
                                                                                                        the states’ enforcement and citations                 of a comment to the FMCSA by UCR
                                               For Discussion and Possible Action                       actually issued versus the ‘‘Should Have              resulting from the Notice of Preliminary
                                                 The proposed Agenda will be                            Been’’ (‘‘SHB’’) road-stops that were not             Rulemaking published on January 24,
                                               reviewed, and the Board will consider                    cited. The new feature ranks the states               2022. The comment updated the fee
                                                                                                                                                              calculations by using more current data
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                                               adoption.                                                based on citation percentages.

                                                          Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 328 of 400
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A Taliban-Russia Team-Up Against ISIS                                                     9/19/22, 4:13 PM




       A Taliban-Russia Team-Up Against
       ISIS




       Photo Illustration by The Daily Beast


       KABUL, Afghanistan — The Taliban are not as lonely as they once were. The
       pariahs who protected Osama bin Laden and quickly collapsed when the
       U.S. counter-attacked after September 11, 2001, have been developing
       contacts with neighboring states and even with Russia, driven out of
       Afghanistan in 1989.

       There’s nothing simple about this picture, and, interestingly, it appears partly
       tied to Russian efforts to oppose the spread in Afghanistan of groups
       pledging allegiance to the so-called Islamic State in Syria and Iraq. That
       same concern has helped to forge links between the Taliban and their
       longtime enemies in Iran.

https://www.thedailybeast.com/a-taliban-russia-team-up-against-isis                             Page 1 of 5

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 329 of 400
A Taliban-Russia Team-Up Against ISIS                                                     9/19/22, 4:13 PM




       And the Russian connection is emerging, ironically, at the same time that
       Afghanistan’s Uzbek warlord and vice president, Abdul Rashid Dostum, has
       openly warmed to his onetime allies in Russia and tried to strengthen ties to
       the former Soviet states on Afghan frontier.

       Dostum visited Moscow and Grozny this month and launched an offensive
       just last week in provinces near the Turkmenistan border. Dostum lumped
       the Taliban together with Daesh, a common Arabic acronym for the Islamic
       state, on his enemies list.

       “The countries of the Commonwealth of Independent States from Russia to
       Tajikistan and Turkmenistan, all these states are willing to stand with us
       against Daesh [one of the acronyms for the so-called Islamic State], against
       extremism, against the bloodthirsty Taliban,” Dostum declared.

       But The Daily Beast has learned that Russia and some of these neighboring
       states may be playing a double game, or, at the very least keeping their
       options open if the Taliban manage to retake power.

       A former Afghan Taliban governor and member of the group’s military
       committee, who does not want to be cited by name, tells The Daily Beast
       that “the American global attitude and the threat from ISIS makes for a
       convergence of Taliban and Russian interests, and we could not rule out
       further cooperation, depending on the emerging scenario in the Middle
       East.”

       That is, if Russia proves successful in its Syrian venture to defend the Assad
       dictatorship (which is far from certain), the Taliban will be encouraged to
       increase their contacts and perhaps cooperation with the government of
       Russian President Vladimir Putin.

       But for now the contacts with Moscow are being kept very quiet and often

https://www.thedailybeast.com/a-taliban-russia-team-up-against-isis                             Page 2 of 5

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 330 of 400
A Taliban-Russia Team-Up Against ISIS                                                     9/19/22, 4:13 PM




       are conducted through cut-outs. The main venue for the talks is Tajikistan,
       just north of Afghanistan’s embattled Kunduz province, whose intelligence
       operatives may have been involved with a substantial shipment of arms to
       the Taliban. The government and intelligence services of Tajikistan are
       understood by the Taliban to have remained close clients of Moscow.

       “Tajikistan is under the extreme influence of the Russians, so whatever
       happened, it’s not possible without Russians approval,” said the former
       Taliban governor.

       When the Taliban seized the city of Kunduz at the end of last month, the
       group’s new leader, Mullah Akhtar Muhammad Mansoor, was careful to say
       that the Taliban presented no threat and had not intention of infiltrating
       beyond Afghanistan’s borders.

       Some sources suggest the contacts go back to 2013 and were opened at
       the request of the Russians, but the clearest narrative is much more recent.

       One central figure is Dr. Tahir Shamalzi, the younger brother of a former
       Taliban leader, who headed a delegation of what’s widely known as the
       Taliban “ransom and peace committee” that visited the Tajikistan capital of
       Dushanbe last May. At the time, the Taliban were holding prisoner four
       Tajikistan border guards who apparently had been sent across the river that
       marks the frontier with Afghanistan to cut wood.

       Shamalzai was traveling with a fake passport, according to our sources. The
       intermediary for the talks in Dushanbe allegedly is one Ibrahim Achakzai,
       who has a scrap metal business there.

       In exchange for the guards’ release, the Taliban wanted weapons. “Dr. Tahir
       Shamalzai traveled from Kabul airport to Dushanbe, inspected the weapons,
       and crossed with the weapons from Tajikistan into Afghanistan,” a senior

https://www.thedailybeast.com/a-taliban-russia-team-up-against-isis                             Page 3 of 5

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 331 of 400
A Taliban-Russia Team-Up Against ISIS                                                     9/19/22, 4:13 PM




       Taliban leader tells The Daily Beast.

       How many weapons Our sources us words like “big” and “significant,“ but
       won’t go into details. A Taliban sub-commander in Kunduz who goes by the
       name Qari Omar tells The Daily Beast that the then-commander of forces
       there, Mullah Rahmatullah, was pleased with the deal and gave the four Tajik
       guards turbans and Afghan dress before turning them over to a Tajik border
       post.

       As it happens, Mullah Rahmatullah was killed in Kunduz during the U.S.-led
       bombing that accompanied the government counterattack, which had a
       certain air of desperation after a major city had fallen to the Taliban for the
       first time since 2001.

       “Of course the weapons we got freshly from the Afghan-Tajk border played a
       key role in the fight for Kunduz,” said Sub-Commander Qari Omar.

       A diplomatic source says Pakistan, which has close ties to the Afghan
       Taliban, is aware of the Taliban contacts with the Russians, and some former
       Taliban say they are surprised anyone is surprised. “If we could talk to the
       West, what’s wrong talking to Russians and Afghanistan’s neighbors in
       north” as one put it.

       At a peace conference in Qatar last summer, according to Qustad Qari Bu-
       Rahman, who attended on behalf of Hizb Islami Afghanistan (the Hikmatyar
       group), “A Russian who spoke perfect Pashto was there as an observer. He
       was called on demand of the Taliban, so there’s no doubt about the Taliban
       and Mosco having contact.”

       It appears the Taliban and Russians first made direct contact in mid-2013 to
       discuss the fate of a Russian pilot captured after his helicopter made an
       emergency landing in an area near Kabul under Taliban influence.

https://www.thedailybeast.com/a-taliban-russia-team-up-against-isis                             Page 4 of 5

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 332 of 400
A Taliban-Russia Team-Up Against ISIS                                                     9/19/22, 4:13 PM




       “That release was also part of a weapons and money deal,” a senior Afghan
       leader told The Daily Beast.

       Taliban sources says Dr. Tahir Shamalzi and others have made several trips
       to China as well as to the former Soviet republics. China is said to be
       concerned about a small numbers of East Turkestan Independence
       Movement fighters, Uyghurs from Xinjiang, who are living in southern
       Afghanistan.

       “We told them they are in Afghanistan, and we could stop them from making
       anti-Chinese activities, but we could not hand over or displace from our
       areas,” the former Taliban governor told The Daily Beast.

       (Afghan government sources, on the other hand, say that last year President
       Ashraf Ghani handed over several members of the East Turkistan
       Independence Movement to the Chinese in Kabul.)

       Will Taliban contacts with the once-hostile neighbors go far beyond hostage
       deals A common refrain in Kabul diplomatic circles contends that the
       Taliban are turning away from any plans to support international terrorist
       groups, and focusing on their role as local Afghan resistance fighters
       opposed not only to Ghani’s government and the American presence, but to
       ISIS as well.




https://www.thedailybeast.com/a-taliban-russia-team-up-against-isis                             Page 5 of 5

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 333 of 400
Defense Secretary Expresses Concern Over Russian Support For Taliban : NPR                                      9/19/22, 4:14 PM




       Defense Secretary Expresses
       Concern Over Russian Support For
       Taliban
       Tom Bowman 3-Minute Listen

       Russia has begun supporting the Taliban in Afghanistan against U.S. forces
       and the government in Kabul. Defense Secretary Jim Mattis warned in
       London that the U.S. is "concerned" about this support, first revealed earlier
       this year, as it weighs the next phase of its approach to the longest-running
       war in American history.

       KELLY MCEVERS, HOST:

       The war in Afghanistan of course is still going, and it's getting more
       complicated. The Pentagon is deciding now about how many more troops to
       send in cooperation with European allies, and that's after a request from the
       Pentagon's top general for thousands more troops. And now Defense
       Secretary Jim Mattis says he's getting concerned about the role Russia is
       playing in Afghanistan.

       NPR Pentagon correspondent Tom Bowman is here to talk about this. Hello,
       Tom.

       TOM BOWMAN, BYLINE: Hey, Kelly.

       MCEVERS: So what are the Russians doing back in Afghanistan

       BOWMAN: Well, Kelly, at this point, it's pretty murky. We just don't know.
       Secretary Mattis talked about this just today while on a visit to London. He's
       saying we've seen Russian activity with the Taliban. And officials say that the

https://www.npr.org/2017/03/31/522232584/defense-secretary-expresses-concern-over-russian-support-for-taliban        Page 1 of 4

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 334 of 400
Defense Secretary Expresses Concern Over Russian Support For Taliban : NPR                                      9/19/22, 4:14 PM




       Russians are providing some support, including maybe weapons to the
       Taliban. They're saying it's a possibility. But the Pentagon won't provide
       details on this - where they're seeing this and what exactly is happening, so
       we don't have any clear evidence yet.

       Now of course the Taliban already have plenty of weapons - small arms,
       rocket-propelled grenades, but the Russians could potentially provide even
       more sophisticated arms and equipment, maybe missiles or night vision
       goggles, the types of things that could make the Taliban even more lethal.

       MCEVERS: OK, so details are murky, but what are officials saying about what
       the Russian's objective might be in Afghanistan

       BOWMAN: Well, the commander in Afghanistan, General John Nicholson,
       thinks this is a way for the Russians just to undermine the U.S. and NATO.
       And of course Russia (laughter) has tried to undermine the U.S., getting
       involved in the election, also threatening NATO partners in Europe.

       Also there's a sense that the Russians want to be a mediator here in
       Afghanistan just kind of like they are in Syria. They want to be seen as a
       global operator. So they recently had a meeting in Russia with China and
       Pakistan to try to come up with some sort of accord in Afghanistan.

       Another thing is, the Russians are very concerned about the rise of the
       Islamic State in Afghanistan. They don't want them on their southern border,
       so the Taliban apparently are reaching out to the Russians, saying, we would
       like help from you, arms and support in fighting the Islamic State. So that's a
       couple of things we're seeing.

       MCEVERS: You know, it's hard to hear you talk about all this and not think
       about the United States and what it was doing in Afghanistan back in the
       1980s and arming fighters who they thought were on their side to fight as

https://www.npr.org/2017/03/31/522232584/defense-secretary-expresses-concern-over-russian-support-for-taliban        Page 2 of 4

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 335 of 400
Defense Secretary Expresses Concern Over Russian Support For Taliban : NPR                                      9/19/22, 4:14 PM




       Soviet-occupied fighters in Afghanistan. Could this be part of that too

       BOWMAN: Yeah, I think this could be something of a payback to the United
       States. Back in the 1980s, the U.S. supplied mujahideen fighters in
       Afghanistan with shoulder-fired missiles to fight the Russian presence there.
       Now, these fighters started bringing down Russian helicopters, ending up
       bleeding the Russian force there, and that helped push the Russians out of
       Afghanistan by the end of the decade. And some of these Taliban fighters
       you're seeing today were also fighting the Russians back then. So (laughter)
       it potentially - the Russians could be aiding people that were fighting them
       30 or 40 years ago.

       MCEVERS: Wow. And what about the bigger picture in Afghanistan If the
       U.S. does end up sending thousands more troops, what will they do, and
       would they help bring an end to this war

       BOWMAN: Well, this war's been going on, as you know, for 15 years. There's
       no sense it's going to end anytime soon. General Nicholson says he would
       like a few thousand more troops. Some could come from the U.S., some from
       NATO. It looks like more training and assistance for the Afghan forces. He's
       putting together his detailed proposal right now, and Defense Secretary Jim
       Mattis will decide if that makes sense. But you're looking at a Taliban that's
       growing in strength and an Afghan force that still needs a lot of help.

       MCEVERS: NPR Pentagon correspondent Tom Bowman, thank you very
       much.

       BOWMAN: You're welcome, Kelly.

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                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 336 of 400
Defense Secretary Expresses Concern Over Russian Support For Taliban : NPR                                      9/19/22, 4:14 PM




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                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 337 of 400
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    Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 340 of 400
Islamic State: Putin to team up with TALIBAN to defeat ISIS in Syria and Iraq | World | News | Express.co.uk   9/15/22, 3:36 PM




       Putin to team up with the TALIBAN to
       wipe out Islamic State – and give
       VLADIMIR Putin’s attack on Islamic State took a
       menacing turn today after it was claimed Russia was
       to team up with the TALIBAN to wipe out the evil
       jihadis.




       GETTY/IG
       Vladimir Putin is considering teaming up with the Taliban to destroy ISIS


       The Russian supremo wants to enlist the support of Afghan warlords once
       loyal to Osama Bin Laden to help him obliterate the jihadi hate group.

       In return Mr Putin would supply the fundamentalist group with heavy
       weapons and vow to support it internationally should it retake control of the
       country from the unstable Afghan government.
https://www.express.co.uk/news/world/614710/Islamic-State-ISIS-Vladimir-Putin-Russia-Syria-Taliban                 Page 1 of 34

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 341 of 400
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       Desperate ISIS posts photos of young jihadis at terror school as...

       Officials from Moscow have been meeting senior Taliban leadership in
       shadowy conferences to discuss the possibility of an unlikely alliance.

       Sources suggest the talks have been going on for two years and were
       instigated by Russia, which has recently upped the dialogue as it looks to
       bring Taliban fighters on its side.




https://www.express.co.uk/news/world/614710/Islamic-State-ISIS-Vladimir-Putin-Russia-Syria-Taliban                 Page 2 of 34

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 342 of 400
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       EPA
       Mr Putin is trying to shore up the regime of Bashar al-Assad


       Such a move could be enticing to Moscow because it would avoid the need
       to deploy Russian boots on the ground to achieve an all-out strategic victory
       which would prove a huge embarrassment to the West.

       A former Taliban governor and member of the group’s military committee
       said: "The American global attitude and the threat from ISIS makes for a
       convergence of Taliban and Russian interests, and we could not rule out
       further cooperation, depending on the emerging scenario in the Middle
       East.”

       Such an alliance could prove the final deadly blow for ISIS, which is in full-on
       retreat from Russian airstrikes in Syria.




https://www.express.co.uk/news/world/614710/Islamic-State-ISIS-Vladimir-Putin-Russia-Syria-Taliban                 Page 3 of 34

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 343 of 400
Islamic State: Putin to team up with TALIBAN to defeat ISIS in Syria and Iraq | World | News | Express.co.uk                         9/15/22, 3:36 PM




       GETTY
       An Iraqi soldier stands in a captured ISIS arms depot




       REUTERS
       Russia has pounded ISIS targets in a relentless bombing campaign
                                                                                                      If we could talk to the West what’s

https://www.express.co.uk/news/world/614710/Islamic-State-ISIS-Vladimir-Putin-Russia-Syria-Taliban                                       Page 4 of 34

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 344 of 400
Islamic State: Putin to team up with TALIBAN to defeat ISIS in Syria and Iraq | World | News | Express.co.uk                       9/15/22, 3:36 PM




       It is understood high-ranking officials from                                                   wrong talking to Russians

       Moscow have been secretly meeting Taliban                                                      Taliban source

       leaders in the former Soviet state of Tajikistan.

       Intelligence operatives said the discussions, which began in 2013 and
       involve the smuggling of significant arms shipments to the Taliban, have
       more recently turned towards the topic of a common fight against ISIS.

       They also claimed heavy weaponry smuggled through Tajikistan played a
       crucial role in the terror group being able to take the Afghan city of Kunduz.

       The conquest, which was the first a major city had fallen to the Taliban in 15
       years, prompted a panicked response from the West which ended in the US
       bombing a charity hospital, killing doctors and patients.

       Any alliance between Russia and the Taliban would come as a surprise given
       the latter's links to the Mujahideen resistance group, which successfully
       fought Moscow's occupation of Afghanistan throughout the Eighties.

       But Pakistan's secret service, which has close ties to the Afghan Taliban, is
       said to be aware of contact between the two, and one former Taliban
       commander said the lure of defeating ISIS would outweigh any historical
       animosity.

       They said: “If we could talk to the West, what’s wrong talking to Russians
       and Afghanistan’s neighbours in north.

       DON'T MISS




https://www.express.co.uk/news/world/614710/Islamic-State-ISIS-Vladimir-Putin-Russia-Syria-Taliban                                     Page 5 of 34

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 345 of 400
Islamic State: Putin to team up with TALIBAN to defeat ISIS in Syria and Iraq | World | News | Express.co.uk   9/15/22, 3:36 PM




       Putin's chilling three-word warning to NATO in full after Finland and Sweden
       join alliance




       Why Nato has compared China to Russia - and what it means for the West

       ISIS has been pegged back in recent weeks, with Russian airstrikes
       obliterating dozens of jihadi targets.

       The desperate terrorists are now forcing children as young as six to fight for
       them as their so-called Caliphate slides closer and closer to an all out
       defeat.

       Russia has already sent in its elite Spetsnaz special forces troops to hunt
       down packs of fleeing jihadis, with Mr Putin hinting he may also be willing to
       dispatch 150,000 regular troops to wipe out the Islamists' de facto capital
       Raqqa.




https://www.express.co.uk/news/world/614710/Islamic-State-ISIS-Vladimir-Putin-Russia-Syria-Taliban               Page 34 of 34

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 346 of 400
8/24/22, 2:42 PM                                                 Majlis Podcast: What Is Happening In Kunduz, And Why Again?




   QISHLOQ OVOZI (ARCHIVE)

   Majlis Podcast: What Is Happening In Kunduz, And Why
   Again?
   October 08, 2016 11:59 GMT

   By Bruce Pannier


   The northern Afghan city of Kunduz is under assault again, a year after it was briefly
   captured by the Taliban. Tens of thousands of civilians have been forced to flee as the
   Afghan military and Taliban militants fight it out on the streets.


   In late September 2015, when the Afghan military retook the city, the Taliban did not flee
   very far away, making the current battle to a large extent predictable.


   What happened in the year between the Taliban attacks on Kunduz? Did the Afghan
   government take any measures to prevent a repeat of the September 2015 fiasco? And how
   is it that the Taliban could attack the same city?


   RFE/RL gathered a majlis, a panel, to look into those questions.


   Moderating the discussion was RFE/RL Media Relations Manager Muhammad Tahir. From
   Afghanistan, Kamal Safi, a parliamentarian representing Kunduz Province, joined the talk.
   Also from Afghanistan, the former governor of Kunduz Province, Omar Safi (no relation),
   took part. From Washington D.C., Barmak Pazhwak, the senior Afghanistan program
   oģcer at the U.S. Institute of Peace, participated. And as usual, I was in Prague and had a
   bit to say also.


   The Taliban's brief capture of Kunduz city in September 2015 was a shock to most. The
   Taliban had been active in the northeastern provinces of Badakhshan, Kunduz, and Takhar
   but had never seized a provincial capital since it had been driven from power in
   Afghanistan by the U.S.-led invasion 14 years previously.



                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 347 of 400
https://www.rferl.org/a/qishloq-ovozi-majlis-kunduz-taliban-fighting/28039768.html                                             1/4
8/24/22, 2:42 PM                                                 Majlis Podcast: What Is Happening In Kunduz, And Why Again?

   The militants were driven out of Kunduz in just a few days, but villagers near Kunduz, and
   members of the government in Kabul, said many times that the Taliban had only retreated
   to areas outside the city -- in some cases only a few kilometers away.


   Kamal Safi described the current situation, as of October 5. "Apart from a few buildings
   like the governor's house, the police chief's oģce, and [a few others], the rest of the city is
   still [under] the Taliban and they are resisting the oĢensive of the security forces," he
   said.


   The parliamentarian said civilians were faced with "no electricity, no water. There is no
   food, all the food shops are closed ... and if any bread is available in some parts of the city,
   the cost is four or five times higher [than usual]."


   Former Kunduz Governor Omar Safi said the problem now was the same as last year.
   "There is no coordination and there is no interest from the government security forces'
   side to fight against the enemy." He pointed out that when this latest battle started there
   were "only one or two dead of the government forces," a sign, Safi said, that government
   troops had retreated almost as soon as the attack started. (Editors' note: Government
   forces have since launched a counter-oĢensive.)


   Corruption Hampering Government EĢ
                                   EĢorts


   The former governor said that when the Taliban staged the September 2015 attack on
   Kunduz "we had only one regiment in Kunduz." The Afghan government did reinforce
   troops in Kunduz. "There are three battalions," Safi said, "So there are around almost
   18,000 troops in Kunduz Province."


   Pazhwak said: "The Afghan government hasn't been able to establish a control and
   command structure for this war in Kunduz that is unified and well-coordinated among the
   diĢerent security forces of the country."


   But as has happened in so many other places in Afghanistan, corruption is playing a large
   part in the failures of government forces. [Omar] Safi said, "President [Ashraf] Ghani
   approved 550 million Afghani to Kunduz city, just to make a security belt for Kunduz." But
   unfortunately, "this money was all lost, misused" and he added none of the planned 17
   security bases that were to have surrounded Kunduz city were ever built.



                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 348 of 400
https://www.rferl.org/a/qishloq-ovozi-majlis-kunduz-taliban-fighting/28039768.html                                             2/4
8/24/22, 2:42 PM                                                 Majlis Podcast: What Is Happening In Kunduz, And Why Again?

   There are other reasons why government forces were struggling to pacify Kunduz
   Province. Pazhwak noted: "Kunduz, unfortunately, is practically a divided province. It is
   divided among a few power brokers, warlords, and a patronage system that could be
   traced all the way to Kabul."


   Parliamentarian Safi added: "Kunduz is known as a small Afghanistan in the sense that all
   tribes who live in Afghanistan live in Kunduz as well, from all the small tribes [and] big
   tribes."


   'Russian BuĢ
            BuĢer Zone'


   But former Kunduz Governor Safi oĢered another interesting reason the Taliban were so
   diģcult to suppress in Kunduz Province. "Most important is their [Taliban] recent ties
   with the Russians to keep this as a buĢer zone for Russia to prevent [Islamic State]
   infiltration to a former Russian state like Tajikistan."


   Tajikistan's Asia-Plus independent news agency reported on December 29, 2015, that
   Russian Ambassador to Afghanistan Zamir Kabulov confirmed that Taliban representatives
   from northern Afghanistan met with Russian oģcials at an air base Russia's military used
   in Tajikistan. The Asia-Plus report named one of the Taliban oģcials as being "Qori
   Dinmuhammad Hanif, a commander of the Taliban from northern Afghanistan," and the
   report said Russian oģcials had met not once, but several times with Taliban oģcials at
   the base in Tajikistan, seemingly without the Tajik government's knowledge.


   The report continued that government forces were unable to dislodge Hanif's forces from
   a district in Badakhshan Province, east of Kunduz Province, because "it [the district] is
   guarded with Russian weapons."


   Former Governor Safi said local militiamen, called Arbaky, often simply paramilitary
   groups loyal to local warlords, had "seen some huge ammunition ships coming from the
   Tajik side to the Taliban side to distribute."


   Outside of Ambassador Kabulov's comments, Russian oģcials have not spoken publicly
   about meetings or contacts with Taliban representatives.




                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 349 of 400
https://www.rferl.org/a/qishloq-ovozi-majlis-kunduz-taliban-fighting/28039768.html                                             3/4
8/24/22, 2:42 PM                                                 Majlis Podcast: What Is Happening In Kunduz, And Why Again?

   Parliamentarian Safi would say only that "Kunduz has a long border with Central Asia and
   ... regional interests have changed." He added: "We also cannot deny that some of the local
   commanders, apart from the Taliban, have [made] frequent visits [to] the Central Asian
   states."


   Our guests discussed these topics in greater detail, especially providing information about
   the complicated situation in Kunduz that seems to indicate there is no possibility for any
   resolution, anytime soon.


   An audio recording of the Majlis can be heard here:


   Listen to or download the Majlis podcast above or subscribe to Majlis on iTunes.
                                                                            iTunes

   The views expressed in this podcast do not necessarily reflect the views of RFE/RL.




                Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 350 of 400
https://www.rferl.org/a/qishloq-ovozi-majlis-kunduz-taliban-fighting/28039768.html                                             4/4
Russia and the Taliban: Prospective Partners | Royal United Services Institute                                       9/19/22, 4:20 PM




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   COMMENTARY



   Russia and the
   Taliban: Prospective
   Partners?
   Dr Samuel Ramani
   14 September 2021                              6 Minute Read




   Russia’s cautious accommodation
   of the Taliban shows it will likely
   combine diplomacy with                                                                          WRITTEN BY

   deterrence in the coming months.                                                                Dr Samuel Ramani
                                                                                                   Associate Fellow

   Since Afghan President Ashraf Ghani fled
   Kabul on 15 August, Russia has cautiously
   accommodated the Taliban’s seizure of
   power. Diplomats, such as Russian
   Ambassador to Afghanistan Dmitry
   Zhirnov and President Vladimir Putin’s
   envoy to Afghanistan Zamir Kabulov, have
   praised the Taliban’s contributions to

https://rusi.org/explore-our-research/publications/commentary/russia-and-taliban-prospective-partners                      Page 1 of 11

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 351 of 400
Russia and the Taliban: Prospective Partners | Royal United Services Institute                         9/19/22, 4:20 PM




   security in Kabul and the struggle against
   Islamic State-Khorasan Province (ISIS-K).
   While Russia has no immediate plans to
   afford diplomatic recognition to the
   Islamic Emirate of Afghanistan, Putin
   recently stated that Moscow will engage
   with the Taliban as soon as it ‘enters the
   family of civilized people’.

   Russia’s accommodation of Afghanistan’s
   new political order reflects the impact of
   more than a decade of clandestine and
   public diplomacy with the Taliban.
   However, it masks Russia’s serious
   reservations about the Taliban’s long-term
   consolidation of power and purported
   commitment to combating transnational
   terrorism. Instead of establishing a
   partnership with the Islamic Emirate, like
   Taliban spokesman Zabiullah Mujahid
   recently predicted, Russia’s strategy towards
   Afghanistan will synthesise diplomacy and
   deterrence. This strategy will allow it to
   maintain cordial relations with the
   Taliban, while assuaging the legitimate
   security concerns of its Central Asian
   partners.
https://rusi.org/explore-our-research/publications/commentary/russia-and-taliban-prospective-partners       Page 2 of 11

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 352 of 400
Russia and the Taliban: Prospective Partners | Royal United Services Institute                         9/19/22, 4:20 PM




   Russia’s Prospects of
   Diplomatic Engagement
   with the Taliban
   Although Russia labelled it as a terrorist
   organisation in 2003, Moscow has
   maintained a longstanding informal
   diplomatic relationship with the Taliban.
   In 2007, Russia held clandestine talks with
   the Taliban on the prevention of drug
   trafficking from Afghanistan to Central
   Asia. These negotiations produced few
   results, as Russia opened its airspace for US
   military operations against the Taliban in
   2009 and collaborated with the US on anti-
   narcotics raids in 2010. Russia’s
   engagement with the Taliban revived in
   2015, as the threat of ISIS-K grew. In
   December 2015, Kabulov stated that Russia
   had established communication channels
   to exchange information with the Taliban
   and argued that the Taliban’s desire to
   combat ISIS-K objectively coincided with
   Moscow’s interests.

   The expansion of Russia–Taliban dialogue

https://rusi.org/explore-our-research/publications/commentary/russia-and-taliban-prospective-partners       Page 3 of 11

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 353 of 400
Russia and the Taliban: Prospective Partners | Royal United Services Institute                         9/19/22, 4:20 PM




   caused alarm in Kabul and Washington. In
   December 2016, the Afghan Foreign
   Ministry cautioned external powers, such as
   Russia, against elevating the Taliban’s
   stature, as it could create long-term threats
   to regional and international security.
   Afghan lawmaker Shinkai Karokhail
   subsequently claimed that Russia provided
   assistance to the Taliban, as it wished to
   prolong the US war in Afghanistan. In
   March 2018, the commander of US forces
   in Afghanistan, John Nicholson, alleged
   that Russian weapons were smuggled
   across the Tajik border to the Taliban.
   Nicholson asserted that Russia inflated the
   ISIS-K threat to provide a justification for
   military assistance to the Taliban. The
   Russian Foreign Ministry has repeatedly
   denied reports that Moscow had supplied
   weaponry to the Taliban.


   During my interviews with Russian experts
   and officials from 2017–19, two narratives
   about Russian security cooperation with
   the Taliban surfaced. The first was that
   Russia provided token arms transfers to
   the Taliban as a symbolic trust-building
https://rusi.org/explore-our-research/publications/commentary/russia-and-taliban-prospective-partners       Page 4 of 11

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 354 of 400
Russia and the Taliban: Prospective Partners | Royal United Services Institute                         9/19/22, 4:20 PM




   gift. The second was that Russia viewed the
   Taliban as a potential partner in their
   efforts to retaliate against threatening US
   actions, such as the February 2018 Battle of
   Khasham which killed Russian private
   military contractors (PMCs). Both
   narratives were undergirded by Russia’s
   belief that the Taliban could be a
   trustworthy partner. Russia’s hosting of the
   Moscow-format peace negotiations from
   2017–19, which often included the Taliban
   and excluded President Ashraf Ghani,
   strengthened person-to-person links
   between Russian and Taliban officials.
   While these talks officially aimed to end
   the war in Afghanistan, they also gave
   Russia negotiating partners within the
   Taliban, which could be invaluable in the
   event of a Central Asian security crisis.

   Now that the Taliban are the ruling
   authority within Afghanistan, Russia
   hopes to translate this diplomatic
   experience into security and economic
   cooperation. While Russia has ruled out
   military-technical cooperation or arms
   transfers to the Taliban, Moscow could still
https://rusi.org/explore-our-research/publications/commentary/russia-and-taliban-prospective-partners       Page 5 of 11

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 355 of 400
Russia and the Taliban: Prospective Partners | Royal United Services Institute                         9/19/22, 4:20 PM




   view the Islamic Emirate as a partner
   against ISIS-K. Zhirnov claims that Russia
   could invest in Afghanistan’s vast untapped
   mineral reserves and believes that the
   Taliban could partake in transport and
   energy projects with Central Asian states.
   Russia also supports the removal of asset
   freezes against the Taliban and has urged
   the international community to aid
   Afghanistan’s reconstruction from four
   decades of conflict.


   Risks to Russia’s Interests
   Although Russia’s diplomacy with the
   Taliban leaves it better equipped to
   manage a spillover of instability from
   Afghanistan than during the Islamic
   Emirate’s first stint in power from 1996–
   2001, Moscow still has reasons to be
   concerned about Taliban rule. Russian
   experts fear that the Taliban’s hold on
   power might be more tenuous than it
   appears, and that Afghanistan could
   potentially succumb to a new civil war.
   Andrei Kortunov, the director-general of


https://rusi.org/explore-our-research/publications/commentary/russia-and-taliban-prospective-partners       Page 6 of 11

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 356 of 400
Russia and the Taliban: Prospective Partners | Royal United Services Institute                         9/19/22, 4:20 PM




   the Russian International Affairs Council,
   expressed concerns that the Taliban will
   struggle to exert control over northern
   Afghanistan and this vulnerability,
   combined with the sharp deterioration of
   the Afghan economy, could result in the
   emergence of Al-Qa’ida and Islamic State
   cells. Omar Nessar, an expert at the
   Institute of Oriental Studies, warned that
   the Taliban’s unwillingness to give up
   violence could cause the Afghan security
   forces to struggle to maintain stability.

   Due to these risks, Russian officials urged
   the Taliban to create an inclusive coalition
   government and ameliorate intra-state
   conflicts through diplomacy. Russian
   Foreign Minister Sergei Lavrov recently
   stated that an Afghan government should
   include non-Pashtun ethnic groups, such
   as Hazaras, Uzbeks and Tajiks. Lavrov also
   emphasised the need for a diplomatic
   settlement between the Taliban and the
   Ahmad Massoud-led National Resistance
   Front in Panjshir Valley. The Taliban’s
   appointment of a government on 7
   September, which is almost exclusively
https://rusi.org/explore-our-research/publications/commentary/russia-and-taliban-prospective-partners       Page 7 of 11

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 357 of 400
Russia and the Taliban: Prospective Partners | Royal United Services Institute                         9/19/22, 4:20 PM




   Pashtun and largely comprised of
   holdovers from their first stint in power,
   clashes with Russia’s recommendations.
   While Zhirnov will attend the Islamic
   Emirate’s inauguration ceremony, this
   should not be viewed as a sign of Moscow’s
   support for Taliban appointments.

   To mitigate against instability in a Taliban-
   led Afghanistan, Russia is pursuing three
   policies. First, Russia is strengthening its
   engagement with Pakistan on Afghan
   security. Pakistan’s Express Tribune
   described Putin’s call to Pakistan’s prime
   minister, Imran Khan, as a ‘defining
   moment’ in Russia–Pakistan relations, as it
   was the ‘first-ever tacit acknowledgement
   that Russia has come to rely on Pakistan to
   advance its interests’. This does not mean
   that Russia is behind Pakistan’s policies
   towards Afghanistan. Russian media
   outlets have expressed concern about the
   corrosion of Afghanistan’s sovereignty that
   accompanies Pakistan’s empowerment of
   the Haqqani Network, and highlighted the
   Pakistani military’s alleged involvement in
   the Panjshir Valley offensive. Nevertheless,
https://rusi.org/explore-our-research/publications/commentary/russia-and-taliban-prospective-partners       Page 8 of 11

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 358 of 400
Russia and the Taliban: Prospective Partners | Royal United Services Institute                         9/19/22, 4:20 PM




   Russia views Pakistan as an indispensable
   backchannel to the Taliban and sees
   security benefits in strengthening its
   relationship with Islamabad.

   Second, Russia has expanded its security
   cooperation with India against shared
   threats emanating from Afghanistan.
   Russia’s ambassador to India, Nikolay
   Kudashev, acknowledged that Moscow and
   New Delhi are both concerned by a spillover
   of terrorism from Afghanistan, as it poses
   a threat to Central Asia and Kashmir.
   Indian Prime Minister Narendra Modi’s
   national security advisor, Ajit Doval, and
   his Russian counterpart, Nikolay
   Patrushev, have also discussed upgrading
   Russia–India cooperation against
   terrorism and narcotics trafficking. Third,
   Russia is deepening its coordination with
   its Central Asian partners on Afghan
   security. The Russian-led Collective
   Security Treaty Organization launched
   three days of military exercises in
   Kyrgyzstan, as it wished to mitigate threats
   emanating from Afghanistan. Uzbekistan
   and Tajikistan have also held joint military
https://rusi.org/explore-our-research/publications/commentary/russia-and-taliban-prospective-partners       Page 9 of 11

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 359 of 400
Russia and the Taliban: Prospective Partners | Royal United Services Institute                         9/19/22, 4:20 PM




   exercises with Russia, while
   Rosoboronexport has agreed to sell arms to
   Central Asian countries bordering
   Afghanistan.

   Although Russia’s official statements on
   the Taliban are optimistic in tone, they
   belie growing uncertainties in Moscow
   about the Islamic Emirate’s ability to
   stabilise Afghanistan. In the months
   ahead, Russia will likely combine
   diplomacy with deterrence, as it seeks to
   mitigate security threats and capitalise on
   nascent commercial opportunities in
   Afghanistan.

   The views expressed in this Commentary
   are the author’s, and do not represent
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https://rusi.org/explore-our-research/publications/commentary/russia-and-taliban-prospective-partners      Page 10 of 11

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 360 of 400
Russia and the Taliban: Prospective Partners | Royal United Services Institute                         9/19/22, 4:20 PM



   WRITTEN BY


   Dr Samuel Ramani
   Associate Fellow




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https://rusi.org/explore-our-research/publications/commentary/russia-and-taliban-prospective-partners       Page 11 of 11

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 361 of 400
Russia Backs Taliban Call to Withdraw Foreign Troops | TOLOnews                            9/15/22, 3:43 PM




       Russia Backs Taliban Call to
       Withdraw Foreign Troops
       Russia this week said it supports the Taliban’s demand for the
       withdrawal of foreign troops from Afghanistan and that this call by the
       insurgent group was “justified”.

       According to a Bloomberg report, President Vladimir Putin’s special envoy for
       Afghanistan, Zamir Kabulov, said in an interview in Moscow that the Taliban’s
       call was “justified” in terms of opposing foreign military presence.

       “Who’s in favor Name me one neighboring state that supports it,” he asked.

       In response to these comments, Sediq Sediqqi, head of Afghanistan's
       Government Media and Information Center (GMIC), said on twitter that
       "Russia ties and links with Taliban will encourage this group (Taliban) to
       intensify their attacks on civilians as ANSF have defeated them on the
       ground"

       He also said this could lead to the Taliban and other terrorist groups turning
       "Afghanistan again into a terrorist safe haven."

       This comes amid growing tension between Russia and the U.S over
       Afghanistan.

       Late last year, Russian officials confirmed that they had been in contact with
       the Taliban in a bid to get them to return to the peace talks tables.

       However, the U.S has accused Russia of supplying weapons to the insurgent
       group.



https://tolonews.com/world/russia-backs-taliban-call-withdraw-foreign-troops                    Page 1 of 2

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 362 of 400
Russia Backs Taliban Call to Withdraw Foreign Troops | TOLOnews                            9/15/22, 3:43 PM




       According to Bloomberg, Kabulov accused the U.S of sabotaging Russian
       efforts to help end the Afghan war by boycotting a Moscow meeting planned
       for mid-April between Afghanistan and other regional countries.

       Kabulov blamed the U.S decision on a fit of pique that Russia is taking the
       lead, and suggested that the military establishment in Washington is
       undermining U.S President Donald Trump’s campaign pledge to cooperate
       with Russia in fighting terrorism, Bloomberg reported.

       “The U.S won’t tell us and others what to do in Afghanistan,” Kabulov said.

       Bloomberg meanwhile quoted Petr Topychkanov, an analyst at the Carnegie
       Moscow Center as having said Russia “views American bases in Afghanistan
       as a threat to its interests” and is maneuvering to maximize its influence by
       keeping channels of communication open with all sides.




https://tolonews.com/world/russia-backs-taliban-call-withdraw-foreign-troops                    Page 2 of 2

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 363 of 400
Russia has been engaging with the Taliban for years. The U.S. withdrawal might give it an opportunity to expand its role. - CBS News   9/19/22, 4:21 PM




       Russia has been engaging with the
       Taliban for years. The U.S. withdrawal
       might give it an opportunity to
       expand its role.
       August 21, 2021 / 10:01 AM

       By Mary Ilyushina

       Moscow— In the Taliban's rapid takeover of Afghanistan following the
       chaotic withdrawal of U.S. forcesthis week, Russia sees an opportunity to
       step up its role as a regional power in its own backyard. But it also faces a
       host of risks, prompting the country to pursue a dual approach: diplomacy
       with the Taliban and displays of strength along its border.

       The Kremlin appears to be willing to engage with the Taliban in order to
       secure its interests. Since the group took over Kabul, Moscow
       representatives have cautiously reached out for talks to secure its diplomatic
       compounds in the area. Russian ambassador to Afghanistan Dmitry Zhirnov
       even publicly praised the Taliban on Russian state TV.

       "We are now being guarded by the Taliban, their big unit. They made a good
       impression on us, adequate guys, well-armed, they stood along the outer
       perimeter of the embassy so that no one could penetrate us — no terrorist,
       no crazy person," Zhirnov said.

       Russian President Vladimir Putin's special envoy to Afghanistan, Zamir
       Kabulov, hinted Russia might recognize the Taliban as a governing force
       depending on their next moves, which could be a major win for the militants.
       Russian diplomats have also praised the Taliban over the "puppet
https://www.cbsnews.com/news/russia-taliban-afghanistan-american-withdrawal-opportunity/                                                    Page 1 of 4

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 364 of 400
Russia has been engaging with the Taliban for years. The U.S. withdrawal might give it an opportunity to expand its role. - CBS News   9/19/22, 4:21 PM




       government" of Ashraf Ghani, the president who fled Afghanistan and
       resurfaced in the UAE. Russia only partially evacuated its embassy.

       "I judge based on the first day of their control over Kabul. My impressions
       are good. The situation in Kabul now is better than it was under Ashraf
       Ghani. That is, under the Taliban terrorists it is better than under Ghani,"
       Zhirnov said.

       Russia put the Taliban on its terrorist list back in 2003 but welcomed Taliban
       representatives for talks since 2018, bypassing Ghani's administration. In
       July, the Taliban even hosted a press conference in Moscow right after U.S.
       President Joe Biden's address about the "orderly drawdown" of American
       troops.

       Russian President Vladimir Putin has made the fight against terrorism the
       cornerstone of his presidency, justifying the country's involvement in Syria
       and backing authoritarian leader Bashar al-Assad as a way to uphold
       stability.

       But in Afghanistan, realpolitik goals are at play as Russia is growing
       concerned that the movement's ideas of Islamic fundamentalism could spill
       over to Muslim-majority former Soviet states allied with Moscow.

       While exploring diplomatic ways to interact with the Taliban, Moscow also
       made sure to project force by holding joint military exercises in Tajikistan and
       China near the Afghan border, with the latter aimed at "demonstrating the
       determination and ability… to fight terrorism."

       "The goal is not to allow the expansion of Taliban outside of Afghanistan and
       to make the rule of Taliban as small as possible compared to its previous
       version," Alexander Baunov, a senior fellow at the Carnegie Moscow Center,
       told CBS News. "Russia is not interested in having a new ISIS on its border."

https://www.cbsnews.com/news/russia-taliban-afghanistan-american-withdrawal-opportunity/                                                    Page 2 of 4

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 365 of 400
Russia has been engaging with the Taliban for years. The U.S. withdrawal might give it an opportunity to expand its role. - CBS News   9/19/22, 4:21 PM




       The Russian military also announced this week that Russian troops will take
       part in a monthlong exercise with Tajikistan. Under a collective security
       treaty with regional states, Moscow has an obligation to deploy forces in
       case one of those states is under attack.

       Another potential headache for Moscow is the wave of refugees fleeing
       Afghanistan. Russia rarely offers asylum but might be faced with a surge of
       Afghans who are currently trying to get to neighboring Tajikistan and
       Uzbekistan.

       "The U.S. shoved off the burden of wasteful spending as soon as it became
       clear that its strategic goal of controlled chaos was being realized without
       their presence. All obligations and all risks were left to us (guess where the
       stream of refugees will now rush, as well as at whose expense the borders
       and armies of the Central Asian states will be strengthened ..), and they got
       into a beautiful machine and flew away," columnist Daria Mitina wrote in the
       Moscow-friendly Vedomosti newspaper.

       Moscow has its own painful history of a failed military mission in Afghanistan.
       The Soviet Union had invaded Afghanistan in 1979 to prop up a communist
       government that was fighting against guerrilla fighters and expecting to
       withdraw within a year.

       They were met with brutal resistance and the war went on for nine years
       instead, killing as many as 2 million Afghans and nearly 15,000 Soviet troops.
       Fighters from the anti-Soviet Mujahideen later helped set up the Taliban in
       the 1990s.

       History repeated itself as U.S.-allied forces fled over the Friendship Bridge,
       the same one Soviet troops used more than 30 years ago to march out,
       which evoked some gloating in the Kremlin.


https://www.cbsnews.com/news/russia-taliban-afghanistan-american-withdrawal-opportunity/                                                    Page 3 of 4

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 366 of 400
Russia has been engaging with the Taliban for years. The U.S. withdrawal might give it an opportunity to expand its role. - CBS News   9/19/22, 4:21 PM




       In Moscow, the botched withdrawal of U.S. forces is seen as a major setback
       for American foreign policy, scoring points for Putin's idea of a "multi-polar
       world," which rejects U.S. efforts to promote democracy around the world.

       "In Afghanistan, the myth of the omnipotence of U.S. military power has
       been destroyed. Abandoned bases and the inability to ensure security and
       operation of a mere airport are powerful symbols [of that]," Konstantin
       Kosachev, Russian senator in charge of the International Affairs Committee,
       wrote on Facebook. "From now on, it's not bombs that are being dropped
       from American planes, it's living people. And they leave 'their own people'
       without the slightest embarrassment. Some of our neighbors are concerned
       for a reason."

       Trending News

                In:
                Russia

       First published on August 21, 2021 / 10:01 AM

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https://www.cbsnews.com/news/russia-taliban-afghanistan-american-withdrawal-opportunity/                                                    Page 4 of 4

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 367 of 400
Russia is sending weapons to Taliban, top U.S. general confirms - The Washington Post                                         9/15/22, 3:04 PM




       Russia is sending weapons to Taliban,
       top U.S. general confirms
       Thomas Gibbons-Neff April 24, 2017 at 12:56 p.m. EDT

       KABUL — The general in charge of U.S. forces in Afghanistan appeared to
       confirm Monday that Russia is sending weapons to the Taliban, an
       intervention that will probably further complicate the 15-year-old war here
       and the Kremlin’s relations with the United States.

       When asked by reporters, Gen. John Nicholson did not dispute claims that
       the Taliban is receiving weapons and other supplies from the Russians.

       “We continue to get reports of this assistance,” Nicholson said, speaking to
       reporters alongside Defense Secretary Jim Mattis. “We support anyone who
       wants to help us advance the reconciliation process, but anyone who arms
       belligerents who perpetuate attacks like the one we saw two days ago in
       Mazar-e Sharif is not the best way forward to a peaceful reconciliation.”

       While the U.S. wasn’t looking, Russia and Iran began carving out a bigger
       role in Afghanistan

       A senior U.S. military official, who spoke on the condition of anonymity to
       discuss intelligence on the issue, said the Russians have increased their
       supply of equipment and small arms to the Taliban over the past 18 months.
       The official said the Russians have been sending weapons, including
       medium and heavy machine guns, to the Taliban under the guise that the
       materiel would be used to fight the Islamic State in eastern Afghanistan.
       Instead, the official said, the weapons were showing up in some of
       Afghanistan’s southern provinces, including Helmand and Kandahar — both
       areas with little Islamic State presence.

https://www.washingtonpost.com/news/checkpoint/wp/2017/04/24/russia-is-sending-weapons-to-taliban-top-u-s-general-confirms/        Page 1 of 4

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 368 of 400
Russia is sending weapons to Taliban, top U.S. general confirms - The Washington Post                                         9/15/22, 3:04 PM




       “Any weapons being funneled here from a foreign country would be a
       violation of international law unless they were coming to the government of
       Afghanistan,” Mattis said, speaking during his first visit to Afghanistan as
       defense secretary. He added that it would have to be dealt with as such.

       In the past, Nicholson has criticized Russia’s contact with the Taliban, saying
       that it has given “legitimacy” to a group that has undermined the elected
       government in Kabul.

       In the 1980s, Russia fought its own war in Afghanistan, losing thousands of
       troops to insurgents supplied with advanced U.S. weaponry, such as
       shoulder-fired surface-to-air missiles. In March, when the commander of
       U.S. forces in Europe, Army Gen. Curtis Scaparrotti, told lawmakers that
       Russia was providing support to the Taliban, the Russian Foreign Ministry
       dismissed the allegations as “a lie” and said the charge was being
       promulgated to disguise Washington’s policy failures in Afghanistan.

       Soldiers at an Afghan military base were targeted as they ate dinner and left a mosque follow prayers on April 21.
       (Video: Reuters)


       Mattis and Nicholson’s remarks come just days after the Taliban pulled off
       the single deadliest attack against Afghan security forces since the
       beginning of the war.

       U.S. defense chief arrives in Kabul as his Afghan counterpart resigns in
       disgrace

       On Friday, roughly a dozen militants infiltrated a sprawling Afghan base near
       the northern city of Mazar-e Sharif. Using suicide bomb vests and small
       arms, the militants — disguised as Afghan soldiers — wreaked havoc at the
       installation and, according to some reports, killed at least 140 Afghans and
       wounded 60.


https://www.washingtonpost.com/news/checkpoint/wp/2017/04/24/russia-is-sending-weapons-to-taliban-top-u-s-general-confirms/        Page 2 of 4

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 369 of 400
Russia is sending weapons to Taliban, top U.S. general confirms - The Washington Post                                         9/15/22, 3:04 PM




       The six-hour assault began as Afghan soldiers were leaving their weekly
       prayers or ambling to the base’s dining facility. The Taliban fighters were
       eventually killed by a response force led by Afghan commandos. Nicholson
       praised the elite but overworked unit’s actions for bringing the “atrocity to an
       end.”

       It is unclear how the attack will affect Afghan forces’ recruitment efforts,
       already strained by high casualties and low retention rates among the ranks.
       The Taliban has pledged that the attack is just the beginning of its annual
       spring offensive. However, since U.S. combat troops mostly withdrew in
       2014, the pace of Taliban attacks has remained consistent across the
       country year-round.

       There are 8,400 U.S. troops in Afghanistan split between two roles. One
       contingent helps advise the Afghan security forces while the other carries
       out unilateral and partnered counterterrorism operations against groups
       such as the Islamic State and al-Qaeda. In addition to the U.S. troops,
       roughly 5,000 NATO troops are in Afghanistan, split among various areas of
       responsibility.

       Nicholson and the chief of U.S. Central Command, Army Gen. Joseph Votel,
       have agreed that roughly 3,000 additional troops are needed to help prop up
       the Afghan security forces and break what top U.S. officials have called a
       “stalemate” in the country. At the height of the war, more than 100,000 U.S.
       troops were in the country.

       Mattis said Monday that he is still deciding whether to ask President Trump
       to send more troops.

       At least 140 dead after Taliban attack on a key Afghan army base, officials
       say


https://www.washingtonpost.com/news/checkpoint/wp/2017/04/24/russia-is-sending-weapons-to-taliban-top-u-s-general-confirms/        Page 3 of 4

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 370 of 400
Russia is sending weapons to Taliban, top U.S. general confirms - The Washington Post                                         9/15/22, 3:04 PM




       Some in Afghanistan question U.S. choice to use 22,000-pound bomb
       against ISIS




https://www.washingtonpost.com/news/checkpoint/wp/2017/04/24/russia-is-sending-weapons-to-taliban-top-u-s-general-confirms/        Page 4 of 4

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 371 of 400
Russia is sharing information with the Taliban to fight the Islamic State - The Washington Post                                           9/15/22, 3:17 PM




       Russia is sharing information with the
       Taliban to fight the Islamic State
       Andrew Roth December 23, 2015 at 1:25 p.m. EST




       a major opium-poppy-growing district this week. (Noor Mohammad/AFP via Getty Images)


       MOSCOW — A Kremlin official said Wednesday that Russia was exchanging
       information with the Taliban, the Islamist insurgency that the United States
       has been fighting in Afghanistan since 2001, as a bulwark against thespread
       of the Islamic State militant group in that country.

       Zamir Kabulov, a Foreign Ministry department head and President Vladimir


https://www.washingtonpost.com/news/worldviews/wp/2015/12/23/russia-is-sharing-information-with-the-taliban-to-fight-the-islamic-state/        Page 1 of 3

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 372 of 400
Russia is sharing information with the Taliban to fight the Islamic State - The Washington Post                                           9/15/22, 3:17 PM




       Putin's special representative for Afghanistan, told the Interfax news agency
       that “the Taliban interest objectively coincides with ours” in the fight against
       the Islamic State, which has captured broad swaths of territory in Syria and
       Iraq.

       “I have already said earlier that we and the Taliban have channels for
       exchanging information,” Kabulov added, in remarks reported by Interfax and
       confirmed to The Washington Post by a ministry spokesman.

       The Islamic State creates a new type of jihadist: Part terrorist, part gangster

       Alimited partnership withthe Taliban, which announced last week that it
       would send “special forces”to fightthe Islamic State, is astriking, and
       somewhatconfusing, twistin Russia’swar on terror. Although Russia
       plunged enthusiasticallyinto its airstrike campaign against the Islamic State
       in Syria inSeptember (critics say Russia is mainly thereto propup President
       Bashar al-Assad),Moscowhasopposed the Taliban for more than a decade
       as a potential vehicle forterror and instability inthe former Soviet Union.

       Along with the Islamic State, the Taliban is on a Russian government list of
       terrorist organizations. Similar to the Islamic State, the Taliban is knownfor
       staging brutal public executions and imposingan extreme interpretation of
       Islamic law on the territories it has captured.

       Iraq turns to Russia in fight against Islamic State

       Thegrueling 14-year-old war in Afghanistan sparked by the Sept. 11, 2001,
       attacks has killed more than 3,400 troops from a U.S.-led NATO coalition
       and left the Taliban diminished but not defeated.In September,
       theTalibancaptured the northern Afghan city of Kunduz for 15 days, the first
       major city captured by the Taliban since the U.S.-led invasion.


https://www.washingtonpost.com/news/worldviews/wp/2015/12/23/russia-is-sharing-information-with-the-taliban-to-fight-the-islamic-state/        Page 2 of 3

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 373 of 400
Russia is sharing information with the Taliban to fight the Islamic State - The Washington Post                                           9/15/22, 3:17 PM




       Although thereare signs that the popularity of the Islamic State isgrowing in
       Afghanistan, including the mysterious Caliphate Radio station that
       broadcasts Islamic State propaganda every morning, the Talibanremainsa
       far more potent force there.

       After the capture of Kunduz, Russia reinforcedits 201st Motorized Rifle
       Division military base in Tajikistan, a former Soviet republic that borders
       Afghanistan, sending attack helicoptersin what was widely seen as a
       response to theresurgence of the Talibanina city less than five miles from
       the border with Tajikistan.

       Russia and Turkey accuse each other of buying oil from the Islamic State

       In the same interview on Wednesday, Kabulov said Russia would be “ready to
       supply weapons but will do it with due prudence and mostly on acommercial
       basis” to Afghanistan. Those weapons would probably be used against the
       Taliban, which this week launched an offensive aimedata strategically
       important district in Helmand province.

       Maria Zakharova, a spokeswoman for the Foreign Ministry, said by telephone
       that Russia’s only shared interestwith the Taliban is the fight against the
       Islamic State.

       She also said that contacts between Russia and the Taliban have been
       limited. There has been “no travel, no meetings. It's only information
       exchange,” she said.

       Zakharova said that Russia was maintaining a sanctions regime imposed on
       the Taliban by the U.N. Security Council and that no material support had
       been supplied to the group.

       She declined to discuss what information had been shared.

https://www.washingtonpost.com/news/worldviews/wp/2015/12/23/russia-is-sharing-information-with-the-taliban-to-fight-the-islamic-state/        Page 3 of 3

                  Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 374 of 400
Russia Says Trying To Push Afghan Taliban To Join National Reconciliation                  9/15/22, 3:44 PM




       Russia Says Trying To Push Afghan
       Taliban To Join National
       Reconciliation




       Russia's ambassador to NATO, Aleksandr Grushko


       Russia says it is in contact with the Taliban in Afghanistan to push the
       militant group toward national reconciliation and to ensure the security of
       Russian citizens.

       Speaking to reporters in Brussels on March 31, Russia's ambassador to
       NATO, Aleksandr Grushko, denied that Moscow is providing aid to the
       Taliban and said "many countries" maintain contacts with the group.

       "The consultations we hold, the work we do, we do it with the participation of
       Afghanistan's central government," Grushko said.

https://www.rferl.org/a/russia-afghanistan-taliban-national-reconciliation/28404432.html        Page 1 of 2

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 375 of 400
Russia Says Trying To Push Afghan Taliban To Join National Reconciliation                  9/15/22, 3:44 PM




       Earlier, in London, U.S. Defense Secretary Jim Mattis expressed concern
       over Russia's interaction with the Taliban, which is fighting the U.S.-backed
       government and U.S. forces in Afghanistan.

       "I am not willing to say at this point if that is manifested into weapons and
       that sort of thing, but, certainly, what they are up to there in light of their
       other activities gives us concern," Mattis said.

       The comments came after U.S. General Curtis Scaparrotti, NATO's supreme
       allied commander in Europe, said on March 23 that he had seen evidence of
       increasing Russian efforts to influence the Taliban "and perhaps even to
       supply" the militant group.

       Based on reporting by TASS and Interfax




https://www.rferl.org/a/russia-afghanistan-taliban-national-reconciliation/28404432.html        Page 2 of 2

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 376 of 400
Top U.S. Commander In Afghanistan Accuses Russia Of Aiding Taliban : The Two-Way : NPR                                           9/19/22, 4:24 PM




       Top U.S. Commander In Afghanistan
       Accuses Russia Of Aiding Taliban
       Scott Neuman March 26, 20183:46 AM ET



       at Bagram air base north of Kabul, Afghanistan.
       Robert Burns/AP


       Russia has fired back at accusations by U.S. Army Gen. John Nicholson that
       the Kremlin is providing material support to the Taliban.

       In an interview with the BBC last week, Nicholson, the top U.S. commander
       in Afghanistan, said in an interview taped there: "We've had weapons
       brought to this headquarters and given to us by Afghan leaders and [they]
       said this was given by the Russians to the Taliban."

       "Clearly, they are acting to undermine our interests," he said.

       As NPR Pentagon correspondent Tom Bowman reported last year, it is not
       the first time that the four-star general has made the accusation. Last year,
       Secretary of Defense Jim Mattis also discussed the concern.

       A statement by the Russian embassy in Kabul dismissed Nicholson's
       comments as "idle gossip."

       "Once again, we insist that such statements are absolutely baseless and
       appeal to officials not to talk nonsense," the embassy said.

       Officials in Russia have said they only have limited contacts with the Taliban
       and that they are aimed at encouraging peace talks and protecting Russian
       citizens.

https://www.npr.org/sections/thetwo-way/2018/03/26/596933077/top-u-s-commander-in-afghanistan-accuses-russia-of-aiding-taliban        Page 1 of 3

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 377 of 400
Top U.S. Commander In Afghanistan Accuses Russia Of Aiding Taliban : The Two-Way : NPR                                           9/19/22, 4:24 PM




       Afghan officials last year also called on Moscow to halt its support for the
       Taliban.

       In October, Brig. Gen. Mohammad Naser Hedayat, the commander of the
       Afghan army's 207th Corps, said Russia was "actively meddling in Farah
       [province]."

       "We have seized Russian-made weapons, including night-vision sniper
       scopes," he said.

       As The Guardian wrote at the time: "Russia's recent push for influence in
       Afghanistan follows a pattern across the region, where Moscow has
       challenged American influence in Libya, Turkey, Syria and the Gulf. But it also
       offers an echo of history for Afghans who since the 19th century have seen
       their country treated as a battleground for rival foreign powers."

       In an appearance before a Senate Armed Services Committee in Feb. 2017,
       Nicholson had this exchange with Florida Democrat Sen. Bill Nelson:

       "If Russia is cozying up to the Taliban — and that's a kind word — if they are
       giving equipment that we have some evidence that the Taliban is getting ...
       and other things that we can't mention in this unclassified setting And the
       Taliban is also associated with al-Qaida Therefore Russia indirectly is
       helping al-Qaida in Afghanistan," said Nelson.

       "Your logic is absolutely sound, sir," Nicholson replied.

       At the time, Nicholson said the Russian operations in Afghanistan had
       resumed the previous year [2016].

       Russia has a long and tortured history in Afghanistan. In 1979, Soviet forces
       invaded the country following a coup that overthrew the Kremlin-backed
       government there.
https://www.npr.org/sections/thetwo-way/2018/03/26/596933077/top-u-s-commander-in-afghanistan-accuses-russia-of-aiding-taliban        Page 2 of 3

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 378 of 400
Top U.S. Commander In Afghanistan Accuses Russia Of Aiding Taliban : The Two-Way : NPR                                           9/19/22, 4:24 PM




       Local fighters, who called themselves mujahedeen, formed a fierce
       resistance to the Soviet occupation. During the Reagan administration, the
       U.S., with the help of Pakistan, funneled hundreds of million of dollars' worth
       of weapons to the Afghan resistance.

       The 10-year conflict in Afghanistan, which devolved into a quagmire that
       cost 15,000 Russian soldiers, is widely viewed as a major contributing factor
       to the collapse of the Soviet Union.




https://www.npr.org/sections/thetwo-way/2018/03/26/596933077/top-u-s-commander-in-afghanistan-accuses-russia-of-aiding-taliban        Page 3 of 3

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 379 of 400
U.S. Suspects Russia Supplying Small Arms to Taliban in Afghanistan - WSJ                  9/19/22, 4:25 PM




       U.S. Suspects Russia Supplying Small
       Arms to Taliban in Afghanistan
       Defense Secretary Mattis, visiting Kabul, said it would
       be a violation of international law
       By Gordon Lubold and Habib Khan Totakhil
       Updated April 24, 2017 6:39 pm ET




       KABUL—U.S. military officials said they have seen an increasing number of
       small arms provided by the Russian government, including machine guns
       and antiaircraft weapons, in the hands of Taliban fighters in Afghanistan over
       the past 18 months.

https://www.wsj.com/articles/mattis-pays-surprise-visit-to-kabul-1493025633                     Page 1 of 4

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 380 of 400
U.S. Suspects Russia Supplying Small Arms to Taliban in Afghanistan - WSJ                  9/19/22, 4:25 PM




       Defense Secretary Jim Mattis, who arrived in Kabul on an unannounced visit
       on Monday, said it would be a violation of international law for Russia to
       provide the Taliban with weapons.

       Military officials have long suspected Russia may be sending weapons to
       Afghanistan, but have noticed an increase recently, a senior U.S. military
       official said. The weapons are showing up in Helmand, Kandahar and
       Uruzgan provinces.

       Asked on Monday if the Russians were providing such weapons, Gen. John
       Nicholson, the top U.S. commander in Afghanistan, said, “I’m not refuting
       that.”

       Russia has acknowledged sharing information with Taliban groups in an
       effort to combat Islamic State, but has denied sending weaponry. Russian
       officials didn’t respond on Monday to a request for comment on the U.S.
       charges.

       The senior U.S. military official said heavier weaponry that could change
       battlefield dynamics, such as surface-to-air missiles, hadn’t appeared in
       Afghanistan.

       “The Russians seem to be choosing to be strategic competitors in a number
       of areas,” Mr. Mattis said, adding that as far as “the level of granularity and
       the level of success they are achieving, I think the jury is still out on that.”

       Mr. Mattis said the U.S. would address the issue diplomatically, but would
       confront Russia if necessary.

       “We will have to confront Russia where what they’re doing is contrary to
       international law or denying the sovereignty of other countries,” he said. “For
       example, any weapons being funneled in here, unless they are coming

https://www.wsj.com/articles/mattis-pays-surprise-visit-to-kabul-1493025633                     Page 2 of 4

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 381 of 400
U.S. Suspects Russia Supplying Small Arms to Taliban in Afghanistan - WSJ                  9/19/22, 4:25 PM




       through the [Afghan] government, would be a violation of international law.”

       Mr. Mattis arrived in Afghanistan hours after the resignations of his Afghan
       counterpart and the army chief of staff following the deadliest attack by
       insurgents on government forces since the war began in 2001.

       It was Mr. Mattis’s first visit to Afghanistan as defense chief but, as a former
       Marine general, he was the first commander of American troops here
       following the U.S.-led invasion after the 2001 terror attacks.

       During his visit here, Mr. Mattis and the head of the U.S.-led international
       military force, Gen. John Nicholson, plan to discuss whether to recommend
       that President Donald Trump order additional troop deployments.

       In testimony to Congress in February, Gen. Nicholson said a few thousand
       additional American troops were needed to advise and train Afghan forces.

       Currently, there are about 8,500 U.S. personnel, along with around 6,000
       soldiers from other members of the international coalition, in Afghanistan in
       support of the central government in Kabul, which is fighting both the
       Taliban, the largest insurgency, and the local Islamic State affiliate.

       Mr. Mattis’s visit comes amid turmoil in the Afghan armed forces. The
       government of President Ashraf Ghani had no immediate comment on the
       departures of the defense minister, Abdullah Habibi, and the army chief of
       staff, Qadam Shah Shahim, and no reasons were given for the moves. Gen.
       Dawlat Waziri, the Defense Ministry spokesman, said only that Mr. Ghani had
       accepted their resignations.

       Friday’s Taliban attack on a government army base in Balkh province left
       about 170 people dead, Afghan officials said, after six Taliban fighters
       infiltrated the heavily guarded base aboard military vehicles and opened fire

https://www.wsj.com/articles/mattis-pays-surprise-visit-to-kabul-1493025633                     Page 3 of 4

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 382 of 400
U.S. Suspects Russia Supplying Small Arms to Taliban in Afghanistan - WSJ                  9/19/22, 4:25 PM




       in what became a five-hour battle. Five of the militants were killed and a sixth
       was captured alive by Afghan commandos who had been rushed to join the
       battle, Afghan military officials said.

       Mr. Mattis is winding up an eight-day trip that has taken him to Riyadh, Cairo,
       Tel Aviv and Jerusalem, as well as Doha and Djibouti. His talks with officials
       have focused on fighting terrorism and countering what the Trump
       administration says is Iran’s destabilizing influence in the Middle East and
       North Africa.

       Ehsanullah Amiri in Kabul
       contributed to this article.

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       Write to Gordon Lubold at Gordon.Lubold@wsj.com




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                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 383 of 400
Understanding the Russia-Taliban Connection – The Diplomat                                 9/19/22, 4:26 PM




       Understanding the Russia-Taliban
       Connection
       Recent media reports underline Russian arms sales to
       the insurgent group. What is Moscow’s end game
       Samuel Ramani




       Credit: Department of Defense photograph by Lt. j. g. Joe Painter


       On July 25, 2017, representatives from two Taliban cells told CNN that Russia
       had supplied them with guns via its regional ally, Iran. This revelation caused
       allegations of Russian support for the Taliban to circulate widely across
       international media outlets. The Russian Foreign Ministry’s spokeswoman
       Maria Zakharova responded harshly to these rumors, by vehemently denying
       allegations that the Kremlin has provided military support to the Taliban and
       alleging that the United States fabricated Moscow’s purported Taliban links
       to further its disinformation campaign against Russia.

       While the scale of Russia’s military support for the Taliban remains unclear,
       Moscow’s apparent decision to provide arms to the Sunni extremist

https://thediplomat.com/2017/08/understanding-the-russia-taliban-connection/                    Page 1 of 5

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 384 of 400
Understanding the Russia-Taliban Connection – The Diplomat                                 9/19/22, 4:26 PM




       organization can be explained by Russia’s desire to expand its influence over
       Afghanistan. By arming the Taliban, Russia aims to displace Pakistan and the
       Saudi-led Gulf Cooperation Council (GCC) as the Taliban’s leading security
       partner, and to pressure Kabul to embrace its inclusive approach to
       diplomacy in Afghanistan.

       The Rationale Behind Russia’s Military Support for the Taliban

       Even though negative memories of the 1979-1989 Soviet War in Afghanistan
       have made Kremlin policymakers very resistant to a potential Russian troop
       deployment to Afghanistan, Moscow’s arms provisions to the Taliban
       underscore Russia’s ambitions of becoming a major political stakeholder in
       Afghanistan.

       Diplomat Brief                               From a strategic standpoint, Russia’s
       Weekly Newsletter                            alignment with the Taliban enhances its
                                                    leverage over Afghanistan, as Moscow is
          N
                                                    seeking to become the principal military
       Get briefed on the story of the week, and
       developing stories to watch across the Asia- backer of a powerful political faction that
       Pacific.                                     has few other international supporters.
       Get the Newsletter                           This strategy allows Russia to compete
       directly with the United States for influence in Afghanistan, and gives Russia
       a proxy in the Afghanistan conflict.

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       month.

       In order to become the Taliban’s leading international military partner,
       however, Russia must dilute Pakistan’s influence over the Taliban’s day-to-
       day military operations. Even though Russia-Pakistan relations have
       improved in recent years and Moscow has actively engaged with Islamabad
       on stabilizing Afghanistan, Afghan Ambassador to Russia Qayyum Kochai
https://thediplomat.com/2017/08/understanding-the-russia-taliban-connection/                    Page 2 of 5

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 385 of 400
Understanding the Russia-Taliban Connection – The Diplomat                                 9/19/22, 4:26 PM




       told the New York Times in February that Russia is seeking to displace
       Pakistan as the Taliban’s leading international sponsor.

       Kochai believes that Russia could achieve this goal, as the Taliban’s “lack of
       free will” makes it vulnerable to subordination by Moscow. Even though
       Kochai’s assessment of the Taliban underestimates the organization’s ability
       to balance diplomatic relationships with major powers, like China, Iran, and
       Saudi Arabia, Russia’s ability to supply the Taliban with more sophisticated
       forms of weaponry than Pakistan could increase the Taliban’s long-term
       dependency on Moscow.

       In addition to restricting Pakistan’s ability to shape Afghanistan’s political
       trajectory, Russian military support for the Taliban could significantly weaken
       the GCC’s influence over the Taliban. Even though Saudi Arabia formally
       suspended ties with the Taliban in 2001 and officially supports Ghani’s
       government, King Salman has allowed Saudi sheikhs and businessmen to
       provide covert financial assistance to the Taliban, as he fears a Sunni
       extremist backlash against the Saudi monarchy.

       Despite this support, the recent breakdown in relations between Saudi
       Arabia and Qatar has raised doubts about the long-term viability of the
       GCC-Taliban partnership. The United Arab Emirates (UAE) has fiercely
       condemned Qatar’s decision to host Taliban representatives, and has
       repeatedly highlighted the security risks associated with a Doha-Taliban
       alliance. As the UAE abandoned the Taliban in the days leading up to the
       2001 war in Afghanistan, discord within the GCC could remind Taliban
       officials of the Riyadh-led bloc’s unreliability as an ally, and cause the Taliban
       to pivot towards an alternative external sponsor: Russia.

       Russia’s decision to arm the Taliban during a period of unprecedented
       discord within the GCC demonstrates that Moscow is attempting to upstage

https://thediplomat.com/2017/08/understanding-the-russia-taliban-connection/                    Page 3 of 5

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 386 of 400
Understanding the Russia-Taliban Connection – The Diplomat                                 9/19/22, 4:26 PM




       Riyadh as a stakeholder in Afghanistan. As Kremlin policymakers believe the
       Saudi Arabia-Taliban alliance empowers Wahhabi extremists in Central Asia,
       weakening the GCC’s influence over the Taliban could help prevent instability
       in Afghanistan from diffusing to Russia’s Eurasian allies.

       TheImpact on the Moscow-Kabul Relationship

       Even though Russia’s Taliban links have strained its relationship with Afghan
       President Ashraf Ghani’s government, Kremlin policymakers have tried to
       prevent Kabul-Moscow tensions from spiraling into an open confrontation.
       To ameliorate tensions with Ghani’s government, Russian Foreign Minister
       Sergei Lavrov has expressed his unequivocal commitment to cordial Kabul-
       Moscow relations. The Russian state media has also highlighted Ghani’s
       interest in Russian MI-35 helicoptersand Afghan Foreign Ministry
       spokesmanAshraf Haidari’s request for Russian logistical support for the
       Afghan army and police.

       Russia’s unwillingness to suspend ties with Ghani’s government suggests
       that Moscow’s preferred strategy in Afghanistan is to balance between Kabul
       and the Taliban, rather than forging a firm alliance with either side. In this
       context, Russia’s arms sales to the Taliban could ultimately motivatea
       simultaneous improvement in Moscow-Kabul relations.

       Russia’s arms sales to the Taliban demonstrate to Ghani’s government that
       resisting Moscow’s push for inclusive diplomacy has pernicious
       consequences for Afghanistan’s security. As many Kremlin policymakers
       believe that Ghani’s opposition to diplomacy with the Taliban is the product
       of his subordination to the United States, Moscow’s decision to arm the
       Taliban could be a way of testing the strength of the Kabul-Washington
       alliance.

       The Trump administration’s reluctance to expand U.S. military support for
https://thediplomat.com/2017/08/understanding-the-russia-taliban-connection/                    Page 4 of 5

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 387 of 400
Understanding the Russia-Taliban Connection – The Diplomat                                 9/19/22, 4:26 PM




       Afghanistan’s government after revelations of Russian support for the
       Taliban could eventually cause strains between Ghani and Trump. An
       increase in tensions between Kabul and Washington could cause Ghani to
       launch an aggressive diplomatic outreach to the Taliban to prevent further
       Russian arms sales to the insurgent group. If Ghani accepts Russia’s calls for
       dialogue between Kabul and the Taliban, under the threat of forceful
       retaliation from Moscow, Russia will be able to compellingly showcase its
       influence over Afghanistan to the international community.

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       month.

       Even though Russian small arms sales to the Taliban are unlikely to
       significantly shift the balance of power in the Taliban’s favor, Moscow’s arms
       provisions could have profound implications for the balance of power in
       Afghanistan. Russia’s military support for the Taliban expands its ability to
       influence the insurgent organization’s activities, dilutes Pakistan’s hegemony
       over the Taliban, and reduces the power projection capacity of its strategic
       rivals, the United States and Saudi Arabia, in Afghanistan. Therefore, while
       Russia’s arms provisions to the Taliban are unlikely to be publicly confirmed,
       Moscow’s covert security cooperation with the Taliban is likely to remain an
       enduring feature of the Kremlin’s Afghanistan strategy for the foreseeable
       future.

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       College, University of Oxford. He is also a journalist who writes regularly for
       the Washington Post and Huffington Post. He can be followed on Twitter at
       samramani2 and on Facebook at Samuel Ramani.




https://thediplomat.com/2017/08/understanding-the-russia-taliban-connection/                    Page 5 of 5

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 388 of 400
Why Is Russia Helping Anti-U.S. Insurgents In Afghanistan : NPR                                    9/19/22, 4:27 PM




       Why Is Russia Helping Anti-U.S.
       Insurgents In Afghanistan
       Philip Ewing                February 13, 20173:21 PM ET


       An American soldier scanned the retina of a man in Nangarhar Province, Afghanistan in Dec. 2011.
       Russia cites the danger of ISIS in Nangarhar as its reason for backing the Taliban, the U.S. says.
       Sgt. Trey Harvey/U.S. Army


       Russia is supporting anti-U.S. insurgents in Afghanistan — and through
       them, terrorists, top U.S. national security leaders say.

       What isn't clear is why.

       The top American commander in Afghanistan, Gen. John Nicholson, stopped
       short of detailing everything the U.S. knows about the Russian return to
       Afghanistan in an appearance before a Senate panel last week. But he did
       confirm some lawmakers' accounts of what U.S. intelligence has established
       about the relationship.

       "If Russia is cozying up to the Taliban — and that's a kind word — if they are
       giving equipment that we have some evidence that the Taliban is getting ...
       and other things that we can't mention in this unclassified setting And the
       Taliban is also associated with al-Qaida Therefore Russia indirectly is
       helping al-Qaida in Afghanistan," said Sen. Bill Nelson, D-Fla.

       "Your logic is absolutely sound, sir," Nicholson said.

       Terrorist groups use the Afghan Taliban insurgency as a "medium" in which
       to operate, Nicholson said, as al-Qaida did before the Sept. 11, 2001, attacks
       on the U.S.


https://www.npr.org/2017/02/13/515020244/why-is-russia-helping-anti-u-s-insurgents-in-afghanistan        Page 1 of 3

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 389 of 400
Why Is Russia Helping Anti-U.S. Insurgents In Afghanistan : NPR                                    9/19/22, 4:27 PM




       The disclosures about Russia's operations in Afghanistan, which Nicholson
       said are increasing after they resumed last year, could complicate any effort
       by President Trump to work more closely with Moscow on fighting terrorism.

       Trump has said he wants Washington and Moscow to do more against the
       Islamic State in Syria – a goal that already was problematic because Moscow
       mostly has not been targeting ISIS there. Still, Trump ordered his national
       security team to present him with a new plan to defeat ISIS, one that could
       include options for closer cooperation with Moscow, as soon as next week.

       The revelation that Russia is covertly supporting U.S. enemies in Afghanistan
       makes the political case for increasing a counterterrorism partnership that
       much trickier. And it further expands the global chessboard on which
       Moscow is playing against the West.

       Russian President Vladimir Putin could be serious about expanding Russian
       influence in Asia Minor. He could be hedging against the potential wavering
       of current international support for Afghanistan. Or he could be making
       mischief simply to win concessions elsewhere by Europe or the United
       States.

       There's some evidence that he may be prepared to turn up the heat: The
       German newspaper Die Zeit reported that Russia is recruiting mercenaries to
       fight abroad. Russian memories about sending regular troops to Afghanistan
       might still be too raw after the Soviet Union's disastrous 1980 invasion, as
       the German paper wrote. So sending mercenaries could enable Putin to put
       de facto forces on the ground there with a lower public profile.

       Or, it may not come to that. Nicholson told Georgia Sen. David Perdue, a
       Republican, that he believes Putin only views the insurgent groups as a
       convenient means to irritate the West.


https://www.npr.org/2017/02/13/515020244/why-is-russia-helping-anti-u-s-insurgents-in-afghanistan        Page 2 of 3

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 390 of 400
Why Is Russia Helping Anti-U.S. Insurgents In Afghanistan : NPR                                    9/19/22, 4:27 PM




       "I think it's to undermine the United States and NATO," Nicholson said.

       Moscow isn't only supplying Taliban fighters covertly. It is also talking openly
       in the region about how the Kabul government, supported by the U.S.,
       doesn't want to fight the Islamic State – but the Taliban does.

       That is not true, Nicholson said – the Afghan army and the U.S. are fighting
       ISIS in Afghanistan, and have reduced its footprint with raids and airstrikes.
       Also, the ISIS of Afghanistan has little to do with the core group led from
       Syria, he said. It's mostly made up of Pakistani and Uzbek extremists who
       "rebranded" themselves.

       The upshot of it all, however, is that Russia and the United States have
       effectively switched roles in Afghanistan: In the 1980s, American CIA officers
       supplied weapons to anti-government rebels who were fighting the then-
       Soviet backed government and the Soviet troops supporting it. Today, 15
       years after the American invasion, Russia has begun helping the Taliban
       against a weak American-backed government still supported by NATO
       troops and airpower.

       The war is in "stalemate," Nicholson told the Senate panel, and he needs
       thousands more troops to help train the Afghan military to continue to
       improve as a fighting force. The Afghan air force also needs more aircraft,
       training and funding, he said, before it can give Kabul a decisive edge over
       insurgents.




https://www.npr.org/2017/02/13/515020244/why-is-russia-helping-anti-u-s-insurgents-in-afghanistan        Page 3 of 3

                 Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 391 of 400
MENU   monday september 19 2022




                        Afghan soldiers have recaptured some of the districts in Nad-e-Ali, Helmand, from Taliban
                        militants thisbmonth
                        WATA N YA R / E PA




                        Russian cash goes straight into the hands
                        of Taliban chiefs
                        Anthony Loyd, Kabul

                        Monday October 16 2017, 12.01am BST, The Times


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                        Russia has stepped up its support of the Taliban in Afghanistan
                        in recent months in an eĭort to stave oĭ the rise of Islamic
                        State but also to avenge its humiliating defeat by western-
                        backed fighters nearly 30 years ago, according to Taliban
                        oĮcials.



          Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 392 of 400
         One, a 23-year-old treasurer who is typical of a new youthful
         echelon of oĮcials, explained how help from Moscow delivered
         cash into the hands of its commanders.


         “The Russian fuel supplies began coming to us 18 months ago,”
         he told The Times. “At first it was just a few tankers to test the
         system. But then the numbers suddenly increased so that
         dozens were coming each month. The Russians give it all to us
         for free — we just pay the import duty and then keep the
         profits.”




         Most of the fuel is sold on by Taliban front companies to
         businessmen in Kabul. The money is then transferred through
         the inscrutable “hawala” system used by terrorist groups and
         insurgents across the Islamic world.


         “I just deal with the finances of a few Taliban commanders in
         one sector in one province,” the treasurer said. “I transfer them
         the money and then account for its distribution. But there are
         many other people like me.”

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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 393 of 400
         The fuel scheme was worth an estimated $2.5 million a month
         to the Taliban and was “one of many” methods of Russian
         funding to the group, he added. He agreed to be interviewed on
         the authority of a senior adviser to the Quetta Shura, the
         Taliban leadership based in Pakistan. The senior adviser was
         himself a former specialist bombmaker from Sangin who was
         involved in numerous operations against coalition and Afghan
         units before accepting a political role within the group.

         Russia’s presence in the region dates back to the 19th century
         when it began competing with Britain for influence in central
         Asia in what came to be known as the “Great Game”.


         That first Great Game ended with the 19th century but in
         December 1979 Russian forces invaded Afghanistan in support
         of Kremlin loyalists. Thousands of Russian troops were killed by
         Afghan insurgents using weaponry supplied by the West and
         after a decade of fighting they withdrew. The last of their
         armoured columns crossed the Friendship Bridge into
         Uzbekistan over the Amu Darya river at Hairatan, the same
         bridge over which their supplies to the Taliban now pass.


         The Kremlin’s present support for the Islamist group
         accelerated when Islamic State established a foothold in
         Afghanistan in 2014. “The Russians are afraid that if we become
         weak then Islamic State will grow stronger in Afghanistan,
         which will be a big headache for them — and for us,” said the 37-
         year-old senior adviser, who asked that his identity be withheld.
         “So now it’s about money, warm relations and weapons. Russia
         has lost its faith in this government to beat Islamic State. So the
         Taliban have become their default choice of ally.”




         The adviser said he had met Hibatullah Akhundzada, the
         Taliban’s leader in Afghanistan, in Helmand six weeks ago.
Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 394 of 400
         Akhundzada is well known in Taliban circles for organising
         prominent suicide attacks, including the one that killed
         Burhanuddin Rabbani, a former president of Afghanistan, in
         Kabul in 2011.


         The adviser said that Russia was motivated in part by a wish to
         avenge its humiliation at the hands of western-backed
         mujahidin groups. “They have got three aims in dealing with us:
         defeat Islamic State, undermine the US-supported Afghan
         government and humiliate and hurt Nato,” he said.


         US oĮcials have accused the Russians of playing on a “false
         narrative” in supporting the Taliban against Isis in Afghanistan.
         “We think it’s really part of a dual-track policy to give the
         Russian an inroad with whichever power is in place pending a
         peace one day,” an American military oĮcial in Kabul said.


         Isis is thought to be responsible for less than 5 per cent of the
         violence in Afghanistan but its presence has caused a paradigm
         shift among today’s Great Game players. Iran, another
         traditional enemy of the Sunni insurgents, has also stepped up
         its supplies of weaponry to the Taliban, and Afghan intelligence
         oĮcials tell of funerals held in Tehran of Iranian special forces
         advisers killed while assisting Taliban units in the west of the
         country.

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         The role of Pakistan, traditionally the Taliban’s central regional
         ally, has also begun to shift after Mullah Akhtar Mansour, the
         group’s leader, was killed by a US drone strike inside Pakistan in
         May last year while on his way back from a meeting in Iran.

Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 395 of 400
         American power was used to carry out the assassination but the
         Taliban accused Pakistan of treachery in revealing Mansour’s
         position to the US. They claimed Islamabad’s collusion in the hit
         was the result of Mansour’s increasing desire for more
         independence from his Pakistani handlers.


         The roles are changing but the modern Great Game’s actors
         remain unchanged, as does one common plot line. This has
         become the longest war in American history, costing half a
         trillion dollars, and more than 150,000 lives on all sides have
         been lost — but peace remains as elusive today in Afghanistan
         as when Russian troops rolled away down the Friendship Bridge
         into Uzbekistan on February 15, 1989.



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Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 396 of 400
8/24/22, 2:36 PM                                      Russia Bounty on Americans: Afghan Acted as Middleman - The New York Times

                                 https://www.nytimes.com/2020/07/01/world/asia/afghan-russia-bounty-middleman.html



Afghan Contractor Handed Out Russian Cash to Kill Americans, Officials Say
A small-time businessman became a key middleman for bounties on coalition troops in Afghanistan, U.S. intelligence
reports say. Friends saw him grow rich, but didnʼt know how.
By Mujib Mashal, Eric Schmitt, Najim Rahim and Rukmini Callimachi
Published July 1, 2020   Updated July 13, 2020


KABUL, Afghanistan — He was a lowly drug smuggler, neighbors and relatives say, then ventured into contracting,
seeking a slice of the billions of dollars the U.S.-led coalition was funneling into construction projects in Afghanistan.

But he really began to show off his wealth in recent years, after establishing a base in Russia, though how he earned
those riches remained mysterious. On his regular trips home to northern Afghanistan, he drove the latest model
cars, protected by bodyguards, and his house was recently upgraded to a four-story villa.

Now Rahmatullah Azizi stands as a central piece of a puzzle rocking Washington, named in American intelligence
reports and confirmed by Afghan officials as a key middleman who for years handed out money from a Russian
military intelligence unit to reward Taliban-linked fighters for targeting American troops in Afghanistan, according
to American and Afghan officials.

As security agencies connected the dots of the bounty scheme and narrowed in on him, they carried out sweeping
raids to arrest dozens of his relatives and associates about six months ago, but discovered that Mr. Azizi had
sneaked out of Afghanistan and was likely back in Russia. What they did find in one of his homes, in Kabul, was
about half a million dollars in cash.

American and Afghan officials have maintained for years that Russia was running clandestine operations to
undermine the U.S. mission in Afghanistan and aid the Taliban.

But U.S. officials only recently concluded that a Russian spy agency was paying bounties for killing coalition troops,
including Americans, which the Kremlin and the Taliban have denied.

According to officials briefed on the matter, U.S. intelligence officials believe the program is run by Unit 29155, an
arm of the Russian military intelligence agency known as the G.R.U. that has carried out assassinations and other
operations overseas.

That a conduit for the payments would be someone like Mr. Azizi — tied to the American reconstruction effort,
enmeshed in the regional netherworld, but not prominent enough to attract outside attention — speaks to the depth
of Russia’s reach into the increasingly complicated Afghan battlefield, exploiting a nexus of crime and terror to
strike blows with years of deniability.




               Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 397 of 400
https://www.nytimes.com/2020/07/01/world/asia/afghan-russia-bounty-middleman.html                                                  1/4
8/24/22, 2:36 PM                                      Russia Bounty on Americans: Afghan Acted as Middleman - The New York Times




                                White House officials initially said that President Trump was never briefed on the bounty
                                scheme. Erin Schaff/The New York Times



The public revelation last week of that conclusion has touched off a political firestorm in Washington. White House
officials said at first that President Trump was never briefed on the matter, but it emerged that the intelligence
assessment was included in a written briefing to the president in late February, if not earlier.

As Democratic and Republican officials have expressed alarm at the news, and the administration’s lack of action in
response, the White House has insisted that the information was uncertain.

Details of Mr. Azizi’s role in the bounty scheme were confirmed through a dozen interviews that included U.S. and
Afghan officials aware of the intelligence and the raids that led to it; his neighbors and friends; and business
associates of the middle men arrested on suspicion of involvement. All spoke on condition of anonymity to avoid
retaliation.

U.S. intelligence reports named Mr. Azizi as a key middleman between the G.R.U. and militants linked to the Taliban
who carried out the attacks. He was among those who collected the cash in Russia, which intelligence files described
as multiple payments of “hundreds of thousands of dollars.” Those files were among the materials provided to
Congress this week.

Through a layered and complex Hawala system — an informal way to transfer money — he delivered it to
Afghanistan for the missions, the files say. The transfers were often sliced into smaller amounts that routed through
several regional countries before arriving in Afghanistan, associates of the arrested businessmen said.

Afghan officials said prizes of as much as $100,000 per killed soldier were offered for American and coalition targets.




               Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 398 of 400
https://www.nytimes.com/2020/07/01/world/asia/afghan-russia-bounty-middleman.html                                                  2/4
8/24/22, 2:36 PM                                      Russia Bounty on Americans: Afghan Acted as Middleman - The New York Times




                                American Special Forces operating in Kabul in May. Jim Huylebroek for The New York Times



Just how the money was dispersed to militants carrying out attacks for the Taliban, and at what level the
coordination occurred, remains unclear. But officials say the network had grown increasingly ambitious and was in
communication with more senior levels in Taliban military ranks to discuss potential targets.


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                             the past? Can we corroborate the information? Even with these questions satisfied,
                             The Times uses anonymous sources as a last resort. The reporter and at least one
                             editor know the identity of the source.

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About six months ago, Afghanistan’s intelligence agency, the National Directorate of Security, raided the offices of
several Hawala businessmen both in Kabul, the capital, and in Kunduz, in the north, who were believed to be
associated with the bounty scheme, making more than a dozen arrests.

“The target of the operation was Rahmat, who was going back and forth to Russia for a long time and said he
worked there but no one knew what he did,” said Safiullah Amiry, the deputy head of Kunduz provincial council,
referring to Mr. Azizi. But by the time the raid took place, “Rahmat had fled.”

“From what I heard from security officials, the money had come from Russia through Rahmat,” he added.

Russia was initially seen as cooperating with American efforts after the U.S. invasion of Afghanistan in 2001, as its
interests in defeating Al Qaeda, an international Islamist terror group, aligned with those of the United States.

But in recent years, as the two powers clashed elsewhere, the Kremlin grew wary of the prolonged United States
presence and moved closer to the Taliban, hedging its bets on who would take power in a post-American
Afghanistan.

The Russians also saw an opportunity for long-awaited payback for the Soviet humiliation in Afghanistan in the
1980s, when the Red Army withdrew after being unable to defeat a United States-backed insurgency.


               Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 399 of 400
https://www.nytimes.com/2020/07/01/world/asia/afghan-russia-bounty-middleman.html                                                  3/4
8/24/22, 2:36 PM                                      Russia Bounty on Americans: Afghan Acted as Middleman - The New York Times

Russia has walked a fine balance in recent years, eager to bloody the American nose, but wary of Afghanistan
collapsing into a chaos that could spill over its borders. Publicly, Russia has admitted only to information-sharing
with the Taliban in fighting the Islamic State in Afghanistan, a common foe.

The U.S. conclusion in 2019 that the Russians were sending bounty money to the Taliban came at a delicate time in
the conflict, just as the United States was deep into negotiations with the insurgents over a deal to withdraw the
remaining American troops from the country.

Some of the attacks believed to be part of the bounty scheme were carried out around the time the Trump
administration was actively reaching out to Russia for cooperation on those peace talks. Zalmay Khalilzad, the U.S.
special envoy leading the talks, repeatedly met with Russian officials to build consensus around the American
endgame.




                                Zalmay Khalilzad, the U.S. special representative for Afghanistan, left, signed a peace
                                agreement with Mullah Abdul Ghani Baradar, a founder of the Taliban, in
                                February.x Karim Jaafar/Agence France-Presse — Getty Images



The Afghan battlefield is saturated with smaller terrorist groups in addition to the Taliban, who are still responsible
for the majority of the violence. Criminal networks, profiteers and terror training experts also freelance their
services — often to several groups at the same time.

Mr. Azizi, who neighbors and relatives said is in his 40s, thrived in that convoluted, murky environment.

A friend who has known him since his early days in Kunduz, as well as later in Russia, said he had started off with
smuggling small shipments of drugs into Iran in his 20s, but that venture was not very successful. He had returned
to northern Afghanistan, and somehow won contracts from the American-led coalition forces to build stretches of a
couple roads in Kunduz, before making his way to Russia.

None of those interviewed who know Mr. Azizi were surprised when his associates were raided about six months
ago and one of his brothers taken into custody with the half a million dollars in cash. As one of his friends put it, he
had gone from “not even having a blanket” to having multiple houses, fancy cars, and security escorts.
Michael Schwirtz contributed reporting.


               Case 3:20-mc-00206-FDW-DSC Document 15-1 Filed 03/20/23 Page 400 of 400
https://www.nytimes.com/2020/07/01/world/asia/afghan-russia-bounty-middleman.html                                                  4/4
